2:18-cr-00012-cr    Document 201   Filed 01/25/21   Page 1 of 247        234
                                                             VOLUME: 2 of 4
                                                             PAGES: 234-449
                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA                        )       CRIMINAL ACTION NO.
                                                )       2:18-cr-12
              vs.                               )
                                                )
RANDY SHELTRA,                                  )
                     Defendant.                 )



                                 JURY TRIAL
                         Friday, November 13, 2020
                            Burlington, Vermont


                                    WITNESSES: Frank J. Thornton, Jr.
                                               Michael McCullagh
                                               Timothy O'Leary
                                               Randy W. Sheltra


BEFORE:

      THE HONORABLE CHRISTINA C. REISS,
      District Judge



APPEARANCES:

BARBARA A. MASTERSON, ESQ., and ANDREW C. GILMAN, ESQ., U.S.
     Attorney's Office, 11 Elmwood Avenue, 3rd Floor, P. O. Box
     570, Burlington, VT 05402-0570, Counsel for the Government

MARK A. KAPLAN, ESQ., Kaplan and Kaplan, 95 St. Paul Street,
     Suite 405, Burlington, VT 05402-0405, Counsel for the
     Defendant

The Defendant appearing in person



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2:18-cr-00012-cr   Document 201     Filed 01/25/21   Page 2 of 247         235



                          INDEX TO EXAMINATIONS

WITNESS                                                                  PAGE

FRANCIS J. THORNTON, JR.
     Direct (Continued) by Ms. Masterson                                  241
     Cross by Mr. Kaplan                                                  252

MICHAEL McCULLAGH
     Direct by Mr. Gilman                                                 253

TIMOTHY J. O'LEARY
     Direct by Mr. Gilman                                                 299
     Cross by Mr. Kaplan                                                  365
     Redirect by Mr. Gilman                                               375

RANDY W. SHELTRA
     Direct by Mr. Kaplan                                                 391
     Cross by Ms. Masterson                                               430




                                  INDEX TO EXHIBITS

GOVERNMENT
EXHIBIT    DESCRIPTION                                        I.D.    RECEIVED
6          Photograph of Agent Lawton                          242         242

12            Craigslist Post - "Older Man                      368       368
              Seeking Younger Girl With A Dark
              History: - m4w"

14            Craigslist Post - "Older Man                      304       304
              Seeking Younger Woman," Bates 670

16            AT&T Subscriber Information for                   319       320
              Elisha Rollins

19            GlobalFoundries Access Log, Bates                 356       357
              GLOBALFOUNDRIES 1-13

20            Certified Copy of ER's Birth                      361       362
              Certificate

59            Stipulation re 13 VSA §§ 2602,                    354
              3252(c), and 3251(1)
2:18-cr-00012-cr   Document 201     Filed 01/25/21   Page 3 of 247         236



                                  INDEX TO EXHIBITS
                                     (Continued)

GOVERNMENT
EXHIBIT    DESCRIPTION                                         I.D.   RECEIVED
60         Government's Request for Judicial                    353        353
           Notice re the Internet and Use of a
           Cellular Telephone

65            Verizon Records for (802) 310-2018                242        243

66            AT&T Phone Records for ER                         248        249



DEFENDANT
EXHIBIT   DESCRIPTION                                         I.D.    RECEIVED
B5        2/12/18 O'Leary Report                               366




                                   MISCELLANEOUS

                                                                          PAGE
Government Rests                                                           376

Rule 29 Motion                                                             381
     2:18-cr-00012-cr     Document 201   Filed 01/25/21   Page 4 of 247            237



 1 Friday, November 13, 2020

 2          (The following was held in open court without the jury

 3 present at 8:56 AM.)

 4               COURTROOM DEPUTY:       Your Honor, the matter before the

 5 Court is criminal case number 18-CR-12-1, United States of

 6 America vs. Randy Sheltra.            Representing the Government are

 7 Assistant United States Attorneys Barbara Masterson and Andrew

 8 Gilman; present with the defendant is his attorney, Mark

 9 Kaplan; and we are here for a jury trial.

10               THE COURT:      Good morning.      I have two issues to bring

11 to your attention, and I will wait to see if you have any to

12 bring to mine.

13          The first is that you have a stipulation regarding the

14 Vermont statutes, and I also said I would take judicial notice

15 of them and have taken judicial notice of them.                  Typically a

16 stipulation of fact requires a waiver of a jury trial by the

17 defendant.           From my perspective, there wouldn't be any factual

18 dispute about Vermont statutes.              It's not something that

19 anybody would have a right to a jury trial about.                      We wouldn't

20 have a legislature come in and say, yes, these are the Vermont

21 statutes, so I didn't really think it fit, but I wanted to

22 raise that for your thoughts on that.

23          The other thing I was thinking about is, depending on our

24 timing, we could have the jury come in at 10:00 on Monday and

25 have our charge conference from, say, like, 8:30 to 10:00,
     2:18-cr-00012-cr     Document 201   Filed 01/25/21   Page 5 of 247        238



 1 which would be plenty of time.             Maybe even just 9:00 to 10:00.

 2 So I'm thinking about when to fit it in, and rather than do it

 3 at the end of today when everybody's tired, that seemed like a

 4 logical point.

 5          You don't need to make any decisions now.              You can talk to

 6 your clients.           But those are the things that I'm thinking

 7 about.

 8          Anything to bring to my attention before we resume?

 9               MR. KAPLAN:      No, your Honor.

10               MS. MASTERSON:      Your Honor, during the examination of

11 Agent O'Leary this afternoon, the Government is contemplating

12 that he would read the stipulation to the jury about that.                 And

13 I don't think we talked about this.               Does the Court -- there's

14 a point in the direct where we will say, "Your Honor, will the

15 Court now let the jury know of the judicial notice," and then

16 ask the Court to do that.

17               THE COURT:      Sure.

18               MS. MASTERSON:      Okay.

19               THE COURT:      That's fine.      Here's what caught my

20 attention.           But I don't think it applies.        I'm just raising it

21 for you.       And, of course, I had it marked.

22          Typically if there is a stipulation in a criminal case, it

23 requires a waiver of a jury trial if it's an element of the

24 offense.       So I will read you from the book that I use:

25 "Generally the Government is not bound by a defendant's offer
     2:18-cr-00012-cr     Document 201   Filed 01/25/21   Page 6 of 247        239



 1 to stipulate to an element of a crime.                 The Government is free

 2 to present to the jury evidence to establish a complete picture

 3 of the events constituting the charged crime.                  Before accepting

 4 a stipulation of fact from a defendant in a criminal

 5 prosecution, the trial judge must make sure that the

 6 stipulation is knowingly and voluntarily made by the defendant.

 7 The trial judge must address the defendant and ensure that the

 8 stipulation is made knowingly and voluntarily."

 9          I don't really think this is that kind of stipulation, but

10 let me just make sure that, Mr. Sheltra, you understand that

11 when you stipulate to something, like this judicial notice of

12 the Vermont statutes, that means that it's going to be

13 established for the jury.             Were you aware of that?

14               THE DEFENDANT:      I wasn't, your Honor, but Mr. Kaplan's

15 taking some time to explain it to me, what these details mean.

16               THE COURT:      Okay.    And is -- are you -- do you accept

17 that?      Is that something that you want to do in this particular

18 case?

19               THE DEFENDANT:      So I'm okay with it.

20               THE COURT:      Okay.    How you do it is up to you, then.

21               MS. MASTERSON:      Thank you, your Honor.

22               THE COURT:      All right.     Anything else to bring to my

23 attention?           No and no.

24          We'll bring back the jury.

25               COURTROOM DEPUTY:        Mr. Thornton, we're going to have
     2:18-cr-00012-cr     Document 201    Filed 01/25/21   Page 7 of 247        240



 1 you resworn in after the jury comes in, so you can just have a

 2 seat in the back and we'll call you up front.

 3                 THE WITNESS:    Okay.

 4         (The following was held in open court with the jury

 5 present at 9:06 AM.)

 6                 COURTROOM DEPUTY:       Your Honor, the matter before the

 7 Court is criminal case number 18-CR-12-1, United States of

 8 America vs. Randy Sheltra.             Representing the Government are

 9 Assistant United States Attorneys Barbara Masterson and Andrew

10 Gilman, representing the defendant is Attorney Mark Kaplan, and

11 we are here for a jury trial.

12                 THE COURT:     Good morning, ladies and gentlemen of the

13 jury.

14          Did anybody acquire any outside information, do any

15 research, talk to anybody about the case, read any media

16 accounts, let anybody talk to them about the case, do anything

17 that acquired any kind of information of any kind whatsoever

18 from any source whatsoever that might in any way be related to

19 this case?           How broad is that?     I did a good job on that one.

20 Please raise your hand.

21          Yes.

22                 JUROR SILANSKY:       Oh, no.   No, I didn't.

23                 THE COURT:     Oh, you're just playing with me.         Great.

24 We're getting off to a good start.                Okay.

25          I'm going to ask you some COVID questions.               Please raise
     2:18-cr-00012-cr    Document 201 J.Filed
                            Francis           01/25/21- Direct
                                          Thornton       Page 8 of 247       241



 1 your hand if you answer yes to any of these.

 2          Have you or a member of your household been exposed to or

 3 tested positive for COVID-19?             No hands raised.

 4          Have you experienced any cold or flu-like symptoms in the

 5 last 14 days, including fever, chills, cough, sore throat, new

 6 loss of taste of sense or smell, muscle pain, respiratory

 7 illness, shortness of breath, or difficulty breathing?                I see

 8 no hands raised.

 9          Have you or a member of your household been told to

10 quarantine?          No hands raised.

11          Do you have any concern related to COVID-19 and your jury

12 service?       No hands raised.

13          Since we are starting a new day, we're going to have Mr.

14 Thornton resworn.          He's going to take the witness stand, and

15 we'll proceed with the Government's case.

16                             FRANCIS J. THORNTON, JR.,

17          having been first duly sworn by the courtroom deputy,

18              was examined and further testified as follows:

19                                 DIRECT EXAMINATION

20 BY MS. MASTERSON:

21 Q        Good morning, Mr. Thornton.

22 A        Good morning.

23 Q        Do you have the binder of exhibits before you?

24 A        Yes, I do.

25 Q        All right.      Would you please turn to what's been marked
     2:18-cr-00012-cr   Document 201 J.Filed
                           Francis           01/25/21- Direct
                                         Thornton       Page 9 of 247        242



 1 for identification as Government's Exhibit 6.                Do you recognize

 2 that?

 3 A        I do.

 4 Q        What is it?

 5 A        It's a photograph that was contained within the extraction

 6 from the cell phone.

 7               MS. MASTERSON:        Your Honor, the Government offers

 8 Exhibit 6.

 9               THE COURT:     Any objection?

10               MR. KAPLAN:     No objection, your Honor.

11               THE COURT:     It's admitted.

12          (Government's Exhibit 6 was received in evidence.)

13               MS. MASTERSON:        May it be published?

14               THE COURT:     Yes.

15               MS. MASTERSON:        Thank you.

16 Q        BY MS. MASTERSON:       Do you recall if -- where -- I mean,

17 where this was found other than on the phone?                Any -- anything

18 more specific than that?

19 A        It was in connection with some of the texts with the

20 undercover officer.

21 Q        Would you please turn to Government's Exhibit 65 for

22 identification.         Do you recognize that document?

23 A        Yes, I do.

24 Q        What is it?

25 A        This is phone records that were provided.
     2:18-cr-00012-cr    Document 201 J.Filed
                             Francis          01/25/21 - Direct
                                           Thornton      Page 10 of 247       243



 1 Q        By what -- by what entity?

 2 A        I believe these are the Verizon records.

 3 Q        Please be -- can you pull the mic a little closer?

 4 A        Sorry.

 5 Q        That's okay.

 6               MS. MASTERSON:       Your Honor, the Government moves

 7 these -- moves into evidence Exhibit 65.                It's part of the

 8 previously agreed-upon group.

 9               MR. KAPLAN:       No objection, your Honor.

10               THE COURT:      65 is admitted.

11          (Government's Exhibit 65 was received in evidence.)

12               MS. MASTERSON:       May it be published?

13               THE COURT:      It may.

14               MS. MASTERSON:       All right.     Liza, could you please put

15 the first page of that document on.

16 Q        BY MS. MASTERSON:        Mr. Thornton, looking at this document,

17 what is this document?

18 A        It's call records that are retained by the provider.

19 Q        All right.      Looking at the top column, what is this area

20 right here?          Can you break it down by each -- each clump and

21 tell the jury what it is that each column means?

22 A        Sure.       It's basically headers for the database that are

23 the records containing -- or contained by the provider.

24          Looking across, you can see that it's the "Network

25 Element" name, which is roughly a location;
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 11 of 247            244



 1          the "Switch Type," which is internal to the provider;

 2          the calling number, which is listed as the MDN;

 3          the message sent date, the message delivered date are

 4 pretty obvious.         They're the dates that the message went back

 5 and forth, whether it was completed or not.                And typically

 6 that's a one or a zero.           You see ones in that column right on

 7 this page;

 8          the "Originating Address," which is a phone number, again,

 9 internal to the system;

10          the "Destination Address," which is a phone number.                 Some

11 of these are truncated into some coded areas, but you can see

12 the first one, for instance, is a phone number;

13          the "Direction Indicator" and the amount of time that was

14 used are the next two.

15          The direction indicator is basically an in or out

16 indicator.

17 Q        What does the code for -- under "Message Indicator" "MT"

18 mean?

19 A        I'd have to go back and look at the coding on this.

20 Typically it's things like message originator, so "MO"; message

21 terminator is the "MT."           I think that's what it is.

22 Q        And "MIN" is what?

23 A        I believe it's the minutes.         Because this is probably text

24 messaging, from the looks of it.             It's zero minutes.       They

25 don't count minutes on text messaging.
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 12 of 247         245



 1                 THE COURT:     So I'm going to caution the witness.        If

 2 you say "I think that's what it is" and "I believe that's what

 3 it is," we don't want you to speculate.               If you don't know,

 4 that's fine to say, but let's make sure we have a concrete

 5 identification.

 6                 THE WITNESS:    Yes, your Honor.

 7 Q        What telephone number do these records relate?

 8 A        It's related to the 802-310-2018 number.

 9 Q        Whose cell phone number is that?

10 A        That's been identified as the defendant's.

11 Q        All right.      Have you looked through these records for

12 telephone -- or for communications with telephone number

13 802-739-0057?

14 A        Yes.

15 Q        What telephone number is the 739-0057?            What -- what

16 significance is that telephone number?

17 A        That was a phone number that the defendant appeared to be

18 communicating with on -- via the records.

19 Q        Who was the user of the 0057 number?

20 A        I believe it was a juvenile called ER.

21 Q        Or was it the undercover?

22                 MR. KAPLAN:     Objection, your Honor.

23 A        Oh, I'm sorry.

24                 THE COURT:     Sustained.   So you need to direct him to

25 information.         Don't supply the answer in the question.
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 13 of 247         246



 1 Q        Could you turn to Exhibit 5, please.           Do you recognize

 2 that exhibit?

 3 A        Yes, I do.

 4               MS. MASTERSON:        Liza, can you put the first page up,

 5 please.

 6 Q        All right.     What telephone number is this detail for?

 7 A        It's the 802 --

 8               MR. KAPLAN:      Your Honor, has it been introduced into

 9 evidence?

10               MS. MASTERSON:        It has.   It was admitted during the

11 undercover.

12               THE COURT:     Yes.

13 A        It's the 802-739-0057.

14 Q        And do you recognize the content below?

15 A        Yes, I do.

16 Q        What communications were this -- based on the content, do

17 you know with whom the -- who the speaker is that was using the

18 0057 number?

19               MR. KAPLAN:      Objection, your Honor.       I think the

20 document speaks for itself, and I'm not sure this witness

21 should be asked to speculate on what he's reading and connect

22 it to a telephone number.

23               THE COURT:     I'm going to sustain the objection.          You

24 can use this to refresh his recollection as to what the number

25 is that you were talking to him about previously.
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 14 of 247         247



 1 Q        Do you recall -- or prior to reviewing this, did you

 2 recall who the user was of the 0057 number?

 3 A        Yes.

 4                 MR. KAPLAN:    Objection, your Honor.       I don't think

 5 he's reviewed it.

 6                 THE COURT:    I think he -- let's establish that he's

 7 reviewed it, does it refresh your recollection as to whom this

 8 number belongs, and then we can go back to the other document.

 9 Q        Have you reviewed this document?

10 A        Yes.

11 Q        Based on this document, has your recollection been

12 refreshed as to who the user is of the 739-0057 number?

13 A        Yes.

14 Q        Who was the user?

15 A        It was the undercover officer.

16 Q        Thank you.     Let's go back to Exhibit 65, please.

17          Have you looked through this document, Exhibit 65, for

18 communications between the -- Mr. Sheltra's phone and the

19 undercover's phone?

20 A        Yes.

21 Q        Did you find any such -- any such entries in this record?

22 A        Yes.

23 Q        Let's turn to the fourth page, which would be, I guess --

24 or let's go to 1396.

25          Mr. Thornton, can you just scan this and see what entries
     2:18-cr-00012-cr    Document 201 J.Filed
                             Francis          01/25/21 - Direct
                                           Thornton      Page 15 of 247            248



 1 there are.

 2 A        I'm sorry.       The Bates number --

 3 Q        It's on the screen.

 4 A        Oh, okay.

 5 Q        Did you find one?

 6 A        Yes.    I found several.

 7 Q        Okay.       Can you just circle one as a representative sample.

 8          Okay.       So for -- what's the date and time of, say, that

 9 one?

10 A        It's September 10th, 2017, at 2:42 PM [sic].

11 Q        1422 [sic] is what time?

12 A        It's 2:42 -- or 2:32, yes.

13 Q        All right.      Thank you.

14          Would you turn to Government's Exhibit 66, please.                Or

15 actually, as you're doing that, can you -- did you find more

16 entries that -- in Exhibit 65 containing the 0057 number than

17 just what we looked at on that page?

18 A        Yes.

19 Q        All right.      Let's go to Exhibit 66, please.          Do you

20 recognize that document?

21 A        Yes.

22 Q        What is it?

23 A        This is another call record detail from AT&T.

24                 MS. MASTERSON:     Your Honor, the Government offers

25 Exhibit 66.          It's, again, part of the previously agreed-upon
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 16 of 247         249



 1 exhibits.

 2                 MR. KAPLAN:    No objection, your Honor.

 3                 THE COURT:    66 is admitted.

 4          (Government's Exhibit 66 was received in evidence.)

 5                 MS. MASTERSON:    All right.     If we could publish the

 6 first page, please.

 7                 THE COURT:    You may.

 8 Q        BY MS. MASTERSON:       Going from the top -- right here I've

 9 circled on the exhibit a number of headers for columns.               Can

10 you please go through left to right and help the jury

11 understand what it is they're seeing.

12 A        Yes.    Again, these are headers for the database internal

13 to the phone company, in this case AT&T.               And it shows the item

14 number;

15          the connection date;

16          the connection time;

17          the originating number;

18          the terminating number;

19          the International -- it's the IMEI, which is the

20 International Mobile Equipment Identifier number;

21          the IMSI, which is the International Mobile Subscriber

22 Identifier;

23          and then there's a brief description that's used

24 internally for things like outgoing and incoming messages.

25 Q        Thank you.     Can you please -- in the --
     2:18-cr-00012-cr   Document 201 J.Filed
                            Francis          01/25/21 - Direct
                                          Thornton      Page 17 of 247   250



 1               MS. MASTERSON:      Let's take that off the screen,

 2 please.

 3 Q        Mr. Thornton, can you just look at Government's Exhibit 2.

 4 Do you recognize the content --

 5               MS. MASTERSON:      Could we publish the first page,

 6 please.

 7 Q        Do you recognize the content of the information that is

 8 contained in this exhibit?

 9 A        Yes, I do.

10 Q        Where else, if at all, have you encountered that content?

11 A        I found it within the extraction from the telephone.

12 Q        Thank you.     If you could turn to Exhibit 5 again, please.

13               MS. MASTERSON:      You could put the first page up.

14 Thank you.

15 Q        Do you recognize the content that is contained within this

16 exhibit?

17 A        Yes, I do.

18 Q        Where else, if anywhere, did you encounter this content?

19 A        I found it also within the extraction of the cell phone.

20 Q        Did you go through and compare the content of Exhibit 2

21 and Exhibit 5 with the actual Cellebrite extraction itself?

22 A        Yes, I did.

23 Q        What conclusion could you draw from that comparison?

24 A        That the content was the same.

25               MS. MASTERSON:      Thank you, Liza.
  2:18-cr-00012-cr   Document 201 J.Filed
                         Francis          01/25/21 - Direct
                                       Thornton      Page 18 of 247          251



 1 Q     Did you, Mr. Thornton, look to see if there was any

 2 activity on the phone that postdated September 10th, 2017?

 3 A     There was some calendar --

 4 Q     The question is a yes or no, and then I'll ask you what

 5 did you do.

 6 A     Oh.    Yes.

 7 Q     What did you do?

 8 A     What did I find?

 9 Q     Yeah.

10 A     There were some calendar entries that went after September

11 10th, but they had been preentered, essentially.              They were

12 things like holidays and so forth.           For the most part, all of

13 the user content ended on September 10th.

14 Q     Is there a particular feature in the Cellebrite or

15 category -- or I guess feature in the Cellebrite extraction

16 that summarizes all of the user activity on the phone?

17 A     Yes.

18 Q     What is that called?

19 A     Timeline.

20 Q     Was the timeline what led you to the conclusion that there

21 was no activity added -- user activity after September 10th?

22 A     I could look through it and see basically things like text

23 messages and searches and so forth, and all of that ended right

24 on September 10th.

25 Q     Thank you.
     2:18-cr-00012-cr    Document 201 J.
                             Francis   Filed 01/25/21 - Page
                                          Thornton      Cross19 of 247        252



 1               MS. MASTERSON:       May I have a moment with counsel,

 2 please?

 3               THE COURT:      You may.

 4               MS. MASTERSON:       Thank you, your Honor.       The Government

 5 has no further questions.

 6               THE COURT:      Any cross-examination?

 7               MR. KAPLAN:      Yes, your Honor.

 8                                  CROSS-EXAMINATION

 9 BY MR. KAPLAN:

10 Q        Mr. Thornton, can you tell me, when you look at some of

11 these phone records, what UTC time is?

12 A        Yes, sir.       It's the Universal Time Coordinated, and it is

13 typically what we refer to as Zulu Time or Greenwich Mean Time.

14 Q        So what is the difference in time between our time and UTC

15 time?

16 A        It varies depending upon whether we're on Daylight Savings

17 or we're on Standard Time.

18 Q        So what was it back in 2017, in September?

19 A        In September it would have been Daylight Savings.

20 Q        So how many hours are we talking about?

21 A        Four-hour difference.

22 Q        So the UTC time is four hours earlier than our time?

23 A        Yes, sir.

24 Q        Okay.       So if it says, for example, 12 o'clock at night, it

25 would be more like 8 o'clock in the evening?
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 20 of 247        253



 1 A        Yes, sir.

 2 Q        Okay.       Thank you.

 3               MR. KAPLAN:         Nothing further.

 4               THE COURT:      Any redirect?

 5               MS. MASTERSON:        No, your Honor.

 6               THE COURT:      Thank you, sir.     You may step down.

 7          The Government may call its witness.

 8               THE WITNESS:        Thank you, your Honor.

 9          (The witness was excused.)

10               MR. GILMAN:         Your Honor, the Government calls Homeland

11 Security Investigations Special Agent Michael McCullagh.

12               THE COURT:      Mr. McCullagh, I'm going to ask you to

13 stay there.          We're going to wipe down the witness seat.

14               COURTROOM DEPUTY:        Please raise your right hand and

15 state your full name for the record.

16               THE WITNESS:        Michael McCullagh.

17                                   MICHAEL McCULLAGH,

18           having been first duly sworn by the courtroom deputy,

19                       was examined and testified as follows:

20               MR. GILMAN:         May I inquire, your Honor?

21               THE COURT:      Yes.

22                                   DIRECT EXAMINATION

23 BY MR. GILMAN:

24 Q        Good morning, Special Agent McCullagh.

25 A        Good morning.
  2:18-cr-00012-cr   Document 201 McCullagh
                          Michael Filed 01/25/21- Direct
                                                   Page 21 of 247       254



 1 Q       Who do you work for currently?

 2 A       I work for Homeland Security Investigations, and I am

 3 currently assigned to the Resident Agent in Charge office

 4 located in Burlington, Vermont.

 5 Q       And how long have you worked there?

 6 A       I transferred to this office in 2007.

 7 Q       And what are some of your duties and responsibilities at

 8 that office?

 9 A       I conduct criminal investigations like some of the other

10 special agents we've heard from.         So I conduct criminal

11 investigations to include child exploitation, financial crimes,

12 drug investigations.

13 Q       Thank you.   Have you received training in the area of

14 investigating child exploitation offenses?

15 A       I have.

16 Q       Could you briefly summarize some of that training for the

17 jury.

18 A       I've received training from my agency.        I currently am a

19 computer forensic agent also, so I do the forensic side also,

20 so I received training in that area as well as I'm also a

21 member of the Vermont Internet Crimes Against Children Task

22 Force, so I've gone to some of the trainings that were

23 mentioned earlier, such as peer-to-peer investigations, online

24 investigations, and undercover chat investigations.

25 Q       Thank you.   Turning your attention to this case, did you
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 22 of 247        255



 1 have a role -- did you have a role in arresting Mr. Sheltra?

 2 A        Yes.    I was present the day of his arrest.

 3 Q        What was your role?

 4 A        I was on the arrest team.        I think you could see in the

 5 video I -- I arrived as Special Agent Curtis was placing him

 6 into custody.         I walked up, asked if he needed a bag, went and

 7 retrieved just an evidence bag for his belongings to be placed

 8 in, and then I just placed that in his transport vehicle.

 9 Q        What's your current role in the investigation?

10 A        So I'm currently assigned as the case agent, and I have

11 been for probably about six months or so.              Special Agent

12 O'Leary was the primary investigator for the case itself, and

13 he at some point about a year ago took a different position

14 within our agency, so I've been assigned the case agent to

15 assist with this trial.

16 Q        Thank you.     I'd like to pull up what's in evidence as

17 Defense Exhibit C.

18                 THE COURT:    And remember, Mr. Gilman, you don't need

19 to wear a mask behind the plexiglass if that's easier for you.

20                 MR. GILMAN:    Thank you, your Honor.     I appreciate

21 that.

22 A        Do you want me to open it in the binder?          Is that --

23 Q        Yes.    I'll ask you to open it in the binder for now.

24 And -- well, you know what, actually?             Special Agent McCullagh,

25 it's in evidence.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 23 of 247       256



 1               MR. GILMAN:     We'll bring it up on the screen if it's

 2 all right, Ms. LaBombard.

 3          Looking at Defense Exhibit C, Special Agent McCullagh,

 4 what is this?

 5 A        This is part of an email exchange between a user Randy

 6 with the email shelrw001@gmail.com and a person who's just

 7 identified through a Craigslist -- you know, their internal

 8 email account ending in 8395.

 9 Q        Thank you.     I'm going to ask you and Ms. Masterson to read

10 this email exchange.          I'm going to ask Ms. Masterson to

11 continue reading the messages sent by the defendant, Mr.

12 Sheltra, and I'll ask you to read the message -- the messages

13 from the person referring to themselves as Alisha.

14          (Court reporter requested clarification.)

15               MS. MASTERSON:      Your Honor, if I may.

16               THE COURT:     Just a minute.     Let's hear from the court

17 reporter first.

18               MR. GILMAN:     The spelling of this person, it's

19 somewhat confusing.          The person in this exchange goes by Alisha

20 with an A.

21               THE COURT:     And, Ms. Masterson, you had something you

22 wanted to raise?

23               MS. MASTERSON:      I did.   I did a bad thing and I

24 accidentally turned off my monitor, and I can't fix it.              But I

25 will --
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 24 of 247            257



 1               THE COURT:      We can fix it.

 2               MS. MASTERSON:       Your Honor, if I may, may I switch

 3 seats and I'll read it off the monitor that our technical

 4 person is --

 5               THE COURT:      You may.    Let's just give it a few

 6 seconds.

 7               COURTROOM DEPUTY:       We're good.

 8               THE COURT:      Ms. Ruddy is very good at her job.

 9               MS. MASTERSON:       She's excellent.     Thank you.

10          "Damn, I think you're adorable!!          I'm a DWM, 40s, 5 foot

11 7, 163 pounds, D&D free, non-smoker, and I've had a vasectomy.

12 I can certainly understand you wanting to let go and I'd love

13 to help you!          I'm working Saturday night this week - Can I get

14 a rain check?           The next time you're free I wanna take you out -

15 dinner, drinks, whatever else you desire.               Then we'll go to a

16 nice hotel and pleasure the hell out of each other.                  I'm so

17 hard right now, just thinking about pleasing you every way

18 imaginable!          You are soooo sexy!     I'm gonna attach a face and a

19 cock pick.           Please tell me when we can make this happen!!

20          "Seriously wanting you.

21          "Randy."

22               MR. GILMAN:      And, Ms. LaBombard, I'll ask if you can

23 pull up the next page in this exchange.

24 Q        BY MR. GILMAN:       Special Agent McCullagh, how is this

25 photograph related to the email we just read?
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 25 of 247        258



 1 A        That's what was sent in it.

 2 Q        Is that what's called an attachment?

 3 A        Attachment, yes.

 4 Q        Okay.

 5                 MR. GILMAN:   Ms. LaBombard, could we see the next

 6 document.

 7 Q        Is this also an attachment to that email?

 8 A        Yes.

 9                 MR. GILMAN:   Next document, Ms. LaBombard.

10          Ms. Masterson, would you continue reading the email sent

11 on June 22, 2016, at 2:52 PM.

12                 MS. MASTERSON:    "Hi,

13          "I hope you had a great time Saturday night.

14          "I'm hoping we get to have fun soon!!

15          "Hoping to please you!

16          "Randy."

17                 MR. GILMAN:   Can we go to the next email, please.       On

18 the next page.         Yes.   Thank you.

19                 MS. MASTERSON:    "Hi.

20          "I hope your weekend is going well.          I'm free through

21 Tuesday night if you have any free time.              I'd love to take you

22 to dinner, then see where it goes!!

23          "Hope to hear from you soon!

24          "Randy."

25                 MR. GILMAN:   Can we go to the next document in this
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 26 of 247      259



 1 exhibit.        Next page, I should say.

 2 Q        Agent McCullagh, what is this again?

 3 A        It's, again, an attachment of the defendant.

 4 Q        Thank you.

 5               MR. GILMAN:      Let's go to the next email.

 6 A        "I'll have my daughter with me."

 7               MR. GILMAN:      We can go to the next.      Thank you.

 8               MS. MASTERSON:       "I'd you're okay with it, we could all

 9 go to dinner, then we could play after she goes to sleep??

10 Would that work for you?"            Smile face symbol.

11          "Randy."

12               MR. GILMAN:      Let's go to the next page.

13               MS. MASTERSON:       "'If' you're okay with it ...

14          "Randy."

15               MR. GILMAN:      Next page.    Thank you.

16               MS. MASTERSON:       "I really do think you're absolutely

17 adorable."           Smile face symbol.

18          "Randy."

19               MR. GILMAN:      Could we go to the next email on the next

20 page.       Thank you.

21 A        "We can play in the car after while shes in the back

22 seat."

23 Q        When was that email sent, Special Agent McCullagh?

24 A        June 26, 2016, at 3:56 PM.

25               MR. GILMAN:      Let's go to the next page in the email.
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 27 of 247       260



 1 Thanks, Ms. LaBombard.

 2               MS. MASTERSON:       "If you don't want me to go to your

 3 place, I'll get a room ... 2 beds, she can sleep in one, we can

 4 play in the other??

 5          "Or if you have anyone you trust, I'll pay for them to

 6 watch her.           I can understand if that's not an option - I have a

 7 daughter ..." smile face symbol.

 8          "Your pic was so damn sexy!!

 9          "Randy."

10               MR. GILMAN:      Let's go to the next email.

11 A        "Room for sex or the night?         Cause we can just fuck in the

12 car."

13               MR. GILMAN:      Let's go to the next email.

14               MS. LaBOMBARD:       Can you give me the Bates number?

15               MR. GILMAN:      Sure.   We just read 1962, document --

16 sorry.       It's document 50001962.

17               MS. LaBOMBARD:       Thank you.

18               MS. MASTERSON:       "It's just that I'd like us to enjoy a

19 little more than we could in a car ... you know what I mean?

20          "Randy."

21               MR. GILMAN:      Let's go to the next email.

22               MS. MASTERSON:       "If you can stay all night, we can

23 play more than once ... I'd love to enjoy that gorgeous body of

24 yours ... I'd love to go down on you - want to taste your warm

25 juices!"
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 28 of 247        261



 1               MR. GILMAN:     Let's go to the next email.       Just above

 2 that, Ms. LaBombard.          Thank you.

 3 A        "Mmmmmmmmmm I am loud so get a room with no one next to

 4 us."

 5               MR. GILMAN:     Thank you.     Let's go to the next email.

 6               MS. MASTERSON:      "Damn ... I like the sound of that."

 7 Smile face symbol.

 8          "You look like you have amazing tits too ... how old is

 9 your daughter?"

10               MR. GILMAN:     Let's go to the next email.

11 A        "Shes 9.     I had her at 16."

12               MR. GILMAN:     Next email.    Thank you.

13               MS. MASTERSON:      "Wow, I thought she'd be much

14 younger!!        We can't really play with her there, can we?        I want

15 you naked in bed, and I want us to really enjoy each other.

16 Fuck, you're so hot!!"

17               MR. GILMAN:     Next email.    Thank you.

18 A        "Oh" and then "Ive fuck plenty of guys with her in room or

19 car."

20               MR. GILMAN:     Next email.    Thank you.

21               MS. MASTERSON:      "Really?    While she's awake, and

22 watching?

23          "Wanna text instead?       Here's my number 8023102018.

24          "Randy is my real name.

25          "You make me so fucking horny ..."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 29 of 247        262



 1               MR. GILMAN:     Next email.    Thank you.    Let's go --

 2 Q        Does this appear -- Special Agent McCullagh, is there text

 3 associated with this email, body of the email, so to speak?

 4 A        It appears that it is just down below from Mr. Sheltra.

 5 Q        Okay.

 6               MR. GILMAN:     I'm going to ask us to go to the next

 7 email, please.         Thanks, Ms. LaBombard.

 8 A        "Yup im a horny little slut.        My mom fucked guys in front

 9 of me when I was a little girl."

10               MR. GILMAN:     Let's go to the next email.

11               MS. MASTERSON:      "Fuck, that's actually really hot!     I

12 really want to hook up with you.            Let's get together and enjoy

13 the hell out of each other.           I want to feel you cum all over my

14 cock, and my mouth, and I want to cum deep inside you.

15          "Can we get a room and stay the night??

16          "Randy."

17               MR. GILMAN:     Let's go to the next email.       Thank you.

18 A        "Hot and ya.      Your not gonna freak with her in bed next to

19 us watching?"

20               MR. GILMAN:     Next email.    Thank you.

21               MS. MASTERSON:      "If you're okay with it, and she's

22 used to it ... I'm not gonna be looking at anything but you.                 I

23 want to experience every inch of you ... I'd rather it was just

24 you and I, but if you're really okay with it.

25          "I'm also off Saturday night, if that makes a difference.
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 30 of 247       263



 1 I just don't know how much longer I can go without playing with

 2 you!

 3          "Randy."

 4                MR. GILMAN:     Let's go to the next email, which is

 5 document number 50001976.

 6                MS. MASTERSON:      "I bet you have an amazing pussy ...

 7 ummmmmm."

 8                MR. GILMAN:     Can we pause on that email for one

 9 second?

10 Q        Special Agent McCullagh, what email is that -- excuse me.

11          What email address is that email from?

12 A        It's up top.       It says "Randy" and then it is listed as

13 shelrw001@gmail.com.

14 Q        Okay.       And what email address is that email to?

15 A        It is to Craigslist --

16 Q        You don't have to read the whole thing.

17 A        Oh.     Ends in 8395, and it appears to be the Craigslist

18 email server that they use.

19 Q        Okay.       Thank you very much.    If we could read that email.

20                MR. GILMAN:     Ms. Masterson, if we could read that

21 email.       Thank you.

22                MS. MASTERSON:      I did read it.

23                MR. GILMAN:     Oh, you did.     I apologize.

24          Let's go to the next email, then.

25 A        "Ya i'm ok with it.        I like her there.     Reminds me of me
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 31 of 247         264



 1 when I was that age."

 2               MR. GILMAN:     Let's go to the next email.       Thank you.

 3 A        "Shaved smooth.      Its had over 100 cocks in it."

 4               MR. GILMAN:     Next email.    Thank you.

 5               MS. MASTERSON:      "Can we do tomorrow night?

 6          "I'm like 2 hours away from you, north of Burlington.

 7 Dinner, then a hotel ... pick one with a pool if you want and

 8 she can go swimming before we go play.             I really want to feel

 9 your body on mine - you are so hot!             By the way, what's your

10 name (please)?

11          "Randy."

12               MR. GILMAN:     Let's go to the next email.       Thank you.

13 A        "Alisha," A-L-I-S-H-A.       "I know where we can go skinny

14 dipping."

15               MR. GILMAN:     Next email.    Thank you.

16               MS. MASTERSON:      "Hi Alisha - nice to know your name!

17          "What we do is totally up to you hun.          Where we eat

18 dinner, which hotel, whatever else you want to do ..." smile

19 face symbol.

20          "Other than smoking cigarettes, if you do - please don't

21 plan on smoking, k?          I'm allergic.     So tomorrow night works for

22 you?"

23               MR. GILMAN:     Let's go to the next email.       Thank you.

24 A        "I dont smoke.      IDK about tomorrow night.       Have plans

25 already.        How big is your cock?"
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 32 of 247           265



 1 Q        Special Agent McCullagh, can I ask you, based on your

 2 training and experience, what does "IDK" stand for?

 3 A        "I don't know."

 4 Q        Thank you.

 5               MR. GILMAN:     Let's go to the next email.

 6               MS. MASTERSON:      "Good.   I'm not huge, but I want to

 7 please you really badly!!

 8          "Here's a pic of it.        I'm dying to see what your pussy

 9 looks like - can you send me a pic of it?

10          "Randy."

11               MR. GILMAN:     Ms. LaBombard, I think we've seen this

12 attachment before.          Can we go to the next email?

13               MS. LaBOMBARD:      Would you mind giving me the last four

14 of the Bates, please?

15               MR. GILMAN:     Yes.    I would not mind.    Sorry.   Let's

16 pull up document number 5001985.

17               MS. MASTERSON:      "So, if you're busy tomorrow night,

18 does Tuesday night work?

19          "Randy."

20               MR. GILMAN:     Let's go to the next email.       Thank you.

21 A        "You'll have to wait till we meet.         I can show it to you

22 right away when we meet if you want."

23               MR. GILMAN:     Let's go to the next email.

24 A        "Right now ya.      We can just fuck the whole time."

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 33 of 247        266



 1               MS. MASTERSON:      "I'm dying to see your labia ... I

 2 have a real thing for beautiful labias ...

 3          "Hopefully Tuesday will work for you ... I want you so

 4 bad, Alisha!!         I'm stroking my cock right now, thinking about

 5 you!

 6          "Randy."

 7               MR. GILMAN:     Let's go to the next page.

 8 A        "Mmmmmmmmm.     Would you let me blindfold you?"

 9               MR. GILMAN:     Thank you.    Let's go to the next email.

10               MS. MASTERSON:      "Hmmmm, For what??"

11               MR. GILMAN:     Let's go to the next page.

12          And, Special Agent McCullagh, Ms. Masterson, as we read,

13 I'll just ask you to stay close to the microphone so everyone

14 can hear.

15 A        "So you dont know that im gonna do to you."

16               MR. GILMAN:     Let's go to the next email.

17               MS. MASTERSON:      "Sounds like fun ... does that get you

18 hot?"

19               MR. GILMAN:     Let's go to the next email.

20 A        "Yes i'm a bad girl.       You will have no idea what is

21 happening to you.          Also you never said anything when I said I

22 been with over 100 guys."

23               MR. GILMAN:     Let's go to the next email.

24               MS. MASTERSON:      "You didn't tell me the number.   As

25 hot as you are, I can understand that."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 34 of 247          267



 1               MR. GILMAN:     Next email, please.

 2 A        "Can I tie you up to?"

 3               MR. GILMAN:     Next email, please.

 4               MS. MASTERSON:      "Maybe ..."

 5               MR. GILMAN:     Next email.    Thank you.

 6 A        "You would be at my mercy and unable to stop me from doing

 7 anything."

 8               MR. GILMAN:     Next email.    Thank you.

 9               MS. MASTERSON:      "I know ... maybe I'd like to spend a

10 night with you first ... but we'll see, k?"

11               MR. GILMAN:     Next email.    Thank you.

12 A        Looks like a sad face emoji.

13               MR. GILMAN:     Thank you.    Next email.

14               MS. MASTERSON:      "I didn't say no!!"     Smile face

15 symbol.

16               MR. GILMAN:     Next email.    Thank you.

17 A        "I want you to know something about me.          Some love it,

18 some dont care, others freak.            I was molested at 7 by 1 of my

19 mom bf's and since then been used for sex.              I don't know who my

20 daughter dad is and all I crave is sex and being used.              There

21 is lots I have done and more I want to do.              I want a guy who

22 wants sex as much as me and is just as bad and willing to do

23 stuff others wont."

24               MR. GILMAN:     Thank you.    Next email.

25               MS. MASTERSON:      "I'm absolutely okay with it, and
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 35 of 247        268



 1 think we might be looking for each other."               Smile face symbol.

 2          "That's all I will say in an email, and until we can talk

 3 in person.           K?"   Smile face symbol.

 4          "Know that I now want you more than ever.

 5          "Hugs and kisses,

 6          "Randy."

 7               MR. GILMAN:       Next email, please.

 8 A        "So you know why I want to blindfold you?"

 9               MR. GILMAN:       Next email.     Thank you.

10               MS. MASTERSON:       "I can guess, considering the

11 circumstances we were discussing.             But I could be wrong."

12               MR. GILMAN:       Next email, please.

13               MS. MASTERSON:       "Are you really wet and breathing hard

14 thinking about it?"

15               MR. GILMAN:       Next email.     Thank you.

16               MS. MASTERSON:       Question mark, question mark, question

17 mark.

18               MR. GILMAN:       Next email.     Thank you.

19               MS. MASTERSON:       "Are we okay?     Did I offend you?"

20               MR. GILMAN:       Next email.     Thank you.

21               MS. MASTERSON:       "I want you so fucking bad!"

22               MR. GILMAN:       Next email.     Thank you.

23               MS. MASTERSON:       "Where'd you go???"

24               MR. GILMAN:       Next email.     Thank you.

25               MS. MASTERSON:       "Baby, please talk to me!"
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 36 of 247       269



 1               MR. GILMAN:     Next email.    Thank you.

 2               MS. MASTERSON:      "Please reply.    K?   I'm so hard and I

 3 want to hear from you before I cum!

 4          "Kisses,

 5          "Randy."

 6               MR. GILMAN:     Next email.    Thank you.

 7               MS. MASTERSON:      "I came so hard thinking about us in

 8 the hotel room!         Ummmmm.

 9          "I hope Tuesday night will work for you!

10          "Good night.

11          "Randy."

12               MR. GILMAN:     Next email.    Thank you.

13               MS. MASTERSON:      "Hi Alisha,

14          "I hope your day is going well."

15          Smile face symbol.

16          "Randy."

17               MR. GILMAN:     Next email.    Thank you.

18               MS. MASTERSON:      "Where'd you go???????

19          I miss hearing from you!!!"

20               MR. GILMAN:     Next email.    Thank you.

21 A        "Atlanta."

22               MR. GILMAN:     Next email.    Thank you.

23               MS. MASTERSON:      "You're not really in Atlanta, are

24 you??"

25               MR. GILMAN:     Next email.    Thank you.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 37 of 247          270



 1               MS. MASTERSON:      "It doesn't matter where you went - I

 2 missed hearing from you!"

 3          Smile face symbol.

 4          "Randy."

 5               MR. GILMAN:     Next email.    Thank you.

 6 A        "Ya this guy bought us tickets and flew us down."

 7               MR. GILMAN:     Next email.    Thank you.

 8               MS. MASTERSON:      "Nice."    Smile face symbol.

 9          "I bet it's warm down there!

10          "So, is tomorrow night not going to work?

11          "I want you!

12          "Randy."

13               MR. GILMAN:     Next email, please.

14 A        "Yes and yes I wont be back until next week."

15               MR. GILMAN:     Next email, please.

16               MS. MASTERSON:      "Okay.    I hope we can get together

17 then??

18          "Have fun," smile face symbol.

19          "Randy."

20               MR. GILMAN:     Next email.    Thank you.

21 A        "Already am."

22               MR. GILMAN:     Next email.    Thank you.

23               MS. MASTERSON:      "Thanks for replying!"      Smile face

24 symbol.

25          "I hope you will lmk when you get back so we can get
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 38 of 247          271



 1 together?

 2          "Kisses,

 3          "Randy."

 4               MR. GILMAN:     Next email.     Thank you.

 5               MS. MASTERSON:      "Hey Sexy,

 6          "I was just thinking about you so I thought I'd say hello.

 7 I hope your day is going well, and it's not too hot down there!

 8          "I want you!"      Smile face symbol with a wink in it.

 9          "Randy."

10               MR. GILMAN:     Next email.     Thank you.

11 A        "Omg it so fun.      You wouldnt believe it."

12 Q        Agent McCullagh, based on your training and experience,

13 what does "OMG" stand for?

14 A        Oh, my God.

15 Q        Thank you.

16               MR. GILMAN:     Next email.

17               MS. MASTERSON:      "What have you been doing that's

18 fun??"

19               MR. GILMAN:     Next email.     Thank you.

20 A        "Where we are we are naked all day.          Me and my daughter

21 are getting good tans, and so many guys."

22               MR. GILMAN:     Next email.     Thank you.

23               MS. MASTERSON:      "Naked???    Where are you?"

24               MR. GILMAN:     Next email.     Thank you.

25 A        "Atlanta this guys house.        All day long he has guys coming
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 39 of 247         272



 1 over."

 2               MR. GILMAN:     Next email.    Thank you.

 3               MS. MASTERSON:      Smile face symbol.

 4          "Are you fucking them all??

 5          "I'm getting hard thinking about you!

 6          "Randy."

 7               MR. GILMAN:     Next email.    Thank you.

 8 A        "Yes with dau there.       That ok?"

 9               MR. GILMAN:     Next email.    Thank you.

10               MS. MASTERSON:      "You naughty girl ...

11          "Is she enjoying it??

12          "I'm so hard!"

13               MR. GILMAN:     Next email.    Thank you.

14 A        "Ya she us starting to be naughty like me."

15               MR. GILMAN:     Next email.    Thank you.

16               MS. MASTERSON:      Smile face symbol ...

17          "Ummmmmmm.

18          "I want you so badly!

19          "Randy."

20               MR. GILMAN:     Next email.    Thank you.

21 A        "Tell me why u want me.        Are u ok she is doing stuff to

22 with guys?"

23               MR. GILMAN:     Next email.    Thank you.

24               MS. MASTERSON:      "It's not what I want that matters -

25 it's what you, as her mom, matters.             And, it's also what she
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 40 of 247          273



 1 wants that matters ... it sounds like she's aware ...

 2          "I have the picture you posted, and I look at it all the

 3 time.       I want to feel you, naked, next to me.          I want you

 4 because I think you're really sexy, and I really like your

 5 openness.        I like that you're obsessed with sex - so am I ... I

 6 have been since I was a kid ..." smile face symbol.                  I know you

 7 like big cocks, and I'm only average sized ... but I also like

 8 a loose pussy ... have you ever been fisted??               I have smallish

 9 hands ..." smile face symbol.

10          "Randy."

11               MR. GILMAN:      Next email.    Thank you.

12 A        "Hot.       I been fisted.   What else u want to do to me or

13 us?"

14               MR. GILMAN:      Next email.    Thank you.

15               MS. MASTERSON:       "Us???    I'm gonna be blindfolded so I

16 don't know what you will be doing to me, right?

17          "I'm really into exploring, sexually ... every inch of

18 your body - all the erogenous zones ... and want to experience

19 you, and what turns you on, completely, TOTALLY.                I want us to

20 be exhausted together.           I really do think you're adorable ... I

21 want to feel your mouth on mine.             And all over me ... I'm very

22 passionate.

23          "Randy.

24          "Did you like being fisted?"

25               MR. GILMAN:      Next email.    Thank you.
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 41 of 247         274



 1 A        "Mmmmmmmmm I love anything in my pussy.           You would be

 2 surprised what has been in there."

 3               MR. GILMAN:      Next email.    Thank you.

 4               MS. MASTERSON:        "That is something we can also explore

 5 together."           Smile face symbol.

 6          "Ummmmmm.       So hot."

 7               MR. GILMAN:      Next email.    Thank you.

 8 A        "What do u want to see in it?"

 9               MR. GILMAN:      Next email.    Thank you.

10               MS. MASTERSON:        "Anything that'll fit inside you,

11 Alisha."        Smile face symbol.

12          "As long as I get to use it after ... I LOVE a loose,

13 sloppy pussy ... I'll pump my load inside you in no time if

14 you're loose and sloppy!

15          "Wine bottles bottom first, baseball bats, dildos of

16 course! ... bowling pins, maybe a fire extinguisher ... I can

17 think of a few other things I'm sure.              God I want to pump my

18 cum inside of you!"

19               MR. GILMAN:      Next email.    Thank you.

20 A        "I would say over 200 guys have fucked me no condoms since

21 I was started at 9.           Ive had other cock in me to not from

22 guys."

23               MR. GILMAN:      Next email.    Thank you.

24               MS. MASTERSON:        "Was gonna mention a little 'doggy

25 style' literally ... I'm rock-hard thinking about it.
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 42 of 247           275



 1 Ummmmmm."

 2               MR. GILMAN:      Next email.    Thank you.

 3 A        "I have had dogs fuck me.         1st time i was 14."

 4               MR. GILMAN:      Next email.    Thank you.

 5               MS. MASTERSON:       "You've been knotted??      Ummmmmm.   So

 6 fucking hot!"

 7               MR. GILMAN:      Next email.    Thank you.

 8 A        "Yes.       I love a dog fucking me.     They are fast and cum

 9 lots.       Do you have 1?"

10               MR. GILMAN:      Next email.    Thank you.

11               MS. MASTERSON:       "No.   We'll have to get one.     I can

12 only imagine how sloppy you would feel when you're full of dog

13 cum and I'm fucking you.            I'm so hard, I've gotta jerk off."

14               MR. GILMAN:      Next email.    Thank you.

15 A        "Dau has watched dog fuck me."

16               MR. GILMAN:      Next email.    Thank you.

17               MS. MASTERSON:       "Ummmmmmm.    You take my breath away.

18 When are we gonna get together?             I'm gonna go crazy!"

19               MR. GILMAN:      Next email.    Thank you.

20 A        "When I get back.        You ok I haven't been tested in yrs."

21               MR. GILMAN:      Next email.    Thank you.

22               MS. MASTERSON:       "You should get tested.      I was tested

23 a few months ago.           You should get tested so you know ... you

24 have a young daughter.           But I wanna fuck you as soon as we

25 can."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 43 of 247        276



 1               MR. GILMAN:     Next email.    Thank you.

 2 A        "Would u want to see me with a horse?"

 3               MR. GILMAN:     Next email.    Thank you.

 4               MS. MASTERSON:      "I'd love to!    But usually anal is

 5 better for horses, because pussys tend to be more shallow.               But

 6 I'd love to see a horse gush inside you ... then I'd fuck the

 7 sloppy mess!"         Smile face symbol.

 8               MR. GILMAN:     Next email.    Thank you.

 9 A        "Set it up and i will."

10               MR. GILMAN:     Next email.    Thank you.

11               MS. MASTERSON:      Just think of the fun we can have ...

12 ummmmmmm.

13          "You are so fucking hot!!

14          "Just watched a video of a woman - inserted a 2 liter

15 bottle ... wish you were here - we'd have something big inside

16 of you!!

17          "Kisses,

18          "Randy."

19               MR. GILMAN:     Next email.    Thank you.

20               MS. MASTERSON:      "I assume you cum a lot??"

21               MR. GILMAN:     Next email.    Thank you.

22 A        "Do you pee on people?"

23               MR. GILMAN:     Next email.    Thank you.

24 A        "Squirt."

25               MR. GILMAN:     Next email.    Thank you.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 44 of 247           277



 1               MS. MASTERSON:      "Never have but have wanted to ... can

 2 I pee inside you?"

 3               MR. GILMAN:     Next email.    Thank you.

 4 A        "Yup i'll do all the stuff others wont."

 5               MR. GILMAN:     Next email.    Thank you.

 6               MS. MASTERSON:      "Like I said, we've been searching for

 7 each other ...

 8          "I just wish my cock was big enough to satisfy you ..."

 9               MR. GILMAN:     Next email.    Thank you.

10 A        "That ok."

11               MR. GILMAN:     Next email.    Thank you.

12               MS. MASTERSON:      "Yes.   We'll make up for that in other

13 ways."       Smile face symbol.

14          "And it'll likely fit nicely in other places.

15          "Can't wait for you to get home ..."

16               MR. GILMAN:     Next email.    Thank you.

17 A        "Well 1 of us is tight."

18               MR. GILMAN:     Next email.    Thank you.

19               MS. MASTERSON:      Smile face symbol.

20          "Like I said - I love a loose, sloppy pussy."              Smile face

21 symbol with a wink.

22               MR. GILMAN:     Next email.    Thank you.

23 A        "U can make her loose."

24               MR. GILMAN:     Next email.    Thank you.

25               MS. MASTERSON:      "Does thinking about it turn you on?"
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 45 of 247       278



 1               MR. GILMAN:     Next email.    Thank you.

 2 A        "Making her loose like me?"

 3               MR. GILMAN:     Next email.    Thank you.

 4               MS. MASTERSON:      "No, watching it happen.

 5          "Was your mom there for your first?          Did you want it, and

 6 ask for it?"

 7               MR. GILMAN:     Next email.    Thank you.

 8 A        "Ya my mom was there.       She spread my legs for daddy."

 9               MR. GILMAN:     Next email.    Thank you.

10               MS. MASTERSON:      "Did you ask for it?"

11               MR. GILMAN:     Next email.    Thank you.

12 A        "Yes i was 8."

13               MR. GILMAN:     Next email.    Thank you.

14               MS. MASTERSON:      "You're such a turn on for me.

15          "I really can't wait for you to get home.           Fuck."

16               MR. GILMAN:     Next email.    Thank you.

17               MS. MASTERSON:      "Goodnight Darlin.

18          "Sweet dreams.

19          "Randy."

20               MR. GILMAN:     Next email.    Thank you.

21               MS. MASTERSON:      "Hi Alisha.

22          "I Just wanted to say hello, and let you know I'm thinking

23 about."       You smile face symbol.

24          "I'm gonna be working the next 3 nights so I probably

25 won't be emailing you very much.            I hope your day is going
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 46 of 247          279



 1 well - feel free to email me whenever you like, and I'll reply

 2 when I can.

 3          "Thinking of you ...

 4          "Randy."

 5               MR. GILMAN:     Next email, please.

 6               MS. MASTERSON:      "Hi sexy,

 7          "I was hard most of the drive home thinking about your

 8 warm pussy sliding up and down my cock.             Ummmmmm.

 9          "Hope all is well."       Smile face symbol.

10          "Randy."

11               MR. GILMAN:     Next email, please.

12 A        "Hi."

13               MR. GILMAN:     Next email, please.

14               MS. MASTERSON:      "Hi!   Just got back to my office -

15 hope your night is going well!"            Smile face symbol.

16               MR. GILMAN:     Next email, please.

17               MS. MASTERSON:      "Hi Alisha,

18          "Just had a minute so thought I'd say hello.

19          "I hope your Friday went well.         I'll be glad when tonight

20 is over, as I'll then be done work until Wednesday!                 Can't wait

21 for you to get back to Vermont!            I'm so horny ... I really want

22 to pump a load deep inside your waiting pussy.

23          "Ummmmmm.

24          "Sweet dreams.

25          "Randy."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 47 of 247             280



 1               MR. GILMAN:     Next email.    Thank you.

 2               MS. MASTERSON:      "Hi,

 3          "Hope your weekend is off to a good start!"           Smile face

 4 symbol.

 5          "Thinking about you!

 6          "Randy."

 7               MR. GILMAN:     Next email.    Thank you.

 8               MS. MASTERSON:      "Hey Sexy,

 9          "Hope your day is going well!

10          "Kisses,

11          "Randy."

12               MR. GILMAN:     Next email.    Thank you.

13 A        "Great."

14 Q        Special Agent McCullagh, could you just note the date of

15 that email?

16 A        It is July 3rd, 2016.

17 Q        Thank you.

18               MR. GILMAN:     Next email, please.

19               MS. MASTERSON:      "Are you still in Atlanta?"

20               MR. GILMAN:     Next email.    Thank you.

21 A        "Yup."

22               MR. GILMAN:     Next email, please.

23               MS. MASTERSON:      "When are you coming home?        I soooo

24 want to play!!"

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 48 of 247         281



 1 A        "Play with me or both of us?"

 2               MR. GILMAN:     Next email, please.

 3               MS. MASTERSON:      "She's gonna be with us, right??"

 4 Smile face symbol with a wink.

 5               MR. GILMAN:     Next email, please.

 6 A        "Yes who will you fuck?"

 7               MR. GILMAN:     Next email, please.

 8               MS. MASTERSON:      "You first, then you blindfold me ...

 9 I just came really hard thinking about it ... ummmmmm."

10               MR. GILMAN:     Next email.    Thank you.

11               MS. MASTERSON:      "Is that ok?    I really want to fuck

12 you.      But I want both ..."

13          Smile face symbol.

14 Q        Special Agent McCullagh --

15               MR. GILMAN:     Sorry.    Could we go back to that email?

16 Q        Can you just note the email address from which that email

17 was sent and the time?

18 A        Certainly.     It is Randy and then it shows shel, S-H-E-L,

19 rw001@gmail.com, and it is on July 4th, 2016, at 9:42 AM.

20 Q        Thank you.

21               MR. GILMAN:     Next email, please.

22               MS. MASTERSON:      "Do you want to play with me?

23          "Does she?"

24               MR. GILMAN:     Next email.    Thank you.

25 A        "I want to hear you say you want to fuck her."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 49 of 247       282



 1               MR. GILMAN:     Next email, please.

 2 A        "Yes and yes."

 3               MR. GILMAN:     Next email, please.      Let's -- I'll just

 4 ask both Agent McCullagh and Ms. Masterson to -- I know this is

 5 a long set of emails, just to make sure we're speaking into the

 6 microphone.          Thank you both.

 7               MS. MASTERSON:      "Fuck, I just came and I'm getting

 8 hard again!

 9          "How do I know you're not a cop and this isn't a sting??

10          "You know I want to!"

11               MR. GILMAN:     Next email, please.

12               MS. MASTERSON:      "You'll certainly know when we meet!

13 I promise you that!"

14          Smile face symbol.

15               MR. GILMAN:     Next email, please.

16               MS. MASTERSON:      "I will say whatever you'd like when

17 we're face to face.          In the meantime, since I need to cum

18 again, can you send me a pic of you both naked??"

19               MR. GILMAN:     Next email, please.

20               MS. MASTERSON:      "PLEASE!!!??"

21               MR. GILMAN:     Next email, please.

22               MS. MASTERSON:      "I'm so fucking horny - about to cum

23 thinking about fucking you both ... please hurry home!

24          "Randy."

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 50 of 247        283



 1 A        "I am not a cop."

 2               MR. GILMAN:     Next email, please.

 3 A        "I wa."

 4               MR. GILMAN:     Next email, please.

 5 A        "I want to hear it before we meet.         It will get me so

 6 wet."

 7               MR. GILMAN:     Next email, please.

 8               MS. MASTERSON:      "That's really good because I'm so

 9 fucking horny!         And I definitely can't wait to fuck you and

10 her!      You said she was playing with guys down there ... has she

11 already fucked someone else?

12          "When are you coming home????"

13               MR. GILMAN:     Next email, please.

14               MS. MASTERSON:      "And can I assume that you don't want

15 to just turn me in, or cut my dick off or stab me 4700 times

16 because of what happened to you when you were a little girl?"

17 Smile face symbol.

18          "Because I would never touch her if you and her both

19 didn't want me to.          But since you do, I think it would be the

20 most fucking amazingly hot thing ever!"             Smile face symbol.

21               MR. GILMAN:     Next email, please.

22 A        "I have made over 5000 down here.         Mostly from guys using

23 her."

24               MR. GILMAN:     Next email, please.

25               MS. MASTERSON:      "So she has been fucking them?"
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 51 of 247         284



 1               MR. GILMAN:     Next email, please.

 2 A        "Yes and sucking and covered in cum."

 3               MR. GILMAN:     Next email, please.

 4               MS. MASTERSON:      "Have they been cumming inside her?"

 5               MR. GILMAN:     Next email.     Thank you.

 6 A        "Yes."

 7               MR. GILMAN:     Next email.     Thank you.

 8               MS. MASTERSON:      "Fuck that's hot!     but aren't you

 9 concerned that she could get pregnant, even if she hasn't

10 started her period yet?"

11               MR. GILMAN:     Next email.     Thank you.

12 A        "No."

13               MR. GILMAN:     Next email.     Thank you.

14               MS. MASTERSON:      "Why not?    It could happen hun!   I

15 shoot blanks, yay!"          Smile face symbol.     "God, I can't wait to

16 fuck both of you.          I want to cum deep inside you both."

17               MR. GILMAN:     Next email.     Thank you.

18 A        "Hot im off to party bye."

19               MR. GILMAN:     Let's stay on that email for one second,

20 Ms. LaBombard.

21 Q        Special Agent McCullagh, what's the date and time of that

22 email?

23 A        It's July 4th, 2016, at 12:28 PM.

24 Q        Thank you.

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 52 of 247        285



 1               MS. MASTERSON:      "Please email me later when you get

 2 home.

 3          "Kisses,

 4          "Randy."

 5               MR. GILMAN:     Next email, please.

 6               MS. MASTERSON:      "Hey Sexy,

 7          I've been thinking about you two all day ... had to cum

 8 again this afternoon ...

 9          "I want you soooo badly!

10          "Kisses,

11          "Randy."

12               MR. GILMAN:     Next email, please.

13               MS. MASTERSON:      "When are you guys coming home so I

14 can fuck you both??"

15               MR. GILMAN:     Next email, please.

16               MS. MASTERSON:      "What are you doing??      I miss hearing

17 from you!

18          "Randy."

19               MR. GILMAN:     Next email, please.

20               MS. MASTERSON:      Six question marks.     "You okay

21 hun????"

22               MR. GILMAN:     Next email, please.

23               MS. MASTERSON:      "Are you okay Alisha??

24          "Randy."

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 53 of 247         286



 1               MS. MASTERSON:      "Hi.

 2          "No longer interested???

 3          "Randy."

 4               MR. GILMAN:     Next email, please.

 5               MS. MASTERSON:      "Hi.

 6          "I hope all is well with you.         I miss hearing from you!

 7          "Kisses,

 8          "Randy."

 9 Q        Special Agent McCullagh, what date and time is that email

10 sent?

11 A        July 8th, 2016, at 2:22 PM.

12 Q        Thank you.

13               MR. GILMAN:     Next email, please.

14               MS. MASTERSON:      "Hi.

15          "Hope your weekend is going well!         I'd love to hook up

16 with you all [sic]!!

17          "Kisses,

18          "Randy."

19               MR. GILMAN:     Next email, please.

20               MS. MASTERSON:      "WHERE THE FUCK ARE YOU???

21          "Randy."

22               MR. GILMAN:     Next email, please.

23               MS. MASTERSON:      "Come on Darlin, please reply!!

24          "Please??     I really want to hear from you.

25          "Randy."
     2:18-cr-00012-cr    Document 201 McCullagh
                              Michael Filed 01/25/21- Direct
                                                       Page 54 of 247        287



 1               MR. GILMAN:        Next email.   Thank you.

 2               MS. MASTERSON:       "Hi Alisha,

 3          "Please reply just to let me know you're safe and ok.            If

 4 you're not interested in me I'll leave you alone.                I just

 5 really want to know you're ok!

 6          "Randy."

 7               MR. GILMAN:        Next email.   Thank you.

 8               MS. MASTERSON:       "Hi,

 9          "Thinking about you!

10          "Kisses,

11          "Randy."

12               MR. GILMAN:        Next email.   Thank you.

13               MS. MASTERSON:       "Hey sexy,

14          "I hope all is well.        Just crawling into bed, thinking

15 about you.           Ummmmmmm.

16          "Kisses,

17          "Randy."

18               MR. GILMAN:        Next email.   Thank you.

19               MS. MASTERSON:       "Hey Sexy,

20          "I'm soooo horny!!        I'm free Sunday or Monday night ...

21          "Please reply at least to say hi!

22          "Kisses,

23          "Randy."

24 Q        Agent McCullagh, what is the date and time of that email?

25 A        July 16th, 2016, at 4:15 PM.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 55 of 247          288



 1 Q        Is there an attachment to that email?

 2 A        There is.     Do you want me -- it's a picture, it looks

 3 like.       Do you want me to list out what the image at the bottom

 4 is?

 5 Q        That's all right.       Could we go to the next page in this

 6 exhibit?        Is that the attachment?

 7 A        Yes.

 8 Q        Next page, please.

 9                 MS. MASTERSON:    "Hi Alisha,

10          "I want you soooo F'ING bad!!

11          "Email me, please.

12          "Randy."

13                 MR. GILMAN:   Next email, please.

14                 MS. MASTERSON:    "I miss hearing from you!"        Sad face

15 symbol.

16          "Randy."

17                 MR. GILMAN:   Next email, please.

18                 MS. MASTERSON:    "Hey Darlin,

19          "I want you so f'ing bad!!!

20          "Hope to hear from you soon!

21          "Randy."

22                 MR. GILMAN:   Next email.    Thank you.

23                 MS. MASTERSON:    "Hi Alisha,

24          "Can we get together this weekend??

25          "Randy."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 56 of 247       289



 1               MR. GILMAN:     Next email, please.

 2               MS. MASTERSON:      "Hey Darlin,

 3          "I really want to be inside you!

 4          "I'm free Saturday night and Sunday.

 5          "Kisses,

 6          "Randy."

 7 Q        Special Agent McCullagh, what's the date and time of that

 8 email?

 9 A        July 29th, 2016, at 12:19 AM.

10               MR. GILMAN:     Let's go to the next email.

11               MS. MASTERSON:      "Hey Sexy,

12          "Wishing we could play this weekend!          I hope to hear from

13 you soon!

14          "Randy."

15               MR. GILMAN:     Next email, please.

16               MS. MASTERSON:      "Hey Baby, just watched a movie that

17 made me think of you ...

18          "Hope to hear from you soon!

19          "Randy."

20               MR. GILMAN:     Next email, please.

21               MS. MASTERSON:      "Hi Sexy,

22          "Missing you bad ... if it's a donation you're looking

23 for, I'm fine with that baby ... I just want you!!!

24          "Randy."

25               MR. GILMAN:     Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 57 of 247       290



 1               MS. MASTERSON:      "Wish you would email me - I'm so

 2 f'ing horny."

 3 Q        Special Agent -- excuse me.

 4               MR. GILMAN:     Sorry, Ms. Masterson.

 5               MS. MASTERSON:      Exclamation point, "Randy."

 6 Q        Special Agent McCullagh, what's the date and time of that

 7 email?

 8 A        August 21st, 2016, at 2:26 PM.

 9 Q        Thank you.

10               MR. GILMAN:     Next email, please.

11               MS. MASTERSON:      "I want you!

12          "Randy."

13               MR. GILMAN:     Next email, please.

14               MS. MASTERSON:      "I really want to hear from you!

15          "Miss you,

16          "Randy."

17               MR. GILMAN:     Next email, please.

18               MS. MASTERSON:      "Hey Baby,

19          "I'm soooo waiting to hear from you!          I want you so bad!!

20          "Randy."

21               MR. GILMAN:     Next email, please.

22               MS. MASTERSON:      "Hi Alisha,

23          "I wanna feel your loose wet pussy slide down onto me!!

24          "I want to fill you full!!

25          "Randy."
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 58 of 247         291



 1 Q        Special Agent McCullagh, is there a date and time

 2 associated with that email?

 3 A        September 20th, 2016, at 10:23 PM.

 4 Q        Does that email have an attachment?

 5 A        It does have a picture attachment.

 6                 MR. GILMAN:   Let's go to the next page, please.

 7 Q        Is that the attachment?

 8 A        Yes, it is.

 9                 MR. GILMAN:   Next page, please.

10                 MS. MASTERSON:    "So f'ing horny!     Want to cum deep

11 inside you!

12          "Randy."

13 Q        Is there -- excuse me.       Special Agent McCullagh, is there

14 also an attachment to that email?

15 A        Yes.    There is a -- appears to be a picture attached to

16 it.

17                 MR. GILMAN:   Can we go to the next page, please,

18 Ms. LaBombard.

19 Q        Is that the attachment?

20 A        Yes.

21                 MR. GILMAN:   Next email, please.

22                 MS. MASTERSON:    "Hey baby,

23          "I need to hear from you!        I wanna be inside you so badly!

24          "Randy."

25                 MR. GILMAN:   Next email, please.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 59 of 247        292



 1                 MS. MASTERSON:    "Hi Sexy,

 2          "Hoping to hear from you!

 3          "Let's play - I'd love to try to please you!

 4          "Kisses,

 5          "Randy."

 6                 MR. GILMAN:    Next email, please.

 7                 MS. MASTERSON:    "Hey Sexy,

 8          "I'm still really interested and thinking about you!

 9          "Randy."

10                 MR. GILMAN:    Let's stay on that email for one sec.

11 Q        Special Agent McCullagh, what's the date and time of that

12 email?

13 A        October 29th, 2016, at 10:33 AM.

14 Q        Is there an attachment?

15 A        Yes.    Appears to be a picture attached to it.

16                 MR. GILMAN:    Let's go to the next page, please.

17          Let's go to the next email.

18                 MS. MASTERSON:    "Hi,

19          "Would love to hear from you.         I hope you are well.

20          "Warmly,

21          "Randy."

22                 THE COURT:    Is this a logical breaking point for our

23 midmorning break?

24                 MR. GILMAN:    Yes, your Honor.    Thank you.

25                 THE COURT:    All right.   Ladies and gentlemen of the
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 60 of 247           293



 1 jury, don't talk to anyone about the case.              Don't let anyone

 2 talk to you about the case.           That includes talking to each

 3 other about the case.

 4          I wish you a good break.        We'll come back in approximately

 5 15 minutes.

 6          (The jury exited the courtroom, after which the following

 7 was held in open court at 10:33 AM.)

 8               THE COURT:     Anything to bring to my attention before

 9 we take our own break?

10               MR. KAPLAN:     No, your Honor.

11               MS. MASTERSON:      No, your Honor.

12               THE COURT:     Thank you.

13          (A recess was taken, after which the following was held in

14 open court without the jury present at 10:48 AM.)

15               THE COURT:     We are back on the record in United States

16 of America vs. Randy Sheltra.

17          Anything to bring to my attention before we bring back the

18 jury?

19               MR. GILMAN:     No, your Honor.     Thank you.

20               MR. KAPLAN:     No, your Honor.

21               THE COURT:     Let's bring back the jury.       Thanks, Ed.

22          (The following was held in open court with the jury

23 present at 10:51 AM.)

24               THE COURT:     We are back on the record in United States

25 of America vs. Randy Sheltra.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 61 of 247           294



 1          We have Agent McCullagh on the witness stand.              We are in

 2 the Government's direct examination.

 3          And you may proceed.

 4               MR. GILMAN:     Thank you, your Honor.

 5          Could we call up again Defense Exhibit C, document number

 6 50002898.        You're ahead of me.      Thank you.

 7          Could we zoom in on this first email.          Thank you.

 8 Q        BY MR. GILMAN:      Special Agent McCullagh, what is the date

 9 and time of this email?

10 A        November 12th, 2016, at 6:25 PM.

11 Q        Thank you.

12               MR. GILMAN:     Ms. Masterson, I'll ask you to read Mr.

13 Sheltra's part.         Thank you.

14               MS. MASTERSON:      "Hi Sexy,

15          "This will probably be the last email I send.              I haven't

16 heard from you in a long time, despite my numerous attempts to

17 connect with you and yours ... you know what I mean.

18          "Still desperately wanting you both.          And wishing so hard

19 that you would reply.          I'm hard, and broken hearted ...

20          "Love,

21          "Randy."

22               MR. GILMAN:     Next email, please.

23 Q        Special Agent McCullagh, what's the date and time of this

24 email?

25 A        January 18th, 2017, at 8:49 AM.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 62 of 247         295



 1               MS. MASTERSON:      "I still want you!     Bad!"

 2               MR. GILMAN:     Next email, please.

 3 Q        Special Agent McCullagh, what's the date and time of this

 4 email?

 5 A        June 7th, 2017, at 10:32 AM.

 6               MS. MASTERSON:      "Hi Alisha.

 7          "Wanting you two!!!! So badly!!

 8          "Please reply - I've been waiting to hear from you!!!

 9          "I need you both now!!

10          "Randy."

11               MR. GILMAN:     Let's go to the next email.

12 Q        Special Agent McCullagh, what does this email appear to

13 be?

14 A        It appears that the message -- that a message was sent on

15 June 7th, 2017, at 10:33 AM and it was returned back from the

16 Craigslist server, because that's how they were -- the

17 communications were occurring, as not deliverable.

18               MR. GILMAN:     Let's go to the next email.        Sorry.

19 Excuse me.

20          Let's go to the next page.        Thank you.

21 Q        Special Agent McCullagh, what's the date and time of this

22 email?

23 A        June 11th, 2017, at 4:15 PM.

24               MS. MASTERSON:      "Come on hun, please see this and

25 reply.       I want the both of you soooo bad!!
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 63 of 247     296



 1          "Kisses!"

 2               MR. GILMAN:     Let's go to the next email, please.

 3 Q        Special Agent McCullagh, what does this appear to be?

 4 A        It appears that on June 11th, 2017, at 4:15 PM, it looks

 5 like the email was not delivered that was being sent through

 6 the Craigslist email server.

 7 Q        And what is the date again of that?

 8 A        June 11th, 2017, at 4:15 PM.

 9 Q        Thank you.

10               MR. GILMAN:     Ms. LaBombard, could we go back to

11 document number 5002138.           And could we zoom in on that top

12 email.

13 Q        Special Agent McCullagh, what's the date of this email?

14 A        July 4th, 2016, at 12:28 PM.

15 Q        And who does this email purport to be from?

16 A        Alisha, because it shows that it's from the Craigslist,

17 last four 8395.

18 Q        What, if any, email was sent from this address after

19 July 4th, 2016, if you can recall?

20 A        I believe this was the last one sent from that email

21 address.

22 Q        Thank you.

23               MR. GILMAN:     Ms. LaBombard, I'd like to pull up in

24 evidence --

25               THE COURT:     So --
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 64 of 247         297



 1                 MR. GILMAN:    Excuse me.

 2                 THE COURT:    -- Mr. Gilman?

 3                 MR. GILMAN:    Yes, your Honor.

 4                 THE COURT:    This is 2016.    Okay.   So did you go back

 5 in time?

 6                 MR. GILMAN:    Yes.   I went back in time.     So yes.

 7 Q        Let's just confirm the date of this email, Special Agent

 8 McCullagh.

 9 A        So this email is July 4th, 2016, and the delivery failures

10 were in 2017, in June.

11                 MR. GILMAN:    Let's go -- just to make things

12 superclear, let's go to document number 5003876.

13 Q        And what's the date of this email?

14 A        June 11th, 2017.

15 Q        Does this appear to be the last email in Government --

16 excuse me, in Defense Exhibit C?            I guess you might have to

17 look at your binder to confirm that.

18 A        Yes.    This does appear to be the last email that is in the

19 Government -- I'm sorry, in Defense Exhibit C binder.

20 Q        Thank you, Agent McCullagh.

21                 MR. GILMAN:    Ms. LaBombard, could we publish what's in

22 evidence as Government Exhibit 15.             Could you zoom in on the

23 top half.

24 Q        What is the poster email, Special Agent McCullagh?

25 A        It is shel, S-H-E-L, rw001@gmail.com.
     2:18-cr-00012-cr   Document 201 McCullagh
                             Michael Filed 01/25/21- Direct
                                                      Page 65 of 247         298



 1 Q        Now let's look at the bottom half of the email with the

 2 title and body, please.           Excuse me.    This is not an email.

 3          Do you recognize this document, by the way, Special Agent

 4 McCullagh?

 5 A        Yes.    It's a Craigslist post that Mr. Sheltra posted.

 6 Q        Thank you.     What's the posting title?

 7 A        "Looking for Alisha - m4w."

 8 Q        Could you please read the posting body to the jury.

 9 A        "I'm looking for a woman named Alisha, who's about 25 or

10 26, with a daughter about 9 or 10.             I replied to her post, and

11 we had numerous HOT discussions, but never actually got

12 together.        I've regretted it ever since.        You are sexy, and

13 hot, and we share a very specific kind of taboo kink.               We need

14 to meet if you're around!           The last time we communicated you

15 and your daughter were in Atlanta having a lot of fun.              I'm

16 hoping you are back in Vermont now, and we can all finally get

17 together, and make it all happen.            I want it all bad!     I'm

18 hoping you see this ad reply ASAP!"

19 Q        Thank you.

20                 MR. GILMAN:   Could we look at the top portion of that

21 exhibit again.

22 Q        What is the record created date listed there?

23 A        It is August 14th, 2017.

24 Q        Is there a postal renewing date listing -- excuse me, a

25 posting renewal date?
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 66 of 247          299



 1 A        Yes.    August 30th, 2017.

 2 Q        And what's the area description?

 3 A        Vermont.

 4 Q        Thank you.

 5                 MR. GILMAN:     May I have one moment, your Honor?

 6                 THE COURT:    You may.

 7                 MR. GILMAN:     Thank you, your Honor.     Nothing further

 8 at this time.

 9                 THE COURT:     Any cross-examination?

10                 MR. KAPLAN:     No, your Honor.    Thank you.

11                 THE COURT:     Thank you, sir.    You may step down.

12          (The witness was excused.)

13                 THE COURT:     The Government may call its next witness.

14                 MR. GILMAN:     The Government calls Homeland Security

15 Investigations Special Agent Timothy O'Leary.

16                 COURTROOM DEPUTY:     Good morning.     Please raise your

17 right hand and state your full name for the record.

18                 THE WITNESS:    Timothy John O'Leary.

19                                 TIMOTHY J. O'LEARY,

20           having been first duly sworn by the courtroom deputy,

21                      was examined and testified as follows:

22                 MR. GILMAN:     May I inquire, your Honor?

23                 THE COURT:    You may.

24                                 DIRECT EXAMINATION

25 BY MR. GILMAN:
  2:18-cr-00012-cr   Document 201 J.
                         Timothy   Filed 01/25/21- Direct
                                      O'Leary       Page 67 of 247   300



 1 Q     Good morning, Special Agent O'Leary.

 2 A     Good morning.

 3 Q     Who do you work for currently?

 4 A     I work for Homeland Security Investigations.

 5 Q     Directing your attention to 2017, where were you working

 6 at that time?

 7 A     At that time I was working for Homeland Security

 8 Investigations here in Burlington, Vermont.

 9 Q     And what was your position?

10 A     Criminal investigator, special agent.

11 Q     Briefly, what were some of your responsibilities in that

12 position?

13 A     As a special agent/criminal investigator, it was my

14 responsibility to investigate potential violations of federal

15 crime here in the Burlington, Vermont, area, any host of

16 federal crimes that fell under HSI's purview.

17 Q     What are some of the cases you worked on in that role?

18 A     Primarily I worked on narcotics cases, child exploitation

19 cases, and sex trafficking cases.

20 Q     Prior to becoming a special agent, what was your

21 educational background?

22 A     I have a bachelor's of science from business -- in

23 business administration from Northeastern University in Boston,

24 Massachusetts.

25 Q     Now, to become a special agent with HSI, did you receive
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 68 of 247         301



 1 training?

 2 A        I did.

 3 Q        What training did you receive?

 4 A        We go to a six-month academy in Glynco, Georgia.             The

 5 first half of it is called the Criminal Investigator Training

 6 Program, and that approximately three months is for potential

 7 criminal investigators from a series of agencies.                 Then there's

 8 a three-month add-on specifically for Homeland Security

 9 Investigations-related training.              Again, so it's a six-month

10 academy, and it covers pretty much everything there is about

11 being a special agent.

12 Q        Thank you.      In your time as a special agent for Homeland

13 Security Investigations, did you receive training specifically

14 in the area of investigating child exploitation offenses?

15 A        I have.

16 Q        Could you summarize for the jury some of your training.

17 A        Sure.       We receive some training at our initial academy

18 when we first become agents.             Since the academy, I have

19 received training in online undercover child exploitation

20 investigation techniques from the Texas Office of Attorney

21 General.

22          Additionally, I've received about 80 hours of training

23 from our own agency, from HSI, again, relating to online

24 undercover child exploitation investigations.

25          And then additionally, here in Vermont I've received
  2:18-cr-00012-cr    Document 201 J.
                          Timothy   Filed 01/25/21- Direct
                                       O'Leary       Page 69 of 247        302



 1 training from the Vermont Internet Crimes Against Children Task

 2 Force in the same area, online undercover investigations.

 3 Q     Thank you.      Turning your attention to this case, did you

 4 have a role in investigating the case against Mr. Sheltra?

 5 A     Yes, I did.

 6 Q     What was your role?

 7 A     I was the case agent for the federal case against the

 8 defendant.

 9 Q     Could you let the jury know what are some of the

10 responsibilities of a case agent.

11 A     Sure.       A case agent basically is running the case on the

12 investigative side.        I'd be responsible for collecting reports

13 and evidence from other agencies; responsible for conducting

14 interviews, collecting evidence, writing reports on what I've

15 found, and coordinating with the Assistant U.S. Attorney on

16 potential charges and prosecution for the case.

17 Q     Now, as part of your duties as case agent in this case,

18 did you take possession of a Samsung cell phone taken from Mr.

19 Sheltra at the time of his arrest?

20 A     I did.

21 Q     Who did you receive the phone from?

22 A     I received the phone from Matthew Raymond.             He's the

23 commander of the Vermont Internet Crimes Against Children Task

24 Force, and I took the phone from him.

25 Q     Did you obtain a search warrant allowing for the search of
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 70 of 247           303



 1 that phone?

 2 A        I did.

 3 Q        To whom, if anyone, did you bring that phone to be

 4 examined?

 5 A        Initially the phone was examined by our computer forensics

 6 analyst, Ryan Wrisley, within our office at HSI.                It was then

 7 turned over to computer analyst Frank Thornton for additional

 8 analysis.

 9               MR. GILMAN:     Excuse me for one moment.

10 Q        Just for the record, Special Agent O'Leary, would you mind

11 spelling Ryan Wrisley's last name?

12 A        I believe --

13 Q        If you recall.

14 A        -- it's W-R-I-S-L-E-Y.

15 Q        Okay.

16 A        If I remember correctly.

17 Q        Thank you.     I'm going to show you what's been marked for

18 identification as Government Exhibit 11.              I just have to put on

19 gloves to bring it to you.            You have gloves already.       Thank

20 you.

21               COURTROOM DEPUTY:       Do you need more gloves, Mr.

22 Gilman?

23               MR. GILMAN:     It's okay.     We'll get going on some other

24 stuff first, if that's all right.

25               COURTROOM DEPUTY:       All right.    Yup.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 71 of 247      304



 1                 MR. GILMAN:    Thank you.    I'll strike that question and

 2 we'll come back to it.

 3 Q        In the course of your investigation into Mr. Sheltra, did

 4 you review certain contents of the Cellebrite report generated

 5 by Mr. Thornton concerning Mr. Sheltra's phone?

 6 A        Yes, I did.

 7 Q        We'll get to the contents of that report in a minute.

 8 First I want to ask you if you reviewed any records from

 9 Craigslist concerning the defendant.

10 A        Yes, I did.

11 Q        I'd like for you to look in the binder in front of you as

12 to previously agreed-upon Exhibit -- Government Exhibit 14.

13 A        Yes.

14 Q        What is this?

15 A        This is a subpoena return from Craigslist detailing a

16 Craigslist advertisement.

17                 MR. GILMAN:    The Government offers Government Exhibit

18 14.

19                 THE COURT:    Any objection?

20                 MR. KAPLAN:    No, your Honor.

21                 THE COURT:    Exhibit 14 is admitted.

22          (Government's Exhibit 14 was received in evidence.)

23                 MR. GILMAN:    May we publish, your Honor?

24                 THE COURT:    You may.

25                 MR. GILMAN:    Ms. LaBombard, if you could zoom in on
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 72 of 247        305



 1 the top half, including the posting title.                Thank you very

 2 much.

 3 Q        BY MR. GILMAN:       Special Agent O'Leary.

 4 A        Yes.

 5 Q        What is the poster email associated with this record?

 6 A        The poster email is shelrw001@gmail.com.

 7 Q        What is the posting ID?

 8 A        The posting ID is 6245676807.

 9 Q        What is the area description?

10 A        Vermont.

11 Q        And what is the geographic area?

12 A        Northwestern Vermont.

13 Q        What is the category description?

14 A        Men seeking women.

15 Q        What is the category type?

16 A        Personals.

17 Q        What is the record created time and date?

18 A        Tuesday, August 1st, 2017, at 1:26 PM.            And in this

19 posting it's Pacific time, is how they report it.

20 Q        Okay.       And at the bottom, what is the posting title?

21 A        The posting title is "Older Man Seeking Younger Woman."

22                 MR. GILMAN:    Let's zoom in on the bottom half of the

23 document, Ms. LaBombard.

24 Q        Is this the posting body?

25 A        It is, yes.
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 73 of 247           306



 1 Q        Please read the posting body to the jury.

 2 A        Sure.       "I know everyone is going to scoff at the title and

 3 my desire to find a young woman.              Many will think I'm a perv,

 4 or a creep.          But the truth is, I have always been a kind,

 5 nurturing kind of guy.            I love being in love.      I love being in

 6 a relationship.          I love treating a woman special.         I love

 7 making someone's life better than it was.               Yes, I love being

 8 treated special because of it, but my feelings are absolutely

 9 genuine.

10          "I'm a divorced male, now in my 50s.            The last time I fell

11 in love was a couple of years ago, and she was 27.                    Before that

12 I dated a beautiful 25 year old.              Before that, a woman who was

13 31.      I've been in love a couple of times over the past 7 years,

14 since my divorce.           I didn't want the divorce, nor did I cause

15 it.      I would have preferred to remain married even though we

16 weren't soul mates.           I'm loyal to a fault.       And I'm a hopeless

17 romantic.        I tear up watching chick flicks.          I really do

18 believe in happily ever after.

19          "You don't have to be 25.         You don't even have to be less

20 than 45.        What you need to be is youthful, beautiful, loving,

21 happy at heart, and attracted to older men.                Just like my

22 affliction with younger women, there are gorgeous young ladies

23 out there who are really into older men.               I'm nothing special

24 to look at but I have always dated the most beautiful women.

25 It's in the eyes and the smile.              And being genuine.       Women are
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 74 of 247           307



 1 always attracted to my eyes.             A woman with beautiful eyes, and

 2 an amazing smile can make me melt.              Love at first sight is

 3 absolutely real.

 4          "I'm a really nice guy, with a great personality and sense

 5 of humor.        I'm old fashioned; I open doors, and treat my lady

 6 with total respect.

 7          "If you're interested, and fit the mold I have eluded to,

 8 please reply.          Hopefully you will attach a face pic.          I'll

 9 return a pic, and answer any questions you ask.                 I'm waiting

10 for the right woman to fall in love with."

11 Q        Thank you.      I'm showing you -- I'd like to show you what's

12 in evidence as Government Exhibit 26.

13                 MR. GILMAN:    Let's -- it's in evidence, so let's pull

14 that up on the screen.            Thank you.

15 Q        What is this?

16 A        This is a series of emails between the defendant and

17 another individual.

18 Q        Okay.       From left to right on this exhibit, could you

19 explain to the jury what the information fields are at the top

20 of the document.

21 A        Yes.    The first field says "Order."         That will just be a

22 chronological order of the emails.

23          "From," "From" indicates the sender of the email.

24          "To" indicates the recipient of the email.

25          "Time" is the time and date that the email occurred or was
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 75 of 247     308



 1 sent.

 2          "Body" is the actual physical body of the email, the

 3 contents of the email.

 4 Q        Okay.       And "File"?

 5 A        Oh, that's -- I think that's just the file name for each

 6 email as it was saved in the phone.

 7 Q        Thank you.       Looking at the email addresses in the first

 8 row.

 9 A        Yes.

10 Q        Why do they appear like that?

11 A        They appear like that because these are emails going back

12 and forth through Craigslist in relation to a Craigslist

13 posting.        Craigslist has a feature where it will anonymize your

14 email address as it passes through so that the person you're

15 dealing with on Craigslist can't necessarily see your true

16 email address.

17 Q        Okay.

18 A        So that's what those numbers and letters are.

19 Q        Now, what date and time do these emails start?

20 A        They begin on August 20th, 2017, at 2234 hours, which is

21 10:34 PM.

22 Q        And if you could just look at the end of that exhibit in

23 your binder and let us know, when did the emails end?

24 A        The last email is the next day, August 21st, 2017, at

25 12:50 in the morning.
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 76 of 247        309



 1 Q        Okay.

 2 A        So a few hours later.

 3 Q        Let's go back to the first email.           When using this

 4 document, I'm going to ask you to read the emails that Mr.

 5 Sheltra received, and I'm going to ask for Ms. Masterson to

 6 read the emails that Mr. Sheltra sent.

 7 A        Okay.

 8 Q        Could you begin by reading the first email.

 9 A        Sure.       It begins, "Hello,

10          "My name is Elisha.        I read your ad on Craigslist and am

11 interested in knowing more about you.               I am going to soon be 16

12 and am interested in older men.              I am energetic, petite all the

13 way around except for my butt.             I am 5' 2" and weigh 117

14 pounds.       I love animals, art, and children.           I also have a very

15 high libido.          I would love to hear back from you as soon as --

16 sson as you receive this.

17          "Thank you, Elisha."

18               MS. MASTERSON:       "Hi Elisha,

19          "I understand your interest in older men, and want to

20 thank you for replying to my post.              You sound like a very

21 independent young lady, and I'm sure you are quite amazing.

22 But you know that because you aren't 18 yet I would be arrested

23 if anything were to happen between us.               And what is a young

24 girl like yourself doing cruising sites like Craigslist?

25          "Thank you for contacting me.          I hope you have a great
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 77 of 247         310



 1 night."       Smile face symbol.

 2          "Randy."

 3          "I just looked at your Facebook pics ... if I have the

 4 right girl, you are adorable."

 5          Smile face symbol.

 6          "Randy."

 7 A        "Randy,

 8          "I am pretty sure that you are unaware if the fact that

 9 the age of consent in Vermont is 16 since you think you can get

10 in trouble since I'm under 18.            I am VERY independent since I

11 grew up mothering my niece and having to care for and protect

12 myself from my siblings.           I was on Craigslist looking at

13 puppies and ended up making my way far from puppies.                 Thank you

14 for replying and not just blowing me off.

15          "Elisha."

16 Q        Special Agent O'Leary, just -- you've read the name before

17 in this exchange at the bottom, Elisha.              How is that spelled?

18 A        E-L-I-S-H-A.

19 Q        Thank you.     Could you continue reading the next email.

20 A        Yes.    The next email begins with a photograph attachment.

21 That's what that indicates after "Attachment."

22          And then the text of the email says "This is a photo of me

23 from last night.          I happen to be crying in it so dont mind me

24 if I look like shit."

25 Q        I'm going to ask you to read the last four digits of that
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 78 of 247           311



 1 file name before the file name extension, .jpg.

 2 A        Yes.    The last four digits are 3c50.jpg.

 3 Q        I'm showing you -- I'd like to show you what's in evidence

 4 as Government Exhibit 33.

 5                 MR. GILMAN:   Could we publish that.

 6                 MS. LaBOMBARD:    33?

 7                 MR. GILMAN:   Government Exhibit 33.       Thank you.

 8 Q        What is this?

 9 A        This is the photo attachment from that email we just read.

10 Q        How can you tell?

11 A        I can tell because the file name is the name.               If you see

12 at the bottom of the photograph, the last four of the title are

13 3c50.jpg, which is indicated in the -- the report of the

14 emails.

15 Q        Thank you.

16                 MR. GILMAN:   Ms. LaBombard, let's go back to

17 Government Exhibit 26, please.            Bates 1480, document number

18 1480.

19                 MS. MASTERSON:    "Thank you for the clarification.          I

20 do know about the age of consent, but we live in such a

21 controlling society that if anybody finds out, I'm labeled a

22 perv, a stalker, and pedophile whether our acts are consensual

23 or not.       That said, I'm replying, aren't I?"          Smile face

24 symbol.

25          "The pic you sent is really f'ing hot.           Thank you.     I can
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 79 of 247              312



 1 only imagine ... Mmmmmmm.           Delicious.     So what are you looking

 2 for, hun?        And, approximately where do you live?          Ask me

 3 anything you like.

 4          "Randy."

 5 A        "I live in Orange" --

 6                 MR. GILMAN:    Let's go to the next page, Ms. LaBombard.

 7                 THE WITNESS:    Oh, I'm sorry.

 8                 MR. GILMAN:    Thank you.

 9 Q        Special Agent O'Leary, could you continue reading.

10 A        Yes.    "I live in Orange, which is next to East Barre.

11 Right now I really just want someone who will be there for me

12 all the time whether it be physically or just texting -

13 preferably physically - and who I can cuddle and kiss.                  I dont

14 open up easily to people because my father started emotionally

15 abusing me when I was 4.           I like a guy who knows what they want

16 and isn't afraid to take control but at the same time is very

17 caring and will listen to me.            I was kinda hoping to have

18 someone to meet up with tonight and just cuddle and talk ...

19 please don't be afraid to ask for pictures.               I love my body,

20 most of the time, and love to show it off."

21                 MR. GILMAN:    Thanks, Ms. LaBombard.      Let's go to the

22 next email.

23                 MS. MASTERSON:    "Why were you crying hun?          And yes,

24 please send me any pics you think I will like of your gorgeous

25 little body."         Smile face symbol with a wink.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 80 of 247            313



 1          "I'm about 40 minutes north of Burlington; are you really

 2 looking for contact tonight?            Whose watching out for you?       I

 3 can't just show up at 2 am, hun.             Although I would definitely

 4 like to be there for you.           I have to ask.     You are in no way a

 5 police officer, or working with police, or affiliated in any

 6 way with law enforcement, are you? ...

 7          "It would be nice to cuddle and hold each other.

 8 Mmmmmmm."

 9 A        "God no I am not any way affiliated with the police.             My

10 dad is at home but I'm used to sneaking out.               I was crying

11 because my mom gave my puppy away and I said a lot of cruel

12 things to her bevause of it and then there was a huge fight

13 between someone else and I.            I would like contact tonight buts

14 ok if you cant."

15          And then again the next email is a photograph attachment.

16 Q        I'll interrupt you there.

17               MR. GILMAN:     Ms. LaBombard, could we pull up

18 Government Exhibit 32 in evidence.

19 Q        I'm showing you what's in evidence as Government Exhibit

20 32.      What is this?

21 A        This is the photograph that was attached in the previous

22 email.

23               MR. GILMAN:     Ms. LaBombard, could you zoom in on the

24 bottom left corner of that photograph.

25 Q        What are the last four digits of that file name?
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 81 of 247           314



 1 A        The last four are 0133.jpg, which is the same as the file

 2 name in the previous email I just read.

 3 Q        Thank you.

 4                 MR. GILMAN:   Let's return to Government Exhibit 26.

 5 And if we can zoom in on the email sent August 21st, row 12,

 6 2017.       Thanks, Ms. LaBombard.

 7                 MS. MASTERSON:    "I'm sorry about your puppy, hun.          I'm

 8 sure your mom had a reason.

 9          "Randy."

10 A        "I can do anytime during the week whether it be day or

11 night."

12 Q        Sorry, Special Agent O'Leary.         Just pause for a sec.        We

13 want to make sure we have on the screen what you're reading.

14 A        Oh, I'm sorry.

15 Q        Thank you, Special Agent O'Leary.          Would you continue.

16 A        Yes.     Again, it reads, "I can do anytime during the week

17 whether it be day or night I was just hoping to be able cuddle

18 sometime," and then there's a crying face emoji.

19 Q        Sorry.      Does that say "sometime" or --

20 A        "Someone."      Excuse me.

21 Q        Thank you.

22 A        Sorry.

23                 MR. GILMAN:   Let's go to the next email.          Sorry.

24 That's -- let's go to row 14 specifically.               Thanks,

25 Ms. LaBombard.         I think we're going to need to zoom out and
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 82 of 247           315



 1 zoom back in.         Thank you so much.

 2                 MS. MASTERSON:    "You look incredible.       I'd love your

 3 body to, if I was you.           Your nipples make my mouth water ...

 4 you're amazing.         I would so love to be inside you.            BTW, I've

 5 had a vasectomy."          Smile face symbol.

 6          "Randy."

 7 Q        Special Agent O'Leary, based on your training and

 8 experience, what does "BTW" mean?

 9 A        "By the way."

10 Q        Thanks.

11                 MR. GILMAN:   Let's go to the next row, row 15.

12 Thanks, Ms. LaBombard.           Nope.   Row 15, please.     Thank you very

13 much.

14                 MS. MASTERSON:    "You decide hun.      I'll make the drive

15 if you want."

16 A        "A vasectomy basically means you're nutured right?"

17                 MS. MASTERSON:    "Yes."

18 A        "You would?"

19                 MS. MASTERSON:    "Yes hun, I would."

20 A        "Ok.    I never use condoms and I'm on birth control so even

21 if you hadn't had one it would be ok.

22          "Hearing that means a lot to me ..."

23                 MS. MASTERSON:    "I love to cuddle.      But it would have

24 to be in the back of my suv.

25          "Not exactly how I'd like to treat you, hun."
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 83 of 247              316



 1 A        "That would be fine with me.          Will you please come?"

 2                 MS. MASTERSON:     "Are you gonna still be awake?

 3          "Is there a place where we can go park?            I'm not familiar

 4 with your area at all, hun.              I don't want cops finding us.

 5 A        "Please?"

 6                 MS. MASTERSON:     "Ok.    I'll jump in the shower."           Smile

 7 face symbol.

 8 A        "Dont live on a main road or a traveled road.                Theres

 9 actually a spot where I could meet you because you couldn't

10 pull in the driveway.

11          "Yay!       Thank you so much!     I know you are risking a lot

12 for me."

13                 MS. MASTERSON:     "Wait - you're not 16 yet?"

14 A        "I turn 16 in 2 months and 9 days."

15                 MS. MASTERSON:     "Ugh ... no sex, hun.       Not until then,

16 k?"

17 A        "Yes.

18          "My address is 73 Reservoir Road Orange Vermont."

19                 MS. MASTERSON:     "K.    8023102018.    Texting will

20 probably be easier."

21 A        "Ok.    I have a Massachusetts number."

22 Q        Thank you.      Special Agent O'Leary, looking at -- at that

23 exhibit, directing your attention to row 36 --

24 A        Yes.

25 Q        -- what is the last -- rather, row 34, if you could go one
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 84 of 247        317



 1 up, what's the last portion of the email in this box?

 2 A        Oh, the last -- after the email address, it reads

 3 "elisharollins13."

 4 Q        Thank you.

 5                 MR. GILMAN:   Ms. LaBombard, I'm going to ask you to

 6 please pull up what's in evidence as Exhibit 67.                If we could

 7 zoom in on that record.

 8 Q        Special Agent O'Leary, do you recognize this?

 9 A        Yes.    These are GPS coordinates.

10 Q        Now, what file name does this record concern?

11 A        This -- this record concerns the file name ending

12 "0133.jpg."

13 Q        Is that one of the -- how do we know that file name?

14 A        That was one of the photographs that was sent to the

15 defendant's phone in an email.

16 Q        And this number -- this number here on the left, what are

17 those numbers again?

18 A        Those are GPS coordinates that the phone captured of where

19 the photograph was taken.

20 Q        Have you looked up those coordinates?

21 A        I have.

22 Q        What location do they show?

23 A        They show Reservoir Road in Orange, Vermont.

24                 MR. GILMAN:   Let's go back to Government Exhibit 32 in

25 evidence.        Let's go to the bottom left corner.         Sorry.   For one
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 85 of 247        318



 1 second, pause there, Ms. LaBombard.

 2 Q        How do you know that this is -- sorry.

 3          Is this the photograph that the -- that those coordinates

 4 relate to?

 5 A        Yes.    With that file name.

 6 Q        Okay.       Let's go to the file name in the bottom left

 7 corner.       Is that the same file name that appeared in that

 8 record we just looked at?

 9 A        It is.       The one ending "0133.jpg."

10 Q        Okay.       Let's turn now to Government Exhibit 27 in

11 evidence.        Okay.     What is this?

12 A        This is a report detailing -- these are text messages

13 between the defendant and this person.

14 Q        From left to right, could you explain -- please explain

15 the column headers to the jury.

16 A        Yes.    The first column is the number sign again.           That's

17 the chronological order of these communications.

18          The "From/To" is the sender and receiver of the text

19 messages.

20          "Time," again, indicates the time and date that the

21 messages were exchanged.

22          "Direction," "Incoming" indicates it was a text into the

23 defendant's phone; "Outgoing" indicates that it was the

24 defendant texting out.

25          "Body/Message" is, again, the actual content of the text
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 86 of 247        319



 1 message.

 2          "Attachment" would indicate whether there was an

 3 attachment to the text message.

 4          And the column that says "Spreadsheet" indicates what type

 5 of message it was, an SMS or I believe MMS.

 6 Q        Okay.       Looking -- thank you.     Looking at the first row in

 7 Government Exhibit 27, what telephone numbers appear there?

 8 A        Sure.       The sender of the -- the first number is

 9 617-470-6994.          And then the name Elisha is after it.

10 Q        And the next number?

11 A        The next number is 1-802-310-2018, and the name Randy

12 Sheltra is after it.

13 Q        Is the 802 number the phone number Randy Sheltra provided

14 in the text message exhibit we just looked at?

15 A        It was.      It is.

16 Q        I'm showing you a previously agreed-to exhibit, Government

17 Exhibit 16.

18               MR. GILMAN:      Could we publish that, Ms. LaBombard.

19 Thank you.

20               COURTROOM DEPUTY:        I'm not showing that as admitted.

21               MR. GILMAN:      Oh, it's admitted?       As not admitted?

22               COURTROOM DEPUTY:        You said 16?

23               MR. GILMAN:      Yes.    It's a previously agreed --

24               COURTROOM DEPUTY:        Oh, agreed to?

25               MR. GILMAN:      Previously agreed-to exhibit.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 87 of 247       320



 1               THE COURT:     You are still moving it into evidence,

 2 correct?

 3               MR. GILMAN:     Yes, your Honor.

 4               THE COURT:     Any objection?

 5               MR. KAPLAN:     No, your Honor.

 6               THE COURT:     16 is admitted.

 7          (Government's Exhibit 16 was received in evidence.)

 8 Q        BY MR. GILMAN:      Thank you, Special Agent O'Leary.

 9               MR. GILMAN:     Thank you, your Honor.       I appreciate it.

10 Q        Special Agent O'Leary --

11               MR. GILMAN:     Let's call up Government Exhibit 16 now,

12 Ms. LaBombard.         Thank you.     Okay.

13 Q        Do you recognize this?

14 A        I do.

15 Q        What is it?

16 A        This is subscriber information for a phone number provided

17 by AT&T.

18               MR. GILMAN:     Ms. LaBombard, let's zoom in on the "User

19 Information" section.

20 Q        Special Agent O'Leary, what is the MSISDN of this record?

21 A        That indicates the actual phone number assigned to the

22 device -- or the account.           In this case the phone number is

23 617-470-6994.

24 Q        What is the "MSISDN Active" dates?

25 A        From December 19th, 2016, until June 26th, 2018.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 88 of 247         321



 1 Q        In whose name is this account?

 2 A        Elisha Rollins.

 3 Q        And what is the user address of this account?

 4 A        73 Reservoir Road, Orange, Vermont 05641.

 5 Q        What is the service start date?

 6 A        December 19th, 2016.

 7 Q        And what is the contact home email?

 8 A        Elisharollins13@gmail.com.

 9 Q        Thank you.     Let's turn back to Government Exhibit 27.

10                 MR. GILMAN:   May we publish that, Ms. LaBombard.

11 Thank you.

12          Now, as with the previous document, Government Exhibit 26,

13 I'm going to ask Special Agent O'Leary to read the messages

14 from Elisha, and I'm going to ask Ms. Masterson to read the

15 messages from Mr. Sheltra, and I'll likely interrupt you

16 sometimes to ask additional questions.

17 A        So the first message is, "Hey.         Its Elisha."

18                 MS. MASTERSON:    "Hi hun.    I just left my house a

19 couple of minutes ago."

20 A        "Ok.    I'm reading to keep myself up."

21                 MS. MASTERSON:    "Are you sure you want to do this

22 tonight?        I have total flexibility over the next two days on so

23 if you are tired we can wait."

24 A        "But you already left."

25                 MS. MASTERSON:    "LOL I know.     But I can turn around
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 89 of 247          322



 1 and go home if you are too tired and we can continue to text on

 2 the phone for a while, whichever you prefer."

 3 A        "I think I'm gonna sleep."

 4                 MR. GILMAN:    Let's pause there for a sec while we --

 5 could we zoom out and then zoom back in on the next three rows

 6 after "I think I'm gonna sleep"?              Oh, no.   Sorry.    I was just

 7 wondering if we could zoom in on rows 8, 9, and 10 together.

 8                 MS. LaBOMBARD:     Yes.

 9                 MR. GILMAN:    Thanks, Ms. LaBombard.

10                 MS. MASTERSON:     "Okay, so I should turn around?"

11 A        "Yes.       I'm sorry."

12                 MS. MASTERSON:     "That's okay hun.      I'm just glad I

13 know now when I'm only 10 minutes from my house.                 Could you

14 maybe send me a couple of more pics Before you go to sleep?                  I

15 would love to see as much of that naughty little body as you

16 want to show me hun."

17 Q        Special Agent O'Leary, could we note the times of these

18 text messages?

19 A        Yes.    This next text message is on August 21st, 2017, at

20 12:57 AM.

21 Q        Thanks.      Let's continue reading.

22 A        Yup.    She writes, "Yes I can ... can I see you?"

23                 MS. MASTERSON:     "Yes hun.    Do you want it via text or

24 via e-mail?"

25 A        "Text is fine."
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 90 of 247        323



 1               MR. GILMAN:         Thanks, Ms. LaBombard.    Let's go to the

 2 next three.          So I'd like to include one additional column, the

 3 attachment.          Thanks, Ms. LaBombard.      That's good.     Thank you.

 4               MS. MASTERSON:        "Ok.   This is me hun."

 5               MR. GILMAN:         I'm going to interrupt you there for a

 6 moment.

 7 Q        I'm showing you -- I'd like to show you what's in evidence

 8 as Government Exhibit 3.

 9               MR. GILMAN:         May we pull that up, Ms. LaBombard.

10 Q        Do you recognize this?

11 A        I do.       Yes, I do.

12 Q        What is this?

13 A        This is a photograph attachment of the -- that was

14 included in the last text message.

15 Q        And who appears in this photograph?

16 A        The defendant.

17               MR. GILMAN:         Let's continue reading on Government

18 Exhibit 27, Bates document number 1485, with row 14.

19               MS. MASTERSON:         "And why do you have a Massachusetts

20 number?       Have you not lived in Vermont very long?"

21 A        "When I got my phone at Walmart it gave me a Massachusetts

22 number.       I dont know why.        I've lived in VT all my life."

23               MS. MASTERSON:        "That's really strange.      Did you get

24 my pic hun?"

25               MR. GILMAN:         Let's go to the next three messages.
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 91 of 247       324



 1 Sorry.       This is a bigger chunk.         Let's go to the next messages

 2 with text, rows -- the next two rows at the bottom, 17 and 18,

 3 please.

 4 A        "Yes.       I just got it."

 5               MS. MASTERSON:       "Now that you've seen me do you still

 6 want to get together?"

 7               MR. GILMAN:      Let's look at the next messages.

 8 A        "Yes."

 9               MS. MASTERSON:       Smile face symbol.

10          "You don't smoke cigarettes, do you?"

11               MR. GILMAN:      Let's look at the next messages.       Thank

12 you.      The next three, please.         22, 4, and 5, with the

13 attachments.

14 A        "No."       And then the following two text messages indicate

15 that they were photographs sent.

16 Q        Okay.       I'll ask you to read the last four digits of both

17 of those file names.

18 A        Sure.       The first one ends in "0741.jpeg," and the second

19 one ends in "0837.jpeg."

20               MR. GILMAN:      Let's zoom out, and let's look at the

21 next four messages with attachments, please.

22               MS. MASTERSON:       "Mmmmmm.    I'd love to feel your body

23 on mine."

24 A        "I normally sleep naked."         And then again the next two

25 text messages appear to be just simply photograph attachments.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 92 of 247     325



 1 Q        Could you read the last four digits of each of those

 2 attachment file names.

 3 A        Yes.    The first one ends in "0955.jpeg," and the next one

 4 ends in "1015.jpeg."

 5 Q        All right.     I'm showing you --

 6                 MR. GILMAN:   Let's pull up what's in evidence as

 7 Government Exhibit 28.

 8 Q        What is this?

 9 A        This would be the first of the four photographs of which I

10 just read the title names -- or file names that were sent as

11 text messages, in the text messages.

12 Q        Could you read the last four digits of the file name in

13 the bottom left corner.

14 A        Yes.    It's 0741, which corresponds to the text message

15 file.

16 Q        Thank you.     Let's turn to Government Exhibit 29 in

17 evidence.        What is this?

18 A        This is the photograph that was attached in the second

19 text message we just discussed.             The file name ends in

20 "0837.jpeg," which corresponds to the text message report.

21                 MR. GILMAN:   Let's pull up Government Exhibit 30 in

22 evidence.

23 Q        What is this?

24 A        This was the photograph included on the third text message

25 we just went through.           Again, in the file, the end of the file
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 93 of 247        326



 1 name is "0955.jpeg," and that corresponds to the file name in

 2 the text message report.

 3               MR. GILMAN:     Let's pull up Government Exhibit 31,

 4 please.

 5 Q        What is this?

 6 A        And this is the last of the four text messages that

 7 included photographs.           The file ends in "1015.jpeg," and that

 8 corresponds to the file name 1015.jpeg in the text message

 9 report.

10 Q        Thank you.

11               MR. GILMAN:     Let's return to Government Exhibit 27,

12 document number 1486.           And looking at this last row, row 25,

13 I'm going to ask Ms. Masterson to read the message sent on

14 August 21st, 2017, at 1:11.

15               MS. MASTERSON:      "Me too hun.     I would love to get you

16 to my place.         It's very private and secluded, you could spend

17 all the time you wanted naked.            Indoors and out.      I'd love for

18 you to be here."

19               MR. GILMAN:     Zoom in on the next three messages.

20 Thank you.

21               MS. MASTERSON:      "I'm hard."

22 A        "I am very shy about being naked in front of people.            I am

23 confident with my body but at the same time I get very shy when

24 I am naked.

25          "I've been wet for almost 7 hours."
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 94 of 247           327



 1                 MR. GILMAN:   Let's zoom out and zoom in on the next

 2 few messages.

 3                 MS. MASTERSON:    "How come??

 4          "So if I hadn't said No Sex You would have stayed up

 5 wouldn't you?

 6          "If I had known that I wouldn't have told you no sex."

 7                 MR. GILMAN:   Thank you, Ms. LaBombard.

 8 A        "No.    I'm really tired and ready to pass out right now."

 9                 MS. MASTERSON:    "Oh, ok.    But" -- I can't see the --

10                 MR. GILMAN:   Oh, okay.      Could we -- excuse me.    I have

11 to clear --

12                 COURTROOM DEPUTY:     Touch the arrow.     There you go.

13                 MR. GILMAN:   I apologize for that.

14                 MS. MASTERSON:    "Oh, ok.     But why have you been wet

15 for so long hun?          I'd love to be sucking on your pussy right

16 now."

17 A        "Even though you said no sex I bet there would have been

18 sex.      For some reason no guy can resist me when I'm naked or

19 mostly naked cuddled up to them.

20          "I don't know why I've been wet for so long."

21                 MR. GILMAN:   Let's look at the next few messages.           We

22 can zoom out and zoom back in.

23                 MS. MASTERSON:    "I'll let you get some sleep hun.

24 Know that I'm here for you - whatever you need.                I hope that

25 you feel comfortable naked around me soon.               I would love to see
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 95 of 247          328



 1 you naked hun.         You are really adorable.       And there is nothing

 2 better than holding someone tight with nothing in the way."

 3               MR. GILMAN:     Let's look at the next few messages.

 4 Thank you.

 5 A        "Ya but I always wiggle my butt ..."

 6               MS. MASTERSON:      "Yes, I agree.     There would have been

 7 sex.      And I love the thought of you wiggling your cute little

 8 butt against me.          Mmmmmm."

 9 A        "My butt is the biggest thing about my body.

10          "Good night.      I'll text you when I wake up.        Sleep well."

11               MS. MASTERSON:      "It's adorable, hun.      You're a woman.

12 You have curves in all the right places.

13          "You too hun.

14          "XOXO."

15 A        "I know I do.      Thats why I like my body.       I just wish I

16 had bigger boobs."

17               MR. GILMAN:     Let's look at the next few emails --

18 excuse me, text messages.

19               MS. MASTERSON:      "They're perfect the way they are hun.

20 Mmmmmm.

21          "Sweet dreams babe.

22          "Hi hun, I hope your day is off to a good start."            Smile

23 face symbol.

24               MR. GILMAN:     I want to -- let me interrupt you there

25 for a moment.
     2:18-cr-00012-cr    Document 201 J.
                             Timothy   Filed 01/25/21- Direct
                                          O'Leary       Page 96 of 247          329



 1 Q        Special Agent O'Leary, looking at those two text messages,

 2 rows 45 and 46 of Government Exhibit 27, what is the time

 3 difference between those two text messages?

 4 A        There's about nine hours.          The -- row 45 ended earlier in

 5 the morning on August 21st at 1:24 AM.               The next row picks up

 6 at 10:34 in the morning.

 7 Q        Thank you.      Let's continue reading.

 8 A        "Hey.       I just woke up."

 9                 MS. MASTERSON:     Smile face symbol.

10 A        "You wouldn't be able to come during the day would you?"

11                 MS. MASTERSON:     "Yes."

12 A        "Ok.    Just that would probably work better."

13                 MR. GILMAN:    Let's look at the next few.

14                 MS. MASTERSON:     "Does that work better for you, hun?"

15 A        "Yes it does."

16                 MS. MASTERSON:     "Just lmk, k?"

17 A        "Can you come right now?"

18                 MR. GILMAN:    Let's go to the next few.        Thank you.

19                 MS. MASTERSON:     "Where would we go?"

20 A        "We could drive around, or we could go into my bedroom."

21                 MS. MASTERSON:     "There's nobody else home?"

22                 MR. GILMAN:    Let's go to the next few.        Thank you.

23 A        "No.    My dad is working and my brother has to work soon."

24                 MS. MASTERSON:     "K.   I'll jump in the shower.      We'll

25 figure it out while I'm driving."              Smile face symbol.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 97 of 247        330



 1 A        "Ok."

 2                 MS. MASTERSON:    "I'm looking forward to meeting you

 3 hun."

 4                 MR. GILMAN:   Let's look at the next few.        Thank you.

 5 A        "Me too!"

 6                 MS. MASTERSON:    "I'm on my way hun," smile face

 7 symbol.

 8 A        "Ok.    I'm gonna get dressed and eat."

 9                 MS. MASTERSON:    Smile face symbol.

10                 MR. GILMAN:   Let's look at the next few.

11 A        Next one is just a kissy face emoji, smiley face.

12                 MS. MASTERSON:    Kissy face emoji "me too."

13 A        "I'm still sleepy."

14                 MR. GILMAN:   Let's look at the next few.

15                 MS. MASTERSON:    "Take your time waking up hun, I like

16 the thought of you like that.

17          "Mmmmmmm."

18 A        "Why do you like that thought?"

19                 MS. MASTERSON:    "You're very sexy anyway but the

20 thought of you just rolling out of bed wearing not much, is

21 really really sexy."

22 A        "Oh" and then a series of three shocked face emojis.

23 "Ok."

24                 MR. GILMAN:   Let's read the next few.

25                 MS. MASTERSON:    "But it's definitely okay for you to
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 98 of 247      331



 1 take a shower LOL."           Smiley face emoji.

 2 A        "I took one last night."

 3                 MS. MASTERSON:    "K."   Smile face symbol.

 4 A        "Ya and if I took -- ya and if I take a shower today its

 5 gonna be while you're here."

 6                 MR. GILMAN:    Let's look at the next few messages.

 7                 MS. MASTERSON:    "Mmmmmmm."

 8 A        "You'd join me right?"

 9                 MS. MASTERSON:    "If you would like me to hun I would

10 definitely join you."

11                 MR. GILMAN:    Let's go to the next few messages.

12 A        "Well I would definitely have you join me."

13                 MS. MASTERSON:    Kissy face emoji.

14 A        "Where are you?"

15                 MS. MASTERSON:    "Burlington."

16                 MR. GILMAN:    Let's go to the next few messages.

17 A        "Ok."

18                 MS. MASTERSON:    "The GPS says I'm about an hour away.

19 I'll probably do a little bit better than that is that time

20 going to work for you?"

21 A        "Ya.    It should be about 4o minutes.         Not an hour."

22                 MS. MASTERSON:    "K."   Smile face symbol.

23 A        "Its an hour from here to Milton and Burlington is like

24 15-20 minutes from Milton."

25                 MR. GILMAN:    Let's read the next few messages.
     2:18-cr-00012-cr   Document 201 J.
                            Timothy   Filed 01/25/21- Direct
                                         O'Leary       Page 99 of 247         332



 1               MS. MASTERSON:      "When I said Burlington I was on the

 2 interstate so it's just a reference point.

 3          "Do you go to Milton often hun?"

 4               MR. GILMAN:     Let's go to the next few messages.

 5 A        "Thats where I grew up."

 6               MS. MASTERSON:      "Ah.    and now you kind of live out in

 7 the middle of nowhere, lol.

 8          "But I really do live in the middle of nowhere, LOL."

 9 A        "When I lived in Richford I did too."

10               MS. MASTERSON:      "Wow!   That really is nowhere LOL.

11 But it would be a hell of a lot closer to me now so I certainly

12 wouldn't mind if you still lived there."              Smile face symbol

13 with sunglasses.

14               MR. GILMAN:     Let's go to the next few.

15 A        "I lived with my mom then and this would never happen if I

16 still lived there.

17          "She used to check my phone, ipad, and my ipod.             She would

18 log onto my facebook and stuff."

19               MS. MASTERSON:      "So you like living with your dad

20 better than your mom?

21          "There's no chance that he is going to come home early is

22 there?"

23 A        "No."

24               MR. GILMAN:     Let's go to the next few messages.

25 A        "He gets out of work at 5."
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 100 of 247        333



 1               MS. MASTERSON:    "K" smile face symbol.

 2 A      "And if he does it would be around the time that you would

 3 be getting down here and only for about 20 minutes."

 4               MS. MASTERSON:    "He probably wouldn't appreciate it if

 5 he came home and found me there though."

 6               MR. GILMAN:    Let's go to the next few messages.

 7 A      "So I would just let you know and have you wait if thats

 8 ok."

 9               MS. MASTERSON:    "That is fine hun."      Smile face

10 symbol.

11 A      "Ok."

12               MS. MASTERSON:    "The GPS says 22 minutes."

13 A      "Ok.      Are you coming from the end by 302?"

14               MR. GILMAN:    Let's go to the next few messages.

15               MS. MASTERSON:    "I am about to get off the interstate

16 at Exit 7 headed for Route 302 I think."

17 A      "Ok.      So when you turn onto the road, drive by the house

18 and there is a little pull off.           There is an orange gate there.

19 Thats where you should park."

20               MS. MASTERSON:    "K."   Smile face symbol.

21               MR. GILMAN:    Let's go to the next few messages.       Thank

22 you.

23 A      "So we will have to go driving around."

24               MS. MASTERSON:    "K."

25 A      "My brothers PO is coming to do a home check."
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 101 of 247       334



 1            MS. MASTERSON:     "K."

 2 A     "Ok."

 3            MS. MASTERSON:     "How far to the orange gate hun?   I

 4 pulled by the house and I'm up the road a little ways on the

 5 right where there is a ball field."

 6 A     "Keep going.

 7       "Its not far."

 8            MS. MASTERSON:     "K."

 9 A     "Like 1/10 of a mile not even."

10            MS. MASTERSON:     "K.

11       "I found it.     There's a car here though."

12 A     "I'm heading down.

13       "Oh."

14            MS. MASTERSON:     "K."   Smile face symbol.

15 A     "Its cause its a swimming hole.

16       "I'm going swimming at the swimming hole."

17            MR. GILMAN:     Let's pause there, Ms. LaBombard.

18 Q     Special Agent O'Leary, looking at row 139 of Government

19 Exhibit 27, what time is that message sent?

20 A     That message was sent at 12:43 PM.

21 Q     Looking at the next message, row 140, what time was that

22 message sent?

23 A     That was sent at 1516, which is 3:16 PM.

24 Q     Approximately how much time -- approximately how much time

25 elapsed between those two messages?
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 102 of 247        335



 1 A     About roughly two and a half hours elapsed between those

 2 two text messages.

 3             THE COURT:      Mr. Gilman, is this a logical breaking

 4 point?

 5             MR. GILMAN:      Yes, it is, your Honor.      Thank you.

 6             THE COURT:      All right.    Ladies and gentlemen of the

 7 jury, we'll take our lunch break.           Don't talk about the case.

 8 Don't let anybody talk to you about the case.

 9       I wish you a good lunch, and we'll have the attorneys

10 remain in the courtroom.

11      (The jury exited the courtroom, after which the following

12 was held in open court at 11:59 AM.)

13             THE COURT:      Anything to bring to my attention before

14 we break?

15             MR. GILMAN:      No, your Honor.     Thank you.

16             MR. KAPLAN:      No, your Honor.

17             THE COURT:      As always, at the end of the day, you'll

18 want to consult with Ms. Ruddy so that her evidence sheet in

19 terms of what's been admitted and offered matches with what

20 yours is.        It's always easier to review it at the end of the

21 day as opposed to the end of the trial.

22       I wish you a good lunch.         I'll see you back here at 1:00.

23       (A lunch recess was taken, after which the following was

24 held in open court without the jury present at 1:02 PM.)

25             THE COURT:      We are back on the record in United States
 2:18-cr-00012-cr    Document 201 J.
                          Timothy Filed 01/25/21 - Direct
                                      O'Leary      Page 103 of 247       336



 1 of America vs. Randy Sheltra.

 2       Anything to bring to my attention before we bring back the

 3 jurors?

 4              MR. GILMAN:    No, your Honor.     Not from the Government.

 5              MR. KAPLAN:    No, your Honor.

 6              THE COURT:    All right.    Let's do that.

 7       I'm not going to ask you to bring back the jurors.

 8       Todd, thank you.

 9      (The following was held in open court with the jury

10 present at 1:04 PM.)

11              THE COURT:    We are back on the record in United States

12 of America vs. Randy Sheltra.

13       We have Agent O'Leary on the witness stand.           He is still

14 under oath, and we are in the Government's direct examination.

15       And, Mr. Gilman, you may proceed.

16              MR. GILMAN:    Thank you, your Honor.

17       Ms. LaBombard, could we pull up Government Exhibit 27

18 again where we left off.

19 Q     BY MR. GILMAN:       Special Agent O'Leary, we were looking at

20 rows 139 and 140 of Government Exhibit 27 when you were last on

21 the stand.       What is the time difference again between those two

22 entries?

23 A     139 and 140?

24 Q     Yes.

25 A     About two and a half hours in between the two text
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 104 of 247     337



 1 messages.

 2 Q     I'm going to ask you and Ms. Masterson to continue reading

 3 this exhibit with you, Special Agent O'Leary, reading the part

 4 of the messages from Elisha and Ms. Masterson reading the

 5 messages from Mr. Sheltra.        Again, we'll try to view a few

 6 messages at a time.

 7             MS. MASTERSON:    "Mmmmm."

 8 A     "Come watch if you want."

 9             MS. MASTERSON:    "K.

10       "Someone else just got here."

11 A     "Oh ok.    Then I'm not going swimming."

12             MS. MASTERSON:    "I am so bummed."

13 A     "Haha ... me too."

14             MS. MASTERSON:    "I see you walking hun so I am going

15 to head home I guess.       Know that I will be thinking about you

16 babe."    Kissy face emoji.

17 A     "Ok."

18             MS. MASTERSON:    "I wish your brother hadn't had to

19 stay home today and that we could have spent some time in the

20 comfort of your bedroom."

21 A     "Ys."

22             MS. MASTERSON:    "Mmmmmm."

23 A     "I'm gonna take a nap."

24             MS. MASTERSON:    "K.   Sweet dreams hun.

25       "I hope you are rested and your night is going well."
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 105 of 247         338



 1 Smile face symbol.

 2 A       "No.     I slept for maybe 20 minutes."

 3                MS. MASTERSON:   "Ugh.   I'm sorry hun."

 4 A       "Its ok."

 5                MS. MASTERSON:   "You're far too attractive to be so

 6 unhappy hun."

 7 A       "No I'm not."

 8                MS. MASTERSON:   "Yes my dear, you are.      And if you

 9 disagree with me again I will have to spank you."              Kissy face

10 emoji.

11 A       "Oh really."

12                MS. MASTERSON:   "I think that definitely qualifies as

13 being naughty."

14 A       "Him and I have been talking again and talking things

15 out."

16                MS. MASTERSON:   "Okay, then I am happy for you."

17 Smile face symbol.

18 A       "Thank you."

19                MS. MASTERSON:   "No need to thank me hun, as I said I

20 only want you to be happy.."          Smile face symbol.

21 A       "I know."

22                MS. MASTERSON:   "And you know how to contact me if

23 anything changes with him or if you need anything hun."             Kissy

24 face emoji.

25 A       "Yes I do."
 2:18-cr-00012-cr    Document 201 J.
                          Timothy Filed 01/25/21 - Direct
                                      O'Leary      Page 106 of 247          339



 1             MS. MASTERSON:     "Good night hun."

 2 A       "Goodnight."

 3 Q       Let me interrupt you there for a moment.         Looking at that

 4 message sent on August 21st, 2017, at 2042, when is the next

 5 text message sent?

 6 A       The next text message is sent about, let's see, three days

 7 later, on August 24th, 2017, at 4:29 PM.

 8 Q       Okay.    Thank you.   Let's continue reading from there.

 9             MS. MASTERSON:     "Hey there, naughty girl - how's it

10 going?"

11 A       "Im good.    You?"

12             MS. MASTERSON:     "Not bad - about to get ready for

13 work.    Was just thinking about your cute little butt ..."

14 Smile face emoji -- I'm sorry, smile face symbol.

15 A       "Thanks."

16 Q       I'm going to interrupt you right there.         Looking at the

17 text messages in rows 182 and 183, what is the date difference

18 between the two?

19 A       Again, it's a day later.      The last text message on

20 August 24th is at 4:31 PM, and the next one is the next day,

21 August 25th, at 10:03 in the morning.

22 Q       Thank you.    Let's continue reading.

23             MS. MASTERSON:     "Home after working all night, laying

24 here wishing you were here.         Imagining ... can I see a pic of

25 your labia hun?       I wanna feel it engulf me.       Mmmmmm."
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 107 of 247        340



 1 A     "No.       I'm sorry but things are worked out with him and we

 2 actually spent yesterday together."

 3              MS. MASTERSON:     "Ok.   I'm happy for you then."      Smile

 4 face symbol.       "If it changes ..."

 5 A     "We tried anal yesterday ..."

 6              MS. MASTERSON:     "Successfully hun?"

 7 A     "I mean he didn't go in completely because it hurt but he

 8 went in and out a few times with what he did get in.

 9       "I latched onto his thumb when he first put it in."

10              MS. MASTERSON:     "I'm sure.    Especially if he's really

11 thick."    Smile face symbol.

12       "I'd still like to see those pussy lips hun.             I hope you

13 will send me a pic of them at some point," smile face emoji.

14 A     "The look on his face was like what did I do."

15              MS. MASTERSON:     "Lol ... I'm sure you had quite a look

16 on your face as well."         Smile face symbol.

17 A     "More like I almost screamed."

18              MS. MASTERSON:     "I bet!    That cute little ass being

19 stretched to the max!         I'm hard thinking about it!

20       "Did he pump your pussy full of cum after?"

21 A     "Thats why I latched onto his thumb.           No.   He wont cum in

22 me.   He did once and it took a lot of persuading."

23              MS. MASTERSON:     "Fuck, I'd love to pump you full!!

24       "When does school start?"

25 A     "Next week."
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 108 of 247           341



 1              MS. MASTERSON:    "Which day?"

 2 A     "Tuesday.     Why?"

 3              MS. MASTERSON:    "Just curious!    Maybe you guys will

 4 break up again - we could still get together on Monday before

 5 school starts!      Just thinking about it ..." smile face symbol.

 6 A     "We aren't breaking up again.        We talked and cuddled

 7 yesterday after we fucked."

 8              MS. MASTERSON:    "Good for you hun.     I hope it works

 9 out that way for you."        Smile face symbol.

10 A     "It will.     From the way that we are both acting, it wasn't

11 really a break up either."

12              MS. MASTERSON:    "I just hope he figures out how to

13 balance his daughter and seeing you."

14 A     "Well once school starts things will be different as

15 well."

16              MS. MASTERSON:    "That's true."

17 A     "Ya."

18              MS. MASTERSON:    "Have a good day at school."      Smile

19 face symbol.

20              MR. GILMAN:    Stopping there for a moment, could we

21 zoom out for a second, Ms. LaBombard?

22 Q     Directing your attention to rows 210 and 211 of Government

23 Exhibit 27, Special Agent O'Leary.

24 A     Yes.

25 Q     How much time, approximately, transpired between those two
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 109 of 247              342



 1 rows of messages?

 2 A     It's four days later.       The last text message was on August

 3 25th at 11:44 in the morning.        The next one is August 29th at

 4 6:53 in the morning.

 5 Q     Thank you.     Let's continue reading.

 6            MR. GILMAN:     Let's just back up a little bit.          Start

 7 at row 211, the message on August 29th, 2017, at 6:53.

 8            MS. MASTERSON:     "Have a good day at school."          Smile

 9 face symbol.

10 A     "I'd rather shoot myself."

11            MS. MASTERSON:     "Ah, you'll be one of the hottest

12 chicks there!!      Most desired too!!     Have fun hun."        Kissy face

13 emoji.

14 A     "No I'm not."

15            MS. MASTERSON:     "Trust me.    You're the real deal.

16 They're just 3s dressed up as 9s.         You have something they

17 don't.    It be very evident when you're all older ... all the

18 guys will be saying fuck, where did she come from??"              Smile

19 face symbol.

20 A     "Haha ... if only that were true."

21            MS. MASTERSON:     "It is.    I promise you, hun.        That's

22 the big irony about highschool.         Everything reverses by the

23 time you're in your 20s.       I've seen it happen and guys talk

24 about it all the time!       But there'll already be guys watching

25 your cute little ass as you walk by."          Smile face symbol with a
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 110 of 247          343



 1 wink.

 2 A       "Most guys already do thag," that.

 3             MS. MASTERSON:    Smile face symbol.      "You're time is

 4 still coming babe.      You will put all of those snobby bitches to

 5 shame!!"    Smile face symbol.

 6 A       "I wish."

 7             MS. MASTERSON:    "Trust me hun.     I wouldn't lie to you.

 8 And, if you need anything you lmk, k?"          Kissy face emoji.

 9         "I wanted to offer when I was with you ... just lmk."

10 Smile face symbol.

11 A       "Ok."

12             MS. MASTERSON:    Smile face symbol.

13 A       "Ugh I wanna die."

14             MS. MASTERSON:    "It will be over before you know it.

15 Think about what I said, k?        I meant every word.     You don't

16 know how much you have to look forward to.          You're sexy, hot,

17 smart, and there is a determination about you.           You probably

18 got it with your smirk from Granddad.          You're definitely a

19 keeper."    Heart emoji with an arrow through it.

20         "I hope your day went well."      Smile face symbol.

21 A       "All my boyfriend and I did is fight."

22             MS. MASTERSON:    "I'm sorry, hun.     What did you fight

23 about?"

24 A       "Just everything."

25             MS. MASTERSON:    "I'm sorry."     Smile -- I'm sorry,
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 111 of 247           344



 1 unhappy face symbol.

 2        "How was school?"

 3 A      "Fine.     I mean its school."

 4               MS. MASTERSON:    "Lol.   Yes, it is.

 5        "You knew and had talked about how things were going to

 6 change when school started.          If you give it a little time I'm

 7 sure you will reach a tolerable state between the two of you

 8 hun.

 9        "I was going to say hi earlier but didn't want to disturb

10 you until it was after time for your dad to be home."              Smile

11 face symbol.

12 A      "What do you mean?"

13               MS. MASTERSON:    "I was going to text you earlier.          But

14 I thought it would be better to wait until after supper time."

15 Smile face symbol.

16 A      "Oh.      We haven't eaten supper yet."

17               MS. MASTERSON:    "Ugh.   I tried!"    Happy -- smile face

18 symbol.

19 A      "Its ok."

20 Q      Special Agent O'Leary, I'm going to interrupt for a

21 moment.    Looking at rows 246 and 247, approximately how much

22 time transpires between those two messages?

23 A      It's the next day.       The last message on the 29th is at

24 7:51 PM, and then the next one is on August 30th, the next day,

25 at 7:52 in the morning.
 2:18-cr-00012-cr    Document 201 J.
                          Timothy Filed 01/25/21 - Direct
                                      O'Leary      Page 112 of 247     345



 1 Q     Thank you.

 2             MR. GILMAN:     Let's continue reading.

 3             MS. MASTERSON:     Which line?

 4             MR. GILMAN:     Line -- starting with line 247, Ms.

 5 Masterson.       Thank you very much.

 6             MS. MASTERSON:     Thank you.

 7       "Boy, you guys are getting gorgeous days to start off the

 8 school year!      Have a good day hun."      Smile face symbol.

 9 A     "Its picture day."

10             MS. MASTERSON:     "Cool!    I'm sure you look adorable."

11 Kissy face emoji.

12 A     "I just got done smoking."

13             MS. MASTERSON:     "Cigarettes?"

14 A     "Ya."

15             MS. MASTERSON:     "You know better than that ... you

16 need to be disciplined.        Bad girl.

17       "If it was 420 I'd at least understand a little."

18 Q     Let me interrupt there for a moment.          Special Agent

19 O'Leary, based on your training and experience, what does "420"

20 refer to in this context?

21 A     Marijuana in this context.

22 Q     Thank you.

23             MR. GILMAN:     Let's continue reading.

24 A     "My anxiety has been high as fuck and I'm not anxious

25 anymore."
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 113 of 247              346



 1            MS. MASTERSON:     "You still are a bad girl.          They're

 2 not good for you, and they make you smell."

 3 A     "I know they aren't good for me."

 4            MS. MASTERSON:     "You're smarter than that hun.

 5       "Smoking takes the fun out of making out ..."              Unhappy

 6 face symbol.

 7 A     "I'm ready to punch some bitches in the face" -- excuse

 8 me.   "I'm ready to punch some bitches face in."

 9            MS. MASTERSON:     Smile face symbol.      "Be nice hun.

10 Violence doesn't solve anything.         It just causes more violence.

11 What did she do?"

12 A     "She sat there and gave me glares all through gym anytime

13 I said anything.      She was one of those stuck up preppy bitches

14 too with fake nails.       The ones that society would say is better

15 than me in looks."

16            MS. MASTERSON:     "Hmmm.    It's funny that she's jealous

17 of you then, if she is so good looking.          That's why she was

18 glaring at you - she's jealous of you."          Smile face symbol.

19       "How did you look for your pictures??"

20 A     "I just had my hair in a pony tail."

21            MS. MASTERSON:     "Cool.    I'm sure you looked great.

22       "So why is this bitch jealous?        She probably saw how

23 awesome your ass looks, and how athletic you are, and she knows

24 she's gonna blow up like a blimp."         Kissy face emoji.

25       "Sorry for the delay in replying - I worked last night so
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 114 of 247          347



 1 I was sleeping."

 2 A     "Hahaha ... we were answering questions our teacher was

 3 asking and I answered.         She acted like she shouldn't even be

 4 allowed in the same room as someone who is so 'below her.'"

 5             MS. MASTERSON:      "That's funny.     She was really f'ing

 6 pissed at you for some reason, lol.           Good for you!"       Kissy face

 7 emoji.

 8 A     "How is that good for me?          That just means more drama and

 9 shit being said that isn't true.           You obviously don't

10 understand how shit works now a days."

11             MS. MASTERSON:      "Hah!    There is always drama hun.

12 Always.     When someone gets that mad over nothing, they are

13 really reacting to something that has no value whatsoever or

14 doesn't matter at all.         As if what someone says in a class has

15 any real bearing on anything.           That's not drama that's her

16 problems.        Just ignore it - it means nothing.       But you were

17 controlling her.        Without even trying lol.      That's Why it

18 amuses me."        Smile face symbol.

19 A     "Ok."

20             MS. MASTERSON:      Kissy face emoji.

21 A     "I'm tired af."

22 Q     Let me interrupt there for a moment.           Special Agent

23 O'Leary, based on your training and experience, what is the

24 significance of "AF"?

25 A     It would be shorthand for "as fuck."
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 115 of 247          348



 1 Q      Thank you.      Let's continue reading.

 2               MS. MASTERSON:    "I'm sure.    I hope the rest of your

 3 day goes well."        Smile face symbol.

 4 A      "I just painted the chicken coop and cleaned it."

 5               MS. MASTERSON:    "Ugh.   That's a good thing be get

 6 done!"

 7 A      "Ya.      They needed it."

 8               MS. MASTERSON:    "You sweet, hun."     Kissy face emoji.

 9 A      "I just want to be friends.         You aren't my type."

10               MS. MASTERSON:    "'You're', not you?

11 A      "Whatever."

12               MS. MASTERSON:    "I know.    I'm not asking for

13 anything."       Smile face symbol.

14 A      "I know but you always send the kissy faces."

15               MS. MASTERSON:    "You're just sweet.      You care about

16 the f'ing chickens!"         Kissy face emoji.

17 A      "Well I mean they are gonna make me money so."

18               MS. MASTERSON:    "That's a heart, not a kissy thing

19 hun.

20        "It's just nice."       Smile face symbol.

21 A      "No.      Thats a kissy thing.

22        "I don't like it."

23               MS. MASTERSON:    "Lol, ok."    Smile face symbol "but

24 it's a heart."

25 A      "NO ITS NOT!      Its a kissy face.     Do you see the lips!"
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 116 of 247          349



 1              MS. MASTERSON:     "It's a smirk with a heart!!!       Put

 2 your glasses on hun!"

 3 A     "No its not.       Dont talk to me now."

 4              MS. MASTERSON:     Smile face symbol "Have a good night!"

 5 Smile face symbol.

 6 A     "No.       I mean like don't talk to me at all."

 7 Q     Thank you, Special Agent O'Leary.

 8       I'd like to pull up what's in evidence as Government

 9 Exhibit 24.

10       Agent O'Leary, could you explain this exhibit to the jury,

11 specifically the column headers from left to right.

12 A     Yes.       Yes.   From left to right, the column headers, the

13 first one is "Time."         That is, again, the time and date in

14 which an email was sent.

15       "From" would be the sender of the email.

16       "To" would be the recipient of the email.

17       "Direction" would be outgoing or ingoing.            In this case

18 they are all outgoing emails from the defendant.

19       "Subject" is the subject line of the email.

20       And, again, "Body Message" is the actual contents, the

21 body of the email.

22 Q     And taking one step back, what is this document?             Can you

23 explain for the jury?         What does it show?

24 A     This is three emails from the defendant's email to an

25 unknown other person.
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 117 of 247    350



 1 Q     Could you please read the first row of Government Exhibit

 2 24 to the jury beginning with the time and across.

 3 A     Sure.      It's from 8 -- August 20th, 2017, at 2317 hours,

 4 which is 11:17 PM.

 5       From shelrw001@gmail.com, labeled "Randy."

 6       To an anonymized Craigslist email address.

 7       Would you like me to read the whole thing?

 8 Q     That's all right.        For the record, if you could read the

 9 last four items before the at symbol.

10 A     Sure.      It's "2acc," then "@reply.craigslist.org."

11 Q     Could you continue reading across the row.

12 A     Yup.       The direction of the email is outgoing.

13       The subject is "Re:        August."

14       And the body of the email reads, "I just got an email from

15 a 15 year old girl responding to a craigslist ad I posted

16 looking for a younger woman ... I immediately thought of you.

17       "Randy."

18 Q     Thank you.       Could you please read the second row of

19 Government Exhibit 24 from left to right.

20 A     Sure.      The second email was from August 21st, 2017, at

21 2:10 in the morning.

22       Again from shelrw001@gmail.com.

23       Again to the same anonymized Craigslist email ending

24 "2acc@reply.craigslist.org."

25       This was another outgoing email from the defendant.
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 118 of 247        351



 1       Again, the subject is "Re:          August."

 2       And the body of the message states, "Mmmmmm.             She's

 3 adorable.        And wants to meet.    She likes to kiss and cuddle.

 4 She sent me some pics ... all of them are sexy, but she is shy

 5 about being totally nude.         One is a nipple shot though ... cute

 6 little tits.        Nice little curvy ass.     I bet she is going to

 7 taste incredible.        Mmmmmmmm."

 8 Q     Directing your attention to the third row of Government

 9 Exhibit 24, could you please read that row from left to right

10 for the jury.

11 A     Yes.       It was from August 21st, 2017, at 1516 hours, or

12 3:16 in the afternoon.

13       From shelrw001@gmail.com.

14       To the Craigslist email ending in "2acc."

15       It was an outgoing email.

16       Again, the subject line is "Re:          August."

17       And the body of the email reads, "I met her.             She's got an

18 amazing little body.         I'm not sure if we will end up fucking

19 but we made out and did some heavy petting ... she has small

20 tits but they have a great shape, and these little pink nipples

21 that are really sensitive.          She loves to have her neck kissed.

22 And she gets really wet, but it was just a little while ago so

23 the middle of the day and we were just sitting in the car so

24 there was no way we could fuck."

25 Q     Thank you.       I'd like to pull up what's in evidence as
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 119 of 247        352



 1 Government Exhibit 66.          Do you recognize these, Special Agent

 2 O'Leary?

 3 A     Yes, I do.

 4 Q     What are these?

 5 A     These are call and text logs for the phone account

 6 belonging to Elisha.

 7 Q     Okay.       And how do you know it belongs to Elisha?

 8 A     Based on her 617 cell phone number.

 9 Q     Can you indicate on the screen - if you touch the screen,

10 it will respond to your touch - where you see that number on

11 the record?

12 A     Yes.       Sorry.

13 Q     Thank you.          Have you found communications in Government

14 Exhibit 66 with the telephone number 802-310-2018?

15 A     Yes.

16 Q     Could -- if you see any on this page, could you indicate

17 one for the jury?

18 A     Sure.

19              MR. GILMAN:       Let the record reflect the witness has

20 identified that number.

21              THE COURT:       The record so reflects.

22 Q     Special Agent O'Leary, whose telephone number is that?

23 A     The defendant's.

24 Q     Have you compared the data -- the messages that appear in

25 Government Exhibit 27 to the information in Government Exhibit
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 120 of 247          353



 1 66?

 2 A     Yes.       This exhibit confirms the text message

 3 communications found on the defendant's cell phone.                They also

 4 appear here on Elisha's phone records.

 5              MR. GILMAN:     At this time, your Honor, the Government

 6 would request Government Exhibit 60, request for judicial

 7 notice, be read into the record.

 8              THE COURT:     All right.    And I understand there's no

 9 objection?

10              MR. KAPLAN:     That's correct, your Honor.

11              THE COURT:     You may do so.

12              MR. GILMAN:     Excuse me one moment.

13       Would the Court be willing to read that judicial notice

14 into the record?

15              THE COURT:     Sure.   I thought you were going to read

16 it, but I'd be happy to read it.           You want to provide me a copy

17 with what you would like me to read?

18              MR. GILMAN:     Yes.    May we pull up Government Exhibit

19 60 on the screen?

20              MR. KAPLAN:     Judge, I think in the past prosecutors

21 have read stipulations into the record.

22              THE COURT:     Yes.    I will admit it as an exhibit if you

23 are asking for that, but why don't you read it into the record.

24              MR. GILMAN:     Yes, your Honor.     I'd be happy to.

25       Pursuant to Rule 201 of the Federal Rules of Evidence, the
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 121 of 247          354



 1 Government respectfully requests that the Court take judicial

 2 notice of the following facts, which are generally known within

 3 the trial court's territorial jurisdiction and which can

 4 accurately and readily be determined from sources whose

 5 accuracy cannot reasonably be questioned.

 6       The Internet is a facility of interstate and foreign

 7 commerce.

 8       The use of a cellular telephone constitutes a facility of

 9 interstate commerce.

10       I'd like to specify, your Honor, specifically that the use

11 of a cellular phone constitutes use of a facility of interstate

12 commerce.

13             THE COURT:    All right.    Pursuant to the parties'

14 request, the Court takes judicial notice of the facts set forth

15 in that stipulation.

16             MR. GILMAN:    Thank you, your Honor.      The Government

17 would now like to read a stipulation in -- represented in

18 Government Exhibit 59 into the record.

19             THE COURT:    You may do so.

20             MR. GILMAN:    May we have the witness read that?

21             THE COURT:    Sure.

22             MR. GILMAN:    Can we bring up Government Exhibit 59,

23 Ms. LaBombard.      Thank you.

24 A     The -- the United States of America, by its attorneys,

25 Assistant United States Attorneys Barbara Masterson and Andrew
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 122 of 247   355



 1 Gilman; the defendant, Randy Sheltra; and his attorney, Mark

 2 Kaplan, hereby agree and stipulate to the following:

 3       Title 13, Vermont Statutes Annotated, Section 2602,

 4 provides:

 5       (a)(1) No person shall willfully and lewdly commit any

 6 lewd or lascivious act upon or with the body, or any part or

 7 member thereof, of a child under the age of 16 years, with the

 8 intent of arousing, appealing to, or gratifying the lust,

 9 passions, or sexual desires of such person or of such child.

10       (b)(1) This section shall not apply if the person is less

11 than 19 years old, the child is at least 15 years old, and the

12 consent is consensual.

13 Q     Sorry.      Could you read that last part again?

14 A     Sure.      This section shall not apply if the person is less

15 than 19 years old, the child is at least 15 years old, and the

16 conduct is consensual.

17 Q     Thank you.

18 A     Sorry.

19 Q     Could you please continue reading.

20 A     Yes.       Title 13, Vermont Statutes Annotated, Section

21 3252(c), provides:

22       (c) No person shall engage in a sexual act with a child

23 who is under the age of 16, except:

24       (1) where the persons are married to each other and the

25 sexual act is consensual; or
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 123 of 247    356



 1       (2) where the person is less than 19 years old, the child

 2 is at least 15 years old, and the sexual act is consensual.

 3       Title 13, Vermont Statutes Annotated, Section 3251(1),

 4 provides:

 5       (1) a "sexual act" means conduct between persons

 6 consisting of contact between the penis and the vulva, the

 7 penis and the anus, the mouth and the penis, the mouth and the

 8 vulva, or any intrusion, however slight, by any part of a

 9 person's body or any object into the genital or anal opening of

10 another.

11 Q     Thank you.     In the course of your investigation, did you

12 receive records from GlobalFoundries regarding Mr. Sheltra?

13 A     Yes.

14 Q     I'd like you to look in your binder for what's marked for

15 identification as Government Exhibit 19, a previously agreed-to

16 exhibit.

17 A     Yes.

18 Q     What is this exhibit?

19 A     This exhibit is a report of key card access into

20 GlobalFoundries' facilities attributed to the defendant.

21              MR. GILMAN:    The Government offers Government Exhibit

22 19.

23              THE COURT:    Any objection?

24              MR. KAPLAN:    No objection.

25              THE COURT:    It's admitted.
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 124 of 247       357



 1         (Government's Exhibit 19 was received in evidence.)

 2                MR. GILMAN:    May we publish these, your Honor?

 3                THE COURT:    You may.

 4 Q       BY MR. GILMAN:       Looking at Government Exhibit 19, could

 5 you explain to the jury the headers at the top of this page

 6 from left to right.

 7 A       Sure.    Date and time is, again, just the date and time of

 8 the key card access into a door, a facility.

 9         The "Device" would be which part of the facility he was

10 attempting to access or was accessing.

11         "Event" shows whether access was granted or not.

12 Q       Okay.    And what is the cardholder name?

13 A       Sheltra, Randy.

14 Q       What is the date range shown in this exhibit?

15 A       It ends on September 10th, 2017.

16 Q       And can you look to see when it begins.

17 A       It goes in reverse chronology.        It begins on July 1st,

18 2017.    So July 1st, 2017, till -- until November -- September

19 10th, 2017.

20 Q       Based on this exhibit, did Mr. Sheltra access these

21 facilities while he was communicating with Elisha Rollins, ER?

22 A       Yes.

23 Q       Based on this exhibit, did Mr. Sheltra access these

24 facilities while he was communicating with the undercover

25 officer?
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 125 of 247         358



 1 A       Yes.

 2 Q       In what state are these facilities located?

 3 A       Vermont.

 4 Q       Thank you.     I'm going to show you what's in evidence as

 5 Government Exhibit 36.

 6                MR. GILMAN:   Could we pull that up as well.        Could we

 7 go to the second page?         I apologize, Ms. LaBombard.

 8 Q       Do you recognize this document?

 9 A       I do.

10 Q       What is it?

11 A       This is part of a report detailing Chrome Internet

12 searches from the defendant's cell phone.

13 Q       Directing your attention to row 1067, the bottom of this

14 Government Exhibit 36, page 2, could you read that row to the

15 jury?    Could you, rather, explain what it says to the jury?

16 A       Yes.     It indicates that on August 20th, 2017, at 2337

17 hours, so at 11:37 PM, a search was conducted on -- on the

18 defendant's cell phone, and the search terms were "pedophile

19 definition."

20 Q       Looking at row 1065 of Government Exhibit 36, could you

21 please explain that row to the jury.

22 A       Yes.     That was a search on Chrome from that phone on the

23 same day, August 20th, 2017, at 11:58 PM, and that search

24 wore -- that search was for "orange vt to alburgh vt."

25 Q       Where did Elisha Rollins live?
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 126 of 247         359



 1 A     In Orange, Vermont.

 2 Q     Where did Mr. Sheltra live?

 3 A     In Alburgh, Vermont.

 4 Q     Directing your attention to row 1063 of Government Exhibit

 5 36.   What does that row show?

 6 A     That row shows that on the 21st of August, 2017, at 9:03

 7 in the morning, a search was conducted for "craigslist vt."

 8 Q     Directing your attention to row 1061 of Government Exhibit

 9 36, could you explain to the jury what that row shows.

10 A     Yup.       Again, on -- on the 21st at -- I'm sorry.         You said

11 61?

12 Q     1061, yes.       Thank you.

13 A     Okay.       Sorry.   The 21st at 9:10 AM, a search was conducted

14 on defendant's cell phone using Chrome for "73 reservoir road

15 orange vt."

16 Q     Agent O'Leary, whose address is that?

17 A     Elisha Rollins'.

18 Q     Directing your attention to row 1057 of Government Exhibit

19 36, could you explain to the jury what that row shows.

20 A     Yup.       On -- on August 21st, 2017, at 9:16 in the morning,

21 a search was conducted for "Amateur Young with older sex

22 videos."

23 Q     And looking at row 1056, could you please explain to the

24 jury what that row shows.

25 A     Again, this was a Chrome search on the 21st at 11:48 for,
 2:18-cr-00012-cr    Document 201 J.
                          Timothy Filed 01/25/21 - Direct
                                      O'Leary      Page 127 of 247        360



 1 again, "73 reservoir road, orange vt."

 2 Q       Going back to the first search at the bottom, 1067, based

 3 on your training and experience, what is the definition of a

 4 "pedophile"?

 5 A       A pedophile would be an individual with a sexual interest

 6 in children.

 7 Q       Looking at rows 1060 and rows 1057, how much time has

 8 passed between those two searches?

 9 A       A little over nine hours.      The first one on the 20th was

10 at 11:37 at night, and then the last one in row 1060 was at

11 9:10.

12 Q       I apologize if my question wasn't clear.

13 A       Oh, I'm sorry.

14 Q       I was looking specifically at rows 1060.

15 A       Oh, I'm sorry.

16 Q       And comparing it to row 1057.

17 A       Oh, I'm sorry.     So that was just over two and a half hours

18 from 9:10 in the morning to 11:48.

19 Q       Sorry.   Looking at row -- excuse my marking.         I'm looking

20 at row 1057 here specifically.

21 A       Okay.

22 Q       And 1060.

23 A       Okay.    So that was -- that was six minutes.

24 Q       Thank you --

25 A       Okay.
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 128 of 247   361



 1 Q     -- Agent O'Leary.

 2 A     Yes.

 3 Q     Did you ever meet Elisha Rollins in person?

 4 A     Yes, I have.

 5 Q     You've reviewed the photographs sent from Mr. Sheltra's

 6 phone number?

 7 A     Yes, I have.

 8 Q     Is Elisha Rollins the person that appears in the

 9 photographs that we reviewed --

10 A     She is.

11 Q     -- from that phone number?

12 A     She is.

13 Q     I'd like for you to look in your binder at Government

14 Exhibit 20, a previously agreed-to exhibit.

15 A     Sorry.      20?

16 Q     Yes.       Do you recognize this?

17 A     I do.

18 Q     What is it?

19 A     This is a certified copy of Elisha Rollins' birth

20 certificate.

21              MR. GILMAN:     Your Honor, the Government offers

22 previously agreed-to Exhibit -- Government Exhibit 20.

23              THE COURT:     Any objection?

24              MR. KAPLAN:     No objection, your Honor.

25              THE COURT:     It's admitted.
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 129 of 247        362



 1         (Government's Exhibit 20 was received in evidence.)

 2                MR. GILMAN:    May we publish?

 3                THE COURT:    You may.

 4                MR. GILMAN:    Let's look at Government Exhibit 20.

 5 Q       BY MR. GILMAN:       What are we looking at again, Mr. --

 6 sorry, Agent O'Leary?

 7 A       Yes.     This is a certified copy of Elisha Rollins' birth

 8 certificate.

 9 Q       And where do you see her name?

10 A       Her name is in the first row under "Child."          Elisha Marie

11 Rollins.

12 Q       What is the date of birth indicated?

13 A       Right to the right of that, it's indicated as October

14 30th, 2001.

15 Q       Where was she born?

16 A       In Burlington, Vermont.

17 Q       How old was Elisha Rollins, approximately, in August of

18 2017?

19 A       She was 15 years old.

20                MR. GILMAN:    May I have a brief moment, your Honor?

21                THE COURT:    You may.

22                MR. GILMAN:    Just briefly, your Honor, a few more

23 questions.

24 Q       Could we turn back to Government Exhibit 26.           Looking at

25 the first page, in the first email, order 1, what is the date
 2:18-cr-00012-cr     Document 201 J.
                           Timothy Filed 01/25/21 - Direct
                                       O'Leary      Page 130 of 247     363



 1 of that email?

 2 A     August 20th, 2017.

 3 Q     And could you read the third sentence.

 4 A     "I am going to soon be 16 and am interested in older men."

 5 Q     Who is that message from?

 6 A     Elisha Rollins.

 7              MR. GILMAN:     Could we go to row 31 of this same

 8 exhibit.

 9 Q     Could you please read that row to the jury.

10 A     Yes.       She writes, "I turn 16 in 2 months and 9 days."

11 Q     Based on your review of Ms. Rollins' birth certificate, is

12 that correct?

13 A     Yes, that would be correct.          That would --

14 Q     Excuse me.       Please go ahead.

15 A     No.    Yes.     Based on my review of the birth certificate,

16 that is correct.        She would turn 16 two months and nine days

17 later.

18 Q     Thank you.

19              MR. GILMAN:     No further questions at this time.

20              THE COURT:     All right.    At this point I want to talk

21 to the attorneys, so we'll use the headsets and the husher.

22       (The following was held out of the hearing of the jury.)

23              THE COURT:     Can you all hear me?

24       Johanna, can you hear me?

25       So I waited till we had two sets of emails before raising
 2:18-cr-00012-cr   Document 201 J.
                         Timothy Filed 01/25/21 - Direct
                                     O'Leary      Page 131 of 247           364



 1 the issue of the curative instruction and pointing out that Mr.

 2 Sheltra is not on trial for the Alisha A emails, and I was

 3 planning on giving a curative instruction to that effect at

 4 this point.      Any thoughts about that?

 5       Let me start with you, Mr. Kaplan.

 6            MR. KAPLAN:     That's fine, Judge.

 7            MS. MASTERSON:     Your Honor, we disagree that any

 8 curative instruction is necessary.         Mr. Kaplan introduced the

 9 Alisha email exhibit in his -- as his exhibit, and so it is not

10 404(b) evidence being offered by the Government.           It was Mr.

11 Kaplan's exhibit that we published.

12            THE COURT:     It may not be 404(b) evidence that is

13 offered by the defendant, but it is other acts that pertain to

14 something that Mr. Sheltra is not on trial for, and the Court

15 is going to clarify that to make it clear to the jurors that

16 they are not to base their verdict on those emails as evidence

17 of the crime other than under 404(b), because that's the

18 purpose for which the Court admitted them.

19       Anything further before we take off our headsets?

20            MR. KAPLAN:     No, Judge.    Thank you.

21            MS. MASTERSON:     No, your Honor.

22       (The following was held in open court.)

23            THE COURT:     Ladies and gentlemen of the jury, I'm

24 going to give you what's called a curative instruction.

25       So there are two sets of emails in this case.              Actually,
 2:18-cr-00012-cr   Document 201 Filed
                         Timothy       01/25/21 - Page
                                 J. O'Leary       Cross132 of 247        365



 1 there's other sets that I'm going to draw a distinction for

 2 you.   The Alisha AR emails -- Alisha, without the R, emails are

 3 not emails that Mr. Sheltra is on trial for.           Those emails were

 4 introduced for a different purpose.         So the defendant is not on

 5 trial for that conduct.       He's only on trial for the crimes with

 6 which he has been charged.

 7        Accordingly, you may not consider evidence of other acts

 8 as a substitute for evidence the defendant committed the crimes

 9 charged.    Nor may you consider evidence of other acts as

10 evidence that the defendant has a criminal personality,

11 criminal propensity, or a bad character.

12        The evidence of other acts contained in the Alisha A

13 emails was admitted for a limited purpose, and you may consider

14 it only for this limited purpose.         You may consider it in

15 assessing motive, opportunity, intent, plan, preparation,

16 absence of mistake, or lack of accident.          Evidence of other

17 acts may not be considered by you for any other purpose.

18        When I talk about "emails," I also mean any texts with the

19 Alisha A person.

20        At this point do we have any cross-examination?

21            MR. KAPLAN:     Yes, Judge.    Thank you.

22                             CROSS-EXAMINATION

23 BY MR. KAPLAN:

24 Q      So as I understand it, Mr. O'Leary, you were, at least for

25 a while, the lead agent in the case?
 2:18-cr-00012-cr   Document 201 Filed
                         Timothy       01/25/21 - Page
                                 J. O'Leary       Cross133 of 247     366



 1 A     Yes, sir.

 2 Q     And you wrote a number of reports?

 3 A     Yes, sir.

 4 Q     And you also, as I understand it, did a Google search to

 5 see what Mr. Sheltra had posted on -- on Craigslist?

 6 A     A Google search?

 7 Q     Well --

 8 A     Explain that.

 9 Q     Maybe I'm using the wrong term.        You checked Craigslist to

10 see what other posts Mr. Sheltra had put on Craigslist?

11 A     I know we issued a subpoena for all Craigslist posts under

12 the username we suspected he was using.

13 Q     And you found a number of different posts that he had put

14 on Craigslist?

15 A     Yes.

16 Q     And would you agree that not one of those posts ever

17 suggested that he was looking for a sexual relationship with a

18 minor?

19 A     I'd have to review all the posts because it's been a

20 while, but I can't remember the entirety of each post.

21 Q     Would you turn to Defendant's Exhibit B5, please.

22 A     B5?

23 Q     B5.

24 A     Yes, sir.

25 Q     So I'm assuming based on your extensive experience that
 2:18-cr-00012-cr   Document 201 Filed
                         Timothy       01/25/21 - Page
                                 J. O'Leary       Cross134 of 247   367



 1 you've been trained how to write reports.

 2 A     Yes, sir.

 3 Q     And when you write a report, I'm assuming if something's

 4 important, you want to put it in there?

 5 A     Yes, sir.

 6 Q     And because you understand that that report may be used in

 7 a proceeding like we're having today?

 8 A     Correct.

 9 Q     So when you wrote this report that's on Exhibit B5 that's

10 dated February 12th of 2018, you referenced a number of posts

11 that Mr. Sheltra had put on Craigslist.

12 A     Correct.

13 Q     And when you did that, that was a result of you having

14 looked on Craigslist to see what he posted?

15 A     I believe that was a result of a subpoena return that

16 we -- a summons return that we got back from Craigslist.

17 Q     A subpoena or whatever.

18 A     Yes.

19 Q     But these are the ones that you got?

20 A     Correct.     These are the ones associated with that

21 username.

22 Q     So when you wrote this report, you included all the ones

23 that you were provided by Craigslist?

24 A     I believe so, yes.

25 Q     And in all of those -- do you need a minute to review your
 2:18-cr-00012-cr     Document 201 Filed
                           Timothy       01/25/21 - Page
                                   J. O'Leary       Cross135 of 247       368



 1 report?

 2       In your report, all of the Craigslist posts that you

 3 reference, none of them mention a minor; isn't that true?

 4 A     None --

 5              MR. GILMAN:     Objection, your Honor.      Assumes facts not

 6 in evidence.        Misstates the evidence.

 7              THE COURT:     Well, this is refreshing recollection.

 8 The witness testified that he did not recall whether or not

 9 there were any postings looking for sex from a minor.

10 A     So no, not specifically in those words, sir.

11 Q     Okay.       So I'd appreciate it if you would look at

12 Government's Exhibit 12.

13 A     Yes, sir.

14 Q     And is Government Exhibit 12 one of the posts that you

15 had -- you were provided by Craigslist?

16 A     Yes.

17              MR. KAPLAN:     Your Honor, I would move to admit

18 Government's Exhibit 12.

19              THE COURT:     Any objection?

20              MR. GILMAN:     No objection, your Honor.

21              THE COURT:     It's admitted.

22       (Government's Exhibit 12 was received in evidence.)

23 Q     BY MR. KAPLAN:        And Government Exhibit 14 has already been

24 admitted.        I'm going to ask you if you would please read -- so

25 I've got to -- could you please read just the body of
 2:18-cr-00012-cr    Document 201 Filed
                          Timothy       01/25/21 - Page
                                  J. O'Leary       Cross136 of 247         369



 1 Government Exhibit 12 to the jury, please.           Starting with "I am

 2 an unattached."

 3 A      Sure.     "I am an unattached, middle-aged white male,

 4 intelligent, employed professional, who wants to explore with

 5 you.     You are an attractive (average or better, thin to nicely

 6 proportioned), late teens to late 20s (possibly older, under

 7 special circumstances) unattached woman, most likely with a

 8 hidden past, or a very dark side - urges or cravings - that

 9 make you unique.       You never share this part of you with

10 anyone - but it is such a major piece of who you are, you can

11 never feel complete.        Can you imagine how it would feel to be

12 your true self with someone?

13        "This could be a one time thing, or it could last forever.

14        "Put the name of a month in the subject line of your

15 reply.    I'm looking forward to hearing from you!"

16 Q      Thank you.

17             MR. GILMAN:     Objection, your Honor.      May we have a

18 brief sidebar about this exhibit?

19             THE COURT:     You may.   Go ahead and put on the

20 headsets.

21        (The following was held out of the hearing of the jury.)

22             THE COURT:     Can you all hear me?

23        Go ahead.

24             MR. GILMAN:     Your Honor, I'll note that the defense

25 counsel has highlighted certain portions of these exhibits, and
 2:18-cr-00012-cr    Document 201 Filed
                          Timothy       01/25/21 - Page
                                  J. O'Leary       Cross137 of 247         370



 1 he's not -- it's in effect as if he's testifying through the

 2 exhibits without asking the witness any questions about what he

 3 has emphasized.

 4             THE COURT:     Okay.   The exhibit would not go into

 5 evidence with the highlight on it.          I assume there is a

 6 question coming after Mr. Kaplan sets it up with "This is an

 7 email," and I assume we're going to have a question afterwards,

 8 so I think the objection's a little premature.

 9         Let me ask Mr. Kaplan about that.

10             MR. KAPLAN:     It was -- it would not have been my --

11 can you hear me?

12             THE COURT:     Yes.

13             MR. KAPLAN:     It would not have been my intention to

14 introduce that particular document.          I would actually find the

15 Government's clean one and introduce that in their exhibit

16 book.    I didn't think the highlight mattered in the situation

17 where they're reading the entire -- where he was reading the

18 entire document to the jury.         It's not that long.

19             THE COURT:     Well, the highlighting doesn't really

20 matter any more than a prosecutor or a defense attorney

21 circling in red something.         So -- could you hear me?       Because I

22 don't know if somebody had their button on.

23         Okay.    So what I think Mr. Gilman's objection is is there

24 does need to be a question at some point.

25         Is that where you're going with this, Mr. Gilman?
 2:18-cr-00012-cr    Document 201 Filed
                          Timothy       01/25/21 - Page
                                  J. O'Leary       Cross138 of 247          371



 1              MR. GILMAN:    Yes, your Honor.     Thank you.

 2              THE COURT:    Okay.   So I am looking for a question, not

 3 just putting up a document, but a question to the witness

 4 thereafter.      Okay?

 5              MR. GILMAN:    Thank you, your Honor.

 6       (The following was held in open court.)

 7 Q     BY MR. KAPLAN:       So the document that -- that you just read

 8 to the jury, that doesn't say anything about Mr. Sheltra

 9 looking for a relationship or sexual relationship with a minor?

10 A     No, not specifically.

11 Q     And again, that's consistent with all of the other

12 Craigslist postings that you saw with respect to Mr. Sheltra?

13 A     There -- some of them were different.          I don't know if

14 they were all consistently the same type of posting.              So I

15 guess I'm not sure --

16 Q     But none of them mentioned a minor?

17 A     None of them say "minor," no.

18 Q     Okay.      So you indicated in your direct examination that

19 Mr. Sheltra did some searches on -- on Google.

20 A     According to the forensic report, yes.

21 Q     Like, he searched the term "pedophile."

22 A     That's what the report indicates, yes.

23 Q     That was done in August of 2017?

24 A     Yes.

25 Q     And why do you think he did that?
 2:18-cr-00012-cr    Document 201 Filed
                          Timothy       01/25/21 - Page
                                  J. O'Leary       Cross139 of 247          372



 1            MR. GILMAN:      Objection, your Honor.

 2            THE COURT:      Sustained.

 3            MR. GILMAN:      Calls for speculation.

 4            THE COURT:      Sustained.

 5 Q     Don't people search particular terms when they --

 6 frequently when they don't know what it means?

 7 A     I mean, I suppose you could search a term for any number

 8 of reasons.

 9 Q     Okay.      And one of them being --

10 A     That being one of them, I suppose.

11 Q     Okay.

12            MR. KAPLAN:      I have nothing further, your Honor.

13 Thank you.

14            THE COURT:      Any redirect?

15            MR. GILMAN:      Just briefly, your Honor.

16       May we pull up Government Exhibit 26 in evidence.

17       Rather, could we start with Government Exhibit 36, the

18 second page?      Thanks, Ms. LaBombard.      Sorry.    Switching

19 exhibits to Government Exhibit 36, the second page.               Thank you.

20 I apologize.

21            MR. KAPLAN:      Objection, your Honor.      I don't believe

22 this is consistent with the cross.

23            THE COURT:      Is it within the scope of

24 cross-examination?       Let's have the headphones on and I'll ask

25 for a proffer.
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 140 of 247       373



 1         (The following was held out of the hearing of the jury.)

 2             THE COURT:    Can you hear me?

 3         Mr. Gilman?

 4             MR. GILMAN:    Yes, your Honor.       On cross-examination,

 5 Mr. Kaplan asked Mr. O'Leary about the definition of

 6 "pedophile," and in my redirect, I plan to show that Mr.

 7 Sheltra searched the definition of "pedophile" in that exhibit

 8 right before he used the term to give context to how the term

 9 was used in the evidence of our case.

10             THE COURT:    Any response, Mr. Kaplan?

11             MR. KAPLAN:    I don't think, unless I misremembered,

12 that I asked the witness "what does pedophile mean?"

13             THE COURT:    I think you did.       Let me go back.   Because

14 it caught my attention that we were having that definition.

15 So --

16             MR. GILMAN:    I believe Mr. -- I believe Mr. Kaplan

17 asked Mr. O'Leary what do people do, like, when they search

18 "pedophile definition," why would someone do that, in

19 substance.

20         Just to add, Mr. Sheltra did that search just a few

21 minutes before he wrote that email to ER.

22             MR. KAPLAN:    Judge, I don't know if it's appropriate

23 for me to speak now, but --

24             THE COURT:    Go ahead.

25             MR. KAPLAN:    -- it was the Government on direct that
 2:18-cr-00012-cr     Document 201    Filed 01/25/21   Page 141 of 247      374



 1 asked him about the search and asked him what the definition of

 2 "pedophile" is.        All I did was ask him why would someone search

 3 that.

 4             THE COURT:     All right.      Well, that puts it in play.

 5 And let me just get to it, because I recall this witness

 6 providing a definition, and I thought that it was elicited by

 7 Mr. Kaplan.

 8         I'm going to have the court reporter check the record.

 9             THE REPORTER:     I'm looking back at page 121 of the

10 direct examination, and the question was, "Going back to the

11 first search at the bottom, 1067, based on your training and

12 experience, what is the definition of a 'pedophile'?

13         "ANSWER:    A pedophile would be an individual with a sexual

14 interest in children."

15             THE COURT:     Okay.     And I am looking at a different

16 page that is Mr. Sheltra -- Mr. Kaplan's questions:

17         "Okay.     See, you indicate in your direct examination that

18 Mr. Sheltra did some searches on Google.

19         "According to the forensic report, yes.

20         "Like, he searched the term 'pedophile.'

21         "That's what the report indicates, yes.

22         "That was done in August of 2017?

23         "Yes.

24         "And why do you think he did that?

25         And then Mr. Gilman objected.          I sustained it.
 2:18-cr-00012-cr     Document 201 J.Filed
                          Timothy          01/25/21
                                        O'Leary      Page 142 of 247
                                                  - Redirect            375



 1         "Don't people search particular terms when they don't know

 2 what it means?

 3         "I mean, I suppose you could search a term for any number

 4 of reasons."

 5         So Mr. Kaplan did raise the issue, and it's within the

 6 scope of the cross.

 7         (The following was held in open court.)

 8                MR. GILMAN:   Thank you, your Honor.

 9         The Government will ask to publish Government Exhibit 36,

10 the second page.        Could we zoom in on the -- that's perfect.

11                              REDIRECT EXAMINATION

12 BY MR. GILMAN:

13 Q       Agent O'Leary, could you please read the bottom row, 1067

14 of Government Exhibit 36 to the jury.

15 A       Yes.     8/20/2017 at 2337 hours, 11:37 PM, "Chrome,"

16 "pedophile definition."

17 Q       And what does that show?

18 A       That shows that on the 20th at 11:37 at night, the --

19 someone on the device searched using Google Chrome the words

20 "pedophile definition."

21 Q       Thank you.     Let's turn to Government Exhibit 26, the first

22 page.

23                MR. GILMAN:   Can we go to the bottom message, row 6.

24 Q       What time is that message sent?

25 A       That's at 2340, which would be about -- which would be
 2:18-cr-00012-cr    Document 201 J.Filed
                         Timothy          01/25/21
                                       O'Leary      Page 143 of 247
                                                 - Redirect                376



 1 11:40 at night.

 2 Q     How much time had passed between that search on the phone

 3 and this email?

 4 A     Three minutes.

 5 Q     Can you please read this email to the jury.

 6 A     Sure.      "Thank you for the clarification.        I do know about

 7 the age of consent, but we live in such a controlling society

 8 that if anyone finds out, I'm labeled a perv, a stalker, a

 9 pedophile whether our acts are consensual or not.             That said,

10 I'm replying, aren't I?"         Smile face symbol.

11       "The pic you sent me is really f'ing hot.            Thank you.   I

12 can only imagine ... Mmmmmmmm.          Delicious.

13       "So what are you looking for, hun?           And, approximately

14 where do you live?       Ask me anything you like.

15       "Randy."

16            MR. GILMAN:      No further questions, your Honor.

17            THE COURT:      Any recross?

18            MR. KAPLAN:      No, your Honor.     Thank you.

19            THE COURT:      Thank you, sir.     You may step down.

20       (The witness was excused.)

21            THE COURT:      The Government may call its next witness.

22            MS. MASTERSON:       Your Honor, subject to confirming the

23 admission of the Government's exhibits, the Government rests.

24            THE COURT:      All right.     At this point we're going to

25 take our midafternoon break.
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 144 of 247             377



 1       Ladies and gentlemen of the jury, don't talk about the

 2 case, don't let anybody talk to you about the case.                It may

 3 take a little bit longer break than usual, but nothing -- not

 4 hours or anything else like that.

 5       I wish you a good break, and I'll have the attorneys

 6 remain in the courtroom.

 7      (The jury exited the courtroom, after which the following

 8 was held in open court at 2:12 PM.)

 9            THE COURT:    Here's what I propose:        That we -- you

10 confirm your exhibits now and that we come back for any Rule 29

11 motions and for the Court to advise the defendant of his right

12 to testify or not testify.       So we would come back before the

13 jury's break was over.

14       I want to further clarify the "other acts" evidence.                  Yes,

15 Mr. Kaplan admitted Defendant's Exhibit C, but the Government

16 used it.    So the rule is if you admit an exhibit and you don't

17 use it for any purpose and you don't ask any questions about

18 it, it generally does not remain in evidence.             Mr. Kaplan did

19 ask a few questions about it; for example, was Exhibit C found

20 in the phone.     So it was a close call, and that's why the Court

21 thinks a curative instruction is important.

22       It's also important, even in the absence of the issue of

23 who introduced it, to make sure that the jury is making a

24 distinction between this set of emails and the other set of

25 emails, because the Court admitted the Alisha A emails and
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 145 of 247     378



 1 texts for a limited purpose.

 2       So does that work for you as well, is that we would come

 3 back, say, in five or ten minutes and have any Rule 29 motions

 4 and the colloquy with the defendant?

 5            MR. KAPLAN:    Yes, your Honor.

 6            MS. MASTERSON:       Yes, your Honor.

 7            THE COURT:    And I just wanted to make sure that -- Mr.

 8 Sheltra's stipulation to the interstate commerce terms, they

 9 have a little bit more of a factual component to it, although

10 it is something that the Court routinely takes judicial notice

11 of.   -- that he is also voluntarily and knowingly waiving his

12 right to a jury trial as to whether or not this particular cell

13 phone or cell phone service traveled in interstate commerce.

14            MR. KAPLAN:    I believe that he is, Judge.

15            THE COURT:    Okay.     And, Mr. Sheltra, you confirm that?

16            THE DEFENDANT:       Yes, I do, your Honor.

17            THE COURT:    All right.      So we'll take our own break.

18 We'll come back in approximately ten minutes.

19       (A recess was taken, after which the following was held in

20 open court without the jury present at 2:29 PM.)

21            THE COURT:    We are back on the record in United States

22 of America vs. Randy Sheltra.

23       Let me hear from the Government first.            Are you all

24 satisfied with your exhibits?

25            MR. GILMAN:    We are satisfied with the exhibits with
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 146 of 247         379



 1 the -- with one exception.       I believe just a formality that I

 2 didn't formally offer the stipulation of Vermont statutes,

 3 Government Exhibit 59, and so I'm wondering if I could offer

 4 that formally and have the Court accept it into evidence.

 5            THE COURT:    All right.     Is it your preference that

 6 those two stipulations go back to the jury?

 7            MR. GILMAN:    So one stipulation regarding the

 8 statutes, and my preference -- our preference would be that it

 9 would go back with the jury, and then the judicial notice

10 component I believe should go back as well.

11            THE COURT:    Mr. Kaplan, how do you feel about that?

12            MR. KAPLAN:    I don't know if that's appropriate.

13 They're part of the record.        They were read into the record.

14 It's not any different really than any other evidence that was

15 put on the record.

16            THE COURT:    I will research this.        One thing in a

17 criminal case, if there's a stipulation to fact it's "you may"

18 as opposed to "you must" take it as established.

19       The other thing is the stipulations typically are read

20 into the record and they are not admitted unless there is an

21 agreement by both parties.       And I'll find the case on it.

22 Anytime I try to do research without -- on the bench, it

23 doesn't work, but -- but I have had this issue before.             So,

24 yes, of course you can offer it, and I will determine whether

25 it's -- the document itself should go back.
 2:18-cr-00012-cr   Document 201     Filed 01/25/21   Page 147 of 247             380



 1       Any Rule 29 motions at this time?

 2             MR. GILMAN:    Your Honor, just -- just to switch

 3 subjects.

 4             THE COURT:    Sure.

 5             MR. GILMAN:    On the topic of the stipulation, I'll

 6 note for the record that on the second page of Government

 7 Exhibit 59, it reads, "The parties further agree that this

 8 stipulation, marked as Government Exhibit 59, is admissible

 9 into evidence."

10             THE COURT:    And that's signed by both the parties?

11             MR. GILMAN:    Yes, your Honor.        And -- and the

12 defendant.

13             THE COURT:    Any thoughts on that, Mr. Kaplan?

14             MR. KAPLAN:    Well, I guess I interpreted that to mean

15 that we were stipulating to what's in the -- what's in the body

16 of the document, not necessarily that it would go into the --

17 into the jury room.

18             THE COURT:    All right.      So there is a stipulation to

19 its being admitted into evidence but not a stipulation to it

20 being an exhibit.      Fair to say?

21             MR. KAPLAN:    Yes.

22             THE COURT:    Okay.     All right.     I will find you the

23 case on stipulations and we'll discuss it further.                   At this

24 point in time, having it read into the record will be

25 sufficient.      If the jury wants us to, you know, present that
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 148 of 247        381



 1 and look at it again, they will let us know.

 2       Any Rule 29 motions at this time?

 3            MR. KAPLAN:    Yes, your Honor.       I would move for a

 4 judgment in favor of the defendant pursuant to Rule 29 for both

 5 Counts 1 and 2.      It appears in both Counts 1 and 2 that the

 6 Government's position is that Mr. Sheltra attempted to persuade

 7 either ER or the undercover agent to allow him to have sexual

 8 activity with the undercover agent's daughter and with ER

 9 herself.    I -- I would submit if you read the email

10 correspondence carefully; for example, the one with the

11 undercover agent, I don't believe there's sufficient evidence

12 in what Mr. Sheltra said to the undercover agent to suggest --

13 or to show that he's -- he's trying to persuade her in any way

14 to allow him to have sexual activity with the daughter.            He

15 mostly responds to her.

16       So she'll talk about what her daughter knows, she's

17 becoming aware of certain things, she's seen certain things.

18 The undercover agent says that "I know what I want to do," and

19 Mr. Sheltra responds.      And at the point where the undercover

20 agent makes it clear that she's interested in that -- that kind

21 of a relationship, Mr. Sheltra then says, "Well, if that's what

22 you want to do" -- essentially he says, "If that's what you

23 want to do, this is how we can do it," and goes into this long

24 fantasy-type discussion about how it can be done.

25       I think one of the telling aspects of that is that the
 2:18-cr-00012-cr   Document 201   Filed 01/25/21    Page 149 of 247         382



 1 undercover agent in her cross-examination initially said that

 2 the reason she wanted my client to travel to South Burlington,

 3 it would show intent.      Without that, the emails themselves

 4 weren't sufficient.      She did later on correct that, but I think

 5 that was clearly her position.         That would be my position

 6 looking at the emails.

 7       And I think it's clear from the emails that my client did

 8 not understand necessarily that the daughter would be present

 9 at that meeting.      He said, "If she wants to -- if you want to

10 bring your daughter, you can, and we can have dinner."

11       So that would be my position, your Honor, with respect to

12 Count 1.

13            THE COURT:    All right.     And what about Count 2?

14            MR. KAPLAN:    Count 2 is a similar argument in that it

15 looks like the Government's arguing that Mr. Sheltra tried to

16 persuade ER to have a sexual relationship with him, but that

17 really isn't what the emails say.          The emails -- it was -- it

18 was ER who initially contacted Mr. Sheltra.             When Mr. Sheltra

19 found out that she wasn't of age, he said, "We're not doing

20 anything because you're not of age."             It is true on occasion he

21 said, "Well, maybe I'll change my mind about that," but there's

22 no evidence that he did.

23       And, for example, when they met, it was ER that was

24 asking -- actually pleading with him to meet.              It wasn't my

25 client who initiated that conversation or tried to persuade her
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 150 of 247   383



 1 into meeting.     He did engage in -- in some graphic sexual

 2 conversations with her, but it didn't strike me that those

 3 conversations, although maybe inappropriate, were geared toward

 4 trying to persuade her to do anything.

 5       So that would be my argument, Judge, with respect to

 6 Count 2.

 7            THE COURT:    So the challenge is to knowingly attempted

 8 to persuade, induce, entice, or coerce a person to engage in

 9 sexual activity?

10            MR. KAPLAN:    That's correct, your Honor.

11            THE COURT:    All right.      Let's hear any response.

12            MS. MASTERSON:       Thank you, your Honor.

13       Applying the appropriate standard as to whether there is

14 substantial evidence, taking the view most favorable to the

15 Government to support a guilty verdict, the Government thinks

16 that we have far exceeded that.

17       With respect to whether there is sufficient evidence as to

18 Count 1, Mr. Sheltra engaged in systematic grooming behavior of

19 the undercover.      He normalized the concept of sex -- of him

20 having sex with her daughter.         He -- and he did that in a

21 fairly calculating way.         He was -- he said -- he broached it as

22 "I will be a trusted confidant," "I want to hear everything,"

23 and "I will indulge your greatest fantasies," and so that's

24 grooming behavior.

25       He then -- he took it even further and would -- he would
 2:18-cr-00012-cr     Document 201   Filed 01/25/21   Page 151 of 247         384



 1 escalate and then see if she responded, and he kept on -- I

 2 mean, he groomed her completely by normalizing that behavior,

 3 by telling the -- the undercover that we have to -- "you have

 4 to talk to her," "you're in charge," "you're always in charge,"

 5 "it's not me; you're in charge," which is deceptive.                 He said,

 6 "You need to have a conversation with her so that she knows

 7 that what we are doing is fine, what school is -- and it's

 8 different from the bad things that school tells you."

 9       He is normalizing that behavior because he has an

10 objective of having sex with that mother and the child.                It is

11 systematic.       It is across every single communication he had

12 with her.        There is certainly sufficient evidence to find -- or

13 that the finder -- the trier of fact could find that he -- that

14 that element was satisfied.

15       With respect to whether or not he persuaded Elisha with an

16 E, the minor, she was only 15.           She was legally incapable of

17 consent.    So it's the Government's position that basically

18 everything he said to her was persuading -- attempting to

19 persuade her because he -- I mean, there was a lot of that.

20 She was more willing to participate, but it doesn't make it --

21 or it appeared that way, because -- and I'm sorry I'm a little

22 scattered.

23       The -- there was the immediate stuff that they talked

24 about, and then they met, where he talked to her and he was

25 engaging in sexual conversation with her during the early part
 2:18-cr-00012-cr   Document 201   Filed 01/25/21    Page 152 of 247      385



 1 of their communications and puffing her up, "you're cute,"

 2 "you're sweet," "you're wonderful," and also always emphasizing

 3 that there was the sexual component to their relationship.            So

 4 there was that.

 5       And then after they met, he continued to work her and want

 6 to -- and he was grooming her.         He was supportive, sexy,

 7 flirty, interested, "how's school," and it was all a pattern of

 8 persuading her, but there was always at the foundation this

 9 sexual relationship that -- that they experienced in the early

10 communications and continued to do so, including his request

11 for the images of child pornography that he asked for her to

12 send to him.

13       So we think that there is certainly sufficient evidence

14 for taking all -- taking the view of the evidence most

15 favorable to the Government, that the jury could find that that

16 element had been met.

17            THE COURT:    Any further argument from you, Mr. Kaplan?

18            MR. KAPLAN:    Only, Judge, I think in my mind, anyway,

19 there's a difference between trying to persuade someone to do

20 something and then, once that person's in agreement, talking

21 about how it's going to be done, and that's what I see

22 happening with the undercover agent.             She pretty much made it

23 clear to my client, and it wasn't too far into the

24 conversation, that she wanted to do it.            She says, "I know what

25 I want to do," and "my daughter's seen things," and so then the
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 153 of 247      386



 1 discussion turned more toward how -- how do you go about doing

 2 it, how do you go about, you know, getting your daughter ready

 3 kind of thing, whether or not my client was serious about it.

 4 So I do make that distinction.

 5       Secondly, with ER, it's not a strict liability issue.           I

 6 mean, to convict him of Count 2, the Government has to show

 7 that he tried to persuade her or induce her somehow to enter

 8 into a sexual relationship, and I don't see that in the

 9 trans- -- in the email correspondence.           There wasn't any

10 evidence about grooming.        There wasn't any expert testimony on

11 what grooming is or isn't.        And I just think they were having

12 this sexual discussion back and forth, so -- thank you.

13            THE COURT:    In ruling on a Rule 29 motion, the Court

14 examines the evidence in the light most favorable to the

15 Government and determines whether the Government has proffered

16 sufficient admissible evidence to establish beyond a reasonable

17 doubt the contested element.

18       In this case the contested element for Counts 1 and 2 is

19 whether on the dates -- on or about the dates charged the

20 defendant knowingly attempted to persuade, induce, entice, or

21 coerce a person to engage in a sexual activity.

22       In order to establish this, the Government must prove

23 beyond a reasonable doubt that the defendant acted with

24 specific intent to persuade, induce, entice, or coerce an

25 individual to engage in sexual activity.            The Government does
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 154 of 247              387



 1 not need to prove that an individual was actually persuaded,

 2 induced, enticed, or coerced or the minor's state of mind.                The

 3 Government also does not need to prove that the defendant

 4 intended to have sexual contact.

 5       The statute does not, however, criminalize merely talking

 6 to a minor asking about sex or asking about an individual's

 7 interest in sex.      It is the defendant's specific intent to

 8 persuade, induce, entice, or coerce an individual to engage in

 9 sexual activity that is important and which the Government must

10 prove beyond a reasonable doubt.

11       The defendant must also have acted knowingly.                A person

12 acts knowingly if he or she acts intentionally and voluntarily

13 and not because of ignorance, mistake, accident, or

14 carelessness.     Whether or not the defendant acted knowingly may

15 be proven by his conduct and by all the facts and circumstances

16 surrounding the case.      Terms "persuade," "induce," "entice,"

17 and "coerce" are words of common usage that have their plain

18 and ordinary meanings.

19       Because the statute in question uses the word "or," the

20 Government must prove beyond a reasonable doubt that only one

21 of these acts occurred; in other words, that the defendant

22 attempted to persuade or induce or entice or coerce an

23 individual to engage in sexual activity.

24       With regard to Count 1, the following evidence was

25 introduced to support it:       Mr. Sheltra asking, "Do you see the
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 155 of 247           388



 1 three of us sharing/participating, or is she just strictly

 2 observing?"

 3       The question, "Where do you want this to go, including all

 4 three of us?"

 5       "I find this incredibly -- I find this and several other

 6 things incredibly arousing."

 7       "Then we can work together to make it a reality.             The 2

 8 and 3 of us together."

 9       He does say that he is going to allow the undercover and

10 her child to take the lead, but he proposed meeting soon, and

11 he was the first one to address meeting in person.

12       He describes sexually explicit contact with Maddie.             He

13 proposes performing oral sex on Maddie.           "I want to feel her

14 cum in my mouth."      "I want to suck on her pussy."         "How are you

15 going to feel if she wants me inside her?"            "I can't wait to be

16 in bed with both of you."       He talks about licking Maddie's

17 labia as part of the plan.

18       A rational juror could find these facts collectively

19 sufficient to establish the contested element.

20       With regard to ER, Mr. Sheltra made the following

21 statements:      He invites ER to have -- to his home where she can

22 be naked indoors and out and tells her that he's hard.

23       They have a debate about her age, and he recants and says,

24 "I would have told -- I wouldn't have told you no sex" after

25 saying that he couldn't have sex with her because she was not
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 156 of 247         389



 1 of the age of consent.      He made a statement, "I'd love to be

 2 sucking on your pussy right now."           "Yes, I agree there would

 3 have been sex."

 4       He confides to Person No. 1 "I bet she's going to taste

 5 incredible."     He says, "I'm not sure if we will end up fucking,

 6 but we did some heavy petting" sitting in the car and that

 7 "there was no way to fuck" at that particular point in time.

 8       Again, a rational juror could find beyond a reasonable

 9 doubt that this satisfies a specific intent to coerce or

10 persuade a minor under the age of the age of consent, ER, to

11 engage in sexually explicit activity, and on that basis the

12 Rule 29 motion is denied.

13       Let's talk about the defendant testifying, and this is a

14 conversation between me and you, Mr. Sheltra.              You have a right

15 to testify.      Nobody can force you to testify because you have a

16 privilege against self-incrimination.             In a criminal trial, an

17 attorney makes many decisions.          This is your decision.      You

18 make that decision, if you want, in consultation with your

19 attorney, but at the end of the day, this is ultimately your

20 decision whether or not to testify.

21       Do you understand that?

22            THE DEFENDANT:       Yes, ma'am.

23            THE COURT:    All right.

24            THE DEFENDANT:       Yes, your Honor.

25            THE COURT:    So then let's talk about what's going to
 2:18-cr-00012-cr   Document 201     Filed 01/25/21   Page 157 of 247       390



 1 happen next.     Are we going to have a defense case, Mr. Kaplan?

 2             MR. KAPLAN:    We are, Judge.

 3             THE COURT:    Okay.     All right.     Anything else to bring

 4 to my attention before we bring back the jury?               Do you need a

 5 second break, or are you all set?

 6             MR. GILMAN:    Could we just have a brief second break,

 7 your Honor?      I apologize.

 8             THE COURT:    Sure.     About five minutes and then we'll

 9 come back?

10             MR. GILMAN:    That's perfect.

11         (A recess was taken, after which the following was held in

12 open court without the jury present at 2:56 PM.)

13             THE COURT:    We are back on the record in United States

14 of America vs. Sheltra -- Randy Sheltra.

15         Anything to bring to my attention before we bring back the

16 jury?

17             MR. GILMAN:    Nothing from the Government, your Honor.

18             MR. KAPLAN:    No, your Honor.

19             THE COURT:    All right.      Let's bring back the jury.

20      (The following was held in open court with the jury

21 present at 2:58 PM.)

22             THE COURT:    We are back on the record in United States

23 of America vs. Randy Sheltra.

24         The Government was going to confirm its exhibits.

25         Have you done so, and are you going to rest?
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 158 of 247
                                                - Direct                391



 1            MS. MASTERSON:      Yes, your Honor.     The Government

 2 rests.

 3            THE COURT:     All right.    Do we have any defense case at

 4 this time?

 5            MR. KAPLAN:     Yes, your Honor.     The defense would call

 6 Randy Sheltra to the stand.

 7            COURTROOM DEPUTY:      Please raise your right hand.

 8 Please state your full name for the record.

 9            THE WITNESS:     Randy Wright Sheltra.

10                             RANDY W. SHELTRA,

11       having been first duly sworn by the courtroom deputy,

12                  was examined and testified as follows:

13                             DIRECT EXAMINATION

14 BY MR. KAPLAN:

15 Q     Mr. Sheltra, would you state your full name for the Court,

16 please -- or the jury.

17 A     Randy Wright Sheltra.

18 Q     And what town do you live in?

19 A     Alburgh, Vermont.

20 Q     And do you own your own home there?

21 A     Yes, I do.

22 Q     How long have you lived in Alburgh?

23 A     Since 2014.

24 Q     And where were you born?

25 A     In Burlington, Vermont.
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 159 of 247
                                                 - Direct                 392



 1 Q       Okay.    What is your age, Mr. Sheltra?

 2 A       I'm 58.

 3 Q       Do you have a criminal record?

 4             MS. MASTERSON:       Objection.   Relevance.

 5             THE COURT:     I'll allow it in that we've already had

 6 the testimony, so it's just cumulative.

 7 A       No, sir, I do not have --

 8             MS. MASTERSON:       Your Honor, I maintain my objection.

 9             MR. KAPLAN:     It's already in evidence, Judge.

10             MS. MASTERSON:       No.   It was asked a question.    It has

11 not been -- or I believe it was just mentioned in opening

12 statement.       It was not --

13             THE COURT:     I believe I'll have you put on the

14 headsets and we'll talk about it further.            I'm going to ask Ms.

15 Massé to look at Ms. Lawton.

16         (The following was held out of the hearing of the jury.)

17             THE COURT:     Can you hear me?

18             MS. MASTERSON:       Yes, your Honor.

19             THE COURT:     I believe Ms. Lawton was asked if she was

20 aware that the defendant had no criminal record.

21             MS. MASTERSON:       I thought she said that she didn't

22 know.

23             THE COURT:     I thought that Mr. Kaplan went so far as

24 to ask her if she had checked for that and she said no.            And I

25 also think that another agent was asked whether or not Mr.
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 160 of 247
                                                  - Direct                   393



 1 Sheltra had a criminal record.

 2       So what I'm going to do is I'm going to ask Ms. Massé to

 3 search for "criminal record" and we're going to see if it's in

 4 the transcript.

 5       (The record of Ms. Lawton's testimony was read as follows:

 6             "Q           BY MR. KAPLAN:    And you were informed that he

 7             had no criminal record?

 8             "A           I don't recall.    That sounds right.

 9             "Q           You know that he doesn't have a criminal

10             record.

11             "MR. GILMAN:       Objection.

12             "THE COURT:       I'll allow it.

13             "Q           Don't you know that?

14             "A           I don't know.

15             "Q           So no one told you while this was going on that

16             he did not have a criminal record?

17             "A           They may have, but I don't remember.")

18             THE COURT:       Okay.   Let's hear the objection in light

19 of that read-back.

20             MS. MASTERSON:       Forgive me, your Honor.      I was not

21 able to hear the court reporter with great clarity.

22             THE COURT:       Oh, you were not able to hear the court

23 reporter?        Okay.    Let's go back and we're going to get a

24 read-back from the court reporter again of Ms. Lawton's

25 testimony.
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 161 of 247
                                                - Direct                 394



 1       (The record of Ms. Lawton's testimony was read as follows:

 2            "Q        BY MR. KAPLAN:     And you were informed that he

 3            had no criminal record?

 4            "A        I don't recall.     That sounds right.

 5            "Q        You know that he doesn't have a criminal

 6            record.

 7            "MR. GILMAN:     Objection.

 8            "THE COURT:     I'll allow it.

 9            "Q        Don't you know that?

10            "A        I don't know.

11            "Q        So no one told you while this was going on that

12            he did not have a criminal record?

13            "A        They may have, but I don't remember.")

14            THE COURT:     All right.     So she says "that sounds

15 right."    There was no objection to that question.          There was a

16 subsequent question that was objected to, but the Court had

17 already heard the testimony without objection.            So it hinges on

18 "that sounds right."       Any further discussion?

19            MS. MASTERSON:      Yes, your Honor.     Not only is it not

20 relevant, it is character evidence.          The rules don't allow for

21 bringing in lack of a criminal record as appropriate bolstering

22 or impeachment.

23            THE COURT:     Mr. Kaplan?

24            MR. KAPLAN:     Judge, I think, first of all, it's

25 already been asked and she -- can you hear me?
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 162 of 247
                                                - Direct                     395



 1            THE COURT:     Yes.

 2            MR. KAPLAN:     But this entire investigation was based

 3 on the Alisha email, and once Lawton asked for his personal

 4 email, they were then able to find out who he was.                Part of --

 5 part of the decision most likely to actually indict him was the

 6 fact that he had -- I mean, they must -- they looked at his

 7 entire background, including whether or not he had a criminal

 8 record.    They ran -- they ran a check on him, they took a look

 9 at Craigslist, and I think the jury's entitled to know his

10 background and whether or not he's engaged in this kind of

11 activity recently.

12            THE COURT:     So if the Court allowed this, it would

13 open the door to questions about his character and other

14 criminal activity.      I think it's cumulative of evidence that

15 was not objected to --

16            MR. KAPLAN:     I'll withdraw the question.

17            THE COURT:     Let's go forward, then.

18       (The following was held in open court.)

19 Q     BY MR. KAPLAN:      Would you tell the jury, please, Mr.

20 Sheltra, your educational background.

21 A     High school plus a bunch of college but in different

22 pieces.    So I went to high school.        I graduated in 1980 from

23 Bellows Free Academy Fairfax, and then I went to work

24 immediately.     And for the first four years I worked at a place

25 called Johnson Filaments on Industrial Avenue.            Then I had
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 163 of 247
                                                - Direct                  396



 1 applied at IBM and got into IBM.

 2       Through IBM, I continued with my education where I --

 3 because I started at IBM as a manufacturing operator.             They had

 4 an opportunity that was presented to me to be -- become a

 5 technician through taking classes, and so I went to school

 6 for -- full time for a year while I was working at IBM, got the

 7 equivalent of a two-year associate's degree, and -- as a

 8 technician, a manufacturing technician, where I worked on the

 9 equipment instead of operating the equipment.

10       And then after that I continued with going for a

11 bachelor's of science through Vermont Tech while I was working

12 at IBM again, because they were paying the tuition and all

13 that, and it was in business and technology management, which

14 is -- by then I was in management, and I started that program

15 in the 2000s and was working at it a course or two per

16 semester.

17       And then I ended up getting divorced in 2011, where I

18 stopped, like, four or five courses short of the full

19 bachelor's of science.

20 Q     Mr. Sheltra, so I take it that you worked at IBM?

21 A     Yes.

22 Q     And was IBM at some point taken over by GlobalFoundries?

23 A     Yes, it was.

24 Q     And between the two of them, how long did you work at

25 either IBM and/or GlobalFoundries?
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 164 of 247
                                                - Direct                      397



 1 A     I worked -- began in 1984 for IBM, November 26.               That

 2 converted to GlobalFoundries on June 30th of 2015.                So I worked

 3 until they stopped doing the chip processing for IBM at -- at

 4 the Essex facility.       So that was 31 years and change.          I

 5 continued -- I walked out one day an IBMer, walked in the next

 6 day as a GlobalFoundries manager.         And I continued that until I

 7 was arrested where I was put on leave, and then I was resourced

 8 in 2018 because I -- this was not -- was not all done.

 9 Q     Did you hold any supervisory positions?

10 A     Yes, sir.

11 Q     And can you describe what they were?

12 A     So I worked up through the technician ranks and then was

13 promoted to a management position.          I held that management

14 position for over 23 years at IBM, and that entailed managing

15 manufacturing departments or maintenance departments, because

16 those two are the manufacturing floor.

17       If anybody's familiar with IBM, they know that there's --

18 there's the engineering group, which is very extensive, but

19 then there's the manufacturing and the maintenance aspects of

20 producing the chips and maintaining the equipment associated

21 with it, and so those were the jobs I held with normally

22 anywhere from five to 30 employees depending on the department

23 I had.

24 Q     And how was your health while you were working at IBM?

25 A     It was good until --
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 165 of 247
                                                 - Direct               398



 1               MS. MASTERSON:    Objection.    Relevance.

 2               THE COURT:    Well, I'm not sure what the relevance is,

 3 but let's have the question before I have the objection.           It's

 4 how was your health at IBM because of what purpose?

 5               MR. KAPLAN:    I think I'll move on, Judge.

 6               THE COURT:    Okay.

 7 Q      So, Mr. Sheltra, did you -- have you in the past posted

 8 different ads on Craigslist?

 9 A      Yes.

10 Q      When -- do you recall when you first started doing that?

11 A      So my divorce became -- was initiated in 2011, and so I

12 would never have posted before that, so I know it was sometime

13 in, you know, the second half of 2011 through 2012, when my

14 divorce was final.

15 Q      And why did you start posting on Craigslist?

16 A      I'm not a drinker or a smoker, and so it makes going to

17 bars and meeting people difficult, and so the interaction that

18 I found that was available on Craigslist was something that

19 appealed to me from a dating perspective.

20 Q      And what -- you -- you saw what was introduced into

21 evidence as Government's Exhibit 12 and 14, which are the two

22 ads.   Are those typical of the type of ads that you posted on

23 Craigslist?

24 A      Yes.

25 Q      In any of the ads that you posted on Craigslist, did you
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 166 of 247
                                                - Direct                399



 1 ever indicate that you were interested in having a sexual

 2 relationship with a minor?

 3 A     No.

 4 Q     What did your ads typically say?

 5 A     "Hopeless romantic looking for a relationship" or

 6 something to that effect.        Described myself.

 7 Q     And who -- and how did you describe the individuals you

 8 were interested in finding?

 9 A     Any -- based on my experience, since I was divorced, and

10 so I -- any -- anyone who was open-minded, felt youthful,

11 not -- didn't have to be youthful but just had to have a

12 youthful personality where you're not closed in and feeling

13 cynical, that kind of thing.        I would -- I would always look

14 for somebody who was open-minded.

15 Q     Did you typically specify an age that you were interested

16 in?

17 A     It was -- it varied dramatically.         Because I had -- I

18 dated a couple of girls who were in their 20s even though I was

19 over 50, and dated them for a while.          I had one -- one

20 relationship with a -- with a woman who was 30, turned 31 while

21 we were dating, and it went on for several months.

22 Q     Did you find when you were emailing with people on

23 Craigslist that people said things that weren't true when you

24 were talking with them?

25 A     Absolutely.
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 167 of 247
                                                - Direct                 400



 1 Q      Can you elaborate on that?

 2 A      The perspective of -- I mean, you're basically selling

 3 yourself on Craigslist.       You're marketing what you want people

 4 to see out -- you know, out of your -- your own perspective,

 5 and so it definitely -- people extrapolate their character,

 6 their benefits and -- their pluses and minuses as a person kind

 7 of thing.

 8 Q      Did posting ads on Craigslist and meeting people that way,

 9 did that have anything to do with any sexual fantasies that you

10 had?

11 A      Yes.

12 Q      Can you explain that, please.

13 A      You tend -- you can meet many, many people.          The ads that

14 you asked me about were the ads that I posted.            There are other

15 numerous postings on there that some of them I replied to, and

16 so you would meet people with just -- I mean, the sky's the

17 limit on varying degrees of -- of their desires, their

18 perspectives.      It's -- it's a full gamut.

19 Q      Was that of interest to you?

20 A      Yes.

21 Q      Why?

22 A      It's intriguing because at this stage of my life, my

23 interests have become something that -- and being single, you

24 know, I look at what -- what makes me me, what makes anybody

25 them -- you know, who they really are, and adult sexuality is
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 168 of 247
                                                 - Direct                401



 1 very much a part of who we are along with the political aspect

 2 of who we are, and I find that incredibly intriguing, because

 3 it gets to the root of who the individual really is.

 4               THE DEFENDANT:    Can you hear me, ma'am?

 5               THE REPORTER:    (Nods head).

 6               THE DEFENDANT:    I don't know how I'm sounding.     That's

 7 all.

 8 Q      Do you recall the -- the document that was introduced

 9 talking about a search that you did in April of 2016 for taboo?

10 That was the --

11 A      Yup.

12 Q      Can you tell the jury what that's about.

13 A      The one that I introduced in --

14 Q      No.    The Government introduced a document --

15 A      Oh.

16 Q      -- indicating you did a search in two thousand --

17 A      No.    There's no significance to me for the date of April

18 of 2016, and I'm sure that whatever it was that was introduced

19 was a product of something I had -- I had found out from

20 someone that I had had an interaction with, because I would

21 reply to many different posts, and that's the nature of it.

22        If I could.     For instance, if -- you find many, many

23 different ads posted on Craigslist.           Sometimes it's just a

24 woman who's asking something about something that her husband

25 said or something that her boyfriend said.            I'm the type that
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 169 of 247
                                                  - Direct                   402



 1 would reply to those ads if it was something that kind of had

 2 multiple meanings.        I'm social in that regard.        I feel

 3 comfortable doing that.         And so it could have been any number

 4 of things that intrigued me enough to go look at it.

 5 Q     So, Mr. Sheltra, on August -- I think around the 14th of

 6 2017, you posted the ad looking for Alisha that's Government's

 7 Exhibit 15.

 8 A     Yes.

 9 Q     And why did you post that ad?

10 A     So I had had -- I had replied to a post by a person

11 identified -- a young lady from White River Junction the

12 previous year, June, I believe, of 2016.             And that person in

13 the correspondence that some of you -- that you saw, was read

14 here, turned out to be -- her name was Alisha.              I didn't know

15 that to begin with, but --

16 Q     At some point did you have a communication with her?

17 A     Absolutely.

18 Q     And at some point did she stop communicating with you?

19 A     Yes.       In July of 2016.

20 Q     Okay.       And did that have anything to do with the ad that

21 you posted?

22 A     Yes.       And so for folks that haven't ever posted on

23 Craigslist, the posting creates your own little fake email so

24 that it's anonymous when you're talking to anyone, and so those

25 will only go as long as the correspondence continues within a
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 170 of 247
                                                 - Direct                     403



 1 range of months.       I don't know what that range is.            But -- so

 2 we had -- our correspondence that had ended in July, even

 3 though I continued to search for her, just became obsolete.                It

 4 wouldn't allow me to reply to that email.

 5 Q     So why did you post the ad?

 6 A     Because I was still looking for her.

 7 Q     Okay.      And in the ad you mentioned "taboo kink."            What did

 8 you -- what were you referring to?

 9 A     In the conversations that we had had, Alisha had

10 identified herself as being extremely sexual, and that was --

11 that was appealing to me because of the interest I have in

12 human sexuality.       Extremely interesting to me.        And so there

13 were anything from, you know, sex with animals to sex with

14 objects to anything.

15 Q     That included her daughter also, right?

16 A     Including her daughter.        But that wasn't the part I was

17 interested in.       I was trying to -- you know, the other stuff

18 that made the person who she was.

19 Q     And was it your intent that that ad would attract her

20 attention?

21 A     Absolutely.      I was hoping.     I had no -- because I never

22 received her own email.        That's the only way I had to

23 communicate with her was -- was by trying to post again.

24 Q     So do you recall when it was that you responded to

25 Alisha's email?
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 171 of 247
                                                  - Direct                      404



 1 A       When I had originally responded to --

 2 Q       Yes.     Originally responded.

 3 A       It was in June of 2016.        I don't know exactly the date.

 4 Q       And do you recall what the ad was that -- said that you

 5 responded to?

 6 A       Yes.     She was looking for a date for Saturday night, and

 7 she had posted -- the -- the ad had posted a picture, a very

 8 attractive picture.         Amazing.    She looked gorgeous.        And so she

 9 was looking for a date for Saturday night.             I was already

10 working that Saturday night, so my reply was I can't make

11 Saturday night, but I can do Sunday, Monday, or Tuesday.

12 Q       And what was her response?

13 A       It took a couple times for her to respond, but then it

14 started into the dialogue that you have in front of you.                It

15 was sexual in nature right from the start because the ad she

16 had posted was sexual in nature right from the start, and so it

17 just took off from there.

18 Q       Let me show you what's Defendant's Exhibit C, Bates number

19 ends in 1961.        And -- so you see where she says at the bottom,

20 "I'll have my daughter with me"?           I think that's June 26 at

21 3:43?

22 A       Yes.

23 Q       And just prior to that, had you been talking about

24 establishing a time to meet to have a sexual relationship?

25 A       Yes.
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 172 of 247
                                                - Direct                 405



 1 Q     And how interested were you in doing that?

 2 A     Very.

 3 Q     So then she says, "I'll have my daughter with me."           And --

 4 and so what is your response?

 5            MS. MASTERSON:      Objection.    The item speaks for

 6 itself.

 7            THE COURT:     I'll allow it.

 8 A     So --

 9 Q     Did you respond saying, "If you're okay with it, we could

10 all go to dinner, then we could play after she goes to sleep??"

11 A     Absolutely.     And that's something -- you know, I've had --

12 before my divorce, I had a relationship with my wife and we

13 had -- we had a child growing up, and so, you know, I

14 understood the needs of being a parent.

15 Q     When you said -- why was it important for you to wait

16 until after the child goes to sleep?

17 A     Because I had no interest of doing anything while the

18 child was awake.

19 Q     So at 3:55, Alisha responds, "We can play in the car after

20 while shes in the back seat."

21       And what did you feel about that?         What was your feeling

22 about that?

23 A     It wasn't a valid option for me.

24 Q     And why is that?

25 A     Because it was too close and the child could have been
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 173 of 247
                                                  - Direct                 406



 1 awake.    They -- I have no idea what the child is doing at that

 2 time.    I felt uncomfortable.        I wouldn't do it.

 3 Q       So then you -- you say at 4:03, "If you don't want me to

 4 go to your place, I'll get a room ... 2 beds, she can sleep in

 5 one, we can play in the other??

 6         "Or if you have anyone you trust, I'll pay for them to

 7 watch her.       I can understand if that's not an option - I have a

 8 daughter."

 9         So can you explain what your thinking is there?

10 A       So the -- the two beds in the same hotel room was not

11 ideal, so I wanted to offer up a sitter at whatever cost, you

12 know.    If she had anybody who could take -- take that role.

13 But I -- we never left my daughter with a sitter, you know?             It

14 was something that we just didn't feel comfortable with as she

15 was growing up.        So it was either a family member or she went

16 with us no matter where we were.           So I understood why it would

17 be difficult.

18 Q       So I'm going to show you Bates number 1964.           I think I am.

19             COURTROOM DEPUTY:       Mr. Kaplan, you may just have to

20 focus it.        There's an autofocus button, and you can use the --

21 yes.    That.

22             MR. KAPLAN:      Oh, okay.

23 Q       So at the top at -- well, June 26 at 4:12, Alisha says to

24 you, "Room for sex or the night?           Cause we can just fuck in the

25 car."
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 174 of 247
                                                  - Direct                   407



 1       And your response is, "If you can stay all night, we can

 2 play more than once ... I'd love to enjoy that gorgeous body of

 3 yours," and you go on.

 4       Was the car not of interest to you?

 5 A     It really wasn't because it still included the daughter in

 6 the back seat, and I just didn't feel comfortable with that.

 7 Q     So then 1968, Bates number, where -- where I have an arrow

 8 mark at 4:16:07 on June 26, you indicate, "You look like you

 9 have amazing tits too ... how old is your daughter?"

10       Do you recall that saying that to her?

11 A     Vaguely.       It's been four years, so -- I know I did.       This

12 is my email.

13 Q     And then her response is, "she is 9.            I had her at 16."

14       And then your response is, "Wow, I thought she'd be much

15 younger!!        We can't really play with her there, can we?       I want

16 you naked in bed, and I want us to really enjoy each other.

17 Fuck, you're so hot!!"

18       So can you explain to the jury what your thinking there

19 is?

20 A     So my feeling was I knew she was in her mid 20s, very

21 attractive.       I was thinking that it was a toddler, probably

22 three to four, maybe, max.          I was not thinking that we were

23 talking about a nine-year-old at that point, and so for me, the

24 level of discomfort increased because it's one thing to put a

25 three- or four-year-old down that's going to go to sleep for
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 175 of 247
                                                  - Direct                  408



 1 the night.       It's another thing to have somebody that -- a child

 2 who's nine or ten, you know.          That changes things.

 3 Q     So then 1975, and she asks you at -- Alisha asked you at

 4 4:46 [sic] near the top, she says "Hot and ya.              Your not gonna

 5 freak with her in bed next to us watching?"

 6       And your response is, "If you're okay with it, and she's

 7 used to it ... I'm not gonna be looking at anything but you.              I

 8 want to experience every inch of you ... I'd rather it was just

 9 you and I."

10       So can you elaborate again?

11 A     Yes.       I'm trying to steer the conversation and the

12 situation back -- no matter what the cost to me was, to get it

13 back to just us and not -- I was not comfortable with her being

14 there to watch what we were going to do.

15 Q     And was it your intent to do anything with the daughter in

16 the room?

17 A     No.    Absolutely not.

18 Q     So let me show you what's Bates number 1983.              So again, as

19 you look at that discussion that took place between Alisha and

20 you, you're talking again about wanting to get to know her and

21 have sex with her?

22 A     Yes.

23 Q     Is there any -- is there any discussion about you becoming

24 involved sexually with her daughter?

25              MS. MASTERSON:      Objection.    Leading.
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 176 of 247
                                                 - Direct                 409



 1              THE COURT:    It is leading.     Let's have it phrased as

 2 what, if any, intent you had.

 3 Q     Can you explain what's going on in that discussion?

 4 A     I'm still expressing extreme interest in -- in Alisha, and

 5 I am not interested in the daughter.

 6 Q     Let me show you 1988.        Maybe.    See where it says "I'm

 7 dying to see your labia ... I have a real thing for beautiful

 8 labias ...

 9       "Hopefully Tuesday will work for you ... I want you so

10 bad, Alisha!      I'm stroking my cock ... thinking about you!"?

11 A     Yes.

12 Q     Can you explain what your thinking was there, please?

13 It's fairly explanatory, but --

14 A     Obviously is -- my intent, showing the desire to meet her.

15 Q     And who were you interested in spending time with?

16 A     Alisha.

17 Q     Just Alisha?

18 A     Yes.

19 Q     Okay.      So then 2048, can you explain to the jury, please,

20 what's going on with that discussion?

21 A     So --

22              MS. MASTERSON:     Objection.    I'm not sure which one

23 he's asking about.

24              THE COURT:    Well, it's the one on the screen, so I'll

25 allow it.
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 177 of 247
                                                - Direct               410



 1 A     So she's starting to talk about introducing sexual acts

 2 while her daughter's present.

 3 Q     Okay.

 4 A     And so she's looking for a response from me.

 5 Q     And what is your thinking at that point?

 6 A     So you have to keep in mind the perspective that I have no

 7 idea of how to -- I can't contact this person other than

 8 Craigslist, so I know she's pushing the envelope on what we are

 9 discussing and she's trying to introduce that to me, and if I

10 lose that conversation completely, she's gone, and so it's --

11 there's no net there, so I'm either going to have to fish or

12 cut bait here relatively soon.         And so I knew what she was

13 trying to do.      She was trying to introduce the concept to me,

14 and I didn't feel comfortable with it, so I was trying to

15 prolong.

16 Q     So when she says to you at 7:52 -- actually, at 7:48, "Ya

17 she us starting to be naughty like me," did you understand what

18 she was talking about?

19 A     Yes.

20 Q     And what was your response?

21 A     That I want her.      I tried to -- I tried to steer it back

22 to Alisha -- Alisha.

23 Q     And what was your feelings -- like, why were you trying to

24 steer it back to Alisha?        What was your feelings about her?

25 A     I wanted to meet her desperately.
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 178 of 247
                                                  - Direct                  411



 1 Q     And did you want a sexual relationship?             Was that the

 2 driving force?        Or was there some other reason?

 3 A     It was her sexuality, the fact that what she had described

 4 to me was just completely uninhibited sexual personality, and

 5 I -- that intrigued me immensely, and so whether it became a

 6 sexual relationship for us or it was just interaction, I was --

 7 I was definitely intrigued.

 8 Q     Let me show you 2055.         And on Tuesday, June 28th, at --

 9 2016, at 8:17, you start -- you start off saying, "I'm really

10 into exploring, sexually ... every inch of your body."

11 A     Yes.

12 Q     Can you explain to the jury who you're talking about

13 exploring?

14 A     The point -- I'm trying to get her interested in my

15 interest in her more so than where she was trying to lead it,

16 and so I -- like I said, she's -- she was an extremely sexual

17 person.    I wanted to demonstrate that I was receptive to that.

18 Q     Did it occur to you to just walk away from the

19 conversation?

20 A     It did, but like I said, it's not something that -- I

21 would lose contact completely, and that was the option I was --

22 I was faced with, and I was not willing to make that call at

23 that point.

24 Q     So then let me show you 2066.           Can you explain what's

25 going on?        You're talking about "You should get tested."
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 179 of 247
                                                 - Direct                     412



 1 What's the issue there?

 2 A     She had admitted to being sexually active with over a

 3 hundred people, had basically said she had never been tested

 4 for STDs.

 5 Q     But why -- you said, "you have a young daughter.             But I

 6 wanna fuck you as soon as we can."

 7       What did the young daughter have to do with it?

 8 A     The responsibility of knowing whether you're -- you're

 9 walking around with STDs is important because some of them are

10 lethal, and so she should -- even if she doesn't care about her

11 own health, she should take that -- that step to be tested just

12 for the responsibility of being a parent.

13 Q     So then on 2088, at that point -- this is June 28th, 2016,

14 at 10:00 AM [sic], and Alisha says to you, "yes I was 8."             What

15 was she referring to?

16 A     I believe it was her first time with having sex.

17 Q     Okay.      And can you explain your response, which is at the

18 top of the page?

19 A     Yeah.      So I know I'm losing the battle with -- with the

20 conversations that I'm having, and so she's -- I believe she's

21 still in Atlanta.       That's why I said, "I ... can't wait for you

22 to get home."       The -- the issue has changed for me, but I'm

23 still extremely intrigued because of my desire to understand

24 human sexuality, and so I -- I was hoping that she would --

25 when she got home, that we could stay in contact to see where
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 180 of 247
                                                - Direct                413



 1 it would lead from there, but I'm -- I'm not indicating -- I've

 2 never had an STD, and I was not going down that path.

 3 Q       But -- so did you understand at this point she was trying

 4 to involve her daughter?

 5 A       Absolutely, she was.

 6 Q       And what was your -- your feelings about that?

 7 A       Still steering back towards her.       I had no interest in the

 8 daughter.

 9 Q       So after that last email that -- that I showed you, did

10 you in fact have some email correspondence with her where you

11 appeared to be interested in the daughter?

12 A       Out of desperation.     Like I said, I was -- I knew I was

13 losing the battle, and so as she -- as she minimized her

14 replies, I was just trying to keep that channel open, like I

15 said.    The email correspondence goes away and you get a little

16 thing saying that email is no longer responding or something to

17 the effect that you saw earlier that the Government presented.

18 And so I was still hoping that she would reply so that we could

19 stay in contact, but I knew I was losing the battle.

20 Q       So there was -- I mean, along those lines, you heard on

21 direct examination when the Government had Alisha's emails read

22 to the jury, there was a discussion about horses, dogs, fire

23 extinguishers, soda bottles.        What did all that mean to you, if

24 anything?

25 A       Just her openness to sexuality.       The fantasies associated
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 181 of 247
                                                 - Direct                 414



 1 with it.       Because, I mean, it's one thing to discuss that stuff

 2 here.    The other piece is, you know, that's the kind of

 3 dialogue that someone who has these interests in sexuality is

 4 intrigued by, and so having someone that you can communicate

 5 about fantasies and that kind of thing, that was the appeal.

 6 That was the appeal to her.

 7 Q       So when she talked about having sex with a dog, did that

 8 trigger your fantasies or something?

 9 A       It was -- it was certainly intriguing to me, although

10 there were -- there were many times when she said something

11 that I would -- I would reply in a positive way; I found it

12 repulsive, but at the same time, the concept was something that

13 intrigued me to talk to her more.

14 Q       Did you believe her when she was telling you that she had

15 sex with a horse or a dog?

16 A       No.

17 Q       Okay.

18 A       Maybe the dog.     You know, I mean, I'm not going to rule

19 anything out.       She said she was extremely open.        But it was not

20 something that I'd ever experienced, and so I -- I was

21 intrigued by -- I wanted to hear more from her.

22 Q       So then after that, as I understand it, you engaged in

23 email conversation with the undercover agent?

24 A       Yes.

25 Q       And how did that come about?
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 182 of 247
                                                - Direct                  415



 1 A     She -- the undercover agent replied to my posting

 2 searching for Alisha.

 3              MS. MASTERSON:    Objection.    Misstates the evidence.

 4              THE COURT:    I'll allow it.

 5              MR. KAPLAN:    I'm sorry.     What was the Court's ruling?

 6              THE COURT:    I allowed it.    The answer was "the

 7 undercover agent replied to my posting searching for Alisha."

 8 The -- and I allowed it.

 9              MR. KAPLAN:    Okay.

10 Q     And why did you respond to her?         You did respond to her,

11 right?

12 A     She responded to me.

13 Q     Responded to your ad?

14 A     Yes.

15 Q     But then you -- you engaged in communications with her?

16 A     Yes.

17 Q     Why?

18 A     The way that she responded was with regard to similar

19 interests in taboo.        Because I had mentioned the word "taboo"

20 in my -- my posting looking for Alisha, and so when the

21 undercover person picked up on that, she -- she responded,

22 which was an immediate trigger for me to be intrigued.            I

23 wanted to understand more.

24 Q     And did you know what she was referring to when she said

25 "taboo"?
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 183 of 247
                                                 - Direct                    416



 1 A     It can have any number of meanings.           As we learned with

 2 the Alisha conversation that you just discussed, dogs, horses,

 3 soda bottles, fire extinguishers.          It can be anything.

 4 Q     So let me -- let me show you Government's Exhibit 2, Bates

 5 number 1194.      So on September 7th at 5:42, you send the

 6 undercover agent an email, right?

 7 A     Yes.

 8 Q     And you indicate, "Yes, I see the similarities ...

 9 Sharing is good, don't you think?"

10       And then the last sentence you say, "Has anything like

11 that taken place with you?

12       "And let me just put it this way, if there were no laws

13 and no public judgment, what would be your wildest fantasy?

14 That should be a good place for the two of us to begin.            Then

15 we can make it all -- then we can all take it from there ...

16       "Randy."

17       Can you explain what's going on there?

18 A     I was trying to get the -- who turned out to be an

19 undercover person, this Megan, to share her fantasies with me.

20 Q     And why was that?

21 A     That was what intrigued me.

22 Q     Okay.      And just above that at 8 o'clock, you say, "I'd

23 also be interested in your personal history, sexuality [sic].

24 How old were you when you became sexually active?             What were

25 the circumstances, etc.?
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 184 of 247
                                                  - Direct                  417



 1         "I'm looking forward to hearing from you.

 2         "Randy."

 3         Is that along the same lines?         Can you explain that?

 4 A       Yes, sir.     It's -- it's exactly along those same lines,

 5 your kind of -- I believe your culmination of what you've done

 6 in your life.

 7 Q       Why is hearing other people's sexual activities or

 8 thoughts so interesting to you?

 9 A       I find it extremely intriguing and arousing.

10 Q       Along the same lines, I'm going to show you Bates number

11 1197.

12             MS. MASTERSON:       Whose exhibit is this?      Defense

13 exhibit?    No.

14             MR. KAPLAN:      It's the Government's Exhibit 2, I think.

15 Q       So at the top where I've circled the time, 11:29 PM on

16 September 7th, where I've underlined, you're saying, "I find

17 this taboo and several other things incredibly arousing.               I am

18 aching for you to share your fantasies and desires for me."

19         Can you explain that?

20 A       It pretty much is what it says, that I want to understand

21 what she fantasizes about, what she desires, what intrigues

22 her.     She was the one that approached me and mentioned the

23 taboo.

24 Q       If you go down at -- on September 8th at 4:07, the last

25 part of that paragraph where it says "I work a 12-hour night"
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 185 of 247
                                                - Direct             418



 1 and then you're talking about thinking about her at night when

 2 you go to bed, masturbating and asking if she thinks the same

 3 thing --

 4 A     Yes.

 5 Q     -- can you explain what your thinking is there?

 6 A     Still trying to get her to initiate some more of the

 7 communication with regard to what -- what she fantasizes about,

 8 what intrigues her sexually.

 9 Q     At this point do you have any feeling about whether or not

10 she wants to involve her daughter with you?

11 A     She had presented that she had a 10-year-old daughter, and

12 it -- I was still trying to steer her away, like I did with

13 Alisha, from bringing that into it and trying to focus on what

14 I was interested in, which was the mother.

15 Q     But at some point you did express an interest and gave

16 quite a bit of detail about how the relationship between her

17 and her daughter should come about.          Can you --

18 A     Yes.

19 Q     -- explain that?

20 A     Yes, I did.     Because it references back to Alisha, the

21 fact that I lost the battle of getting to meet her, and when I

22 went back and reread those emails, I realized that she was

23 giving me subtle hints about her daughter much earlier than I

24 had even picked up on them.        So in hindsight, as I was looking

25 at this, I was like, I'm not going to let that happen again.       I
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 186 of 247
                                                - Direct                  419



 1 wanted to -- I wanted to come through to get the meeting with

 2 the mother, which was my -- my primary interest.            So if I had

 3 to -- if I had to stretch my -- my comfort to do that with

 4 regard to communicating, I was willing to do that.

 5 Q      And at 1198, the top of the page is a continuation from

 6 the email before that we spoke about, and again, are you asking

 7 about the undercover agent's fantasies again?

 8 A      Yes.

 9 Q      And had you actually thought about her in a sexual manner

10 before and her -- did she tell you anything that aroused you?

11 A      Just the fact that she had hinted about certain things in

12 communications.      She had never really been forthright.        That in

13 itself is kind of intriguing.         And so I was trying to get to

14 the bottom.      I was attracted to her with regard to the

15 intrigueness -- I don't know if that's a word or not, but that

16 intriguing aspect of her sexuality, because she responded to

17 me, and she was looking for something, and so I just wanted to

18 really get into what she was looking for, and I understood that

19 it could be a little bit of -- take a little time before she

20 would be comfortable sharing some of this stuff, so I was just

21 trying to get it out of her.

22 Q      Let me show you 12- -- Bates number 1200.          And see where

23 I've highlighted "I'm excited on many fronts.            Personally,

24 you're very attractive, and I look forward to getting to know

25 you.   At great length."
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 187 of 247
                                                - Direct                  420



 1       Can you explain that?

 2 A     It was demonstrating that I found her intriguing, I found

 3 her attractive, and I -- I wanted to carry forward with our

 4 relationship, the two of us.

 5 Q     And at that point were you aware that she was trying to

 6 involve her daughter with you?

 7 A     It was pretty clear.

 8            MS. MASTERSON:      Objection.    Misstates the evidence.

 9 Move to strike his answer.

10            THE COURT:     So the question is -- I'm going to sustain

11 the objection and ask that the question is from his perspective

12 as opposed to what the actual intent was.

13 Q     What was your feeling at that point about what it was that

14 the undercover agent was looking for from you?

15 A     She was starting -- had -- at this point it's difficult

16 for me to follow the train of where we are in our -- in our

17 dialogue, okay?      So forgive me if there's -- if I'm not correct

18 on when she -- I know she introduced her daughter right out of

19 the chute, but it was not part of that conversation, but

20 throughout the conversations, she had had numerous

21 communications with me where she was pulling the daughter in.

22 But my -- my opinion never changed there.           It's just I'm

23 selling myself on Craigslist, and so I've got to -- I've got to

24 make myself feel interested in order to continue the

25 conversation.
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 188 of 247
                                                 - Direct                  421



 1 Q     And when you gave those lengthy explanations about how the

 2 whole thing could happen between her and you and -- and her

 3 daughter, what was that all about?

 4 A     It was feeding her what she was looking for.             That's

 5 exactly what I was trying to do.          She approached me, had taboo

 6 interests, was very much receptive to anything I volunteered

 7 but was not -- was not sharing it herself, and so all I was

 8 trying to do was give her what she was asking for.

 9 Q     But, you know, if you read those -- like, the emails where

10 you talk in great length about step by step --

11 A     It's fantasy.

12 Q     -- it's fairly graphic --

13 A     I had -- I had to put myself in a fantasy situation to

14 even describe those things, and so that's what I did, and I was

15 hoping that it would stimulate fantasy from her.

16 Q     Okay.      And while you were describing that, did that excite

17 you at all, or was it --

18 A     That part?      No.

19 Q     Okay.      So that was for whose benefit?

20 A     For her benefit.

21 Q     Okay.      Again, why didn't you just walk away?

22 A     The communication would have been lost.            Even though I may

23 have at this point in time have had her email, it just -- it

24 was something that -- I am old-fashioned in regard to -- I'm

25 58, and so I won't -- if I say something, as long as I don't
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 189 of 247
                                                  - Direct                  422



 1 break the law, I'm not -- I don't feel like I'm really doing

 2 anything -- because you lie on here all the time.               People lie

 3 on here all the time, and so I didn't feel like I was doing

 4 anything wrong at that point.

 5 Q      Were you trying to convince her to let you have sex with

 6 her daughter?

 7 A      No.    Absolutely not.      I was trying to have sex with her.

 8 Q      Let me show you Bates number 1202.           So did you ask to meet

 9 her, meet the undercover --

10 A      Yes.      I believe I initiated that, and the reason being

11 that Alisha had gotten away.          If I could speed up that process,

12 then that was something that was acceptable to me.

13 Q      So in this, which is at -- it's from a previous.             But you

14 say at one point, "Our meeting - Sunday, late afternoon/early

15 evening should work for me.          Would you like to get something to

16 eat?   We can meet wherever -- wherever you would like -

17 downtown is fine.        I don't know your, or Maddie's eating habits

18 ... please let me know what you think.            I'm fine with anything

19 from a slice or 2 of pizza, to a hamburger, to Olive Garden, or

20 basically anything.         Maddie is absolutely welcome and wherever

21 we decide to go is on me."

22        Do you -- was it important to you that Maddie was there or

23 not?

24 A      No.    Absolutely not.

25 Q      Why did you say Maddie is welcome?           Did you expect her to
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 190 of 247
                                                - Direct                 423



 1 be there?

 2 A     No, I did not.      But it was -- it's -- I'm a parent, so I

 3 know that sometimes that the child tags along, and I was fine

 4 with that with regard to her being there, but it was not -- it

 5 was the mother I was -- I was trying to meet.

 6 Q     And how long -- how long after this did you actually go

 7 down and meet in South Burlington, or at least drive to South

 8 Burlington?      This is on September 8th, just before -- it's

 9 actually September 7th, just before --

10 A     So it was September 10th when she had -- she had agreed to

11 set up the meeting.

12 Q     So when you went down on September 10th, were you

13 expecting Maddie to be there?

14 A     Didn't have to be.       If she was, she was.      If she wasn't,

15 she wasn't.      But I was not expecting her.

16 Q     All right.     And on the way down, you heard some discussion

17 when I was cross-examining the undercover agent about Alburgh.

18 Can you tell the jury what that's all about?

19 A     So I -- when I had identified myself with regard to Megan,

20 I knew that I -- I had never stated my town that I lived in.

21 I -- I wrote that I lived in Grand Isle County or northern

22 Grand Isle County, so when she responded to me and said "when

23 you leave Alburgh, are you going 89" -- I can't remember

24 exactly, but she mentioned the word "Alburgh," and so at that

25 point, it triggered that there was something going on.            I
 2:18-cr-00012-cr     Document 201 W.Filed
                           Randy           01/25/21
                                        Sheltra      Page 191 of 247
                                                  - Direct                 424



 1 didn't know what it was, but I knew that it was probably a -- a

 2 police sting of some sort, even though she had said she wasn't

 3 a cop.

 4       But I had no reason to not go because I was not going to

 5 break the law, in my mind.          I didn't understand that I was --

 6 that there was this entrapment thing with the intent of

 7 traveling.        I didn't understand that that was breaking the law

 8 just by driving there.         And so that's one of the things about

 9 an undercover exposure.         And so I went because I knew I

10 wasn't -- I was never going to break the law with regard to her

11 daughter; I didn't know that -- whether she was in trouble

12 herself and had turned to the -- to get support from the --

13 from the cops.        I had no idea whether it was a drug bust or

14 whatever.        But I was going to try to explain what was -- what

15 was going on with our correspondence and that I was in fact not

16 interested in the daughter, even though, you know, the -- could

17 be certainly interpreted from an undercover cop standpoint to

18 be far different, as I find out now.

19 Q     So you found out when you were arrested that the

20 undercover agent was actually an undercover police officer?

21 A     I was just -- when I got out of my car at the point where

22 she had said she would meet me, I stood around waiting for her

23 to show up.        That's what I was looking for, if -- I think the

24 officer -- the agent in charge was -- communicated that.            I

25 stood around.        Because all I was doing was looking for Megan,
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 192 of 247
                                                - Direct                    425



 1 which I expected to see, and I never saw her.            I just got

 2 arrested by a bunch of male police officers.

 3 Q     Did you ever find out whether or not Alisha was actually a

 4 woman?

 5 A     So --

 6            MS. MASTERSON:      Objection.    Foundation.

 7            THE COURT:     Yeah.    We have to have a foundation for

 8 that, so --

 9 Q     Well, you never did have contact with Alisha, right?

10 A     No, I did not.

11 Q     And did you ever find out if she was a real person or not?

12            MS. MASTERSON:      Objection.    No foundation.       Relevance.

13            THE COURT:     Well, I'll allow it.      Go ahead.

14 A     After I was arrested by -- because of the undercover work

15 that was done, I was -- I -- there were so many similarities

16 between the -- what the undercover cop had approached me with

17 and what had happened in my correspondence with Alisha that

18 I -- I pursued through my attorney because I had never found

19 anything out.

20            MS. MASTERSON:      Objection.

21            THE COURT:     So I'm going to sustain this objection.

22 It has to be personal knowledge.

23            MR. KAPLAN:     Okay.   All right.

24 Q     So you heard in court today there was -- apparently there

25 were some emails that were between you and ER and text
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 193 of 247
                                                 - Direct                      426



 1 messages?

 2 A     Yes.

 3 Q     And how did they come about?

 4 A     I had posted an ad on Craigslist that ER responded to.

 5 Q     Okay.      And what was your reaction when you found out she

 6 was not of age?

 7 A     I stated --

 8              MS. MASTERSON:     Objection.    The email communications,

 9 they speak for themselves.

10              THE COURT:    Well, it's -- the question is, "What was

11 your reaction when you found out she was not of age?"                So there

12 is, one, a written reaction, and there may be some other form

13 of reaction that wasn't expressed in writing, and the question

14 is permissible and it may proceed.

15 Q     What was your reaction?

16 A     My reaction was that I was not going to take any --

17 undertake any action with her sexually or otherwise because she

18 was underage.       But at the same time, the email that she sent me

19 was concerning, because it pointed to an emotionally distraught

20 person, and I have -- I have a hard time with that.                I'm --

21 like I said, I'm -- you know, I wear my heart on my sleeve a

22 lot of times, and so I knew there was something going on there

23 from the start.       If you read those emails that she sends, if

24 you take this perspective away and you read those emails, you

25 will see that we're talking about somebody who's distraught,
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 194 of 247
                                                 - Direct                427



 1 who's having trouble.

 2 Q     At some point you engaged in graphic sexual conversations

 3 with her?

 4 A     To some degree.

 5 Q     Why?

 6 A     Because of the interaction we had.           We had -- I went and

 7 met with her, and what I found out was her -- what she was

 8 looking for --

 9              MS. MASTERSON:     Objection.    Calls -- he's about to --

10              THE COURT:    Okay.

11              MS. MASTERSON:     Hearsay.

12              MR. KAPLAN:    I'll withdraw -- I'll withdraw the

13 question, Judge.

14              THE COURT:    Go ahead.

15 Q     So you engaged in some fairly graphic sexual conversations

16 with her.

17 A     Yes.

18 Q     And that's -- she's not the first person you've done that

19 with, is she?

20 A     No.

21 Q     And why did you do that with others?

22 A     I approached the situation based on what their needs were,

23 what their needs and wants were.           I did the same with her.

24 Q     Okay.      Did you actually -- when you met, did you actually

25 have physical contact with her?
 2:18-cr-00012-cr   Document 201 W.Filed
                         Randy           01/25/21
                                      Sheltra      Page 195 of 247
                                                - Direct                  428



 1 A     I just met her in my car.        We -- I never touched her.

 2 Q     Is there anything in the email exchange between you and

 3 her to suggest otherwise?

 4 A     No.

 5 Q     Why did you tell the woman in Plattsburgh that you had

 6 touched her?

 7 A     The woman in Plattsburgh was someone else that had

 8 responded to my -- one of my posts, the post about a dark past.

 9 Q     Was she of age?

10 A     Yes.

11 Q     Okay.

12 A     Yes, she was.

13 Q     And -- but what did that have to do with your sending that

14 email?

15 A     Because I had been trying to meet the woman from

16 Plattsburgh for several weeks, as I recall.           Like I said, I

17 don't have the timeline in front of me, but it was over a

18 period of time.      And she had not been willing to meet at that

19 point.    But she had expressed on several occasions her desire

20 for underage people, and so I used the information that ER had

21 had in her email to me, I extrapolated that and put it in a

22 posting that I -- or in a reply to the woman from Plattsburgh,

23 and that's what you see.

24 Q     Let me show you number 29, which I think is Government's

25 Exhibit 26 or 27, but when you look at 33 [sic], you say to ER,
 2:18-cr-00012-cr    Document 201 W.Filed
                          Randy           01/25/21
                                       Sheltra      Page 196 of 247
                                                 - Direct                     429



 1 "Wait - you're not 16 yet?"         Do you recall that?

 2 A       Yes.

 3 Q       And why did you say that to her?

 4 A       I wanted to set the table and the stage correctly that

 5 there was not going to be any sexual activity.

 6 Q       And she says, "I'll turn 16 in 2 months and 9 days."

 7         And your response is, "Uh, no sex, hun.          Not until then."

 8         And then the "k," does that mean okay?

 9 A       Yes.

10 Q       And did you ever change your mind about that?

11 A       Absolutely not.

12 Q       Didn't you say at some point there would have been sex

13 or --

14 A       I did because what she shared with me and in her emails,

15 as I was saying, if you go back and read those without this

16 perspective, you will see someone who's distraught and someone

17 who is suffering, and what she was looking for was to feel

18 desired and to want -- want to be desired at a very young age,

19 but she was sexually active, so I wasn't judging her.              I was

20 just reacting to the situation.

21 Q       Whose idea was it for you two to meet?

22 A       It was hers.    She requested that I come to meet her.

23 Q       Okay.    When you said to her you can come to my house and

24 you can be naked or walk around naked, why would you do that?

25 A       To give her what she was looking for.         She wanted to feel
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 197 of 247   430



 1 desired.     She wanted to feel wanted.

 2              MR. KAPLAN:    I have nothing further, your Honor.

 3              THE COURT:    Any cross-examination?

 4              MS. MASTERSON:    Yes, your Honor.

 5                               CROSS-EXAMINATION

 6 BY MS. MASTERSON:

 7 Q     Mr. Sheltra, let's figure out what it is that we agree on.

 8 All right?

 9 A     Okay.

10 Q     All right.     Your telephone number, 802-310-2018?

11 A     Yes.

12 Q     You lived in Vermont during the month of August of 2017;

13 is that correct?

14 A     Yes.

15 Q     You lived in Vermont in the month of September of 2017; is

16 that also correct?

17 A     Yes.

18 Q     When you engaged in the chat communications with ER, the

19 15-year-old, you were in Vermont the entire time; is that

20 correct?

21 A     Yes.

22 Q     When you engaged in the chat with whom you believed was

23 the bad mom, you were also in Vermont the entire time; is that

24 correct?

25 A     Yes.
 2:18-cr-00012-cr    Document 201 W.
                           Randy   Filed 01/25/21- Cross
                                      Sheltra       Page 198 of 247      431



 1 Q     You are the person who wrote all of the emails that were

 2 in -- that were in Government's Exhibit 2 that were exchanged

 3 between you and momma.mego, the undercover; is that correct?

 4 A     I wrote all of the portions that weren't written by the

 5 undercover person.

 6 Q     Okay.      Thank you.   And similarly, all of the text messages

 7 that were attributed to you in Government's Exhibit 5, which

 8 dealt with the email -- text communications between you and the

 9 undercover, you wrote all of those; is that correct?

10 A     Yes.

11 Q     The ER emails, you wrote all of those emails that were in

12 Government's Exhibit 26 that were attributed to you; is that

13 correct?

14 A     Yes.

15 Q     All of the text messages that were contained in

16 Government's Exhibit 27 that contained the text exchange

17 between you and ER, you wrote all of those texts that were

18 attributed to you; is that correct?

19 A     Yes.

20 Q     Including the one where you asked a 15-year-old girl to

21 send you a pic of her labia; isn't that correct?

22 A     Yes.

23 Q     Because you're way into labias.          That's your favorite

24 thing; isn't that right?

25 A     That's one of the things that intrigues me.
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 199 of 247         432



 1 Q     Right.     And another one of the texts was the text message

 2 that you sent to a 15-year-old girl asking her to send you a

 3 pic of her pussy lips; isn't that correct?

 4 A     I --

 5 Q     It's a yes-or-no question, Mr. Sheltra.

 6 A     I replied to her, yes.

 7 Q     You asked her -- I will quote.

 8 A     No need, ma'am.

 9 Q     Hang on.

10 A     I'm just stating that she --

11 Q     Mr. Sheltra, there's no question pending.

12       On August 25th, 2017, here it is at --

13              COURTROOM DEPUTY:    One second.     You may have to hit

14 the doc cam button on the --

15              MS. MASTERSON:    There it is.

16              COURTROOM DEPUTY:    There you go.

17 Q     At -- right here, this is from Exhibit 27.           At line 191,

18 this was a text message sent from you using your telephone

19 number on August 25th, 2017, at 11:34 [sic]; is that correct?

20 A     Yes.

21 Q     And you wrote, and I quote, "I'd still like to see those

22 pussy lips hun.      I hope you will send me a pic of them at some

23 point" with a smiley face emoji.

24       You wrote that, didn't you?

25 A     Yes.
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 200 of 247     433



 1 Q     To a 15-year-old?      What was that?     That was a "yes"?

 2 A     Yes.

 3 Q     In 2017 you were 55 years old; is that correct?

 4 A     Yes.

 5 Q     So when you were talking to the 15-year-old, you were 40

 6 years older than she?

 7 A     Yes.

 8 Q     And the child that you said that you wanted -- or that you

 9 certainly described in graphic terms in your email

10 communications with the undercover, that child was 10, so you

11 would have been 45 years older than that little girl; isn't

12 that right?

13 A     Yes.

14 Q     You would agree that a 10-year-old child engaging in

15 sexual activity is illegal, correct?

16 A     Absolutely.

17 Q     Right.     And that's oral-anal, oral-genital, gen- --

18 A     Absolutely.

19 Q     Right.     That's rape, right?

20 A     Yes.

21 Q     A 15-year-old, when the person with whom she or he is

22 engaging in sexual activity, when that 15-year-old is engaged

23 in sexual activity or -- I'll -- that would also be rape,

24 because a 15-year-old is incapable of consenting to sexual

25 activity?
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 201 of 247       434



 1              MR. KAPLAN:   Objection, your Honor.       Your Honor, it's

 2 a characterization of the statute.          The statute doesn't say

 3 that at all.

 4              THE COURT:    The statute does have some age parameters

 5 on it, and we don't want to call for a legal conclusion, so the

 6 question may be rephrased as to his knowledge but not -- I

 7 don't want Mr. Sheltra opining as to the contents of statutes.

 8 You can show him the statute if you'd like and ask questions

 9 about it.

10 Q     Mr. Sheltra, do you think that a 15-year-old child

11 engaging in sex with somebody 40 years her senior is a bad

12 thing?

13 A     Yes.

14 Q     I'm going to publish -- or present Government's Exhibit

15 12.   This is a Craigslist post that you wrote; isn't that

16 right?

17 A     Yes.

18 Q     And -- and you posted it in July of 2017?

19 A     Yes.

20 Q     Right here -- this area right here is the body; is that

21 correct?

22 A     That's correct.

23 Q     And you are looking for someone to -- it says "Older Man

24 Seeking Younger Girl"; is that correct?

25 A     Yup.
 2:18-cr-00012-cr    Document 201 W.
                           Randy   Filed 01/25/21- Cross
                                      Sheltra       Page 202 of 247       435



 1 Q     And here you define the age of the person that you want to

 2 hook up with, and this person is late teens to late 20s; is

 3 that correct?

 4 A     Yeah.      Or later, I believe is what I said.        I think I said

 5 that they could be older, maybe.          No?

 6 Q     I'm sorry.      I didn't hear you.

 7 A     I wondered if I didn't say that they could be older as

 8 well, but maybe not.

 9 Q     You wrote "late teens," though, right?

10 A     Oh, yes.      Absolutely.    Eighteen is legal.

11 Q     Eighteen is legal, but 16 and above is not -- no.

12 Sixteen -- 15 or below is not?

13 A     Yes.

14 Q     You're aware when you -- When you joined Craigslist and

15 began posting, did you have to sign an agreement to abide by

16 its terms and conditions?

17 A     Yes.

18 Q     Did you do so?

19 A     Yes.

20 Q     Are you aware that Craigslist prohibits personal

21 solicitations to and about minors?

22 A     Sure.

23 Q     And are you aware that Craigslist will block solicitations

24 to -- that refer to sexual activity involving minors?

25 A     I would hope so.
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 203 of 247   436



 1 Q     You would agree that "D&D" means drug and disease free,

 2 correct?

 3 A     Yes.

 4 Q     You used that term frequently or regularly when you

 5 responded to Craigslist personals ads; is that correct?

 6 A     That's correct.

 7 Q     Because you wanted to let somebody know that if they had

 8 sex with you, you wouldn't get them -- you wouldn't infect them

 9 with any sexually transmitted diseases; is that right?

10 A     In part, yes.

11 Q     And is that -- and you wanted to make -- you got tested

12 for STDs to make sure that you wouldn't do that because you

13 didn't want to lie about that in your Craigslist responses; is

14 that right?

15 A     I got tested for STDs because I went to the doctor and I

16 wanted to make sure I was healthy.

17 Q     You also regularly -- or when you responded to Craigslist

18 ads about sex, you would let people know right away that you

19 had had a vasectomy; is that right?

20 A     That's correct.

21 Q     Because you wanted to make sure that people knew if they

22 had sex with you they would -- no women would get pregnant; is

23 that right?

24 A     Sure.

25 Q     Is letting someone know that you've had a vasectomy, is
 2:18-cr-00012-cr    Document 201 W.
                           Randy   Filed 01/25/21- Cross
                                      Sheltra       Page 204 of 247             437



 1 that something you tell to everybody or just the people that

 2 you want to have sex with?

 3 A       I tell it to everyone that I -- I want to have sex with,

 4 but it's not exclusive to that.          I wouldn't say that it would

 5 be.

 6 Q       There was a lot of discussion about the communications

 7 that you had with Alisha with an A, who I will refer to as fake

 8 Alisha, because we have -- we know we have the other Elisha.

 9 All right?

10         That dialogue began with the two of you talking about sex,

11 and it was very hot and very exciting to you; is that right?

12 A       That is correct.

13 Q       You shared with her right away that you had a thing for

14 labias, right?

15 A       At some point.     I can't say it was right away.          I don't

16 know.    I don't have it in front of me.         But I know I did.

17 Q       You asked her for -- well, actually, let me come up with

18 an exhibit and then I will ask a question.

19         Did you regularly ask people for images of their

20 genitalia?       Is that something that you did?

21             MR. KAPLAN:     Objection, your Honor.       Relevance.

22             THE COURT:     I'll allow it.

23 A       If it was someone who I was planning on having a sexual

24 relationship with, I would.

25 Q       And here's the Defense Exhibit No. 1983 [sic].             This is an
 2:18-cr-00012-cr    Document 201 W.
                           Randy   Filed 01/25/21- Cross
                                      Sheltra       Page 205 of 247      438



 1 email communication between you and Alisha with an A, fake

 2 Alisha; is that right?

 3 A      It appears that way, yes.        Sorry.   I don't have my

 4 glasses.

 5 Q      I'm sorry?

 6 A      I just don't have my glasses on, so even at this distance,

 7 it's a little bit fuzzy, but yes, I can make that out.

 8 Q      Do you have glasses over here?

 9 A      Yeah.

10 Q      Would it help you --

11 A      No.     I'll make do, ma'am.     I'll just back up a little bit.

12 Q      All right.     And here in this email you sent her a picture

13 of your penis; is that right?

14 A      Yes.

15 Q      Did you send your penis -- a picture of your penis out a

16 lot?

17 A      To more than I'm proud about.         Let's put it that way.

18 Q      Because it's part of the whole dialogue of sharing sex --

19 sex -- sexual interests and that sort of thing, and you want

20 people to know that you have -- about your penis; is that

21 right?

22 A      I suppose, yes.      To be open and -- you know, if we're

23 having a conversation about sexuality and it's going to head

24 towards a sexual relationship, I would send them my picture.

25 Q      So here is where you asked Alisha, "I'm dying to see what
 2:18-cr-00012-cr     Document 201 W.
                            Randy   Filed 01/25/21- Cross
                                       Sheltra       Page 206 of 247   439



 1 your pussy looks like - can you send me a pic of it?"

 2       You wrote that; is that right?

 3 A     Yes.

 4 Q     So you mentioned earlier that you would ask people for

 5 pictures of their genitalia when -- in the course of these

 6 sexual conversations and when you were going to have sex with

 7 them; is that right?

 8 A     If it looked like it could turn to sex at some point.

 9 Q     Right.      And that's exactly the question that you asked of

10 Elisha, the 15-year-old child, twice; isn't that correct?

11 Isn't that correct?

12 A     That is correct.        As you would see it on here.

13 Q     I'm sorry.       What was that last bit?

14 A     As -- as it's posted, you would see it that way, right.

15 Q     Yes.       So you would agree that a picture of Elisha's

16 genitalia, the 15-year-old, because she's underage, that would

17 constitute child pornography; is that right?

18 A     Yes.

19 Q     You really -- you like porn, don't you?

20 A     I look at porn.

21 Q     You look at porn, and do you have still images of -- of,

22 you know, sex acts that -- stills and videos of porn?

23 A     Sure.

24 Q     You had two images of non-Elisha -- you had two images of

25 minors engaging in --
 2:18-cr-00012-cr     Document 201 W.
                            Randy   Filed 01/25/21- Cross
                                       Sheltra       Page 207 of 247       440



 1             MR. KAPLAN:      Objection.

 2 Q     -- sexually explicit conduct on your phone, didn't you?

 3             MR. KAPLAN:      Objection.

 4             THE COURT:      Just a minute.     Objection?

 5             MR. KAPLAN:      Yes.

 6             THE COURT:      It does seem outside the scope of the

 7 direct examination, so let's put on the headsets.

 8       (The following was held out of the hearing of the jury.)

 9             THE COURT:      Now can you hear me both?       Mr. Kaplan, can

10 you hear me?

11       All right.       Let's hear the objection first.

12             MR. KAPLAN:      I'm not sure what pictures are being

13 referred to, but it certainly wasn't something that was the

14 subject of the direct examination, and it's clearly overly

15 prejudicial.       It's not even really relevant to the subject, I

16 don't think.

17             THE COURT:      So let's hear from Ms. Masterson as to why

18 this is admissible, first why it's within the scope and why

19 it's admissible under the Court's pretrial rulings.

20             MS. MASTERSON:       Well, the Court ruled that it was not

21 admissible in the Government's case in chief as Rule 404(b)

22 evidence.        I believe that the Court reserved the right that we

23 could cross-examine him about that.            He is denying having a

24 sexual interest in children.          Through the direct examination,

25 he persisted in articulating his revulsion for sex with
 2:18-cr-00012-cr     Document 201 W.
                            Randy   Filed 01/25/21- Cross
                                       Sheltra       Page 208 of 247      441



 1 children, and so the fact that two images of child pornography

 2 were found on his phone indicates, first off, that -- it

 3 impeaches his assertion that he didn't have a sexual interest

 4 in children, and it goes towards showing his -- elaborating on

 5 his intent when he solicited the sexually explicit images from

 6 the 15-year-old.

 7             THE COURT:      Let me ask you if you laid a foundation

 8 for this.        I don't remember an agent identifying these two

 9 images as found on the phone, but I wasn't paying attention to

10 that particular point.         Did you?

11             MS. MASTERSON:       No, we did not.     I would ask him if he

12 had -- my thinking here is that I'm cross-examining him on it.

13 If he denies having them, then we would on rebuttal introduce

14 the testimony of Frank Thornton to testify that he found those

15 two images on the phone.

16             THE COURT:      Okay.   So they would not be admissible at

17 this point in time, and let's not refer to them as child

18 pornography.       So you can ask him did he have any other images

19 on his phone that we haven't seen.

20       Let me hear from Mr. Kaplan as to why the door has not

21 been opened with questioning about how he is revolted by any

22 suggestion of sexual activity with children.

23             MR. KAPLAN:      First, Judge, let me indicate I'm a

24 little surprised that when the Court ruled something was not

25 admissible, that before the Government sprang it on us in court
 2:18-cr-00012-cr   Document 201 W.
                          Randy   Filed 01/25/21- Cross
                                     Sheltra       Page 209 of 247        442



 1 and had the jury hear it, that it wasn't cleared with the Court

 2 first, and I didn't have an opportunity to object to it.

 3             THE COURT:    So let me just see.      Take off your

 4 headsets.

 5         (The following was held in open court.)

 6             THE COURT:    Can you hear our conversation?

 7             JUROR VISSER:    I can hear it.

 8             THE COURT:    You can hear our conversation.

 9         Anybody else who can hear our conversation?         A little

10 iffy?    Okay.

11         I think we're going to stop for the day and we will take

12 up the issue outside your presence.          I'm not loving the

13 headphones anyway, so it's good to know that we cannot -- we

14 should not be using them.

15         Does -- any objection to having the jury excused ten

16 minutes early?

17             MS. MASTERSON:     No, your Honor.

18             MR. KAPLAN:     No, your Honor.

19             THE COURT:    All right.    Ladies and gentlemen of the

20 jury, a couple requests.        Not just requests from the Court when

21 I ask you to do something; it's actually a court order.            Don't

22 take in any outside information.         Don't do any research.    Don't

23 talk to anybody about the case.         Don't let anybody talk to you

24 about the case.

25         As we have been in this trial, the situation in Vermont
 2:18-cr-00012-cr     Document 201   Filed 01/25/21    Page 210 of 247            443



 1 has changed with regard to COVID-19, which you're obviously

 2 aware of.        Please do everything in your power to fully comply

 3 with the governor's orders.          It's much more restrictive now.            I

 4 promise to do that myself.         I will instruct everybody in this

 5 courtroom to do that themselves.           My goal is to protect you and

 6 the integrity of the proceedings, but we can't do it without

 7 your assistance.

 8       So I wish you a good evening.           I'm going to have you come

 9 back on Monday at 10:00 so I can address jury instructions with

10 the attorneys on our time as opposed to your time.                    And my

11 first question, as you know, will be, "Did you acquire any

12 outside information," and then I'll be asking you the COVID

13 questions.

14       So let's excuse the jury.

15      (The jury exited the courtroom, after which the following

16 was held in open court at 4:21 PM.)

17       (The witness was temporarily excused.)

18             THE COURT:     Let's discuss the last issue, and also

19 I -- I didn't get to have you weigh in on it, but I figured you

20 wouldn't oppose the jury coming back a little bit later so we

21 could take up jury instructions.

22       So we left off with Mr. Kaplan saying "I don't think" --

23 I'll redirect you to where you were:               "First, Judge, let me

24 indicate that I'm a little surprised when the Court ruled

25 something was not admissible that before the Government sprang
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 211 of 247         444



 1 it on us in court and had the jury hear it, that it wasn't

 2 cleared with the Court first, and I didn't have an opportunity

 3 to object to it."

 4       And the pending question for Ms. Masterson -- from Ms.

 5 Masterson was, "You had two images of non-Elisha -- you had two

 6 images of minors engaging in sexually explicit conduct on your

 7 phone, didn't you?"      And that was when the objection came.

 8       So go ahead and finish, Mr. Kaplan.

 9            MR. KAPLAN:    So -- so, Judge, the jury -- suppose for

10 a second that the Court rules that it's not admissible.              Now,

11 the jury's already heard that.          It's highly inflammatory, and

12 that's the reason why the Court kept that out in the first

13 place in the Government's case.          And I didn't understand that

14 when -- when the Court ruled the Government couldn't introduce

15 that evidence that the door would be opened so easily, because

16 obviously my client's not going to testify to his interest in

17 having sex with minors.         He indicated that he wasn't.        And

18 having two videos -- or pictures on his -- on his phone doesn't

19 mean that he -- doesn't necessarily go to the fact that he's

20 interested in having sex with minors.

21            THE COURT:    Well, the Second Circuit in the Brand case

22 said exactly that, that images of child pornography are

23 relevant to the enticement issue.           So that case is on point.

24 It did not seem under 403 that it should come in in the case in

25 chief, but I did warn that the door could be opened to it, and
 2:18-cr-00012-cr    Document 201    Filed 01/25/21   Page 212 of 247       445



 1 you elicited testimony from Mr. Sheltra that he found it

 2 abhorrent and he had no interest in the minors, he had an

 3 interest in keeping the conversation going with the woman to

 4 whom he was speaking.

 5            MR. KAPLAN:     But I think that particular case dealt

 6 with whether or not images of child pornography were -- were

 7 able to be introduced to show that someone was interested in

 8 possession of child pornography.

 9            THE COURT:     I think it was an enticement case.

10            MS. MASTERSON:        The Court's correct.

11            THE COURT:     All right.      Ms. Masterson, let's hear from

12 you.

13            MS. MASTERSON:        Your Honor, we believe quite strongly

14 that the defense opened up the door, that the thrust of the

15 testimony was I did -- I had no interest at all in the child

16 when dealing with Alisha with an A, I said all that stuff

17 because I wanted to keep the conversation going with the

18 mother, but the child was completely not relevant to me and I

19 just said it to keep it going.

20        Similarly, he said -- testified to the same thing -- the

21 same mind-set with respect to the interactions with the

22 undercover.      Those are the two enticement counts.           And so the

23 fact that he had child pornography when he has testified -- and

24 this is independent of anything -- I mean, he just had it on

25 his phone.       He didn't get it from Elisha because she, wisely,
 2:18-cr-00012-cr   Document 201    Filed 01/25/21    Page 213 of 247        446



 1 didn't send it to him, but the door was certainly open towards

 2 impeaching that profession of complete disinterest in the

 3 children.

 4       And he also came up with new ways of looking at how it was

 5 that he wanted to deal with the children also.               I mean,

 6 particularly dealing with Elisha.           You know, she is a poor,

 7 misguided girl who needed -- she needed help, and I just wanted

 8 to make her feel good.       But --

 9             THE COURT:    But that wouldn't open up the door; would

10 you agree with me?

11             MS. MASTERSON:      No, it wouldn't.       But the door was

12 opened to impeaching his statement, contradicting his statement

13 and impeaching it, that he had no interest in sexual activity

14 with the children of Alisha or, more precisely, because this is

15 now charged conduct, sex with the daughter of the undercover.

16             THE COURT:    Any response, Mr. Kaplan?

17             MR. KAPLAN:    I think it was always understood, even

18 when your Honor ruled that it was overly prejudicial, that my

19 client would not be taking the stand and testifying that he had

20 an interest in having a sexual relationship with minors, and so

21 as we went through on direct his examination and I asked him

22 again and again if he was interested in having a sexual

23 relationship with a minor -- with this minor, he said no, but

24 that obviously was part of the case.              It was a given that that

25 was going to be his testimony if he testified.
 2:18-cr-00012-cr   Document 201   Filed 01/25/21   Page 214 of 247          447



 1             THE COURT:    So it wasn't a given from my perspective.

 2 I had no idea whether the defendant would testify or not, and I

 3 certainly didn't know what questions you would ask him and what

 4 answers he would provide.       In the Government's case in chief,

 5 the Court agreed that introduction of child pornography would

 6 be unduly inflammatory and cumulative, it wasn't the only

 7 evidence of intent.      Under the Brand case, that was a ruling

 8 that was generous to the defendant.

 9         Now the defendant has said under oath several times that

10 he had no independent interest in the children, that he was

11 just intending to keep the conversation going.             The evidence

12 now has impeachment value as to whether that's accurately

13 reflecting his sexual interests.

14         I haven't seen the images.      I want to see them ahead of

15 time.    There is no foundation laid for them.          I don't recall

16 that there was any identification of these images in the

17 agent's testimony.       That doesn't mean that you can't impeach on

18 that ground and lay the foundation afterwards, but the photos

19 do not come in until the impeachment has been -- has been

20 established.

21         And I did alert you both to this potential issue because I

22 pointed out in the exhibits list that there was a -- something

23 that said "child pornography," and I said we aren't going to

24 have any exhibits with that on it.          Any questioning also should

25 not reach -- Mr. Sheltra's not somebody who should be opining
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 215 of 247         448



 1 as to what is child pornography and what is not child

 2 pornography.

 3         So the question was improper as phrased.           I'm going to

 4 sustain the objection for now, and that's how the Court is

 5 ruling at this point in time.

 6             MS. MASTERSON:      If I may, your Honor, in the Court's

 7 sealed summary of rulings on the motion in limine on page 2 at

 8 subparagraph 4 -- I'm sorry, subparagraph f., the Court did

 9 address its ruling on the question of whether the alleged child

10 pornography found on the phone would come in.              The Court found

11 at that time it was not admissible, but at the end of that

12 paragraph, the Court wrote, "This evidence may be admissible if

13 Defendant 'opens the door' at trial."

14             THE COURT:   Yes.     I did rule that way.

15         All right.   So we're going to -- here's our plan for

16 Monday, and you should feel free to weigh in on it as well.               I

17 propose we be here at 8:30 or 9:00, so that's negotiable.              You

18 will have read the jury instructions by then and the verdict

19 form.    We'll have our charge conference then.            And then when we

20 come back, Mr. Sheltra will retake the witness stand; we'll

21 continue with cross-examination, redirect; the Government can

22 decide whether or not it puts on a rebuttal case.

23         Does that work for everyone?        And if so, is there a

24 preference for 9:00 or 8:30?

25         And I'll start with the Government.
 2:18-cr-00012-cr   Document 201    Filed 01/25/21   Page 216 of 247                449



 1            MS. MASTERSON:       Your Honor, the jury instructions are

 2 not particularly lengthy.        I think we would be fine if we

 3 commenced at 9:00.

 4            THE COURT:    Mr. Kaplan?

 5            MR. KAPLAN:    That's fine, Judge.          Thank you.

 6            THE COURT:    Okay.     I'll see you both here at 9:00.

 7       Anything else to bring to my attention?

 8            MS. MASTERSON:       No, your Honor.       Thank you.

 9            THE COURT:    Anything to bring to my attention, Mr.

10 Kaplan?

11            MR. KAPLAN:    No, Judge.      Thank you.

12            THE COURT:    All right.      Thank you.

13       (Court was in recess at 4:30 PM.)

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16                         C E R T I F I C A T I O N

17      I certify that the foregoing is a correct transcript from

18 the record of proceedings in the above-entitled matter.

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 2:18-cr-00012-cr                 Document 201              Filed 01/25/21            Page 217 of 247                                    1



                '                  11 [1] - 303:18                   16 [19] - 261:11, 309:11,         2015 [1] - 397:2
                                   117 [1] - 309:13                    310:9, 316:13, 316:14,          2016 [25] - 258:11, 259:24,
'below [1] - 347:4                                                     319:17, 319:22, 320:6,            280:16, 281:19, 284:23,
                                   1194 [1] - 416:5
'doggy [1] - 274:24                                                    320:7, 320:11, 355:7,             286:11, 287:25, 289:9,
                                   1197 [1] - 417:11
'if' [1] - 259:13                                                      355:23, 363:4, 363:10,            290:8, 291:3, 292:13,
                                   1198 [1] - 419:5
'opens [1] - 448:13                                                    363:16, 407:13, 429:1,            294:10, 296:14, 296:19,
                                   11:17 [1] - 350:4
'pedophile [1] - 374:20                                                429:6, 435:11                     297:4, 297:9, 320:25,
                                   11:29 [1] - 417:15
'pedophile' [1] - 374:12                                             163 [1] - 257:11                    321:6, 401:9, 401:18,
                                   11:34 [1] - 432:19
'you're' [1] - 348:10                                                16th [1] - 287:25                   402:12, 402:19, 404:3,
                                   11:37 [4] - 358:17, 360:10,
                                     375:15, 375:18                  17 [1] - 324:2                      411:9, 412:13
                0                  11:40 [1] - 376:1                 18 [3] - 309:22, 310:10, 324:2    2017 [45] - 248:10, 251:2,
0057 [4] - 245:19, 246:18,         11:44 [1] - 342:3                 18-CR-12-1 [2] - 237:5, 240:7       252:18, 294:25, 295:5,
  247:2, 248:16                    11:48 [2] - 359:25, 360:18        182 [1] - 339:17                    295:15, 295:23, 296:4,
0133.jpg [3] - 314:1, 317:12,      11:58 [1] - 358:23                183 [1] - 339:17                    296:8, 297:10, 297:14,
  318:9                            11:59 [1] - 335:12                18th [1] - 294:25                   298:23, 299:1, 300:5,
05641 [1] - 321:4                  11th [4] - 295:23, 296:4,         19 [7] - 355:11, 355:15, 356:1,     305:18, 308:20, 308:24,
                                     296:8, 297:14                     356:15, 356:22, 357:1,            314:6, 322:19, 326:14,
0741 [1] - 325:14
                                   12 [10] - 252:24, 314:5,            357:4                             339:4, 339:7, 342:7, 350:3,
0741.jpeg [1] - 324:18
                                     368:12, 368:14, 368:18,         191 [1] - 432:17                    350:20, 351:11, 357:15,
0837.jpeg [2] - 324:19, 325:20
                                     368:22, 369:1, 398:21,          1961 [1] - 404:19                   357:18, 357:19, 358:16,
0955.jpeg [2] - 325:3, 326:1
                                     419:22, 434:15                  1962 [1] - 260:15                   358:23, 359:6, 359:20,
                                                                     1964 [1] - 406:18                   362:18, 363:2, 371:23,
                1                  12-hour [1] - 417:25
                                                                     1968 [1] - 407:7                    374:22, 402:6, 430:12,
                                   1200 [1] - 419:22
1 [13] - 267:18, 275:9, 277:17,                                      1975 [1] - 408:3                    430:15, 432:12, 432:19,
                                   1202 [1] - 422:8
   355:24, 356:5, 362:25,                                                                                433:3, 434:18
                                   121 [1] - 374:9                   1980 [1] - 395:22
   381:5, 382:12, 383:18,                                                                              2018 [3] - 320:25, 367:10,
                                   12:19 [1] - 289:9                 1983 [2] - 408:18, 437:25
   386:18, 387:24, 389:4                                                                                 397:8
                                   12:28 [2] - 284:23, 296:14        1984 [1] - 397:1
1-802-310-2018 [1] - 319:11                                                                            2020 [1] - 237:1
                                   12:43 [1] - 334:20                1988 [1] - 409:6
1/10 [1] - 334:9                                                                                       2021 [1] - 449:21
                                   12:50 [1] - 308:25                19th [2] - 320:25, 321:6
10 [4] - 298:10, 322:7, 322:13,                                                                        2042 [1] - 339:4
                                   12:57 [1] - 322:20                1:00 [1] - 335:22
   433:10                                                                                              2048 [1] - 409:19
                                   12th [2] - 294:10, 367:10         1:02 [1] - 335:24
10-year-old [2] - 418:11,                                                                              2055 [1] - 411:8
                                   13 [4] - 237:1, 355:3, 355:20,    1:04 [1] - 336:10
   433:14                                                                                              2066 [1] - 411:24
                                     356:3                           1:11 [1] - 326:14
100 [2] - 264:3, 266:22                                                                                2088 [1] - 412:13
                                   139 [3] - 334:18, 336:20,         1:24 [1] - 329:5
1015.jpeg [3] - 325:4, 326:7,                                                                          20s [5] - 342:23, 369:6,
                                     336:23                          1:26 [1] - 305:18
   326:8                                                                                                 399:18, 407:20, 435:2
                                   1396 [1] - 247:24                 1st [4] - 275:3, 305:18,
1056 [1] - 359:23                                                                                      20th [8] - 291:3, 308:20,
                                   14 [10] - 241:5, 275:3, 304:12,     357:17, 357:18
1057 [4] - 359:18, 360:7,                                                                                350:3, 358:16, 358:23,
                                     304:18, 304:21, 304:22,
   360:16, 360:20                                                                                        360:9, 363:2, 375:18
                                     314:24, 323:18, 368:23,                         2
1060 [4] - 360:7, 360:10,                                                                              210 [1] - 341:22
                                     398:21
   360:14, 360:22                                                    2 [26] - 250:3, 250:20, 260:3,    211 [2] - 341:22, 342:7
                                   140 [3] - 334:21, 336:20,
1061 [2] - 359:8, 359:12                                                264:6, 276:14, 309:13,         21st [14] - 290:8, 308:24,
                                     336:23
1063 [1] - 359:4                                                        313:3, 316:14, 356:1,            314:5, 322:19, 326:14,
                                   1422 [1] - 248:11
1065 [1] - 358:20                                                       358:14, 363:10, 381:5,           329:5, 339:4, 350:20,
                                   1480 [2] - 311:17, 311:18
1067 [4] - 358:13, 360:2,                                               382:13, 382:14, 383:6,           351:11, 359:6, 359:10,
                                   1485 [1] - 323:18
   374:11, 375:13                                                       386:6, 386:18, 388:7,            359:13, 359:20, 359:25
                                   1486 [1] - 326:12                    406:4, 416:4, 417:14,
10:00 [5] - 237:24, 237:25,                                                                            22 [3] - 258:11, 324:12,
                                   14th [2] - 298:23, 402:5             422:19, 429:6, 431:2, 448:7
   238:1, 412:14, 443:9                                                                                  333:12
                                   15 [12] - 293:5, 297:22,          20 [7] - 333:3, 338:2, 361:14,
10:03 [1] - 339:21                                                                                     2234 [1] - 308:20
                                     315:11, 315:12, 350:15,            361:15, 361:22, 362:1,
10:23 [1] - 291:3                                                                                      23 [1] - 397:14
                                     355:11, 355:15, 356:2,             362:4
10:32 [1] - 295:5                                                                                      2317 [1] - 350:3
                                     362:19, 384:16, 402:7,          200 [1] - 274:20
10:33 [3] - 292:13, 293:7,                                                                             2337 [2] - 358:16, 375:15
                                     435:12                          2000s [1] - 396:15
   295:15                                                                                              2340 [1] - 375:25
                                   15-20 [1] - 331:24                2001 [1] - 362:14
10:34 [2] - 308:21, 329:6                                                                              24 [4] - 349:9, 350:2, 350:19,
                                   15-year-old [12] - 430:19,        2007 [1] - 254:6
10:48 [1] - 293:14                                                                                       351:9
                                     431:20, 432:2, 433:1,
10:51 [1] - 293:23                                                   201 [1] - 353:25                  246 [1] - 344:21
                                     433:5, 433:21, 433:22,
10th [10] - 248:10, 251:2,                                           2011 [3] - 396:17, 398:11,        247 [2] - 344:21, 345:4
                                     433:24, 434:10, 439:10,
   251:11, 251:13, 251:21,                                              398:13                         24th [2] - 339:7, 339:20
                                     439:16, 441:6
   251:24, 357:15, 357:19,                                           2012 [1] - 398:13                 25 [5] - 298:9, 306:12, 306:19,
                                   1516 [2] - 334:23, 351:11
   423:10, 423:12                                                    2014 [1] - 391:23                   326:12, 449:21
 2:18-cr-00012-cr                 Document 201               Filed 01/25/21           Page 218 of 247                                   2



25th [4] - 339:21, 342:3,          3:55 [1] - 405:19                 617-470-6994 [2] - 319:9,         9:42 [1] - 281:19
  432:12, 432:19                   3:56 [1] - 259:24                   320:23                          9s [1] - 342:16
26 [15] - 259:24, 298:10,          3c50.jpg [2] - 311:2, 311:13      6245676807 [1] - 305:8
  307:12, 311:17, 314:4,           3rd [1] - 280:16                  65 [7] - 242:21, 243:7, 243:10,                  A
  321:12, 362:24, 372:16,          3s [1] - 342:16                     243:11, 247:16, 247:17,
                                                                                                       a)(1 [1] - 355:5
  375:21, 397:1, 404:20,                                               248:16
                                                                                                       A-L-I-S-H-A [1] - 264:13
  406:23, 407:8, 428:25,                           4                 66 [8] - 248:14, 248:19,
                                                                                                       abhorrent [1] - 445:2
  431:12                                                               248:25, 249:3, 249:4,
                                   4 [3] - 312:15, 324:12, 448:8                                       abide [1] - 435:15
2602 [1] - 355:3                                                       352:1, 352:14, 353:1
                                   40 [3] - 313:1, 433:5, 434:11                                       able [6] - 314:17, 329:10,
26th [1] - 320:25                                                    67 [1] - 317:6
                                   403 [1] - 444:24                                                       393:21, 393:22, 395:4,
27 [15] - 306:11, 318:10,                                            6:25 [1] - 294:10
                                   404(b [4] - 364:10, 364:12,                                            445:7
  319:7, 321:9, 323:18,                                              6:53 [2] - 342:4, 342:7
                                      364:17, 440:21                                                   about [164] - 237:18, 237:19,
  326:11, 329:2, 334:19,
                                   40s [1] - 257:10                                                       237:23, 238:2, 238:7,
  336:17, 336:20, 341:23,                                                            7
                                   420 [2] - 345:17, 345:19                                               238:12, 238:13, 240:15,
  352:25, 428:25, 431:16,
                                   45 [4] - 306:20, 329:2, 329:4,    7 [5] - 257:11, 267:18, 306:13,      240:16, 246:25, 252:20,
  432:17
                                      433:11                            326:25, 333:16                    255:11, 255:13, 257:17,
28 [1] - 325:7
                                   46 [1] - 329:2                    73 [4] - 316:18, 321:4, 359:14,      264:24, 266:4, 267:17,
28th [2] - 411:8, 412:13
                                   4700 [1] - 283:15                    360:1                             268:14, 269:7, 271:6,
29 [9] - 325:16, 377:10, 378:3,
                                   4:03 [1] - 406:3                  739-0057 [2] - 245:15, 247:12        272:5, 274:25, 277:25,
  380:1, 381:2, 381:4,
                                   4:07 [1] - 417:24                 7:48 [1] - 410:16                    278:23, 279:7, 280:5,
  386:13, 389:12, 428:24
                                   4:12 [1] - 406:23                 7:51 [1] - 344:24                    281:9, 282:22, 282:23,
29th [5] - 289:9, 292:13,
                                   4:15 [4] - 287:25, 295:23,        7:52 [2] - 344:25, 410:16            285:7, 287:9, 287:15,
  342:3, 342:7, 344:23
                                      296:4, 296:8                   7th [5] - 295:5, 295:15, 416:5,      292:8, 293:1, 293:2, 293:3,
2:10 [1] - 350:21
                                   4:16:07 [1] - 407:8                  417:16, 423:9                     298:9, 298:10, 301:10,
2:12 [1] - 377:8
                                   4:21 [1] - 443:16                                                      301:22, 309:11, 311:20,
2:22 [1] - 286:11
                                                                                                          313:1, 314:7, 326:22,
2:26 [1] - 290:8                   4:29 [1] - 339:7                                  8
                                                                                                          328:9, 329:4, 331:18,
2:29 [1] - 378:20                  4:30 [1] - 449:13                 8 [6] - 252:25, 278:12, 322:7,       331:21, 333:3, 333:15,
2:32 [1] - 248:12                  4:31 [1] - 339:20                    350:3, 412:14, 416:22             335:1, 335:7, 335:8,
2:42 [2] - 248:10, 248:12          4:46 [1] - 408:4                  8/20/2017 [1] - 375:15               336:25, 337:15, 339:6,
2:52 [1] - 258:11                  4o [1] - 331:21                   80 [1] - 301:22                      339:12, 339:13, 340:19,
2:56 [1] - 390:12                  4th [5] - 281:19, 284:23,         802 [2] - 246:7, 319:13              341:5, 342:22, 342:24,
2:58 [1] - 390:21                     296:14, 296:19, 297:9          802-310-2018 [3] - 245:8,            343:15, 343:17, 343:23,
2acc [2] - 350:10, 351:14                                               352:14, 430:10                    344:5, 348:15, 351:5,
2acc@reply.craigslist.org [1]                      5                 802-739-0057 [2] - 245:13,           364:4, 365:18, 369:18,
  - 350:24                         5 [8] - 246:1, 250:12, 250:21,       246:13                            370:2, 370:9, 371:8, 373:5,
                                      257:10, 309:13, 324:12,        8023102018 [2] - 261:23,             374:1, 375:25, 376:6,
                3                     332:25, 431:7                     316:19                            377:1, 377:2, 377:17,
                                   50 [1] - 399:19                   8395 [3] - 256:8, 263:17,            377:19, 379:11, 381:16,
3 [3] - 278:24, 323:8, 388:8
                                   5000 [1] - 283:22                    296:17                            381:24, 382:13, 382:21,
30 [3] - 325:21, 397:22,
                                   50001962 [1] - 260:16             89 [1] - 423:23                      384:24, 385:21, 386:1,
   399:20
                                   50001976 [1] - 263:5              8:17 [1] - 411:9                     386:2, 386:3, 386:10,
302 [2] - 333:13, 333:16
                                   50002898 [1] - 294:6              8:30 [3] - 237:25, 448:17,           386:19, 387:6, 388:16,
30th [4] - 299:1, 344:24,
                                   5001985 [1] - 265:16                 448:24                            388:23, 389:13, 389:25,
   362:14, 397:2
                                   5002138 [1] - 296:11              8:49 [1] - 294:25                    390:8, 392:14, 395:13,
31 [5] - 306:13, 326:3, 363:7,
                                   5003876 [1] - 297:12              8:56 [1] - 237:3                     400:14, 401:9, 401:12,
   397:4, 399:20
                                   50s [1] - 306:10                  8th [3] - 286:11, 417:24, 423:8      401:24, 404:23, 405:21,
32 [3] - 313:18, 313:20,
                                   55 [1] - 433:3                                                         405:22, 407:23, 408:20,
   317:24
                                   58 [2] - 392:2, 421:25                            9                    408:23, 409:10, 409:23,
3251(1 [1] - 356:3
                                                                                                          410:1, 410:18, 410:24,
3252(c [1] - 355:21                59 [5] - 354:18, 354:22, 379:3,   9 [8] - 261:11, 274:21, 298:10,
                                                                                                          411:12, 411:25, 412:10,
33 [4] - 311:4, 311:6, 311:7,         380:7, 380:8                      316:14, 322:7, 363:10,
                                                                                                          413:6, 413:22, 414:5,
   428:25                          5:42 [1] - 416:5                     407:13, 429:6
                                                                                                          414:7, 414:25, 417:21,
34 [1] - 316:25                                                      9:00 [5] - 238:1, 448:17,            418:1, 418:7, 418:9,
36 [11] - 316:23, 358:5,                           6                    448:24, 449:3, 449:6              418:16, 418:17, 418:23,
   358:14, 358:20, 359:5,          6 [4] - 242:1, 242:8, 242:12,     9:03 [1] - 359:6                     419:6, 419:7, 419:9,
   359:9, 359:19, 372:17,             375:23                         9:06 [1] - 240:5                     419:11, 420:13, 421:1,
   372:19, 375:9, 375:14           60 [2] - 353:6, 353:19            9:10 [3] - 359:13, 360:11,           421:3, 421:10, 423:17,
3:16 [2] - 334:23, 351:12          61 [1] - 359:11                      360:18                            423:18, 424:8, 426:3,
3:43 [1] - 404:21                  617 [1] - 352:8                   9:16 [1] - 359:20                    426:25, 427:9, 428:8,
 2:18-cr-00012-cr                Document 201              Filed 01/25/21            Page 219 of 247                                 3



  429:10, 434:9, 435:21,          acts [13] - 311:22, 364:13,       after [37] - 240:1, 251:10,         291:13, 292:11, 294:1,
  436:13, 436:18, 437:6,             365:7, 365:9, 365:12,             251:21, 259:9, 259:21,           294:8, 294:23, 295:3,
  437:10, 438:17, 438:20,            365:17, 376:9, 377:14,            274:12, 293:6, 293:13,           295:12, 295:21, 296:3,
  438:23, 440:23, 441:21,            387:12, 387:21, 410:1,            296:18, 306:18, 310:21,          296:13, 297:7, 297:20,
  442:23, 442:24                     439:22                            317:2, 319:9, 319:12,            297:24, 298:3, 299:15,
above [4] - 261:1, 416:22,        actual [6] - 250:21, 308:2,          322:6, 335:11, 335:23,           300:1, 303:10, 305:3,
  435:11, 449:18                     318:25, 320:21, 349:20,           339:23, 340:20, 341:7,           310:16, 312:9, 314:12,
above-entitled [1] - 449:18          420:12                            344:10, 344:14, 370:6,           314:15, 315:7, 316:22,
absence [2] - 365:16, 377:22      ad [14] - 298:18, 309:10,            377:7, 378:19, 385:5,            317:8, 320:8, 320:10,
absolutely [17] - 259:16,            350:15, 402:6, 402:9,             388:24, 390:11, 396:10,          320:20, 321:13, 322:17,
  267:25, 306:8, 307:3,              402:20, 403:5, 403:7,             405:10, 405:16, 405:19,          329:1, 334:18, 336:13,
  399:25, 402:17, 403:21,            403:19, 404:4, 404:7,             413:9, 414:22, 423:6,            336:19, 337:3, 341:23,
  405:11, 408:17, 413:5,             404:15, 415:13, 426:4             425:14, 443:15                   344:20, 345:18, 347:22,
  422:7, 422:20, 422:24,          add [2] - 301:8, 373:20           afternoon [3] - 238:11, 285:8,      349:7, 349:10, 352:1,
  429:11, 433:16, 433:18,         add-on [1] - 301:8                   351:12                           352:22, 359:16, 361:1,
  435:10                          added [1] - 251:21                afternoon/early [1] - 422:14        362:6, 375:13
abusing [1] - 312:15              additional [3] - 303:7, 321:16,   afterwards [2] - 370:7, 447:18   agent [30] - 254:19, 255:10,
academy [4] - 301:4, 301:10,         323:2                          again [57] - 244:8, 248:25,         255:14, 300:10, 300:20,
  301:17, 301:18                  additionally [2] - 301:22,           249:12, 250:12, 259:2,           300:25, 301:11, 301:12,
Academy [1] - 395:23                 301:25                            259:3, 282:8, 282:18,            302:7, 302:10, 302:11,
accept [2] - 239:16, 379:4        Address [2] - 244:8, 244:10          285:8, 294:5, 296:7,             302:17, 365:25, 381:7,
acceptable [1] - 422:12           address [16] - 239:7, 263:11,        298:21, 301:9, 301:23,           381:11, 381:12, 381:18,
accepting [1] - 239:3                263:14, 281:16, 296:18,           313:15, 314:16, 317:17,          381:20, 382:1, 385:22,
access [6] - 356:19, 357:8,          296:21, 308:14, 308:16,           318:16, 318:20, 318:25,          392:25, 414:23, 415:1,
  357:10, 357:11, 357:20,            316:18, 317:2, 321:3,             324:24, 325:25, 336:18,          415:7, 416:6, 420:14,
  357:23                             350:6, 359:16, 388:11,            336:21, 337:5, 338:9,            423:17, 424:20, 424:24,
accessing [1] - 357:10               443:9, 448:9                      338:14, 339:19, 341:4,           441:8
accident [2] - 365:16, 387:13     addresses [1] - 308:7                341:6, 349:13, 349:20,        agent's [3] - 381:8, 419:7,
accidentally [1] - 256:24         administration [1] - 300:23          350:22, 350:23, 351:1,           447:17
according [2] - 371:20,           admissible [11] - 380:8,             351:16, 355:13, 357:7,        agent/criminal [1] - 300:13
  374:19                             386:16, 440:18, 440:19,           359:10, 359:25, 360:1,        agents [2] - 254:10, 301:18
accordingly [1] - 365:7              440:21, 441:16, 441:25,           362:5, 371:11, 381:1,         ago [5] - 255:13, 275:23,
account [5] - 256:8, 320:22,         443:25, 444:10, 448:11,           389:8, 393:24, 396:12,           306:11, 321:19, 351:22
  321:1, 321:3, 352:5                448:12                            403:23, 408:10, 408:18,       agree [10] - 328:6, 355:2,
accounts [1] - 240:16             admission [1] - 376:23               408:20, 418:25, 419:6,           366:16, 380:7, 389:2,
                                  admit [3] - 353:22, 368:17,          419:7, 421:21, 446:22            430:7, 433:14, 436:1,
accuracy [1] - 354:5
                                     377:16                         Against [3] - 254:21, 302:1,        439:15, 446:10
accurately [2] - 354:4, 447:12
                                  admitted [21] - 242:11,              302:23                        agreed [12] - 243:8, 248:25,
aching [1] - 417:18
                                     243:10, 246:10, 249:3,         against [4] - 302:4, 302:7,         304:12, 319:16, 319:23,
acquire [2] - 240:14, 443:11
                                     304:21, 319:20, 319:21,           328:8, 389:16                    319:24, 319:25, 356:15,
acquired [1] - 240:17
                                     320:6, 335:19, 356:25,         age [20] - 264:1, 310:9,            361:14, 361:22, 423:10,
across [4] - 243:24, 350:2,
                                     361:25, 364:18, 365:13,           311:20, 355:7, 355:23,           447:5
  350:11, 384:11
                                     368:21, 368:24, 377:15,           376:7, 382:19, 382:20,        agreed-to [5] - 319:16,
act [5] - 355:6, 355:22,
                                     377:25, 379:20, 380:19,           388:23, 389:1, 389:10,           319:25, 356:15, 361:14,
  355:25, 356:2, 356:5
                                     412:2                             392:1, 399:15, 426:6,            361:22
acted [4] - 347:3, 386:23,
                                  adorable [8] - 257:10, 259:17,       426:11, 428:9, 429:18,        agreed-upon [3] - 243:8,
  387:11, 387:14
                                     273:20, 310:4, 328:1,             434:4, 435:1                     248:25, 304:12
acting [1] - 341:10
                                     328:11, 345:10, 351:3          aged [1] - 369:3                 agreement [3] - 379:21,
action [1] - 426:17
                                  ads [12] - 398:8, 398:22,         agencies [2] - 301:7, 302:13        385:20, 435:15
Active [1] - 320:24
                                     398:25, 399:4, 400:8,          agency [3] - 254:18, 255:14,     ahead [9] - 294:6, 363:14,
active [3] - 412:2, 416:24,
                                     400:13, 400:14, 401:23,           301:23                           369:19, 369:23, 373:24,
  429:19
                                     402:1, 436:5, 436:18           Agent [73] - 238:11, 253:11,        425:13, 427:14, 444:8,
activities [1] - 417:7
                                  adult [1] - 400:25                   253:24, 254:3, 255:5,            447:14
activity [22] - 251:2, 251:16,
                                  advertisement [1] - 304:16           255:11, 255:24, 256:3,        alburgh [1] - 358:24
  251:21, 381:8, 381:14,
                                  advise [1] - 377:11                  257:24, 259:2, 259:23,        Alburgh [6] - 359:3, 391:19,
  383:9, 386:21, 386:25,
                                  af [1] - 347:21                      262:2, 263:10, 265:1,            391:22, 423:17, 423:23,
  387:9, 387:23, 389:11,
                                  AF [1] - 347:24                      266:12, 271:12, 280:14,          423:24
  395:11, 395:14, 429:5,
                                  affiliated [2] - 313:5, 313:9        281:14, 282:4, 284:21,        alert [1] - 447:21
  433:15, 433:22, 433:23,
                                  affliction [1] - 306:22              286:9, 287:24, 289:7,         Alisha [58] - 256:13, 256:19,
  433:25, 435:24, 441:22,
                                                                       290:3, 290:6, 291:1,             264:13, 264:16, 266:4,
  446:13                          afraid [2] - 312:16, 312:19
 2:18-cr-00012-cr                 Document 201             Filed 01/25/21           Page 220 of 247                                    4



   269:13, 274:11, 278:21,         animals [2] - 309:14, 403:13    arrest [3] - 255:2, 255:4,           336:2, 341:22, 351:8,
   279:17, 285:23, 287:2,          Annotated [3] - 355:3,             302:19                            358:13, 359:4, 359:8,
   288:9, 288:23, 290:22,            355:20, 356:3                 arrested [5] - 309:22, 397:7,        359:18, 373:14, 390:4,
   295:6, 296:16, 298:7,           anonymize [1] - 308:13             424:19, 425:2, 425:14             390:15, 403:20, 441:9,
   298:9, 364:2, 364:9, 365:2,     anonymized [2] - 350:6,         arresting [1] - 255:1                449:7, 449:9
   365:12, 365:19, 377:25,           350:23                        arrived [1] - 255:5               Attorney [3] - 240:10, 301:20,
   395:3, 402:6, 402:14,           anonymous [1] - 402:24          arrow [3] - 327:12, 343:19,          302:15
   403:9, 405:19, 406:23,          ANSWER [1] - 374:13                407:7                          attorney [6] - 237:8, 355:1,
   408:3, 408:19, 409:4,           answer [5] - 241:1, 245:25,     art [1] - 309:14                     370:20, 389:17, 389:19,
   409:10, 409:16, 409:17,           307:9, 415:6, 420:9           articulating [1] - 440:25            425:18
   410:22, 410:24, 412:14,         answered [1] - 347:3            ASAP [1] - 298:18                 attorneys [5] - 335:9, 354:24,
   415:2, 415:7, 415:20,           answering [1] - 347:2           aspect [2] - 401:1, 419:16           363:21, 377:5, 443:10
   416:2, 418:13, 418:20,          answers [1] - 447:4             aspects [2] - 381:25, 397:19      Attorneys [3] - 237:7, 240:9,
   422:11, 425:3, 425:9,           anus [1] - 356:7                ass [4] - 340:18, 342:25,            354:25
   425:17, 437:7, 437:8,           anxiety [1] - 345:24               346:23, 351:6                  attract [1] - 403:19
   438:1, 438:2, 438:25,           anxious [1] - 345:24            assertion [1] - 441:3             attracted [3] - 306:21, 307:1,
   445:16, 446:14                                                  assessing [1] - 365:15               419:14
                                   anytime [4] - 314:10, 314:16,
Alisha's [2] - 403:25, 413:21        346:12, 379:22                assigned [4] - 254:3, 255:10,     attractive [6] - 338:5, 369:5,
alleged [1] - 448:9                anyway [3] - 330:19, 385:18,       255:14, 320:21                    404:8, 407:21, 419:24,
allergic [1] - 264:21                442:13                        assist [1] - 255:15                  420:3
allow [13] - 381:7, 381:14,        apologize [6] - 263:23,         assistance [1] - 443:7            attributed [4] - 356:20, 431:7,
   388:9, 392:5, 393:12,             327:13, 358:7, 360:12,        Assistant [4] - 237:7, 240:9,        431:12, 431:18
   394:8, 394:20, 403:4,             372:20, 390:7                    302:15, 354:25                 August [36] - 290:8, 298:23,
   405:7, 409:25, 415:4,           appeal [2] - 414:5, 414:6                                            299:1, 305:18, 308:20,
                                                                   associate's [1] - 396:7
   425:13, 437:22                                                                                       308:24, 314:5, 322:19,
                                   appealed [1] - 398:19           associated [6] - 262:3, 291:2,
allowed [4] - 347:4, 395:12,                                                                            326:14, 329:5, 339:4,
                                   appealing [2] - 355:8, 403:11      305:5, 367:20, 397:20,
   415:6, 415:8                                                                                         339:7, 339:20, 339:21,
                                   appear [11] - 262:2, 295:12,       413:25
allowing [1] - 302:25                                                                                   342:2, 342:3, 342:7,
                                     296:3, 297:15, 297:18,        assume [4] - 276:20, 283:14,
almost [2] - 326:25, 340:17          308:10, 308:11, 319:7,           370:5, 370:7                      344:24, 350:3, 350:13,
alone [1] - 287:4                    324:25, 352:24, 353:4         assumes [1] - 368:5                  350:20, 351:1, 351:11,
although [4] - 313:3, 378:9,       appeared [4] - 245:17, 318:7,   assuming [2] - 366:25, 367:3         351:16, 358:16, 358:23,
   383:3, 414:9                      384:21, 413:11                                                     359:6, 359:20, 362:17,
                                                                   AT&T [3] - 248:23, 249:13,
always [14] - 306:4, 306:24,       applied [1] - 396:1                                                  363:2, 371:23, 374:22,
                                                                      320:17
   307:1, 328:5, 335:17,                                                                                402:5, 430:12, 432:12,
                                   applies [1] - 238:20            athletic [1] - 346:23
   335:20, 347:11, 347:12,                                                                              432:19
                                   apply [2] - 355:10, 355:14      Atlanta [6] - 269:21, 269:23,
   348:14, 384:4, 385:2,                                                                             autofocus [1] - 406:20
                                   applying [1] - 383:13              271:25, 280:19, 298:15,
   385:8, 399:13, 446:17                                                                             available [1] - 398:18
                                   appreciate [4] - 255:20,           412:21
AM [16] - 237:3, 240:5,                                                                              Avenue [1] - 395:25
                                     320:9, 333:4, 368:11          attach [2] - 257:18, 307:8
   281:19, 289:9, 292:13,                                                                            average [2] - 273:7, 369:5
                                   approached [4] - 417:22,        attached [4] - 291:15, 292:15,
   293:7, 293:14, 293:23,                                                                            awake [4] - 261:21, 316:2,
                                     421:5, 425:16, 427:22            313:21, 325:18
   294:25, 295:5, 295:15,                                                                               405:18, 406:1
                                   appropriate [4] - 373:22,       attachment [21] - 258:2,
   322:20, 329:5, 335:12,                                                                            aware [9] - 239:13, 273:1,
                                     379:12, 383:13, 394:21           258:3, 258:7, 259:3,
   359:13, 412:14                                                                                       381:17, 392:20, 420:5,
                                   approximately [10] - 293:4,        265:12, 288:1, 288:6,
Amateur [1] - 359:21                                                                                    435:14, 435:20, 435:23,
                                     301:6, 312:2, 334:24,            291:4, 291:5, 291:7,
amazing [8] - 261:8, 263:6,                                                                             443:2
                                     341:25, 344:21, 362:17,          291:14, 291:19, 292:14,
   307:2, 309:21, 315:4,                                                                             awesome [1] - 346:23
                                     376:13, 378:18                   310:20, 311:9, 313:15,
   351:18, 404:8, 407:9
                                   April [2] - 401:9, 401:17          319:2, 319:3, 323:3,
amazingly [1] - 283:20                                                                                              B
                                   AR [1] - 365:2                     323:13, 325:2
America [10] - 237:6, 240:8,
                                   ARE [1] - 286:20                Attachment [1] - 310:21           b)(1 [1] - 355:10
   293:16, 293:25, 336:1,
                                   area [11] - 243:19, 254:13,     attachments [3] - 324:13,         B5 [4] - 366:21, 366:22,
   336:12, 354:24, 378:22,
                                     254:20, 299:2, 300:15,           324:21, 324:25                    366:23, 367:9
   390:14, 390:23
                                     301:14, 302:2, 305:9,         attempted [4] - 381:6, 383:7,     babe [3] - 328:21, 337:16,
amount [1] - 244:13
                                     305:11, 316:4, 434:20            386:20, 387:22                    343:4
amuses [1] - 347:18
                                   areas [1] - 244:11              attempting [2] - 357:10,          baby [5] - 268:25, 289:16,
anal [4] - 276:4, 340:5, 356:9,
                                   arguing [1] - 382:15               384:18                            289:23, 290:18, 291:22
   433:17
                                   argument [3] - 382:14, 383:5,   attempts [1] - 294:16             bachelor's [3] - 300:22,
analysis [1] - 303:8
                                     385:17                        attention [25] - 237:11, 238:8,      396:11, 396:19
analyst [2] - 303:6, 303:7
                                   aroused [1] - 419:10               238:20, 239:23, 254:25,        background [4] - 300:21,
Andrew [3] - 237:7, 240:9,                                            293:8, 293:17, 300:5,
                                   arousing [4] - 355:8, 388:6,                                         395:7, 395:10, 395:20
   354:25                                                             302:3, 316:23, 335:13,
                                     417:9, 417:17
 2:18-cr-00012-cr                Document 201               Filed 01/25/21            Page 221 of 247                                 5



bad [20] - 256:23, 266:4,         behind [1] - 255:19                  264:9, 273:18, 298:2,          BTW [2] - 315:4, 315:8
  266:20, 267:22, 268:21,         Bellows [1] - 395:23                 298:8, 305:24, 306:1,          bummed [1] - 337:12
  288:10, 288:19, 289:22,         belonging [1] - 352:6                308:2, 312:19, 312:25,         bunch [2] - 395:21, 425:2
  290:19, 295:1, 295:25,          belongings [1] - 255:7               315:3, 322:15, 324:22,         Burlington [13] - 254:4,
  298:17, 339:12, 345:16,         belongs [2] - 247:8, 352:7           326:23, 328:9, 328:15,           264:6, 300:8, 300:15,
  346:1, 365:11, 384:8,           below [3] - 246:14, 262:4,           349:21, 350:14, 351:2,           313:1, 331:15, 331:23,
  409:10, 430:23, 434:11             435:12                            351:17, 351:18, 355:6,           332:1, 362:16, 382:2,
badly [5] - 265:7, 272:18,        bench [1] - 379:22                   356:9, 368:25, 380:15,           391:25, 423:7, 423:8
  285:9, 291:23, 295:7            benefit [2] - 421:19, 421:20         407:2, 411:10, 434:20          business [3] - 300:22,
bag [2] - 255:6, 255:7            benefits [1] - 400:6               Body/Message [1] - 318:25          300:23, 396:13
bait [1] - 410:12                 bet [6] - 263:6, 270:9, 327:17,    bolstering [1] - 394:21          bust [1] - 424:13
balance [1] - 341:13                 340:18, 351:6, 389:4            boobs [1] - 328:16               busy [1] - 265:17
ball [1] - 334:5                  better [11] - 276:5, 306:7,        book [2] - 238:24, 370:16        buts [1] - 313:13
Barbara [3] - 237:7, 240:9,          328:2, 329:12, 329:14,          born [2] - 362:15, 391:24        butt [5] - 309:13, 328:5,
  354:25                             331:19, 332:20, 344:14,         Boston [1] - 300:23                328:8, 328:9, 339:13
Barre [1] - 312:10                   345:15, 346:14, 369:5           bottle [1] - 276:15              button [3] - 370:22, 406:20,
bars [1] - 398:17                 between [34] - 247:18,             bottles [3] - 274:15, 413:23,      432:14
base [1] - 364:16                    252:14, 256:5, 307:16,            416:3                          BY [23] - 241:20, 242:16,
baseball [1] - 274:15                309:23, 313:13, 318:13,         bottom [19] - 274:15, 288:3,       243:16, 249:8, 252:9,
based [18] - 246:16, 247:11,         329:3, 334:25, 335:1,             298:1, 305:20, 305:22,           253:23, 257:24, 294:8,
  265:1, 271:12, 315:7,              336:21, 336:25, 339:18,           310:17, 311:12, 313:24,          299:25, 305:3, 320:8,
  345:19, 347:23, 352:8,             341:25, 344:7, 344:22,            317:25, 318:6, 324:2,            336:19, 357:4, 362:5,
  357:20, 357:23, 360:2,             356:5, 356:6, 360:8, 376:2,       325:13, 358:13, 360:2,           365:23, 368:23, 371:7,
  363:11, 363:15, 366:25,            377:24, 385:19, 389:14,           374:11, 375:13, 375:23,          375:12, 391:14, 393:6,
  374:11, 395:2, 399:9,              396:24, 408:19, 418:16,           404:19, 419:14                   394:2, 395:19, 430:6
  427:22                             421:2, 425:16, 425:25,          bought [1] - 270:6               bye [1] - 284:18
basis [1] - 389:11                   428:2, 431:3, 431:8,            bound [1] - 238:25
Bates [13] - 248:2, 260:14,          431:17, 438:1                   bowling [1] - 274:16                            C
  265:14, 311:17, 323:18,         bevause [1] - 313:12               box [1] - 317:1
                                                                                                      calculating [1] - 383:21
  404:18, 406:18, 407:7,          beyond [5] - 386:16, 386:23,       boy [1] - 345:7
                                                                                                      calendar [2] - 251:3, 251:10
  408:18, 416:4, 417:10,             387:10, 387:20, 389:8           boyfriend [2] - 343:21, 401:25
                                                                                                      cam [1] - 432:14
  419:22, 422:8                   bf's [1] - 267:19                  Brand [2] - 444:21, 447:7
                                                                                                      cannot [2] - 354:5, 442:13
bats [1] - 274:15                 big [5] - 264:25, 273:7,           break [18] - 243:20, 292:23,
                                                                                                      captured [1] - 317:18
battle [4] - 412:19, 413:13,         276:15, 277:8, 342:22             293:4, 293:9, 335:7,
                                                                                                      car [12] - 259:21, 260:12,
  413:19, 418:21                  bigger [2] - 324:1, 328:16           335:14, 341:4, 341:11,
                                                                                                        260:19, 261:19, 334:11,
bearing [1] - 347:15              biggest [1] - 328:9                  376:25, 377:3, 377:5,
                                                                                                        351:23, 389:6, 405:19,
beautiful [6] - 266:2, 306:12,    binder [9] - 241:23, 255:22,         377:13, 378:17, 390:5,
                                                                                                        406:25, 407:4, 424:21,
  306:20, 306:24, 307:1,             255:23, 297:17, 297:19,           390:6, 422:1, 424:5, 424:10
                                                                                                        428:1
  409:7                              304:11, 308:23, 356:14,         breaking [4] - 292:22, 335:3,
                                                                                                      card [2] - 356:19, 357:8
became [4] - 398:11, 403:3,          361:13                            341:6, 424:7
                                                                                                      cardholder [1] - 357:12
  411:5, 416:24                   birth [6] - 315:20, 361:19,        breath [2] - 241:7, 275:17
                                                                                                      care [4] - 267:18, 310:11,
become [4] - 300:25, 301:18,         362:7, 362:12, 363:11,          breathing [2] - 241:7, 268:13
                                                                                                        348:15, 412:10
  396:4, 400:23                      363:15                          brief [4] - 249:23, 362:20,
                                                                                                      carefully [1] - 381:10
becoming [3] - 300:20,            bit [10] - 331:19, 342:6, 377:3,     369:18, 390:6
                                                                                                      carelessness [1] - 387:14
  381:17, 408:23                     378:9, 418:16, 419:19,          briefly [4] - 254:16, 300:11,
                                                                                                      caring [1] - 312:17
bed [8] - 261:15, 262:18,            438:7, 438:11, 439:13,            362:22, 372:15
                                                                                                      carry [1] - 420:3
  287:14, 330:20, 388:16,            443:20                          bring [25] - 237:10, 237:12,
                                  bitch [1] - 346:22                                                  case [55] - 237:5, 238:22,
  407:16, 408:5, 418:2                                                 238:8, 239:22, 239:24,
                                                                                                        239:18, 240:7, 240:15,
bedroom [2] - 329:20, 337:20      bitches [4] - 343:4, 346:7,          256:1, 293:8, 293:17,
                                                                                                        240:16, 240:19, 241:15,
beds [3] - 260:3, 406:4,             346:8, 346:13                     293:21, 303:3, 303:19,
                                                                                                        249:13, 254:25, 255:10,
  406:10                          blanks [1] - 284:15                  335:13, 336:2, 336:7,
                                                                                                        255:12, 255:14, 293:1,
began [3] - 397:1, 435:15,        blimp [1] - 346:24                   354:22, 382:10, 390:3,
                                                                                                        293:2, 293:3, 302:3, 302:4,
  437:10                          blindfold [3] - 266:8, 268:8,        390:4, 390:15, 390:19,
                                                                                                        302:7, 302:10, 302:11,
begin [4] - 308:20, 309:8,           281:8                             449:7, 449:9
                                                                                                        302:16, 302:17, 320:22,
  402:15, 416:14                  blindfolded [1] - 273:15           bringing [2] - 394:21, 418:13
                                                                                                        335:7, 335:8, 349:17,
beginning [1] - 350:2             block [1] - 435:23                 broached [1] - 383:21
                                                                                                        364:25, 365:25, 373:9,
begins [4] - 309:9, 310:20,       blow [1] - 346:24                  broad [1] - 240:19
                                                                                                        377:2, 379:17, 379:21,
  357:16, 357:17                  blowing [1] - 310:14               broken [1] - 294:19
                                                                                                        380:23, 386:18, 387:16,
behavior [4] - 383:18, 383:24,    Body [1] - 349:20                  brother [2] - 329:23, 337:18
                                                                                                        390:1, 391:3, 440:21,
  384:2, 384:9                    body [30] - 260:23, 262:3,         brothers [1] - 333:25
  2:18-cr-00012-cr                 Document 201              Filed 01/25/21          Page 222 of 247                                 6



  442:23, 442:24, 444:13,              300:18, 301:14, 301:19,       clump [1] - 243:20             complete [3] - 239:2, 369:11,
  444:21, 444:23, 444:24,              301:24, 355:7, 355:9,         cock [8] - 257:19, 262:14,       446:2
  445:5, 445:9, 446:24,                355:11, 355:15, 355:22,         264:25, 266:4, 274:21,       completed [1] - 244:5
  447:4, 447:7, 448:22                 356:1, 384:10, 385:11,          277:8, 279:8, 409:10         completely [7] - 273:19,
cases [4] - 300:17, 300:18,            388:10, 405:13, 405:16,       cocks [2] - 264:3, 273:7         340:7, 384:2, 410:10,
  300:19                               405:18, 405:25, 406:1,        code [1] - 244:17                411:4, 411:21, 445:18
category [3] - 251:15, 305:13,         408:1, 423:3, 433:8,          coded [1] - 244:11             comply [1] - 443:2
  305:15                               433:10, 433:14, 434:10,       coding [1] - 244:19            component [3] - 378:9,
caught [2] - 238:19, 373:14            439:10, 439:17, 441:1,        coerce [7] - 383:8, 386:21,      379:10, 385:3
causes [1] - 346:10                    441:17, 444:22, 445:6,          386:24, 387:8, 387:17,       computer [3] - 254:19, 303:5,
caution [1] - 245:1                    445:8, 445:15, 445:18,          387:22, 389:9                  303:7
cell [11] - 242:6, 245:9,              445:23, 447:5, 447:23,        coerced [1] - 387:2            concept [3] - 383:19, 410:13,
  250:19, 302:18, 352:8,               448:1, 448:9                  cold [1] - 241:4                 414:12
  353:3, 358:12, 358:18,            children [11] - 309:14, 360:6,   collecting [2] - 302:12,       concern [2] - 241:11, 317:10
  359:14, 378:12, 378:13               374:14, 440:24, 441:1,          302:14                       concerned [1] - 284:9
Cellebrite [4] - 250:21,               441:4, 441:22, 446:3,         collectively [1] - 388:18      concerning [3] - 304:5, 304:9,
  251:14, 251:15, 304:4                446:5, 446:14, 447:10         college [1] - 395:21             426:19
cellular [2] - 354:8, 354:11        Children [3] - 254:21, 302:1,    colloquy [1] - 378:4           concerns [1] - 317:11
certain [5] - 304:4, 369:25,           302:23                        column [9] - 243:19, 243:21,   conclusion [3] - 250:23,
  381:17, 419:11                    chills [1] - 241:5                 244:6, 318:15, 318:16,         251:20, 434:5
certainly [12] - 257:12,            chip [1] - 397:3                   319:4, 323:2, 349:11,        concrete [1] - 245:4
  281:18, 282:12, 332:11,           chips [1] - 397:20                 349:12                       conditions [1] - 435:16
  384:12, 385:13, 414:9,            Chrome [6] - 358:11, 358:22,     columns [1] - 249:9            condoms [2] - 274:20, 315:20
  424:17, 433:9, 440:13,               359:14, 359:25, 375:15,       comfort [2] - 337:20, 419:3    conduct [9] - 254:9, 254:10,
  446:1, 447:3                         375:19                        comfortable [7] - 327:25,        355:16, 356:5, 365:5,
certificate [4] - 361:20, 362:8,    chronological [2] - 307:22,        402:3, 406:14, 407:6,          387:15, 440:2, 444:6,
  363:11, 363:15                       318:17                          408:13, 410:14, 419:20         446:15
certified [2] - 361:19, 362:7       chronology [1] - 357:17          coming [9] - 271:25, 280:23,   conducted [4] - 358:17,
certify [1] - 449:17                chunk [1] - 324:1                  283:12, 285:13, 333:13,        359:7, 359:13, 359:21
challenge [1] - 383:7               chute [1] - 420:19                 333:25, 343:4, 370:6,        conducting [1] - 302:13
chance [1] - 332:21                 cigarettes [3] - 264:20,           443:20                       conference [2] - 237:25,
change [4] - 344:6, 382:21,            324:10, 345:13                commander [1] - 302:23           448:19
  397:4, 429:10                     circle [1] - 248:7               commenced [1] - 449:3          confidant [1] - 383:22
changed [3] - 412:22, 420:22,       circled [2] - 249:9, 417:15      commerce [5] - 354:7, 354:9,   confident [1] - 326:23
  443:1                             circling [1] - 370:21              354:12, 378:8, 378:13        confides [1] - 389:4
changes [3] - 338:23, 340:4,        Circuit [1] - 444:21             commit [1] - 355:5             confirm [5] - 297:7, 297:17,
  408:2                             circumstances [4] - 268:11,      committed [1] - 365:8            377:10, 378:15, 390:24
channel [1] - 413:14                   369:7, 387:15, 416:25         common [1] - 387:17            confirming [1] - 376:22
character [4] - 365:11,             clarification [3] - 256:14,      communicate [2] - 403:23,      confirms [1] - 353:2
  394:20, 395:13, 400:5                311:19, 376:6                   414:4                        confusing [1] - 256:19
characterization [1] - 434:2        clarify [2] - 364:15, 377:14     communicated [2] - 298:14,     connect [2] - 246:21, 294:17
Charge [1] - 254:3                  clarity [1] - 393:21               424:24                       connection [3] - 242:19,
charge [6] - 237:25, 384:4,         class [1] - 347:14               communicating [5] - 245:18,      249:15, 249:16
  384:5, 424:24, 448:19             classes [1] - 396:5                357:21, 357:24, 402:18,      consensual [6] - 311:22,
charged [5] - 239:3, 365:6,         clean [1] - 370:15                 419:4                          355:12, 355:16, 355:25,
  365:9, 386:19, 446:15             cleaned [1] - 348:4              communication [5] - 384:11,      356:2, 376:9
charges [1] - 302:16                clear [7] - 327:11, 360:12,        402:16, 418:7, 421:22,       consent [7] - 310:9, 311:20,
chat [3] - 254:24, 430:18,             364:15, 381:20, 382:7,          438:1                          355:12, 376:7, 384:17,
  430:22                               385:23, 420:7                 communications [17] -            389:1, 389:10
check [5] - 257:14, 332:17,         cleared [2] - 442:1, 444:2         245:12, 246:16, 247:18,      consenting [1] - 433:24
  333:25, 374:8, 395:8              clearly [2] - 382:5, 440:14        295:17, 318:17, 352:13,      consider [4] - 365:7, 365:9,
checked [2] - 366:9, 392:24         client [6] - 382:2, 382:7,         353:3, 385:1, 385:10,          365:13, 365:14
chick [1] - 306:17                     382:25, 385:23, 386:3,          415:15, 419:12, 420:21,      considered [1] - 365:17
chicken [1] - 348:4                    446:19                          426:8, 430:18, 431:8,        considering [1] - 268:10
chickens [1] - 348:16               client's [1] - 444:16              433:10, 437:6                consistent [2] - 371:11,
chicks [1] - 342:12                 clients [1] - 238:6              company [1] - 249:13             372:22
chief [3] - 440:21, 444:25,         close [3] - 266:13, 377:20,      compare [1] - 250:20           consistently [1] - 371:14
  447:4                                405:25                        compared [1] - 352:24          consisting [1] - 356:6
Child [1] - 362:10                  closed [1] - 399:12              comparing [1] - 360:16         constitute [1] - 439:17
child [41] - 254:11, 254:14,        closer [2] - 243:3, 332:11       comparison [1] - 250:23        constitutes [2] - 354:8,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21            Page 223 of 247                                 7



  354:11                          Coordinated [1] - 252:12           256:14, 353:13, 354:1,           425:7, 425:13, 425:21,
constituting [1] - 239:3          coordinates [4] - 317:9,           354:14, 364:14, 364:18,          426:10, 427:10, 427:14,
consult [1] - 335:18                317:18, 317:20, 318:3            377:11, 377:20, 377:25,          430:3, 434:4, 437:22,
consultation [1] - 389:18         coordinating [1] - 302:15          378:10, 379:4, 386:13,           440:4, 440:6, 440:9,
contact [13] - 313:2, 313:13,     cop [5] - 282:9, 283:1, 424:3,     391:15, 394:16, 395:12,          440:17, 441:7, 441:16,
  321:7, 338:22, 356:6,             424:17, 425:16                   440:20, 440:22, 441:24,          442:3, 442:6, 442:8,
  387:4, 388:12, 410:7,           cops [2] - 316:4, 424:13           442:1, 442:20, 443:24,           442:19, 443:18, 444:21,
  411:21, 412:25, 413:19,         copy [3] - 353:16, 361:19,         444:2, 444:10, 444:12,           445:9, 445:11, 446:9,
  425:9, 427:25                     362:7                            444:14, 447:5, 448:4,            446:16, 447:1, 448:14,
contacted [1] - 382:18            corner [4] - 313:24, 317:25,       448:8, 448:10, 448:12,           449:4, 449:6, 449:9, 449:12
contacting [1] - 309:25             318:7, 325:13                    449:13                        court's [1] - 354:3
contained [7] - 242:5, 243:23,    correct [38] - 320:2, 353:10,    COURT [181] - 237:10,           Court's [4] - 415:5, 440:19,
  250:8, 250:15, 365:12,            363:12, 363:13, 363:16,          238:17, 238:19, 239:16,          445:10, 448:6
  431:15, 431:16                    367:8, 367:12, 367:20,           239:20, 239:22, 240:12,       courtroom [11] - 241:17,
containing [2] - 243:23,            382:4, 383:10, 420:17,           240:23, 242:9, 242:11,           253:18, 293:6, 299:20,
  248:16                            430:13, 430:16, 430:20,          242:14, 243:10, 243:13,          335:10, 335:11, 377:6,
contemplating [1] - 238:11          430:24, 431:3, 431:9,            245:1, 245:24, 246:12,           377:7, 391:11, 443:5,
content [11] - 246:14, 246:16,      431:13, 431:18, 431:21,          246:23, 247:6, 249:3,            443:15
  250:4, 250:7, 250:10,             432:3, 432:19, 433:3,            249:7, 252:3, 252:6, 253:4,   COURTROOM [16] - 237:4,
  250:15, 250:18, 250:20,           433:15, 434:21, 434:22,          253:6, 253:12, 253:21,           239:25, 240:6, 253:14,
  250:24, 251:13, 318:25            434:24, 435:3, 436:2,            255:18, 256:16, 256:21,          257:7, 299:16, 303:21,
contents [5] - 304:4, 304:7,        436:5, 436:6, 436:20,            257:1, 257:5, 257:8,             303:25, 319:20, 319:22,
  308:3, 349:20, 434:7              437:12, 439:10, 439:11,          292:22, 292:25, 293:8,           319:24, 327:12, 391:7,
contested [3] - 386:17,             439:12, 445:10, 449:17           293:12, 293:15, 293:21,          406:19, 432:13, 432:16
  386:18, 388:19                  correctly [2] - 303:16, 429:4      293:24, 296:25, 297:2,        covered [1] - 284:2
context [3] - 345:20, 345:21,     correspondence [9] - 381:10,       297:4, 299:6, 299:9,          covers [1] - 301:10
  373:8                             386:9, 402:13, 402:25,           299:11, 299:13, 299:23,       COVID [2] - 240:25, 443:12
continuation [1] - 419:5            403:2, 413:10, 413:15,           304:19, 304:21, 304:24,       COVID-19 [3] - 241:3, 241:11,
                                    424:15, 425:17                   320:1, 320:4, 320:6, 335:3,      443:1
continue [20] - 256:11,
                                  corresponds [4] - 325:14,          335:6, 335:13, 335:17,        craigslist [2] - 350:15, 359:7
  258:10, 310:19, 312:9,
                                    325:20, 326:1, 326:8             335:25, 336:6, 336:11,        Craigslist [53] - 256:7,
  314:15, 322:1, 322:21,
                                  cost [2] - 406:11, 408:12          352:21, 353:8, 353:11,           263:15, 263:17, 295:16,
  323:17, 329:7, 337:2,
                                  cough [1] - 241:5                  353:15, 353:22, 354:13,          296:6, 296:16, 298:5,
  339:8, 339:22, 342:5,
                                  counsel [2] - 252:1, 369:25        354:19, 354:21, 356:23,          304:9, 304:15, 304:16,
  345:2, 345:23, 348:1,
                                                                     356:25, 357:3, 361:23,           308:12, 308:13, 308:15,
  350:11, 355:19, 420:24,         count [1] - 244:25
                                                                     361:25, 362:3, 362:21,           309:10, 309:24, 310:12,
  448:21                          Count [7] - 382:12, 382:13,
                                                                     363:20, 363:23, 364:12,          350:6, 350:23, 351:14,
continued [7] - 385:5, 385:10,      382:14, 383:6, 383:18,
                                                                     364:23, 368:7, 368:19,           366:5, 366:9, 366:10,
  396:2, 396:10, 397:5,             386:6, 387:24
                                                                     368:21, 369:19, 369:22,          366:11, 366:14, 367:11,
  397:6, 403:3                    counts [1] - 445:22
                                                                     370:4, 370:12, 370:19,           367:14, 367:16, 367:23,
continues [1] - 402:25            Counts [3] - 381:5, 386:18
                                                                     371:2, 372:2, 372:4,             368:2, 368:15, 371:12,
contradicting [1] - 446:12        County [2] - 423:21, 423:22
                                                                     372:14, 372:23, 373:2,           395:9, 398:8, 398:15,
control [2] - 312:16, 315:20      couple [7] - 306:11, 306:13,
                                                                     373:10, 373:13, 373:24,          398:18, 398:23, 398:25,
controlling [3] - 311:21,           321:19, 322:14, 399:18,
                                                                     374:4, 374:15, 376:17,           399:23, 400:3, 400:8,
  347:17, 376:7                     404:13, 442:20
                                                                     376:19, 376:21, 376:24,          401:23, 402:23, 410:8,
conversation [19] - 382:25,       course [7] - 238:21, 274:16,
                                                                     377:9, 378:7, 378:15,            420:23, 426:4, 434:15,
  384:6, 384:25, 385:24,            304:3, 356:11, 379:24,
                                                                     378:17, 378:21, 379:5,           435:14, 435:20, 435:23,
  389:14, 408:11, 410:10,           396:15, 439:5
                                                                     379:11, 379:16, 380:4,           436:5, 436:13, 436:17
  411:19, 414:23, 416:2,          courses [1] - 396:18
                                                                     380:10, 380:13, 380:18,       crave [1] - 267:20
  420:19, 420:25, 438:23,         court [27] - 237:2, 240:4,
                                                                     380:22, 382:13, 383:7,        cravings [1] - 369:8
  442:6, 442:8, 442:9, 445:3,       256:16, 293:7, 293:14,
                                                                     383:11, 385:17, 386:13,       crawling [1] - 287:14
  445:17, 447:11                    293:22, 335:12, 335:24,
                                                                     389:23, 389:25, 390:3,        crazy [1] - 275:18
conversations [8] - 383:2,          336:9, 364:22, 371:6,
                                                                     390:8, 390:13, 390:19,
  383:3, 403:9, 412:20,             374:8, 375:7, 377:8,                                           created [2] - 298:22, 305:17
                                                                     390:22, 391:3, 392:5,
  420:20, 427:2, 427:15,            378:20, 390:12, 390:20,                                        creates [1] - 402:23
                                                                     392:13, 392:17, 392:19,
  439:6                             393:21, 393:22, 393:24,                                        creep [1] - 306:4
                                                                     392:23, 393:12, 393:18,
converted [1] - 397:2               395:18, 425:24, 441:25,                                        crime [4] - 239:1, 239:3,
                                                                     393:22, 394:8, 394:14,
convict [1] - 386:6                 442:5, 442:21, 443:16,                                            300:15, 364:17
                                                                     394:23, 395:1, 395:12,
convince [1] - 422:5                444:1                                                          crimes [4] - 254:11, 300:16,
                                                                     395:17, 398:2, 398:6,
cool [2] - 345:10, 346:21         Court [36] - 237:5, 238:13,                                         365:5, 365:8
                                                                     405:7, 409:1, 409:24,
coop [1] - 348:4                    238:15, 238:16, 240:7,                                         Crimes [3] - 254:21, 302:1,
                                                                     415:4, 415:6, 420:10,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21            Page 224 of 247                                   8



   302:23                                                          deceptive [1] - 384:5            department [1] - 397:22
                                                 D
Criminal [1] - 301:5                                               decide [3] - 315:14, 422:21,     departments [2] - 397:15
criminal [25] - 237:5, 238:22,    D&D [2] - 257:11, 436:1            448:22                         DEPUTY [16] - 237:4, 239:25,
   239:4, 240:7, 254:9,           dad [5] - 267:20, 313:10,        decision [4] - 389:17, 389:18,      240:6, 253:14, 257:7,
   254:10, 300:10, 301:7,           329:23, 332:19, 344:10           389:20, 395:5                     299:16, 303:21, 303:25,
   365:10, 365:11, 379:17,        daddy [1] - 278:8                decisions [2] - 238:5, 389:17       319:20, 319:22, 319:24,
   389:16, 392:3, 392:20,         damn [3] - 257:10, 260:8,        deep [4] - 262:14, 279:22,          327:12, 391:7, 406:19,
   393:1, 393:3, 393:7, 393:9,      261:6                            284:16, 291:10                    432:13, 432:16
   393:16, 394:3, 394:5,          dark [2] - 369:8, 428:8          Defendant [1] - 448:13           deputy [4] - 241:17, 253:18,
   394:12, 394:21, 395:7,         darlin [2] - 288:18, 289:2       DEFENDANT [7] - 239:14,             299:20, 391:11
   395:14                         Darlin [2] - 278:17, 286:23        239:19, 378:16, 389:22,        describe [3] - 397:11, 399:7,
criminalize [1] - 387:5           data [1] - 352:24                  389:24, 401:4, 401:6              421:14
cross [13] - 252:6, 299:9,        database [2] - 243:22, 249:12    defendant [38] - 237:8,          described [3] - 399:6, 411:3,
   365:20, 372:22, 372:24,        date [39] - 244:3, 248:8,          237:17, 239:4, 239:6,             433:9
   373:4, 375:6, 382:1,             249:15, 280:14, 284:21,          239:7, 240:10, 245:17,         describes [1] - 388:12
   423:17, 430:3, 440:23,           286:9, 287:24, 289:7,            256:11, 259:3, 302:8,          describing [1] - 421:16
   441:12, 448:21                   290:6, 291:1, 292:11,            304:9, 307:16, 318:13,         description [4] - 249:23,
CROSS [3] - 252:8, 365:22,          294:8, 294:23, 295:3,            318:24, 323:16, 349:18,           299:2, 305:9, 305:13
   430:5                            295:21, 296:7, 296:13,           350:25, 355:1, 356:20,         desire [5] - 257:15, 306:3,
cross-examination [8] -             297:7, 297:13, 298:22,           364:13, 365:4, 365:8,             409:14, 412:23, 428:19
   252:6, 299:9, 365:20,            298:24, 298:25, 305:17,          365:10, 377:11, 378:4,         desired [4] - 342:12, 429:18,
   372:24, 373:4, 382:1,            307:25, 308:19, 318:20,          380:12, 381:4, 386:20,            430:1
   430:3, 448:21                    321:5, 339:17, 349:13,           386:23, 387:3, 387:11,         desires [4] - 355:9, 400:17,
CROSS-EXAMINATION [3] -             357:7, 357:14, 362:12,           387:14, 387:21, 389:13,           417:18, 417:21
   252:8, 365:22, 430:5             362:25, 401:17, 404:3,           392:20, 447:2, 447:8, 447:9    desperately [2] - 294:18,
cross-examine [1] - 440:23          404:6, 404:9                   Defendant's [3] - 366:21,           410:25
cross-examining [2] -             dated [5] - 306:12, 306:24,        377:15, 404:18                 desperation [1] - 413:12
   423:17, 441:12                   367:10, 399:18, 399:19         defendant's [11] - 238:25,       despite [1] - 294:16
CRR [1] - 449:21                  dates [4] - 244:4, 320:24,         245:10, 317:15, 318:23,        Destination [1] - 244:10
cruel [1] - 313:11                  386:19                           349:24, 352:23, 353:3,         detail [3] - 246:6, 248:23,
cruising [1] - 309:24             dating [2] - 398:19, 399:21        358:12, 358:18, 359:14,           418:16
crying [4] - 310:23, 312:23,      dau [2] - 272:8, 275:15            387:7                          detailing [3] - 304:15, 318:12,
   313:10, 314:18                 daughter [44] - 259:6, 260:7,    Defense [6] - 255:17, 256:3,        358:11
cuddle [6] - 312:13, 312:18,        261:9, 267:20, 271:20,           294:5, 297:16, 297:19,         details [1] - 239:15
   313:7, 314:17, 315:23,           275:24, 298:10, 298:15,          437:25                         determination [1] - 343:17
   351:3                            341:13, 381:8, 381:14,         defense [7] - 369:24, 370:20,    determine [1] - 379:24
cuddled [2] - 327:19, 341:6         381:16, 382:8, 382:10,           390:1, 391:3, 391:5,           determined [1] - 354:4
culmination [1] - 417:5             383:20, 386:2, 403:15,           417:12, 445:14                 determines [1] - 386:15
cum [16] - 262:13, 262:14,          403:16, 404:20, 405:3,         define [1] - 435:1               Device [1] - 357:9
   269:3, 274:18, 275:8,            406:8, 406:13, 407:5,          definitely [9] - 283:9, 313:3,   device [2] - 320:22, 375:19
   275:13, 276:20, 282:17,          407:9, 408:15, 408:24,           330:25, 331:10, 331:12,        dialogue [5] - 404:14, 414:3,
   282:22, 284:2, 284:16,           409:5, 412:5, 412:7, 413:4,      338:12, 343:18, 400:5,
                                    413:8, 413:11, 418:10,                                             420:17, 437:10, 438:18
   285:7, 291:10, 340:20,                                            411:7                          dick [1] - 283:15
   340:21, 388:14                   418:11, 418:17, 418:23,        definition [11] - 358:19,
                                    420:6, 420:18, 420:21,                                          die [1] - 343:13
cumming [1] - 284:4                                                  360:3, 373:5, 373:7,
                                    421:3, 422:6, 424:11,                                           difference [7] - 252:14,
cumulative [3] - 392:6,                                              373:14, 373:18, 374:1,
                                    424:16, 446:15                                                     252:21, 262:25, 329:3,
   395:14, 447:6                                                     374:6, 374:12, 375:16,
                                  daughter's [2] - 385:25, 410:2                                       336:21, 339:17, 385:19
curative [5] - 364:1, 364:3,                                         375:20
                                  Daylight [2] - 252:16, 252:19                                     different [13] - 255:13,
   364:8, 364:24, 377:21                                           degree [2] - 396:7, 427:4
                                  days [10] - 241:5, 316:14,                                           341:14, 365:4, 366:13,
curious [1] - 341:3                                                degrees [1] - 400:17                371:13, 374:15, 379:14,
                                    321:22, 339:6, 342:2,          delay [1] - 346:25
current [1] - 255:9                                                                                    384:8, 395:21, 398:8,
                                    345:7, 347:10, 363:10,         delicious [2] - 312:1, 376:12
Curtis [1] - 255:5                                                                                     401:21, 401:23, 424:18
                                    363:16, 429:6                  deliverable [1] - 295:17
curves [1] - 328:12                                                                                 difficult [3] - 398:17, 406:17,
                                  deal [2] - 342:15, 446:5         delivered [2] - 244:3, 296:5
curvy [1] - 351:6                                                                                      420:15
                                  dealing [3] - 308:15, 445:16,    delivery [1] - 297:9
custody [1] - 255:6                                                                                 difficulty [1] - 241:7
                                    446:6
cut [2] - 283:15, 410:12                                           demonstrate [1] - 411:17         digits [6] - 310:25, 311:2,
                                  dealt [2] - 431:8, 445:5
cute [6] - 328:7, 339:13,                                          demonstrating [1] - 420:2           313:25, 324:16, 325:1,
                                  dear [1] - 338:8
   340:18, 342:25, 351:5,                                          denied [1] - 389:12                 325:12
                                  debate [1] - 388:23
   385:1                                                           denies [1] - 441:13              dildos [1] - 274:15
                                  December [2] - 320:25, 321:6
cynical [1] - 399:13                                               denying [1] - 440:23             dinner [7] - 257:15, 258:22,
 2:18-cr-00012-cr                 Document 201              Filed 01/25/21          Page 225 of 247                            9



   259:9, 264:7, 264:18,           dog [6] - 275:8, 275:12,        easier [3] - 255:19, 316:20,      268:18, 268:20, 268:22,
   382:10, 405:10                    275:15, 414:7, 414:15,           335:20                         268:24, 269:1, 269:6,
dipping [1] - 264:14                 414:18                        easily [2] - 312:14, 444:15       269:12, 269:17, 269:20,
DIRECT [4] - 241:19, 253:22,       dogs [3] - 275:3, 413:22,       East [1] - 312:10                 269:22, 269:25, 270:5,
   299:24, 391:13                    416:2                         eat [3] - 264:17, 330:8, 422:16   270:7, 270:13, 270:15,
direct [13] - 238:14, 245:24,      donation [1] - 289:22           eaten [1] - 344:16                270:20, 270:22, 271:4,
   294:2, 336:14, 371:18,          done [13] - 267:21, 279:20,     eating [1] - 422:17               271:10, 271:16, 271:19,
   373:25, 374:10, 374:17,           345:12, 348:6, 371:23,        Ed [1] - 293:21                   271:22, 271:24, 272:2,
   413:21, 440:7, 440:14,            374:22, 381:24, 385:21,       education [1] - 396:2             272:7, 272:9, 272:13,
   440:24, 446:21                    390:25, 397:8, 417:5,         educational [2] - 300:21,         272:15, 272:20, 272:23,
directing [8] - 300:5, 316:23,       425:15, 427:18                   395:20                         273:11, 273:14, 273:25,
   341:22, 351:8, 358:13,          door [9] - 357:8, 395:13,       effect [4] - 364:3, 370:1,        274:3, 274:7, 274:9,
   359:4, 359:8, 359:18              441:20, 444:15, 444:25,          399:6, 413:17                  274:19, 274:23, 275:2,
Direction [1] - 244:13               445:14, 446:1, 446:9,         eighteen [2] - 435:10, 435:11     275:4, 275:7, 275:10,
direction [4] - 244:15, 318:22,      446:11                        either [5] - 341:11, 381:7,       275:14, 275:16, 275:19,
   349:17, 350:12                  door' [1] - 448:13                 396:25, 406:15, 410:11         275:21, 276:1, 276:3,
disagree [2] - 338:9, 364:7        doors [1] - 307:5               elaborate [2] - 400:1, 408:10     276:8, 276:10, 276:19,
disciplined [1] - 345:16           doubt [5] - 386:17, 386:23,                                       276:21, 276:23, 276:25,
                                                                   elaborating [1] - 441:4
discomfort [1] - 407:24              387:10, 387:20, 389:9                                           277:3, 277:5, 277:9,
                                                                   elapsed [2] - 334:25, 335:1
discuss [3] - 380:23, 414:1,       down [22] - 243:20, 253:6,                                        277:11, 277:16, 277:18,
                                                                   element [7] - 238:23, 239:1,
   443:18                            253:13, 260:24, 262:4,                                          277:22, 277:24, 278:1,
                                                                      384:14, 385:16, 386:17,
discussed [2] - 325:19, 416:2        270:6, 270:9, 271:7, 279:8,                                     278:3, 278:7, 278:9,
                                                                      386:18, 388:19
discussing [2] - 268:11,             283:10, 283:22, 290:23,                                         278:11, 278:13, 278:16,
                                                                   Element [1] - 243:25
   410:9                             299:11, 333:3, 334:12,                                          278:20, 279:1, 279:5,
                                                                   elicited [2] - 374:6, 445:1
discussion [11] - 381:24,            376:19, 407:25, 413:2,                                          279:11, 279:13, 279:16,
                                                                   Elisha [29] - 309:10, 309:17,
   386:1, 386:12, 394:18,            417:24, 423:7, 423:12,                                          280:1, 280:7, 280:12,
                                                                      309:18, 310:15, 310:17,
   408:19, 408:23, 409:3,            423:16                                                          280:15, 280:18, 280:20,
                                                                      319:9, 321:2, 321:14,
   409:20, 413:22, 423:16,         downtown [1] - 422:17                                             280:22, 280:25, 281:2,
                                                                      321:17, 337:4, 352:6,
   437:6                           drama [3] - 347:8, 347:11,                                        281:5, 281:7, 281:10,
                                                                      352:7, 357:21, 358:25,
                                     347:15                                                          281:15, 281:16, 281:21,
discussions [1] - 298:11                                              359:17, 361:3, 361:8,
                                   dramatically [1] - 399:17                                         281:24, 282:1, 282:3,
disease [1] - 436:1                                                   361:19, 362:7, 362:10,
                                   draw [2] - 250:23, 365:1                                          282:11, 282:15, 282:19,
diseases [1] - 436:9                                                  362:17, 363:6, 384:15,
                                                                                                     282:21, 282:25, 283:2,
disinterest [1] - 446:2            dreams [4] - 278:18, 279:24,       437:8, 439:10, 439:24,
                                                                                                     283:4, 283:7, 283:13,
dispute [1] - 237:18                 328:21, 337:24                   444:5, 445:25, 446:6
                                                                                                     283:21, 283:24, 284:1,
distance [1] - 438:6               dressed [2] - 330:8, 342:16     Elisha's [2] - 353:4, 439:15
                                                                                                     284:3, 284:5, 284:7,
distinction [3] - 365:1,           drinker [1] - 398:16            elisharollins13 [1] - 317:3
                                                                                                     284:11, 284:13, 284:17,
   377:24, 386:4                   drinks [1] - 257:15             elisharollins13@gmail.com
                                                                                                     284:19, 284:22, 284:25,
distraught [3] - 426:19,           drive [5] - 279:7, 315:14,         [1] - 321:8
                                                                                                     285:1, 285:5, 285:12,
   426:25, 429:16                    329:20, 333:17, 423:7         eluded [1] - 307:7                285:15, 285:19, 285:22,
disturb [1] - 344:9                driveway [1] - 316:10           email [328] - 256:5, 256:6,       285:25, 286:4, 286:9,
divorce [5] - 306:14, 398:11,      driving [4] - 329:25, 333:23,      256:8, 256:10, 257:25,         286:13, 286:19, 286:22,
   398:14, 405:12                    411:2, 424:8                     258:7, 258:10, 258:17,         287:1, 287:7, 287:12,
divorced [3] - 306:10, 396:17,     drug [3] - 254:12, 424:13,         259:5, 259:19, 259:23,         287:18, 287:24, 288:1,
   399:9                             436:1                            259:25, 260:10, 260:13,        288:11, 288:13, 288:17,
doc [1] - 432:14                   duly [4] - 241:17, 253:18,         260:21, 261:1, 261:5,          288:22, 289:1, 289:8,
doctor [1] - 436:15                  299:20, 391:11                   261:10, 261:12, 261:17,        289:10, 289:15, 289:20,
document [38] - 242:22,            during [7] - 238:10, 246:10,       261:20, 262:1, 262:3,          289:25, 290:1, 290:7,
   243:15, 243:16, 243:17,           314:10, 314:16, 329:10,          262:7, 262:10, 262:17,         290:10, 290:13, 290:17,
   246:20, 247:8, 247:9,             384:25, 430:12                   262:20, 263:4, 263:8,          290:21, 291:2, 291:4,
   247:11, 247:17, 248:20,         duties [2] - 254:7, 302:17         263:10, 263:11, 263:14,        291:14, 291:21, 291:25,
   258:6, 258:9, 258:25,           DWM [1] - 257:10                   263:18, 263:19, 263:21,        292:6, 292:10, 292:12,
   260:15, 260:16, 263:5,          dying [4] - 265:8, 266:1,          263:24, 264:2, 264:4,          292:17, 294:7, 294:9,
   265:16, 294:5, 296:11,            409:7, 438:25                    264:12, 264:15, 264:23,        294:15, 294:22, 294:24,
   297:12, 298:3, 305:23,                                             265:5, 265:12, 265:20,         295:2, 295:4, 295:11,
   307:20, 309:4, 311:17,                         E                   265:23, 265:25, 266:9,         295:12, 295:18, 295:22,
   321:12, 323:18, 326:12,                                            266:16, 266:19, 266:23,        296:2, 296:5, 296:6,
                                   E-L-I-S-H-A [1] - 310:18
   349:22, 358:8, 370:14,                                             267:1, 267:3, 267:5, 267:8,    296:12, 296:13, 296:15,
                                   e-mail [1] - 322:24
   370:18, 371:3, 371:7,                                              267:11, 267:13, 267:16,        296:18, 296:20, 297:7,
                                   early [4] - 332:21, 384:25,        267:24, 268:2, 268:7,
   379:25, 380:16, 401:8,                                                                            297:9, 297:13, 297:15,
                                     385:9, 442:16                    268:9, 268:12, 268:15,
   401:14                                                                                            297:18, 297:24, 298:1,
 2:18-cr-00012-cr               Document 201            Filed 01/25/21            Page 226 of 247                             10



  298:2, 305:5, 305:6,           ended [6] - 251:13, 251:23,       381:22                           441:12
  307:23, 307:24, 307:25,          310:13, 329:4, 396:17,        Essex [1] - 397:4                example [4] - 252:24, 377:19,
  308:2, 308:3, 308:6, 308:7,      403:2                         establish [5] - 239:2, 247:6,      381:10, 382:23
  308:14, 308:16, 308:24,        ending [5] - 256:8, 317:11,       386:16, 386:22, 388:19         exceeded [1] - 383:16
  309:3, 309:8, 310:19,            318:9, 350:23, 351:14         established [3] - 239:13,        excellent [1] - 257:9
  310:20, 310:22, 311:9,         ends [9] - 263:17, 324:18,        379:18, 447:20                 except [2] - 309:13, 355:23
  312:22, 313:15, 313:22,          324:19, 325:3, 325:4,         establishing [1] - 404:24        exception [1] - 379:1
  314:2, 314:5, 314:23,            325:19, 326:7, 357:15,        etc [1] - 416:25                 exchange [7] - 256:5, 256:10,
  317:1, 317:2, 317:15,            404:19                        evening [3] - 252:25, 422:15,      256:19, 257:23, 310:17,
  321:7, 349:14, 349:15,         energetic [1] - 309:12            443:8                            428:2, 431:16
  349:16, 349:19, 349:21,        enforcement [1] - 313:6         event [1] - 357:11               exchanged [2] - 318:21,
  349:24, 350:6, 350:12,         engage [8] - 355:22, 383:1,     events [1] - 239:3                 431:2
  350:14, 350:20, 350:23,          383:8, 386:21, 386:25,        Evidence [1] - 353:25            excite [1] - 421:16
  350:25, 351:14, 351:15,          387:8, 387:23, 389:11         evidence [77] - 239:2, 242:12,   excited [1] - 419:23
  351:17, 362:25, 363:1,         engaged [9] - 383:18, 395:10,     243:7, 243:11, 246:9,          exciting [1] - 437:11
  364:9, 370:7, 373:21,            414:22, 415:15, 427:2,          249:4, 255:7, 255:16,          exclamation [1] - 290:5
  376:3, 376:5, 381:9, 386:9,      427:15, 430:18, 430:22,         255:25, 296:24, 297:22,        exclusive [1] - 437:4
  395:3, 395:4, 402:23,            433:22                          302:13, 302:14, 304:22,        excuse [17] - 263:10, 290:3,
  403:4, 403:22, 403:25,         engaging [6] - 384:25,            307:12, 307:13, 311:3,           291:13, 295:19, 297:1,
  407:12, 413:9, 413:10,           433:14, 433:22, 434:11,         313:18, 313:19, 317:6,           297:16, 298:2, 298:24,
  413:15, 413:16, 414:23,          439:25, 444:6                   317:25, 318:11, 320:1,           303:9, 314:20, 327:10,
  416:6, 419:6, 421:23,          engineering [1] - 397:18          320:7, 323:7, 325:6,             328:18, 346:7, 353:12,
  426:8, 426:18, 428:2,          engulf [1] - 339:25               325:17, 325:22, 335:18,          360:19, 363:14, 443:14
  428:14, 428:21, 431:8,         enjoy [6] - 260:18, 260:23,       349:8, 351:25, 357:1,          excused [5] - 253:9, 299:12,
  433:9, 438:1, 438:12             261:15, 262:12, 407:2,          358:4, 362:1, 364:10,            376:20, 442:15, 443:17
emailing [2] - 278:25, 399:22      407:16                          364:12, 364:16, 365:7,         exhausted [1] - 273:20
emails [40] - 282:5, 307:16,     enjoying [1] - 272:11             365:8, 365:9, 365:10,          exhibit [37] - 246:2, 249:9,
  307:22, 308:11, 308:19,        ensure [1] - 239:7                365:12, 365:16, 368:6,           250:8, 250:16, 259:1,
  308:23, 309:4, 309:6,          entailed [1] - 397:14             368:22, 370:5, 372:16,           288:6, 298:21, 307:18,
  311:14, 328:17, 349:18,        enter [1] - 386:7                 373:9, 377:14, 377:18,           308:22, 316:23, 319:14,
  349:24, 363:25, 364:2,                                           379:4, 379:14, 380:9,
                                 entice [6] - 383:8, 386:20,                                        319:16, 319:25, 337:3,
  364:16, 364:25, 365:2,                                           380:19, 381:11, 382:22,
                                   386:24, 387:8, 387:16,                                           349:10, 353:2, 353:22,
  365:3, 365:13, 365:18,                                           383:14, 383:17, 384:12,
                                   387:22                                                           356:16, 356:18, 356:19,
  377:24, 377:25, 382:3,                                           385:13, 385:14, 386:10,
                                 enticed [1] - 387:2                                                357:14, 357:20, 357:23,
  382:6, 382:7, 382:17,                                            386:14, 386:16, 387:24,
                                 enticement [3] - 444:23,                                           361:14, 363:8, 364:9,
  413:21, 418:22, 421:9,                                           392:9, 394:20, 395:14,
                                   445:9, 445:22                                                    364:11, 369:18, 370:4,
  425:25, 426:23, 426:24,                                          398:21, 415:3, 420:8,
                                 entire [6] - 370:17, 370:18,                                       370:15, 373:7, 377:16,
  429:14, 431:1, 431:11                                            440:22, 444:15, 447:7,
                                   395:2, 395:7, 430:19,                                            380:20, 417:12, 417:13,
emoji [21] - 267:12, 314:18,                                       447:11, 448:12
                                   430:23                                                           437:18
  330:11, 330:12, 331:1,                                         evident [1] - 342:17
                                 entirety [1] - 366:20                                            Exhibit [118] - 242:1, 242:8,
  331:13, 337:16, 338:10,                                        exactly [7] - 315:25, 404:3,
                                 entitled [2] - 395:9, 449:18                                       242:12, 242:21, 243:7,
  338:24, 339:14, 340:13,                                          417:4, 421:5, 423:24,
                                 entity [1] - 243:1                                                 243:11, 246:1, 247:16,
  342:13, 343:8, 343:19,                                           439:9, 444:22
                                 entrapment [1] - 424:6                                             247:17, 248:14, 248:16,
  345:11, 346:24, 347:7,                                         examination [19] - 238:10,
                                 entries [5] - 247:21, 247:25,                                      248:19, 248:25, 249:4,
  347:20, 348:8, 348:16,                                           252:6, 294:2, 299:9,
                                   248:16, 251:10, 336:22                                           250:3, 250:12, 250:20,
  432:23                                                           336:14, 365:20, 371:18,
                                 envelope [1] - 410:8                                               250:21, 255:17, 256:3,
emojis [1] - 330:22                                                372:24, 373:4, 374:10,
                                 equipment [3] - 396:9, 397:20                                      294:5, 297:16, 297:19,
emotionally [2] - 312:14,                                          374:17, 382:1, 413:21,           297:22, 303:18, 304:12,
                                 Equipment [1] - 249:20
  426:19                                                           430:3, 440:7, 440:14,            304:17, 304:21, 304:22,
                                 equivalent [1] - 396:7
emphasized [1] - 370:3                                             440:24, 446:21, 448:21           307:12, 311:4, 311:7,
                                 ER [19] - 245:20, 357:21,
emphasizing [1] - 385:2                                          EXAMINATION [8] - 241:19,          311:17, 313:18, 313:19,
                                   373:21, 381:7, 381:8,
employed [1] - 369:4                                               252:8, 253:22, 299:24,           314:4, 317:6, 317:24,
                                   382:16, 382:18, 382:23,
employees [1] - 397:22                                             365:22, 375:11, 391:13,          318:10, 319:7, 319:17,
                                   386:5, 388:20, 388:21,
encounter [1] - 250:18                                             430:5                            320:7, 320:11, 321:9,
                                   389:10, 425:25, 426:4,
encountered [1] - 250:10                                         examine [1] - 440:23               321:12, 323:8, 323:18,
                                   428:20, 428:25, 430:18,
end [12] - 238:3, 308:22,                                        examined [6] - 241:18,             325:7, 325:16, 325:21,
                                   431:11, 431:17
  308:23, 325:25, 333:13,                                          253:19, 299:21, 303:4,           326:3, 326:11, 329:2,
                                 erogenous [1] - 273:18
  335:17, 335:20, 335:21,                                          303:5, 391:12                    334:19, 336:17, 336:20,
                                 escalate [1] - 384:1
  351:18, 389:5, 389:19,                                         examines [1] - 386:14              341:23, 349:9, 350:1,
                                 especially [1] - 340:10
  448:11                                                         examining [2] - 423:17,            350:19, 351:9, 352:1,
                                 essentially [2] - 251:11,
 2:18-cr-00012-cr                Document 201              Filed 01/25/21             Page 227 of 247                                11



  352:14, 352:25, 353:6,          express [1] - 418:15                 348:20, 348:23, 348:25,             275:23, 309:2, 327:2,
  353:18, 354:18, 354:22,         expressed [2] - 426:13,              349:4, 349:5, 376:10,               327:21, 328:3, 328:17,
  356:15, 356:21, 357:1,            428:19                             432:23                              329:13, 329:18, 329:22,
  357:4, 358:5, 358:14,           expressing [1] - 409:4            facebook [1] - 332:18                  330:4, 330:10, 330:14,
  358:20, 359:4, 359:8,           extension [1] - 311:1             Facebook [1] - 310:3                   330:24, 331:6, 331:11,
  359:18, 361:14, 361:22,         extensive [2] - 366:25, 397:18    faced [1] - 411:22                     331:16, 331:25, 332:4,
  362:1, 362:4, 362:24,           extinguisher [1] - 274:16         faces [1] - 348:14                     332:14, 332:24, 333:6,
  366:21, 367:9, 368:12,          extinguishers [2] - 413:23,       facilities [4] - 356:20, 357:21,       333:14, 333:21, 337:5,
  368:14, 368:18, 368:22,           416:3                              357:24, 358:2                       340:8, 362:22, 373:20,
  368:23, 369:1, 372:16,          extraction [5] - 242:5, 250:11,   facility [6] - 354:6, 354:8,           377:19
  372:17, 372:19, 375:9,            250:19, 250:21, 251:15             354:11, 357:8, 357:9, 397:4     field [2] - 307:21, 334:5
  375:14, 375:21, 377:15,         extrapolate [1] - 400:5           fact [14] - 237:16, 239:4,         fields [1] - 307:19
  377:19, 379:3, 380:7,           extrapolated [1] - 428:21            310:8, 379:17, 384:13,          fight [3] - 313:12, 343:21,
  380:8, 398:21, 402:7,           extreme [1] - 409:4                  395:6, 411:3, 413:10,               343:22
  404:18, 416:4, 417:14,          extremely [6] - 403:10,              418:21, 419:11, 424:15,         figure [2] - 329:25, 430:7
  428:25, 431:2, 431:7,             403:12, 411:16, 412:23,            441:1, 444:19, 445:23           figured [1] - 443:19
  431:12, 431:16, 432:17,           414:19, 417:9                   facts [5] - 354:2, 354:14,         figures [1] - 341:12
  434:14, 437:25                  eyes [3] - 306:25, 307:1             368:5, 387:15, 388:18           Filaments [1] - 395:25
exhibits [12] - 241:23, 249:1,                                      factual [2] - 237:17, 378:9        File [1] - 308:4
  369:25, 370:2, 372:19,                                            failures [1] - 297:9               file [23] - 308:5, 311:1,
  376:23, 377:10, 378:24,
                                                 F
                                                                    fair [1] - 380:20                      311:11, 313:25, 314:1,
  378:25, 390:24, 447:22,         F'ING [1] - 288:10                                                       317:10, 317:11, 317:13,
                                                                    Fairfax [1] - 395:23
  447:24                          f'ing [7] - 288:19, 290:2,                                               318:5, 318:6, 318:7,
                                                                    fairly [4] - 383:21, 409:13,
Exit [1] - 333:16                    291:10, 311:25, 347:5,                                                324:17, 325:2, 325:10,
                                                                       421:12, 427:15
exited [4] - 293:6, 335:11,          348:16, 376:11                                                        325:12, 325:15, 325:19,
                                                                    fake [4] - 346:14, 402:23,
  377:7, 443:15                   face [119] - 257:18, 259:10,                                             325:25, 326:1, 326:7, 326:8
                                                                       437:7, 438:1
expect [1] - 422:25                  259:17, 260:7, 261:7,                                             fill [1] - 290:24
                                                                    fall [1] - 307:10
expected [1] - 425:1                 264:19, 267:12, 267:14,                                           final [1] - 398:14
                                                                    familiar [2] - 316:3, 397:17
expecting [2] - 423:13,              268:1, 268:3, 269:15,                                             finally [1] - 298:16
                                                                    family [1] - 406:15
  423:15                             270:3, 270:8, 270:18,
                                                                    fantasies [8] - 383:23, 400:9,     financial [1] - 254:11
experience [12] - 262:23,            270:23, 271:8, 272:3,
                                                                       413:25, 414:5, 414:8,           finder [1] - 384:13
  265:2, 271:12, 273:18,             272:16, 273:6, 273:9,
                                                                       416:19, 417:18, 419:7           fine [14] - 238:19, 245:4,
  315:8, 345:19, 347:23,             274:5, 274:11, 276:7,
                                                                    fantasizes [2] - 417:21, 418:7         289:23, 316:1, 322:25,
  360:3, 366:25, 374:12,             277:13, 277:19, 277:20,
                                                                    fantasy [5] - 381:24, 416:13,          333:9, 344:3, 364:6, 384:7,
  399:9, 408:8                       278:23, 279:9, 279:15,
                                                                       421:11, 421:13, 421:15              422:17, 422:18, 423:3,
experienced [3] - 241:4,             280:3, 281:4, 281:13,
                                                                    fantasy-type [1] - 381:24              449:2, 449:5
  385:9, 414:20                      282:14, 282:17, 283:17,
                                                                    far [8] - 310:13, 334:3, 334:7,    finish [1] - 444:8
expert [1] - 386:10                  283:20, 284:15, 288:14,
                                                                       338:5, 383:16, 385:23,          fire [3] - 274:16, 413:22,
explain [29] - 239:15, 307:19,       307:8, 310:1, 310:5,
                                                                       392:23, 424:18                      416:3
  318:14, 349:10, 349:23,            311:23, 312:25, 314:18,
                                                                    fashioned [2] - 307:5, 421:24      first [59] - 237:13, 241:17,
  357:5, 358:15, 358:21,             315:5, 316:7, 324:9,
                                                                    fast [1] - 275:8                       243:15, 244:12, 246:4,
  359:9, 359:19, 359:23,             328:23, 329:9, 329:25,
                                                                    father [1] - 312:14                    249:6, 250:5, 250:13,
  366:8, 400:12, 406:9,              330:6, 330:9, 330:11,
                                                                    fault [1] - 306:16                     253:18, 256:17, 267:10,
  407:18, 409:3, 409:12,             330:12, 330:22, 331:1,
                                                                    favor [1] - 381:4                      274:15, 278:5, 281:8,
  409:19, 411:12, 411:24,            331:3, 331:13, 331:22,
                                                                    favorable [3] - 383:14,                294:7, 299:20, 301:5,
  412:17, 416:17, 417:3,             332:12, 333:1, 333:9,
                                                                       385:15, 386:14                      301:18, 303:24, 304:8,
  417:19, 418:5, 418:19,             333:20, 334:14, 337:16,
                                                                    favorite [1] - 431:23                  307:2, 307:21, 308:7,
  420:1, 424:14                      338:1, 338:9, 338:17,
                                                                    feature [3] - 251:14, 251:15,          309:3, 309:8, 318:16,
explanations [1] - 421:1             338:20, 338:24, 339:14,
                                                                       308:13                              319:6, 319:8, 321:17,
explanatory [1] - 409:13             340:4, 340:11, 340:13,
                                                                    February [1] - 367:10                  324:18, 325:3, 325:9,
                                     340:14, 340:16, 341:5,
explicit [5] - 388:12, 389:11,                                                                             340:9, 349:13, 350:1,
                                     341:9, 341:19, 342:9,          federal [3] - 300:14, 300:16,
  440:2, 441:5, 444:6                                                                                      360:2, 360:9, 362:10,
                                     342:12, 342:19, 342:25,           302:7
exploitation [6] - 254:11,                                                                                 362:25, 374:11, 375:21,
                                     343:3, 343:5, 343:8,           Federal [1] - 353:25
  254:14, 300:18, 301:14,                                                                                  378:23, 388:11, 391:11,
                                     343:10, 343:12, 343:20,        feeding [1] - 421:4
  301:19, 301:24                                                                                           394:24, 395:24, 398:10,
                                     344:1, 344:11, 344:15,         feelings [4] - 306:8, 410:23,
explore [2] - 274:4, 369:4                                                                                 412:16, 427:18, 440:11,
                                     344:17, 345:8, 345:11,            410:24, 413:6
exploring [3] - 273:17,                                                                                    440:18, 441:2, 441:23,
                                     346:6, 346:7, 346:8, 346:9,    fell [2] - 300:16, 306:10
  411:10, 411:13                                                                                           442:2, 443:11, 443:23,
                                     346:18, 346:24, 347:6,         felt [2] - 399:10, 406:2
exposed [1] - 241:2                                                                                        444:2, 444:12
                                     347:18, 347:20, 348:3,         fever [1] - 241:5
exposure [1] - 424:9                                                                                   fish [1] - 410:11
                                     348:8, 348:13, 348:16,         few [30] - 257:5, 274:17,
  2:18-cr-00012-cr                 Document 201                Filed 01/25/21         Page 228 of 247                           12



fisted [3] - 273:8, 273:12,            395:24, 396:18, 407:11,       generally [3] - 238:25, 354:2,   277:24, 278:1, 278:3,
    273:24                             407:22, 407:25                  377:18                         278:7, 278:9, 278:11,
fit [5] - 237:21, 238:2, 274:10,    four-hour [1] - 252:21           generated [1] - 304:4            278:13, 278:16, 278:20,
    277:14, 307:7                   four-year-old [1] - 407:25       generous [1] - 447:8             279:5, 279:11, 279:13,
five [4] - 378:3, 390:8, 396:18,    fourth [1] - 247:23              genital [2] - 356:9, 433:17      279:16, 280:1, 280:7,
    397:22                          FRANCIS [1] - 241:16             genitalia [3] - 437:20, 439:5,   280:12, 280:18, 280:20,
fix [2] - 256:24, 257:1             Frank [2] - 303:7, 441:14          439:16                         280:22, 280:25, 281:2,
flew [1] - 270:6                    freak [3] - 262:18, 267:18,      gentlemen [6] - 240:12,          281:5, 281:7, 281:10,
flexibility [1] - 321:22               408:5                           292:25, 335:6, 364:23,         281:15, 281:21, 281:24,
flicks [1] - 306:17                 Free [1] - 395:23                  377:1, 442:19                  282:1, 282:3, 282:11,
flirty [1] - 385:7                  free [10] - 239:1, 257:11,       genuine [2] - 306:9, 306:25      282:15, 282:19, 282:21,
floor [1] - 397:16                     257:14, 258:20, 258:21,       geographic [1] - 305:11          282:25, 283:2, 283:4,
flu [1] - 241:4                        279:1, 287:20, 289:4,         Georgia [1] - 301:4              283:7, 283:13, 283:21,
flu-like [1] - 241:4                   436:1, 448:16                 Gilman [11] - 237:8, 240:10,     283:24, 284:1, 284:3,
focus [2] - 406:20, 418:13          frequently [2] - 372:6, 436:4      255:18, 297:2, 303:22,         284:5, 284:7, 284:11,
folks [1] - 402:22                  Friday [2] - 237:1, 279:19         335:3, 336:15, 355:1,          284:13, 284:17, 284:19,
                                    friends [1] - 348:9                370:25, 373:3, 374:25          284:25, 285:5, 285:12,
follow [1] - 420:16
                                    From/To [1] - 318:18             GILMAN [362] - 253:10,           285:15, 285:19, 285:22,
following [28] - 237:2, 240:4,
                                    front [7] - 240:2, 262:8,          253:20, 253:23, 255:20,        285:25, 286:4, 286:13,
    293:6, 293:13, 293:22,
                                       304:11, 326:22, 404:14,         256:1, 256:18, 257:22,         286:19, 286:22, 287:1,
    324:14, 335:11, 335:23,
                                       428:17, 437:16                  257:24, 258:5, 258:9,          287:7, 287:12, 287:18,
    336:9, 354:2, 355:2,
                                                                       258:17, 258:25, 259:5,         288:13, 288:17, 288:22,
    363:22, 364:22, 369:21,         fronts [1] - 419:23
                                                                       259:7, 259:12, 259:15,         289:1, 289:10, 289:15,
    371:6, 373:1, 375:7, 377:7,     fuck [27] - 260:11, 261:16,
                                                                       259:19, 259:25, 260:10,        289:20, 289:25, 290:4,
    378:19, 387:24, 388:20,            261:18, 262:11, 265:24,
                                                                       260:13, 260:15, 260:21,        290:10, 290:13, 290:17,
    390:11, 390:20, 392:16,            275:3, 275:15, 275:24,
                                                                       261:1, 261:5, 261:10,          290:21, 291:6, 291:9,
    395:18, 440:8, 442:5,              276:6, 278:15, 281:6,
                                                                       261:12, 261:17, 261:20,        291:17, 291:21, 291:25,
    443:15                             281:11, 281:25, 282:7,
                                                                       262:1, 262:6, 262:10,          292:6, 292:10, 292:16,
follows [6] - 241:18, 253:19,          283:9, 284:8, 284:16,
                                                                       262:17, 262:20, 263:4,         292:24, 293:19, 294:4,
    299:21, 391:12, 393:5,             285:14, 340:23, 342:18,
                                                                       263:8, 263:20, 263:23,         294:8, 294:12, 294:22,
    394:1                              345:24, 347:25, 351:24,
                                                                       264:2, 264:4, 264:12,          295:2, 295:11, 295:18,
foot [1] - 257:10                      389:7, 406:24, 407:17,
                                                                       264:15, 264:23, 265:5,         296:2, 296:10, 296:23,
Force [3] - 254:22, 302:2,             412:6
                                                                       265:11, 265:15, 265:20,        297:1, 297:3, 297:6,
    302:24                          FUCK [1] - 286:20
                                                                       265:23, 265:25, 266:7,         297:11, 297:21, 298:20,
force [2] - 389:15, 411:2           fucked [4] - 262:8, 274:20,
                                                                       266:9, 266:11, 266:16,         299:5, 299:7, 299:14,
foregoing [1] - 449:17                 283:11, 341:7
                                                                       266:19, 266:23, 267:1,         299:22, 299:25, 303:9,
foreign [1] - 354:6                 fucking [14] - 261:25, 268:21,
                                                                       267:3, 267:5, 267:8,           303:23, 304:1, 304:17,
forensic [4] - 254:19, 371:20,         272:4, 275:6, 275:8,
                                                                       267:11, 267:13, 267:16,        304:23, 304:25, 305:3,
    374:19                             275:13, 276:13, 282:22,
                                                                       267:24, 268:7, 268:9,          305:22, 307:13, 311:5,
forensics [1] - 303:5                  282:23, 283:9, 283:20,
                                                                       268:12, 268:15, 268:18,        311:7, 311:16, 312:6,
forever [1] - 369:13                   283:25, 351:18, 389:5
                                                                       268:20, 268:22, 268:24,        312:8, 312:21, 313:17,
forgive [2] - 393:20, 420:17        full [11] - 253:15, 275:12,
                                                                       269:1, 269:6, 269:12,          313:23, 314:4, 314:23,
form [2] - 426:12, 448:19              290:24, 299:17, 340:20,
                                                                       269:17, 269:20, 269:22,        315:11, 317:5, 317:24,
formality [1] - 379:1                  340:23, 391:8, 391:15,
                                                                       269:25, 270:5, 270:7,          319:18, 319:21, 319:23,
formally [2] - 379:2, 379:4            396:6, 396:18, 400:18
                                                                       270:13, 270:15, 270:20,        319:25, 320:3, 320:8,
forth [6] - 244:5, 251:12,          fully [1] - 443:2
                                                                       270:22, 271:4, 271:10,         320:9, 320:11, 320:18,
    251:23, 308:12, 354:14,         fun [9] - 258:14, 266:17,
                                                                       271:16, 271:19, 271:22,        321:10, 322:4, 322:9,
    386:12                             270:18, 271:11, 271:18,
                                                                       271:24, 272:2, 272:7,          323:1, 323:5, 323:9,
forthright [1] - 419:12                276:11, 298:15, 342:12,
                                                                       272:9, 272:13, 272:15,         323:17, 323:25, 324:7,
forward [7] - 330:2, 343:16,           346:5
                                                                       272:20, 272:23, 273:11,        324:11, 324:20, 325:6,
    369:15, 395:17, 417:1,          funny [2] - 346:16, 347:5
                                                                       273:14, 273:25, 274:3,         325:21, 326:3, 326:11,
    419:24, 420:3                   fuzzy [1] - 438:7                                                 326:19, 327:1, 327:7,
                                                                       274:7, 274:9, 274:19,
foundation [7] - 385:8, 425:6,                                                                        327:10, 327:13, 327:21,
                                                                       274:23, 275:2, 275:4,
    425:7, 425:12, 441:7,                          G                   275:7, 275:10, 275:14,         328:3, 328:17, 328:24,
    447:15, 447:18                  gamut [1] - 400:18                                                329:13, 329:18, 329:22,
                                                                       275:16, 275:19, 275:21,
four [22] - 252:21, 252:22,         Garden [1] - 422:19                                               330:4, 330:10, 330:14,
                                                                       276:1, 276:3, 276:8,
    265:13, 296:17, 310:25,         gate [2] - 333:18, 334:3                                          330:24, 331:6, 331:11,
                                                                       276:10, 276:19, 276:21,
    311:2, 311:12, 313:25,          geared [1] - 383:3                                                331:16, 331:25, 332:4,
                                                                       276:23, 276:25, 277:3,
    314:1, 324:16, 324:21,          gen [1] - 433:17                                                  332:14, 332:24, 333:6,
                                                                       277:5, 277:9, 277:11,
    325:1, 325:9, 325:12,                                                                             333:14, 333:21, 334:17,
                                    General [1] - 301:21               277:16, 277:18, 277:22,
    326:6, 342:2, 350:9,                                                                              335:5, 335:15, 336:4,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21           Page 229 of 247                               13



   336:16, 336:19, 341:20,          253:10, 297:15, 297:19,        419:25, 421:10                   headphones [2] - 372:24,
   342:6, 345:2, 345:4,             297:22, 299:13, 299:14,      greatest [1] - 383:23                 442:13
   345:23, 352:19, 353:5,           303:18, 304:12, 304:17,      Greenwich [1] - 252:13             headsets [6] - 363:21,
   353:12, 353:18, 353:24,          307:12, 311:4, 311:7,        grew [2] - 310:11, 332:5              364:19, 369:20, 392:14,
   354:16, 354:20, 354:22,          311:17, 313:18, 313:19,      groomed [1] - 384:2                   440:7, 442:4
   356:21, 357:2, 357:4,            314:4, 317:24, 318:10,       grooming [5] - 383:18,             health [3] - 397:24, 398:4,
   358:6, 361:21, 362:2,            319:7, 319:16, 320:11,         383:24, 385:6, 386:10,              412:11
   362:4, 362:5, 362:20,            321:9, 321:12, 323:8,          386:11                           healthy [1] - 436:16
   362:22, 363:7, 363:19,           323:17, 325:7, 325:16,       ground [1] - 447:18                hear [46] - 256:16, 258:23,
   368:5, 368:20, 369:17,           325:21, 326:3, 326:11,       group [2] - 243:8, 397:18             266:14, 269:3, 281:25,
   369:24, 371:1, 371:5,            329:2, 334:18, 336:4,        growing [2] - 405:13, 406:15          283:5, 286:24, 288:20,
   372:1, 372:3, 372:15,            336:17, 336:20, 341:22,      guess [7] - 247:23, 251:15,           289:12, 289:18, 290:14,
   373:4, 373:16, 375:8,            349:8, 350:1, 350:19,          268:10, 297:16, 337:15,             290:19, 291:23, 292:2,
   375:12, 375:23, 376:16,          351:8, 352:1, 352:13,          371:15, 380:14                      292:19, 295:8, 309:15,
   378:25, 379:7, 380:2,            352:25, 353:5, 353:6,        guilty [1] - 383:15                   363:23, 363:24, 369:22,
   380:5, 380:11, 390:6,            353:18, 354:1, 354:16,       gush [1] - 276:6                      370:11, 370:21, 373:2,
   390:10, 390:17, 393:11,          354:18, 354:22, 356:15,      guy [6] - 267:21, 270:6, 306:5,       378:23, 383:11, 383:22,
   394:7                            356:21, 357:4, 358:5,          307:4, 312:15, 327:18               392:17, 393:18, 393:21,
Gilman's [1] - 370:23               358:14, 358:20, 359:4,       guys [18] - 261:18, 262:8,            393:22, 394:25, 401:4,
Girl [1] - 434:24                   359:8, 359:18, 361:13,         266:22, 271:21, 271:25,             414:21, 435:6, 440:9,
girl [14] - 262:9, 266:20,          361:21, 361:22, 362:4,         272:22, 274:20, 274:22,             440:10, 440:11, 440:17,
   272:10, 283:16, 309:24,          362:24, 364:10, 368:14,        283:10, 283:22, 285:13,             441:20, 442:1, 442:6,
   310:4, 339:9, 345:16,            368:23, 369:1, 372:16,         341:3, 342:18, 342:23,              442:7, 442:8, 442:9, 444:1,
   346:1, 350:15, 431:20,           372:17, 372:19, 373:25,        342:24, 343:2, 345:7                445:11
   432:2, 433:11, 446:7             375:9, 375:14, 375:21,                                          heard [7] - 254:10, 294:16,
                                                                 gym [1] - 346:12
girls [1] - 399:18                  376:21, 376:23, 377:15,                                            394:17, 413:20, 423:16,
given [2] - 446:24, 447:1           378:23, 379:3, 380:6,                                              425:24, 444:11
glad [2] - 279:19, 322:12           380:8, 383:15, 385:15,
                                                                                 H
                                                                                                    hearing [14] - 269:19, 270:2,
glares [1] - 346:12                 386:6, 386:15, 386:22,       habits [1] - 422:17                   285:16, 286:6, 288:14,
glaring [1] - 346:18                386:25, 387:3, 387:9,        hah [1] - 347:11                      315:22, 363:22, 369:15,
glasses [4] - 349:2, 438:4,         387:20, 390:17, 390:24,      haha [2] - 337:13, 342:20             369:21, 373:1, 392:16,
   438:6, 438:8                     391:1, 401:14, 413:17,       hahaha [1] - 347:2                    417:1, 417:7, 440:8
GlobalFoundries [5] -               413:21, 441:25, 443:25,      hair [1] - 346:20                  hearsay [1] - 427:11
   356:12, 396:22, 396:25,          444:14, 448:21, 448:25       half [9] - 297:23, 298:1, 301:5,   heart [6] - 306:21, 343:19,
   397:2, 397:6                   Government's [35] - 241:15,      305:1, 305:22, 335:1,               348:18, 348:24, 349:1,
GlobalFoundries' [1] -              242:1, 242:12, 242:21,         336:25, 360:17, 398:13              426:21
   356:20                           243:11, 248:14, 249:4,       hamburger [1] - 422:19             hearted [1] - 294:19
gloves [3] - 303:19, 303:21         250:3, 294:2, 304:22,        hand [5] - 240:20, 241:1,          heavy [2] - 351:19, 389:6
Glynco [1] - 301:4                  320:7, 336:14, 357:1,          253:14, 299:17, 391:7            held [25] - 237:2, 240:4,
goal [1] - 443:5                    362:1, 368:12, 368:18,       hands [5] - 241:3, 241:8,             293:7, 293:13, 293:22,
                                    368:22, 370:15, 376:23,        241:10, 241:12, 273:9               335:12, 335:24, 336:9,
God [4] - 271:14, 274:17,
                                    381:6, 382:15, 384:17,       hang [1] - 432:9                      363:22, 364:22, 369:21,
   284:15, 313:9
                                    398:21, 402:6, 416:4,        happily [1] - 306:18                  371:6, 373:1, 375:7, 377:8,
gonna [20] - 257:18, 262:18,
                                    417:14, 428:24, 431:2,       happy [6] - 306:21, 338:16,           378:19, 390:11, 390:20,
   262:22, 266:15, 273:15,
                                    431:7, 431:12, 431:16,         340:3, 344:17, 353:16,              392:16, 395:18, 397:13,
   274:24, 275:18, 278:24,
                                    434:14, 440:21, 444:13,        353:24                              397:21, 440:8, 442:5,
   281:3, 316:2, 322:3, 322:6,
                                    447:4                        happy. [1] - 338:20                   443:16
   330:8, 331:5, 337:23,
                                  governor's [1] - 443:3         hard [17] - 257:17, 268:13,        hell [3] - 257:16, 262:13,
   346:24, 348:17, 408:4,
   408:7                          GPS [4] - 317:9, 317:18,         269:2, 269:7, 272:5,                332:11
                                    331:18, 333:12                 272:12, 274:25, 275:13,          hello [3] - 271:6, 278:22,
goodnight [2] - 278:17, 339:2
                                  graduated [1] - 395:22           279:7, 281:9, 282:8,                279:18
Google [5] - 366:4, 366:6,
   371:19, 374:18, 375:19         Grand [2] - 423:21, 423:22       294:18, 294:19, 326:21,          Hello [1] - 309:9
gorgeous [6] - 260:23,            granddad [1] - 343:18            340:19, 388:22, 426:20           help [4] - 249:10, 257:13,
   306:22, 312:24, 345:7,         granted [1] - 357:11           head [2] - 337:15, 438:23             438:10, 446:7
   404:8, 407:2                   graphic [5] - 383:1, 421:12,   head) [1] - 401:5                  hereby [1] - 355:2
gotta [1] - 275:13                  427:2, 427:15, 433:9         headed [1] - 333:16                herself [4] - 381:9, 403:10,
Government [118] - 237:6,         gratifying [1] - 355:8         headers [7] - 243:22, 249:9,          421:7, 424:12
   238:11, 238:25, 239:1,         great [10] - 240:23, 258:13,     249:12, 318:15, 349:11,          hi [28] - 258:12, 258:19,
   240:8, 242:7, 243:6,             280:13, 307:4, 309:25,         349:12, 357:5                       264:16, 269:13, 278:21,
   248:24, 252:4, 253:7,            346:21, 351:20, 393:21,      heading [1] - 334:12                  279:6, 279:12, 279:14,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21              Page 230 of 247                            14



   279:17, 280:2, 286:1,            368:20, 369:17, 369:24,         335:1, 336:25, 350:3,           identifying [1] - 441:8
   286:5, 286:14, 287:2,            371:1, 371:5, 372:1,            351:11, 358:17, 360:9,          IDK [2] - 264:24, 265:2
   287:8, 287:21, 288:9,            372:12, 372:15, 372:21,         360:17, 375:15, 377:4           iffy [1] - 442:10
   288:23, 289:21, 290:22,          373:4, 375:8, 376:16,         house [6] - 271:25, 321:18,       ignorance [1] - 387:13
   292:1, 292:18, 294:14,           376:18, 376:22, 378:5,          322:13, 333:17, 334:4,          ignore [1] - 347:16
   295:6, 309:18, 321:18,           378:6, 378:16, 380:2,           429:23                          illegal [1] - 433:15
   328:22, 344:9                    380:11, 381:3, 382:11,        household [2] - 241:2, 241:9      illness [1] - 241:7
hidden [1] - 369:8                  383:10, 383:12, 389:24,       HSI [3] - 300:25, 301:23,         image [1] - 288:3
high [4] - 309:15, 345:24,          390:7, 390:17, 390:18,          303:6                           images [16] - 385:11, 437:19,
   395:21, 395:22                   391:1, 391:5, 392:8,          HSI's [1] - 300:16                    439:21, 439:24, 441:1,
highlight [2] - 370:5, 370:16       392:18, 393:20, 394:19,       huge [2] - 265:6, 313:12              441:5, 441:9, 441:15,
highlighted [2] - 369:25,           430:2, 430:4, 434:1,          hugs [1] - 268:5                      441:18, 444:5, 444:6,
   419:23                           437:21, 442:17, 442:18,       human [2] - 403:12, 412:24            444:22, 445:6, 447:14,
highlighting [1] - 370:19           445:13, 446:18, 448:6,        humor [1] - 307:5                     447:16
highly [1] - 444:11                 449:1, 449:8                  hun [61] - 264:17, 284:14,        imaginable [1] - 257:18
highschool [1] - 342:22           hook [3] - 262:12, 286:15,        285:21, 295:24, 312:2,          imagine [4] - 275:12, 312:1,
hindsight [1] - 418:24              435:2                           312:23, 313:3, 314:7,               369:11, 376:12
hinges [1] - 394:17               hope [32] - 258:13, 258:20,       315:14, 315:19, 315:25,         imagining [1] - 339:24
hinted [1] - 419:11                 258:23, 269:9, 269:14,          316:4, 316:15, 321:18,          IMEI [1] - 249:19
hints [1] - 418:23                  270:16, 270:25, 271:7,          322:12, 322:16, 322:23,         immediate [2] - 384:23,
history [1] - 416:23                278:25, 279:9, 279:15,          323:4, 323:24, 326:15,              415:22
hit [1] - 432:13                    279:19, 280:3, 280:9,           327:15, 327:23, 328:1,          immediately [2] - 350:16,
hmmm [1] - 346:16                   286:6, 286:15, 287:14,          328:11, 328:13, 328:19,             395:24
hmmmm [1] - 266:10                  288:20, 289:12, 289:18,         328:22, 329:14, 330:3,          immensely [1] - 411:5
                                    292:19, 309:25, 327:24,         330:6, 330:15, 331:9,
hold [2] - 313:7, 397:9                                                                             impeach [1] - 447:17
                                    328:22, 337:25, 340:12,         332:3, 333:9, 334:3,
holding [1] - 328:2                                                                                 impeaches [1] - 441:3
                                    341:8, 341:12, 343:20,          337:14, 337:24, 338:3,
hole [2] - 334:15, 334:16                                                                           impeaching [3] - 446:2,
                                    348:2, 432:22, 435:25           338:6, 338:19, 338:23,
holidays [1] - 251:12                                                                                   446:12, 446:13
                                  hopefully [3] - 266:3, 307:8,     339:1, 339:25, 340:6,
home [23] - 277:15, 278:15,                                                                         impeachment [3] - 394:22,
                                    409:9                           340:12, 341:8, 342:12,
   279:7, 280:23, 282:23,                                                                               447:12, 447:19
                                  hopeless [2] - 306:16, 399:5      342:21, 343:7, 343:22,
   283:12, 285:2, 285:13,                                                                           important [7] - 367:4, 377:21,
                                  hoping [11] - 258:14, 258:15,     344:8, 345:8, 346:4, 346:9,
   313:10, 321:7, 322:1,                                                                                377:22, 387:9, 405:15,
                                    292:2, 298:16, 298:18,          347:11, 348:8, 348:19,
   329:21, 332:21, 333:5,                                                                               412:9, 422:22
                                    312:17, 314:17, 403:21,         349:2, 376:13, 429:7,
   333:25, 337:15, 337:19,                                                                          improper [1] - 448:3
                                    412:24, 413:18, 421:15          432:22
   339:23, 344:10, 388:21,                                                                          IMSI [1] - 249:21
                                  horny [8] - 261:25, 262:8,      hundred [1] - 412:3
   391:20, 412:22, 412:25                                                                           inappropriate [1] - 383:3
                                    279:21, 282:22, 283:9,        hurry [1] - 282:23
Homeland [7] - 253:10, 254:2,                                                                       incapable [2] - 384:16,
                                    287:20, 290:2, 291:10         hurt [1] - 340:7
   299:14, 300:4, 300:7,                                                                                433:24
                                  horse [3] - 276:2, 276:6,       husband [1] - 401:24
   301:8, 301:12                                                                                    inch [4] - 262:23, 273:17,
                                    414:15                        husher [1] - 363:21
Honor [108] - 237:4, 238:9,                                                                             408:8, 411:10
                                  horses [3] - 276:5, 413:22,
   238:10, 238:14, 239:14,                                                                          include [2] - 254:11, 323:2
                                    416:2
   239:21, 240:6, 242:7,                                                          I                 included [6] - 323:14, 325:24,
                                  host [1] - 300:15
   242:10, 243:6, 243:9,                                          IBM [15] - 396:1, 396:2,              326:7, 367:22, 403:15,
   245:6, 245:22, 246:8,          Hot [1] - 408:4
                                                                    396:3, 396:6, 396:12,               407:5
   246:19, 247:4, 248:24,         HOT [1] - 298:11
                                                                    396:20, 396:22, 396:25,         includes [1] - 293:2
   249:2, 252:4, 252:7, 253:5,    hot [20] - 261:16, 262:11,
                                                                    397:1, 397:3, 397:14,           including [7] - 241:5, 305:1,
   253:8, 253:10, 253:20,           262:18, 264:9, 266:18,
                                                                    397:17, 397:24, 398:4               385:10, 388:3, 395:7,
   255:20, 256:15, 257:2,           266:25, 271:7, 273:12,
                                                                  IBMer [1] - 397:5                     403:16, 431:20
   292:24, 293:10, 293:11,          274:6, 275:6, 276:13,
                                                                  ID [2] - 305:7, 305:8             incoming [1] - 249:24
   293:19, 293:20, 294:4,           283:20, 284:8, 284:18,
                                                                  idea [6] - 266:20, 406:1,         Incoming [1] - 318:22
   297:3, 299:5, 299:7,             298:13, 311:25, 343:16,
                                                                    410:7, 424:13, 429:21,          increased [1] - 407:24
   299:10, 299:22, 304:20,          376:11, 407:17, 437:11
                                                                    447:2                           incredible [3] - 315:2, 351:7,
   304:23, 320:3, 320:5,          hotel [5] - 257:16, 264:7,
                                                                  ideal [1] - 406:11                    389:5
   320:9, 335:5, 335:15,            264:18, 269:8, 406:10
                                                                  identification [6] - 242:1,       incredibly [4] - 388:5, 388:6,
   335:16, 336:4, 336:5,          hottest [1] - 342:11
                                                                    242:22, 245:5, 303:18,              401:2, 417:17
   336:16, 353:5, 353:10,         hour [4] - 252:21, 331:18,
                                                                    356:15, 447:16                  incrimination [1] - 389:16
   353:24, 354:10, 354:16,          331:21, 331:23
                                                                  identified [6] - 245:10, 256:7,   independent [4] - 309:21,
   357:2, 361:21, 361:24,         hours [17] - 252:20, 252:22,
                                                                    352:20, 402:11, 403:10,             310:10, 445:24, 447:10
   362:20, 362:22, 364:7,           264:6, 301:22, 308:20,
                                                                    423:19                          indicate [10] - 319:2, 324:14,
   364:21, 368:5, 368:17,           309:2, 326:25, 329:4,
                                                                  Identifier [2] - 249:20, 249:22       352:9, 352:16, 374:17,
 2:18-cr-00012-cr                 Document 201              Filed 01/25/21            Page 231 of 247                              15



   399:1, 407:8, 416:8,               382:3, 386:24, 387:7,          introduced [12] - 246:8,        Johnson [1] - 395:25
   441:23, 443:24                     389:9, 403:19, 408:15,             364:8, 365:4, 377:23,       join [3] - 331:8, 331:10,
indicated [5] - 311:13,               409:2, 409:14, 420:12,             387:25, 398:20, 401:8,         331:12
   362:12, 362:13, 371:18,            424:6, 441:5, 447:7                401:13, 401:14, 401:18,     joined [1] - 435:14
   444:17                          intention [1] - 370:13                420:18, 445:7               jpg [1] - 311:1
indicates [12] - 307:23,           intentionally [1] - 387:12        introducing [1] - 410:1         JR [1] - 241:16
   307:24, 310:21, 318:20,         interaction [4] - 398:17,         introduction [1] - 447:5        Judge [17] - 364:6, 364:20,
   318:22, 318:23, 319:4,             401:20, 411:6, 427:6           intrusion [1] - 356:8              365:21, 373:22, 378:14,
   320:21, 358:16, 371:22,         interactions [1] - 445:21         investigate [1] - 300:14           383:5, 385:18, 390:2,
   374:21, 441:2                   interest [22] - 309:19, 360:5,    investigating [3] - 254:14,        392:9, 394:24, 398:5,
indicating [2] - 401:16, 413:1        374:14, 387:7, 400:19,             301:14, 302:4                  427:13, 441:23, 443:23,
Indicator [2] - 244:13, 244:17        403:11, 405:17, 407:4,         investigation [5] - 255:9,         444:9, 449:5, 449:11
indicator [2] - 244:15, 244:16        409:4, 411:15, 413:7,              301:20, 304:3, 356:11,      judge [3] - 239:5, 239:7,
indict [1] - 395:5                    418:15, 419:2, 440:24,             395:2                          353:20
individual [8] - 307:17, 360:5,       441:3, 444:16, 445:2,          Investigations [7] - 253:11,    judging [1] - 429:19
   374:13, 386:25, 387:1,             445:3, 445:15, 446:13,             254:2, 299:15, 300:4,       judgment [2] - 381:4, 416:13
   387:8, 387:23, 401:3               446:20, 447:10                     300:8, 301:9, 301:13        judicial [10] - 237:14, 237:15,
individual's [1] - 387:6           interested [25] - 286:2, 287:4,   investigations [8] - 254:9,        238:15, 239:11, 353:6,
individuals [1] - 399:7               292:8, 307:7, 309:11,              254:11, 254:12, 254:23,        353:13, 354:1, 354:14,
indoors [2] - 326:17, 388:22          309:12, 363:4, 381:20,             254:24, 301:24, 302:2          378:10, 379:9
induce [7] - 383:8, 386:7,            385:7, 399:1, 399:8,           Investigations-related [1] -    juices [1] - 260:25
   386:20, 386:24, 387:8,             399:15, 403:17, 405:1,             301:9                       July [14] - 280:16, 281:19,
   387:16, 387:22                     409:5, 409:15, 411:14,         investigative [1] - 302:12         284:23, 286:11, 287:25,
induced [1] - 387:2                   413:11, 416:23, 418:14,        investigator [3] - 255:12,         289:9, 296:14, 296:19,
indulge [1] - 383:23                  420:24, 424:16, 444:20,            300:10, 300:13                 297:9, 357:17, 357:18,
Industrial [1] - 395:25               445:7, 446:22                  Investigator [1] - 301:5           402:19, 403:2, 434:18
infect [1] - 436:8                 interesting [2] - 403:12, 417:8   investigators [1] - 301:7       jump [2] - 316:6, 329:24
inflammatory [2] - 444:11,         interests [6] - 400:23, 414:3,    invites [1] - 388:21            Junction [1] - 402:11
   447:6                              415:19, 421:6, 438:19,         involve [3] - 413:4, 418:10,    June [18] - 258:11, 259:24,
information [10] - 240:14,            447:13                             420:6                          295:5, 295:15, 295:23,
   240:17, 245:25, 250:7,          internal [4] - 244:1, 244:9,      involved [1] - 408:24              296:4, 296:8, 297:10,
   307:19, 320:16, 352:25,            249:12, 256:7                  involving [1] - 435:24             297:14, 320:25, 397:2,
   428:20, 442:22, 443:12          internally [1] - 249:24           ipad [1] - 332:17                  402:12, 404:3, 404:20,
Information [1] - 320:19           International [3] - 249:19,       ipod [1] - 332:17                  406:23, 407:8, 411:8,
informed [2] - 393:6, 394:2           249:20, 249:21                 irony [1] - 342:22                 412:13
ingoing [1] - 349:17               Internet [5] - 254:21, 302:1,     Isle [2] - 423:21, 423:22       jurisdiction [1] - 354:3
initial [1] - 301:17                  302:23, 354:6, 358:11          issue [11] - 364:1, 375:5,      juror [2] - 388:18, 389:8
initiate [1] - 418:6               interpreted [2] - 380:14,             377:22, 379:23, 386:5,      JUROR [2] - 240:22, 442:7
initiated [3] - 382:25, 398:11,       424:17                             412:1, 412:22, 442:12,      jurors [3] - 336:3, 336:7,
   422:10                          interrupt [9] - 313:16, 321:15,       443:18, 444:23, 447:21         364:15
inquire [2] - 253:20, 299:22          323:5, 328:24, 339:3,          issued [1] - 366:11             jury [94] - 237:2, 237:9,
inserted [1] - 276:14                 339:16, 344:20, 345:18,        issues [1] - 237:10                237:16, 237:19, 237:24,
inside [15] - 262:14, 274:10,         347:22                         it'll [1] - 277:14                 238:12, 238:15, 238:23,
   274:13, 274:18, 276:6,          interstate [7] - 332:2, 333:15,   item [2] - 249:13, 405:5           239:2, 239:13, 239:24,
   276:15, 277:2, 279:22,             354:6, 354:9, 354:11,          items [1] - 350:9                  240:1, 240:4, 240:11,
   284:4, 284:16, 289:3,              378:8, 378:13                                                     240:13, 241:11, 243:21,
                                                                     ITS [1] - 348:25
   291:11, 291:23, 315:4,          interviews [1] - 302:14                                              249:10, 254:17, 293:1,
                                                                     itself [6] - 246:20, 250:21,
   388:15                          intrigued [9] - 402:4, 411:5,         255:12, 379:25, 405:6,         293:6, 293:14, 293:18,
instance [2] - 244:12, 401:22         411:7, 412:23, 414:4,              419:13                         293:21, 293:22, 298:8,
instead [2] - 261:23, 396:9           414:13, 414:21, 415:22,                                           301:16, 302:9, 306:1,
instruct [1] - 443:4                  416:21                                                            307:19, 318:15, 335:7,
                                   intrigueness [1] - 419:15
                                                                                    J                   335:11, 335:24, 336:9,
instruction [5] - 364:1, 364:3,
                                   intrigues [3] - 417:21, 418:8,    January [2] - 294:25, 449:21       349:10, 349:23, 350:2,
   364:8, 364:24, 377:21
                                      431:25                         jealous [3] - 346:16, 346:18,      351:10, 352:17, 357:5,
instructions [4] - 443:9,
                                   intriguing [7] - 400:22, 401:2,      346:22                          358:15, 358:21, 359:9,
   443:21, 448:18, 449:1
                                      414:9, 417:9, 419:13,          jerk [1] - 275:13                  359:19, 359:24, 363:9,
integrity [1] - 443:6
                                      419:16, 420:2                  job [2] - 240:19, 257:8            363:22, 364:23, 369:1,
intelligent [1] - 369:4
                                   introduce [6] - 370:14,           jobs [1] - 397:21                  369:21, 370:18, 371:8,
intended [1] - 387:4
                                      370:15, 410:9, 410:13,         Johanna [2] - 363:24, 449:21       373:1, 375:14, 376:5,
intending [1] - 447:11
                                      441:13, 444:14                 John [1] - 299:18                  377:1, 377:7, 377:23,
intent [14] - 355:8, 365:15,
 2:18-cr-00012-cr                Document 201              Filed 01/25/21            Page 232 of 247                                16



   378:12, 378:20, 379:6,         kept [2] - 384:1, 444:12         ladies [7] - 240:12, 292:25,       letters [1] - 308:18
   379:9, 380:17, 380:25,         key [2] - 356:19, 357:8             306:22, 335:6, 364:23,          letting [1] - 436:25
   385:15, 390:4, 390:12,         kid [1] - 273:6                     377:1, 442:19                   level [1] - 407:24
   390:16, 390:19, 390:20,        kind [17] - 239:9, 240:17,       lady [3] - 307:5, 309:21,          lewd [1] - 355:6
   391:16, 392:16, 395:19,           298:13, 306:4, 306:5,            402:11                          lewdly [1] - 355:5
   401:12, 407:18, 409:19,           332:6, 381:20, 386:3,         laid [2] - 441:7, 447:15           liability [1] - 386:5
   411:12, 413:22, 423:18,           395:10, 399:13, 400:6,        lascivious [1] - 355:6             libido [1] - 309:15
   440:8, 442:1, 442:15,             402:1, 414:2, 414:5, 417:5,   last [41] - 241:5, 265:13,         licking [1] - 388:16
   442:20, 443:9, 443:14,            419:13                           294:15, 296:17, 296:20,         lie [4] - 343:7, 422:2, 436:13
   443:15, 443:20, 443:21,        kinda [1] - 312:17                  297:15, 297:18, 298:14,         life [4] - 306:7, 323:22,
   444:1, 444:9, 448:18, 449:1    kink [2] - 298:13, 403:7            303:11, 306:10, 308:24,            400:22, 417:6
jury's [3] - 377:13, 395:9,       kiss [2] - 312:13, 351:3            310:23, 310:25, 311:2,          light [2] - 386:14, 393:18
   444:11                         kissed [1] - 351:21                 311:12, 313:25, 314:1,          likely [4] - 277:14, 321:15,
juvenile [1] - 245:20             kisses [15] - 268:5, 269:4,         316:25, 317:1, 317:2,              369:7, 395:5
                                     271:2, 276:17, 280:10,           323:14, 324:16, 325:1,          limine [1] - 448:7
               K                     285:3, 285:10, 286:7,            325:12, 326:6, 326:12,          limit [1] - 400:17
                                     286:17, 287:10, 287:16,          331:2, 336:20, 339:19,          limited [3] - 365:13, 365:14,
KAPLAN [78] - 238:9, 242:10,
                                     287:22, 289:5, 292:4, 296:1      342:2, 344:23, 346:25,             378:1
  243:9, 245:22, 246:8,
                                  kissy [18] - 330:11, 330:12,        350:9, 355:13, 360:10,          line [7] - 345:3, 345:4, 349:19,
  246:19, 247:4, 249:2,
                                     331:13, 337:16, 338:9,           369:13, 413:9, 416:10,             351:16, 369:14, 432:17
  252:7, 252:9, 253:3,
                                     338:23, 342:12, 343:8,           417:24, 439:13, 443:18          lines [4] - 413:20, 417:3,
  293:10, 293:20, 299:10,
                                     345:11, 346:24, 347:6,        latched [2] - 340:9, 340:21           417:4, 417:10
  304:20, 320:5, 335:16,
                                     347:20, 348:8, 348:14,        late [6] - 369:6, 422:14, 435:2,   lips [4] - 340:12, 348:25,
  336:5, 353:10, 353:20,
                                     348:16, 348:18, 348:21,          435:9                              432:3, 432:22
  356:24, 361:24, 364:6,
                                     348:25                        law [5] - 313:6, 422:1, 424:5,     list [2] - 288:3, 447:22
  364:20, 365:21, 365:23,
  368:17, 368:23, 370:10,         knotted [1] - 275:5                 424:7, 424:10                   listed [3] - 244:2, 263:12,
  370:13, 371:7, 372:12,          knowing [2] - 309:11, 412:8      laws [1] - 416:12                     298:22
  372:21, 373:11, 373:22,         knowingly [8] - 239:6, 239:8,    Lawton [3] - 392:15, 392:19,       listen [1] - 312:17
  373:25, 376:18, 378:5,             378:11, 383:7, 386:20,           395:3                           listing [1] - 298:24
  378:14, 379:12, 380:14,            387:11, 387:12, 387:14        Lawton's [3] - 393:5, 393:24,      liter [1] - 276:14
  380:21, 381:3, 382:14,          knowledge [2] - 425:22,             394:1                           literally [1] - 274:25
  383:10, 385:18, 390:2,             434:6                         lay [1] - 447:18                   live [12] - 311:20, 312:2,
  390:18, 391:5, 391:14,          known [2] - 327:6, 354:2         laying [1] - 339:23                   312:5, 312:10, 316:8,
  392:9, 393:6, 394:2,            knows [4] - 312:15, 346:23,      lead [4] - 365:25, 388:10,            332:6, 332:8, 358:25,
  394:24, 395:2, 395:16,             381:16, 384:6                    411:15, 413:1                      359:2, 376:7, 376:14,
  395:19, 398:5, 406:22,                                           leading [2] - 408:25, 409:1           391:18
  415:5, 415:9, 417:14,                          L                 learned [1] - 416:1                lived [11] - 323:20, 323:22,
  425:23, 427:12, 430:2,                                           least [7] - 287:21, 345:17,           332:9, 332:12, 332:15,
                                  labeled [3] - 311:21, 350:5,
  434:1, 437:21, 440:1,                                               355:11, 355:15, 356:2,             332:16, 391:22, 423:20,
                                     376:8
  440:3, 440:5, 440:12,                                               365:24, 423:7                      423:21, 430:12, 430:15
                                  labia [5] - 266:1, 339:25,
  441:23, 442:18, 444:9,                                           leave [3] - 287:4, 397:7,          living [1] - 332:19
                                     388:17, 409:7, 431:21
  445:5, 446:17, 449:5,                                               423:23                          Liza [3] - 243:14, 246:4,
                                  labias [4] - 266:2, 409:8,
  449:11                                                           led [1] - 251:20                      250:25
                                     431:23, 437:14
Kaplan [28] - 237:9, 240:10,                                       left [18] - 249:10, 307:18,        lmk [4] - 270:25, 329:16,
                                  LaBombard [45] - 256:2,
  355:2, 364:5, 364:8, 370:6,                                         313:24, 317:16, 317:25,            343:8, 343:9
                                     257:22, 258:5, 258:9,
  370:9, 373:5, 373:10,                                               318:6, 318:14, 321:18,          load [2] - 274:13, 279:22
                                     260:1, 260:14, 260:17,
  373:16, 374:7, 375:5,                                               321:24, 325:13, 336:18,         located [2] - 254:4, 358:2
                                     261:2, 262:7, 265:11,
  377:15, 377:18, 379:11,                                             349:11, 349:12, 350:19,         location [2] - 243:25, 317:22
                                     265:13, 284:20, 291:18,
  380:13, 385:17, 390:1,                                              351:9, 357:6, 406:13,           log [1] - 332:18
                                     296:10, 296:23, 297:21,
  392:23, 394:23, 406:19,                                             443:22
                                     304:25, 305:23, 311:6,                                           logical [3] - 238:4, 292:22,
  440:9, 441:20, 443:22,                                           legal [3] - 434:5, 435:10,
                                     311:16, 312:6, 312:21,                                              335:3
  444:8, 446:16, 449:4,                                               435:11
                                     313:17, 313:23, 314:6,                                           logs [1] - 352:5
  449:10                                                           legally [1] - 384:16
                                     314:25, 315:12, 317:5,                                           LOL [4] - 321:25, 331:1,
Kaplan's [3] - 239:14, 364:11,                                     legislature [1] - 237:20
                                                                                                         332:8, 332:10
                                     318:1, 319:18, 320:12,
  374:16                                                           legs [1] - 278:8
                                     320:18, 321:10, 322:8,                                           lol [6] - 332:7, 340:15, 344:4,
keep [7] - 321:20, 334:6,                                          length [2] - 419:25, 421:10           347:6, 347:17, 348:23
                                     322:9, 323:1, 323:3, 323:9,
  410:6, 413:14, 445:17,                                           lengthy [2] - 421:1, 449:2
                                     327:7, 334:17, 336:17,                                           look [48] - 244:19, 250:3,
  445:19, 447:11                                                   less [4] - 306:19, 355:10,
                                     341:21, 354:23, 358:7,                                              251:1, 251:22, 252:10,
keeper [1] - 343:19                                                   355:14, 356:1
                                     372:18                                                              261:8, 273:2, 297:17,
keeping [1] - 445:3               lack [2] - 365:16, 394:21        lethal [1] - 412:10                   298:1, 298:20, 304:11,
 2:18-cr-00012-cr                Document 201              Filed 01/25/21       Page 233 of 247                         17



  306:24, 308:22, 310:24,           312:20, 315:2, 315:4,         242:7, 242:13, 242:15,      326:21, 327:3, 327:9,
  315:2, 324:7, 324:11,             315:23, 322:15, 324:22,       242:16, 243:6, 243:12,      327:14, 327:23, 328:6,
  324:20, 327:21, 328:3,            326:15, 326:17, 327:15,       243:14, 243:16, 246:4,      328:11, 328:19, 329:9,
  328:17, 329:13, 330:4,            327:25, 328:7, 340:23,        246:10, 248:24, 249:5,      329:11, 329:14, 329:16,
  330:10, 330:14, 331:6,            389:1, 407:2                  249:8, 250:1, 250:5,        329:19, 329:21, 329:24,
  340:14, 340:15, 343:16,         LOVE [1] - 274:12               250:13, 250:25, 252:1,      330:2, 330:6, 330:9,
  345:10, 346:19, 356:14,         loves [1] - 351:21              252:4, 253:5, 256:15,       330:12, 330:15, 330:19,
  357:16, 361:13, 362:4,          loving [2] - 306:20, 442:12     256:23, 257:2, 257:9,       330:25, 331:3, 331:7,
  368:11, 381:1, 392:15,          loyal [1] - 306:16              258:12, 258:19, 259:8,      331:9, 331:13, 331:15,
  395:8, 399:13, 400:24,          lunch [4] - 335:7, 335:9,       259:13, 259:16, 260:2,      331:18, 331:22, 332:1,
  402:4, 407:8, 408:19,             335:22, 335:23                260:18, 260:22, 261:6,      332:6, 332:10, 332:19,
  419:24, 428:25, 439:20,         lust [1] - 355:8                261:13, 261:21, 262:11,     333:1, 333:4, 333:9,
  439:21                                                          262:21, 263:6, 263:22,      333:12, 333:15, 333:20,
looked [12] - 245:11, 247:17,                                     264:5, 264:16, 265:6,       333:24, 334:1, 334:3,
                                                 M
  248:17, 310:3, 317:20,                                          265:17, 266:1, 266:10,      334:8, 334:10, 334:14,
  318:8, 319:14, 346:21,          m4w [1] - 298:7                 266:17, 266:24, 267:4,      337:7, 337:9, 337:12,
  367:14, 395:6, 404:8, 439:8     ma'am [4] - 389:22, 401:4,      267:9, 267:14, 267:25,      337:14, 337:18, 337:22,
looking [66] - 243:16, 243:19,      432:8, 438:11                 268:10, 268:13, 268:16,     337:24, 338:3, 338:5,
  243:24, 256:3, 262:22,          mad [1] - 347:12                268:19, 268:21, 268:23,     338:8, 338:12, 338:16,
  268:1, 289:22, 298:7,           Maddie [6] - 388:12, 388:13,    268:25, 269:2, 269:7,       338:19, 338:22, 339:1,
  298:9, 308:7, 310:12,             422:20, 422:22, 422:25,       269:13, 269:18, 269:23,     339:9, 339:12, 339:23,
  312:1, 313:2, 316:22,             423:13                        270:1, 270:8, 270:16,       340:3, 340:6, 340:10,
  319:6, 326:12, 329:1,           Maddie's [2] - 388:16, 422:17   270:23, 271:5, 271:17,      340:15, 340:18, 340:23,
  330:2, 334:18, 334:21,          mail [1] - 322:24               271:23, 272:3, 272:10,      341:1, 341:3, 341:8,
  336:19, 339:3, 339:16,          main [1] - 316:8                272:16, 272:24, 273:15,     341:12, 341:16, 341:18,
  344:21, 346:17, 350:16,         maintain [1] - 392:8            274:4, 274:10, 274:24,      342:8, 342:11, 342:15,
  357:4, 358:20, 359:23,          maintaining [1] - 397:20        275:5, 275:11, 275:17,      342:21, 343:3, 343:7,
  360:7, 360:14, 360:19,          maintenance [2] - 397:15,       275:22, 276:4, 276:11,      343:12, 343:14, 343:22,
  362:5, 362:24, 366:17,            397:19                        276:20, 277:1, 277:6,       343:25, 344:4, 344:13,
  368:9, 369:15, 371:2,           major [1] - 369:10              277:12, 277:19, 277:25,     344:17, 345:3, 345:6,
  371:9, 374:9, 374:15,           male [3] - 306:10, 369:3,       278:4, 278:10, 278:14,      345:10, 345:13, 345:15,
  376:13, 382:6, 399:5,             425:2                         278:17, 278:21, 279:6,      346:1, 346:4, 346:9,
  402:6, 403:6, 404:6, 404:9,     Man [2] - 305:21, 434:23        279:14, 279:17, 280:2,      346:16, 346:21, 347:5,
  408:7, 410:4, 415:20,           management [4] - 396:13,        280:8, 280:19, 280:23,      347:11, 347:20, 348:2,
  417:1, 418:24, 419:17,            396:14, 397:13                281:3, 281:8, 281:11,       348:5, 348:8, 348:10,
  419:18, 420:14, 421:4,          manager [1] - 397:6             281:22, 282:7, 282:12,      348:12, 348:15, 348:18,
  424:23, 424:25, 427:8,          managing [1] - 397:14           282:16, 282:20, 282:22,     348:23, 349:1, 349:4,
  429:17, 429:25, 434:23,         manner [1] - 419:9              283:8, 283:14, 283:25,      364:7, 364:21, 376:22,
  446:4                           manufacturing [5] - 396:3,      284:4, 284:8, 284:14,       378:6, 383:12, 391:1,
looks [9] - 244:24, 265:9,          396:8, 397:15, 397:16,        285:1, 285:6, 285:13,       392:4, 392:8, 392:10,
  267:12, 288:2, 296:4,             397:19                        285:16, 285:20, 285:23,     392:18, 392:21, 393:20,
  346:15, 346:23, 382:15,         Marie [1] - 362:10              286:1, 286:5, 286:14,       394:19, 398:1, 405:5,
  439:1                           marijuana [1] - 345:21          286:20, 286:23, 287:2,      408:25, 409:22, 415:3,
loose [7] - 273:8, 274:12,        Mark [3] - 237:8, 240:10,       287:8, 287:13, 287:19,      417:12, 420:8, 425:6,
  274:14, 277:20, 277:23,           355:1                         288:9, 288:14, 288:18,      425:12, 425:20, 426:8,
  278:2, 290:23                   mark [4] - 268:16, 268:17,      288:23, 289:2, 289:11,      427:9, 427:11, 430:4,
lose [2] - 410:10, 411:21           407:8                         289:16, 289:21, 290:1,      430:6, 432:15, 440:20,
losing [3] - 412:19, 413:13,      marked [5] - 238:21, 241:25,    290:5, 290:11, 290:14,      441:11, 442:17, 445:10,
  413:19                            303:17, 356:14, 380:8         290:18, 290:22, 291:10,     445:13, 446:11, 448:6,
loss [1] - 241:6                  marketing [1] - 400:3           291:22, 292:1, 292:7,       449:1, 449:8
lost [2] - 418:21, 421:22                                         292:18, 293:11, 294:14,   Masterson [22] - 237:7,
                                  marking [1] - 360:19
loud [1] - 261:3                                                  295:1, 295:6, 295:24,       240:9, 256:9, 256:10,
                                  marks [1] - 285:20
love [41] - 257:12, 258:21,                                       309:18, 311:19, 312:23,     256:21, 258:10, 263:20,
                                  married [2] - 306:15, 355:24
  260:23, 260:24, 267:17,                                         314:7, 315:2, 315:14,       266:12, 282:4, 290:4,
                                  mask [1] - 255:19
  274:1, 275:8, 276:4, 276:6,                                     315:17, 315:19, 315:23,     294:12, 309:5, 321:14,
                                  Massachusetts [4] - 300:24,
  277:20, 286:15, 292:3,                                          316:2, 316:6, 316:13,       326:13, 337:2, 337:4,
                                    316:21, 323:19, 323:21
  292:19, 294:20, 306:5,                                          316:15, 316:19, 321:18,     345:5, 354:25, 440:17,
                                  Massé [3] - 392:15, 393:2,
  306:6, 306:7, 306:11,                                           321:21, 321:25, 322:10,     444:4, 444:5, 445:11
                                    449:21
  306:13, 307:2, 307:10,                                          322:12, 322:23, 323:4,    masturbating [1] - 418:2
                                  MASTERSON [336] - 238:10,
  309:14, 309:15, 312:19,                                         323:19, 323:23, 324:5,    matches [1] - 335:19
                                    238:18, 239:21, 241:20,
                                                                  324:9, 324:22, 326:15,    mates [1] - 306:16
 2:18-cr-00012-cr               Document 201             Filed 01/25/21           Page 234 of 247                           18



matter [8] - 237:4, 240:6,       member [5] - 241:2, 241:9,      might [3] - 240:18, 268:1,      mold [1] - 307:7
  270:1, 347:14, 370:20,           254:21, 355:7, 406:15           297:16                        molested [1] - 267:18
  406:16, 408:12, 449:18         men [6] - 305:14, 306:21,       mile [1] - 334:9                mom [10] - 262:8, 267:19,
mattered [1] - 370:16              306:23, 309:12, 309:19,       Milton [3] - 331:23, 331:24,     272:25, 278:5, 278:8,
matters [3] - 272:24, 272:25,      363:4                           332:3                          313:11, 314:8, 332:15,
  273:1                          mention [2] - 274:24, 368:3     MIN [1] - 244:22                 332:20, 430:23
Matthew [1] - 302:22             mentioned [8] - 254:23,         mind [12] - 265:13, 265:15,     moment [12] - 252:1, 299:5,
max [2] - 340:19, 407:22           371:16, 392:11, 403:7,          303:10, 310:23, 332:12,        303:9, 323:6, 328:25,
McCullagh [38] - 253:11,           415:19, 417:22, 423:24,         382:21, 385:18, 387:2,         339:3, 341:20, 344:21,
  253:12, 253:16, 253:17,          439:4                           410:6, 424:5, 429:10,          345:18, 347:22, 353:12,
  253:24, 255:24, 256:3,         mercy [1] - 267:6                 445:21                         362:20
  257:24, 259:2, 259:23,         merely [1] - 387:5              mind-set [1] - 445:21           momma.mego [1] - 431:3
  262:2, 263:10, 265:1,          mess [1] - 276:7                minded [2] - 399:10, 399:14     Monday [6] - 237:24, 287:20,
  266:12, 271:12, 280:14,        Message [2] - 244:17, 349:20    mine [4] - 237:12, 264:9,        341:4, 404:11, 443:9,
  281:14, 282:4, 284:21,         message [40] - 244:3, 244:4,      273:21, 324:23                 448:16
  286:9, 287:24, 289:7,            244:20, 256:12, 295:14,       minimized [1] - 413:13          money [1] - 348:17
  290:6, 291:1, 291:13,            319:1, 319:3, 319:5,          minor [12] - 366:18, 368:3,     monitor [2] - 256:24, 257:3
  292:11, 294:1, 294:8,            319:14, 321:17, 322:19,         368:9, 371:9, 371:16,         month [6] - 301:4, 301:8,
  294:23, 295:3, 295:12,           323:14, 325:14, 325:19,         371:17, 384:16, 387:6,         301:9, 369:14, 430:12,
  295:21, 296:3, 296:13,           325:20, 325:24, 326:2,          389:10, 399:2, 446:23          430:15
  297:8, 297:20, 297:24,           326:8, 326:13, 334:19,        minor's [1] - 387:2             months [9] - 255:11, 275:23,
  298:4                            334:20, 334:21, 334:22,       minors [8] - 435:21, 435:24,     301:6, 316:14, 363:10,
MDN [1] - 244:2                    339:4, 339:5, 339:6,            439:25, 444:6, 444:17,         363:16, 399:21, 403:1,
mean [31] - 239:15, 242:16,        339:19, 342:2, 342:7,           444:20, 445:2, 446:20          429:6
  244:18, 260:19, 294:17,          344:23, 351:2, 353:2,         minuses [1] - 400:6             morning [20] - 237:10,
  315:8, 340:7, 344:3,             363:5, 375:23, 375:24,        minute [5] - 256:16, 279:18,     240:12, 241:21, 241:22,
  344:12, 348:17, 349:6,           432:1, 432:18                   304:7, 367:25, 440:4           253:24, 253:25, 299:16,
  365:18, 372:7, 373:12,         messages [49] - 249:24,         minutes [19] - 244:23,           300:1, 300:2, 308:25,
  375:3, 380:14, 384:2,            251:23, 256:11, 256:12,         244:24, 244:25, 293:5,         329:5, 329:6, 339:21,
  384:19, 386:6, 395:6,            318:12, 318:19, 318:21,         313:1, 321:19, 322:13,         342:3, 342:4, 344:25,
  400:2, 400:16, 413:20,           321:13, 321:15, 322:18,         331:21, 331:24, 333:3,         350:21, 359:7, 359:20,
  413:23, 414:1, 414:18,           323:25, 324:1, 324:7,           333:12, 338:2, 360:23,         360:18
  429:8, 444:19, 445:24,           324:11, 324:14, 324:21,         373:21, 376:4, 378:3,         most [12] - 251:12, 279:7,
  446:5, 447:17                    324:25, 325:11, 326:6,          378:18, 390:8, 442:16          283:20, 306:24, 312:20,
Mean [1] - 252:13                  326:19, 327:2, 327:21,        misguided [1] - 446:7            342:12, 343:2, 369:7,
meanings [3] - 387:18, 402:2,      328:3, 328:18, 329:1,         misremembered [1] - 373:11       383:14, 385:14, 386:14,
  416:1                            329:3, 331:6, 331:11,         miss [5] - 269:19, 285:16,       395:5
means [10] - 239:12, 243:21,       331:16, 331:25, 332:4,          286:6, 288:14, 290:15         mostly [3] - 283:22, 327:19,
  315:16, 315:22, 347:8,           332:24, 333:6, 333:14,        missed [1] - 270:2               381:15
  347:16, 356:5, 372:6,            333:21, 334:25, 335:2,        missing [1] - 289:22            mother [5] - 384:10, 418:14,
  375:2, 436:1                     337:1, 337:4, 337:5, 337:6,   misstates [3] - 368:6, 415:3,    419:2, 423:5, 445:18
meant [1] - 343:15                 339:17, 342:1, 344:22,          420:8                         mothering [1] - 310:11
meantime [1] - 282:17              352:24, 426:1, 431:6,         mistake [2] - 365:16, 387:13    motion [3] - 386:13, 389:12,
media [1] - 240:15                 431:15                        mmmmm [1] - 337:7                448:7
meet [26] - 265:21, 265:22,      messaging [2] - 244:24,         Mmmmmm [1] - 351:2              motions [4] - 377:11, 378:3,
  282:12, 283:5, 298:14,           244:25                                                         380:1, 381:2
                                                                 mmmmmm [5] - 324:22,
  312:18, 316:9, 351:3,          met [8] - 351:17, 382:23,         328:8, 328:20, 337:22,        motive [1] - 365:15
  361:3, 382:24, 400:13,           384:24, 385:5, 385:16,          339:25                        mouth [6] - 262:14, 273:21,
  400:16, 404:24, 409:14,          427:7, 427:24, 428:1                                           315:3, 356:7, 388:14
                                                                 Mmmmmmm [1] - 312:1
  410:25, 418:21, 422:8,         mic [1] - 243:3                                                 move [4] - 368:17, 381:3,
                                                                 mmmmmmm [3] - 313:8,
  422:9, 422:16, 423:5,          Michael [2] - 253:11, 253:16      330:17, 331:7                  398:5, 420:9
  423:7, 424:22, 428:15,         MICHAEL [1] - 253:17            Mmmmmmmm [1] - 376:12           moves [2] - 243:6, 243:7
  428:18, 429:21, 429:22         microphone [2] - 266:13,                                        movie [1] - 289:16
                                                                 mmmmmmmm [1] - 351:7
meeting [10] - 330:2, 382:9,       282:6                                                         moving [1] - 320:1
                                                                 mmmmmmmmm [2] - 266:8,
  383:1, 388:10, 388:11,         mid [1] - 407:20                                                MR [440] - 238:9, 242:10,
                                                                   274:1
  398:17, 400:8, 419:1,          midafternoon [1] - 376:25                                        243:9, 245:22, 246:8,
                                                                 mmmmmmmmmm [1] -
  422:14, 423:11                 middle [4] - 332:7, 332:8,                                       246:19, 247:4, 249:2,
                                                                   261:3
Megan [3] - 416:19, 423:19,        351:23, 369:3                                                  252:7, 252:9, 253:3,
                                                                 MMS [1] - 319:5
  424:25                         middle-aged [1] - 369:3                                          253:10, 253:20, 253:23,
                                                                 MO [1] - 244:20
melt [1] - 307:2                 midmorning [1] - 292:23                                          255:20, 256:1, 256:18,
                                                                 Mobile [2] - 249:20, 249:21
2:18-cr-00012-cr              Document 201            Filed 01/25/21           Page 235 of 247                       19



257:22, 257:24, 258:5,          288:13, 288:17, 288:22,        375:12, 375:23, 376:16,     285:6, 285:13, 285:16,
258:9, 258:17, 258:25,          289:1, 289:10, 289:15,         376:18, 378:5, 378:14,      285:20, 285:23, 286:1,
259:5, 259:7, 259:12,           289:20, 289:25, 290:4,         378:25, 379:7, 379:12,      286:5, 286:14, 286:20,
259:15, 259:19, 259:25,         290:10, 290:13, 290:17,        380:2, 380:5, 380:11,       286:23, 287:2, 287:8,
260:10, 260:13, 260:15,         290:21, 291:6, 291:9,          380:14, 380:21, 381:3,      287:13, 287:19, 288:9,
260:21, 261:1, 261:5,           291:17, 291:21, 291:25,        382:14, 383:10, 385:18,     288:14, 288:18, 288:23,
261:10, 261:12, 261:17,         292:6, 292:10, 292:16,         390:2, 390:6, 390:10,       289:2, 289:11, 289:16,
261:20, 262:1, 262:6,           292:24, 293:10, 293:19,        390:17, 390:18, 391:5,      289:21, 290:1, 290:5,
262:10, 262:17, 262:20,         293:20, 294:4, 294:8,          391:14, 392:9, 393:6,       290:11, 290:14, 290:18,
263:4, 263:8, 263:20,           294:12, 294:22, 295:2,         393:11, 394:2, 394:7,       290:22, 291:10, 291:22,
263:23, 264:2, 264:4,           295:11, 295:18, 296:2,         394:24, 395:2, 395:16,      292:1, 292:7, 292:18,
264:12, 264:15, 264:23,         296:10, 296:23, 297:1,         395:19, 398:5, 406:22,      293:11, 294:14, 295:1,
265:5, 265:11, 265:15,          297:3, 297:6, 297:11,          415:5, 415:9, 417:14,       295:6, 295:24, 309:18,
265:20, 265:23, 265:25,         297:21, 298:20, 299:5,         425:23, 427:12, 430:2,      311:6, 311:19, 312:23,
266:7, 266:9, 266:11,           299:7, 299:10, 299:14,         434:1, 437:21, 440:1,       314:7, 315:2, 315:14,
266:16, 266:19, 266:23,         299:22, 299:25, 303:9,         440:3, 440:5, 440:12,       315:17, 315:19, 315:23,
267:1, 267:3, 267:5, 267:8,     303:23, 304:1, 304:17,         441:23, 442:18, 444:9,      316:2, 316:6, 316:13,
267:11, 267:13, 267:16,         304:20, 304:23, 304:25,        445:5, 446:17, 449:5,       316:15, 316:19, 321:18,
267:24, 268:7, 268:9,           305:3, 305:22, 307:13,         449:11                      321:21, 321:25, 322:8,
268:12, 268:15, 268:18,         311:5, 311:7, 311:16,         MS [341] - 238:10, 238:18,   322:10, 322:12, 322:23,
268:20, 268:22, 268:24,         312:6, 312:8, 312:21,          239:21, 241:20, 242:7,      323:4, 323:19, 323:23,
269:1, 269:6, 269:12,           313:17, 313:23, 314:4,         242:13, 242:15, 242:16,     324:5, 324:9, 324:22,
269:17, 269:20, 269:22,         314:23, 315:11, 317:5,         243:6, 243:12, 243:14,      326:15, 326:21, 327:3,
269:25, 270:5, 270:7,           317:24, 319:18, 319:21,        243:16, 246:4, 246:10,      327:9, 327:14, 327:23,
270:13, 270:15, 270:20,         319:23, 319:25, 320:3,         248:24, 249:5, 249:8,       328:6, 328:11, 328:19,
270:22, 271:4, 271:10,          320:5, 320:8, 320:9,           250:1, 250:5, 250:13,       329:9, 329:11, 329:14,
271:16, 271:19, 271:22,         320:11, 320:18, 321:10,        250:25, 252:1, 252:4,       329:16, 329:19, 329:21,
271:24, 272:2, 272:7,           322:4, 322:9, 323:1, 323:5,    253:5, 256:15, 256:23,      329:24, 330:2, 330:6,
272:9, 272:13, 272:15,          323:9, 323:17, 323:25,         257:2, 257:9, 258:12,       330:9, 330:12, 330:15,
272:20, 272:23, 273:11,         324:7, 324:11, 324:20,         258:19, 259:8, 259:13,      330:19, 330:25, 331:3,
273:14, 273:25, 274:3,          325:6, 325:21, 326:3,          259:16, 260:2, 260:14,      331:7, 331:9, 331:13,
274:7, 274:9, 274:19,           326:11, 326:19, 327:1,         260:17, 260:18, 260:22,     331:15, 331:18, 331:22,
274:23, 275:2, 275:4,           327:7, 327:10, 327:13,         261:6, 261:13, 261:21,      332:1, 332:6, 332:10,
275:7, 275:10, 275:14,          327:21, 328:3, 328:17,         262:11, 262:21, 263:6,      332:19, 333:1, 333:4,
275:16, 275:19, 275:21,         328:24, 329:13, 329:18,        263:22, 264:5, 264:16,      333:9, 333:12, 333:15,
276:1, 276:3, 276:8,            329:22, 330:4, 330:10,         265:6, 265:13, 265:17,      333:20, 333:24, 334:1,
276:10, 276:19, 276:21,         330:14, 330:24, 331:6,         266:1, 266:10, 266:17,      334:3, 334:8, 334:10,
276:23, 276:25, 277:3,          331:11, 331:16, 331:25,        266:24, 267:4, 267:9,       334:14, 337:7, 337:9,
277:5, 277:9, 277:11,           332:4, 332:14, 332:24,         267:14, 267:25, 268:10,     337:12, 337:14, 337:18,
277:16, 277:18, 277:22,         333:6, 333:14, 333:21,         268:13, 268:16, 268:19,     337:22, 337:24, 338:3,
277:24, 278:1, 278:3,           334:17, 335:5, 335:15,         268:21, 268:23, 268:25,     338:5, 338:8, 338:12,
278:7, 278:9, 278:11,           335:16, 336:4, 336:5,          269:2, 269:7, 269:13,       338:16, 338:19, 338:22,
278:13, 278:16, 278:20,         336:16, 336:19, 341:20,        269:18, 269:23, 270:1,      339:1, 339:9, 339:12,
279:5, 279:11, 279:13,          342:6, 345:2, 345:4,           270:8, 270:16, 270:23,      339:23, 340:3, 340:6,
279:16, 280:1, 280:7,           345:23, 352:19, 353:5,         271:5, 271:17, 271:23,      340:10, 340:15, 340:18,
280:12, 280:18, 280:20,         353:10, 353:12, 353:18,        272:3, 272:10, 272:16,      340:23, 341:1, 341:3,
280:22, 280:25, 281:2,          353:20, 353:24, 354:16,        272:24, 273:15, 274:4,      341:8, 341:12, 341:16,
281:5, 281:7, 281:10,           354:20, 354:22, 356:21,        274:10, 274:24, 275:5,      341:18, 342:8, 342:11,
281:15, 281:21, 281:24,         356:24, 357:2, 357:4,          275:11, 275:17, 275:22,     342:15, 342:21, 343:3,
282:1, 282:3, 282:11,           358:6, 361:21, 361:24,         276:4, 276:11, 276:20,      343:7, 343:12, 343:14,
282:15, 282:19, 282:21,         362:2, 362:4, 362:5,           277:1, 277:6, 277:12,       343:22, 343:25, 344:4,
282:25, 283:2, 283:4,           362:20, 362:22, 363:7,         277:19, 277:25, 278:4,      344:13, 344:17, 345:3,
283:7, 283:13, 283:21,          363:19, 364:6, 364:20,         278:10, 278:14, 278:17,     345:6, 345:10, 345:13,
283:24, 284:1, 284:3,           365:21, 365:23, 368:5,         278:21, 279:6, 279:14,      345:15, 346:1, 346:4,
284:5, 284:7, 284:11,           368:17, 368:20, 368:23,        279:17, 280:2, 280:8,       346:9, 346:16, 346:21,
284:13, 284:17, 284:19,         369:17, 369:24, 370:10,        280:19, 280:23, 281:3,      347:5, 347:11, 347:20,
284:25, 285:5, 285:12,          370:13, 371:1, 371:5,          281:8, 281:11, 281:22,      348:2, 348:5, 348:8,
285:15, 285:19, 285:22,         371:7, 372:1, 372:3,           282:7, 282:12, 282:16,      348:10, 348:12, 348:15,
285:25, 286:4, 286:13,          372:12, 372:15, 372:21,        282:20, 282:22, 283:8,      348:18, 348:23, 349:1,
286:19, 286:22, 287:1,          373:4, 373:11, 373:16,         283:14, 283:25, 284:4,      349:4, 364:7, 364:21,
287:7, 287:12, 287:18,          373:22, 373:25, 375:8,         284:8, 284:14, 285:1,       376:22, 378:6, 383:12,
 2:18-cr-00012-cr               Document 201             Filed 01/25/21            Page 236 of 247                            20



 391:1, 392:4, 392:8,              384:6, 387:1, 387:3, 390:4,      278:11, 278:13, 278:16,         310:1, 310:23, 314:11,
 392:10, 392:18, 392:21,           432:8                            278:20, 278:24, 279:5,          314:17, 328:10, 331:2,
 393:20, 394:19, 398:1,          needed [4] - 255:6, 348:7,         279:11, 279:13, 279:16,         337:25, 339:1, 339:23,
 405:5, 408:25, 409:22,            446:7                            280:1, 280:7, 280:12,           346:25, 349:4, 360:10,
 415:3, 417:12, 420:8,           needs [3] - 405:14, 427:22,        280:18, 280:20, 280:22,         375:18, 376:1, 404:6,
 425:6, 425:12, 425:20,            427:23                           280:25, 281:2, 281:5,           404:9, 404:10, 404:11,
 426:8, 427:9, 427:11,           negotiable [1] - 448:17            281:7, 281:10, 281:21,          406:24, 407:1, 408:1,
 430:4, 430:6, 432:15,           net [1] - 410:11                   281:24, 282:1, 282:3,           417:25, 418:1
 440:20, 441:11, 442:17,         Network [1] - 243:24               282:11, 282:15, 282:19,       nights [1] - 278:24
 445:10, 445:13, 446:11,         never [21] - 266:21, 277:1,        282:21, 282:25, 283:2,        nine [5] - 329:4, 360:9,
 448:6, 449:1, 449:8               283:18, 298:11, 315:20,          283:4, 283:7, 283:13,           363:16, 407:23, 408:2
MSISDN [2] - 320:20, 320:24        332:15, 369:9, 369:11,           283:21, 283:24, 284:1,        nine-year-old [1] - 407:23
MT [2] - 244:17, 244:21            398:12, 403:21, 406:13,          284:3, 284:5, 284:7,          nipple [1] - 351:5
multiple [1] - 402:2               412:3, 413:2, 419:12,            284:11, 284:13, 284:17,       nipples [2] - 315:3, 351:20
muscle [1] - 241:6                 420:22, 423:20, 424:10,          284:25, 285:5, 285:12,        NO [1] - 348:25
must [8] - 239:5, 239:7,           425:1, 425:9, 425:18, 428:1      285:15, 285:19, 285:22,       nobody [2] - 329:21, 389:15
 379:18, 386:22, 387:9,          new [3] - 241:5, 241:13, 446:4     285:25, 286:4, 286:13,        non [3] - 257:11, 439:24,
 387:11, 387:20, 395:6           next [278] - 244:14, 257:14,       286:19, 286:22, 287:1,          444:5
                                   257:23, 258:5, 258:9,            287:7, 287:12, 287:18,        non-Elisha [2] - 439:24, 444:5
               N                   258:17, 258:18, 258:25,          288:5, 288:8, 288:13,         non-smoker [1] - 257:11
                                   259:1, 259:5, 259:7,             288:17, 288:22, 289:1,        none [4] - 368:3, 368:4,
nails [1] - 346:14                                                  289:10, 289:15, 289:20,
                                   259:12, 259:15, 259:19,                                          371:16, 371:17
naked [17] - 261:15, 271:20,                                        289:25, 290:10, 290:13,
                                   259:25, 260:10, 260:13,                                        normalized [1] - 383:19
  271:23, 273:3, 282:18,                                            290:17, 290:21, 291:6,
                                   260:21, 261:1, 261:3,                                          normalizing [2] - 384:2, 384:9
  324:24, 326:17, 326:22,                                           291:9, 291:17, 291:21,
                                   261:5, 261:10, 261:12,                                         normally [2] - 324:24, 397:21
  326:24, 327:18, 327:19,                                           291:25, 292:6, 292:16,
                                   261:17, 261:20, 262:1,                                         north [2] - 264:6, 313:1
  327:25, 328:1, 388:22,                                            292:17, 294:22, 295:2,
                                   262:6, 262:10, 262:17,                                         Northeastern [1] - 300:23
  407:16, 429:24                                                    295:11, 295:18, 295:20,
                                   262:18, 262:20, 263:4,                                         northern [1] - 423:21
name [37] - 243:25, 253:15,                                         296:2, 299:13, 308:24,
                                   263:24, 264:2, 264:4,                                          Northwestern [1] - 305:12
  261:24, 264:10, 264:16,                                           310:19, 310:20, 312:6,
                                   264:12, 264:15, 264:23,                                        NOT [1] - 348:25
  299:17, 303:11, 308:5,                                            312:10, 312:22, 313:15,
                                   265:5, 265:12, 265:20,                                         note [5] - 280:14, 281:16,
  309:10, 310:16, 311:1,                                            314:23, 315:11, 319:10,
                                   265:23, 265:25, 266:7,                                           322:17, 369:24, 380:6
  311:11, 313:25, 314:2,                                            319:11, 321:22, 322:5,
                                   266:9, 266:11, 266:16,                                         nothing [11] - 253:3, 299:7,
  317:10, 317:11, 317:13,                                           322:19, 323:2, 323:25,
                                   266:19, 266:23, 267:1,                                           306:23, 328:1, 328:2,
  318:5, 318:6, 318:7, 319:9,                                       324:1, 324:2, 324:7,
                                   267:3, 267:5, 267:8,                                             347:12, 347:16, 372:12,
  319:11, 321:1, 325:12,                                            324:11, 324:12, 324:21,
                                   267:11, 267:13, 267:16,                                          377:3, 390:17, 430:2
  325:19, 326:1, 326:8,                                             324:24, 325:3, 326:19,
                                   267:24, 268:7, 268:9,
  357:12, 362:9, 362:10,                                                                          notice [10] - 237:14, 237:15,
                                   268:12, 268:15, 268:18,          327:1, 327:21, 328:3,
  369:14, 391:8, 391:15,                                                                            238:15, 239:11, 353:7,
                                   268:20, 268:22, 268:24,          328:17, 329:5, 329:13,
  402:14                                                                                            353:13, 354:2, 354:14,
                                   269:1, 269:6, 269:12,            329:18, 329:22, 330:4,
named [1] - 298:9                                                                                   378:10, 379:9
                                   269:17, 269:20, 269:22,          330:10, 330:11, 330:14,
names [4] - 324:17, 325:2,                                          330:24, 331:6, 331:11,        November [4] - 237:1,
                                   269:25, 270:5, 270:7,
  325:10                                                            331:16, 331:25, 332:4,          294:10, 357:18, 397:1
                                   270:13, 270:14, 270:15,
nap [1] - 337:23                                                    332:14, 332:24, 333:6,        nowhere [3] - 332:7, 332:8,
                                   270:20, 270:22, 271:4,
narcotics [1] - 300:18                                              333:14, 333:21, 334:21,         332:10
                                   271:10, 271:16, 271:19,
nature [3] - 401:21, 404:15,                                        339:4, 339:6, 339:20,         nude [1] - 351:5
                                   271:22, 271:24, 272:2,
  404:16                                                            340:25, 342:3, 344:23,        number [78] - 237:5, 240:7,
                                   272:7, 272:9, 272:13,
naughty [6] - 272:10, 272:14,                                       344:24, 376:21, 390:1,          244:2, 244:8, 244:10,
                                   272:15, 272:20, 272:23,
  322:15, 338:13, 339:9,                                            397:5, 408:5                    244:12, 245:7, 245:8,
                                   273:3, 273:11, 273:14,
  410:17                                                          nice [8] - 257:16, 264:16,        245:9, 245:12, 245:15,
                                   273:25, 274:3, 274:7,
near [1] - 408:4                                                    270:8, 307:4, 313:7, 346:9,     245:16, 245:17, 245:19,
                                   274:9, 274:19, 274:23,
necessarily [4] - 308:15,                                           348:20, 351:6                   246:6, 246:18, 246:22,
                                   275:2, 275:4, 275:7,
  380:16, 382:8, 444:19                                           nicely [2] - 277:14, 369:5        246:24, 247:2, 247:8,
                                   275:10, 275:14, 275:16,
necessary [1] - 364:8                                             niece [1] - 310:11                247:12, 248:2, 248:16,
                                   275:19, 275:21, 276:1,
neck [1] - 351:21                                                 night [43] - 252:24, 257:13,      249:9, 249:14, 249:17,
                                   276:3, 276:8, 276:10,
need [22] - 238:5, 245:24,                                                                          249:18, 249:20, 260:14,
                                   276:19, 276:21, 276:23,          258:13, 258:21, 260:11,
  255:18, 282:17, 291:23,                                                                           261:23, 263:5, 265:16,
                                   276:25, 277:3, 277:5,            260:22, 262:15, 262:25,
  295:9, 298:13, 303:21,                                                                            266:24, 294:5, 296:11,
                                   277:9, 277:11, 277:16,           264:5, 264:21, 264:24,
  306:20, 314:25, 327:24,                                                                           297:12, 311:17, 316:21,
                                   277:18, 277:22, 277:24,          265:17, 265:18, 267:10,
  338:19, 338:23, 343:8,                                                                            317:16, 318:16, 319:8,
                                   278:1, 278:3, 278:7, 278:9,      269:9, 269:10, 270:10,
  345:16, 367:25, 370:24,                                                                           319:10, 319:11, 319:13,
                                                                    279:15, 287:20, 289:4,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21           Page 237 of 247                               21



  320:16, 320:21, 320:22,         objective [1] - 384:10             331:2, 339:20, 342:3,         originally [2] - 404:1, 404:2
  323:18, 323:20, 323:22,         objects [1] - 403:14               342:11, 344:24, 346:13,       Originating [1] - 244:8
  326:12, 352:8, 352:10,          observing [1] - 388:2              349:13, 349:22, 351:5,        originating [1] - 249:17
  352:14, 352:20, 352:22,         obsessed [1] - 273:5               352:17, 353:12, 360:9,        originator [1] - 244:20
  361:6, 361:11, 366:2,           obsolete [1] - 403:3               360:10, 366:16, 368:14,       otherwise [2] - 426:17, 428:3
  366:13, 367:10, 372:7,          obtain [1] - 302:25                369:13, 370:15, 372:9,        Outgoing [1] - 318:23
  375:3, 402:3, 404:18,           obvious [1] - 244:4                372:10, 379:1, 379:7,         outgoing [6] - 249:24,
  406:18, 407:7, 408:18,          obviously [5] - 347:9, 409:14,     379:16, 381:10, 381:25,         349:17, 349:18, 350:12,
  416:1, 416:5, 417:10,              443:1, 444:16, 446:24           387:20, 388:11, 393:15,         350:25, 351:15
  419:22, 422:8, 428:24,          occasion [1] - 382:20              394:11, 397:5, 399:19,        outside [5] - 240:14, 440:6,
  430:10, 432:19                  occasions [1] - 428:19             401:13, 406:5, 407:24,          442:12, 442:22, 443:12
numbers [3] - 308:18, 317:17,     occur [1] - 411:18                 409:22, 409:24, 414:1,        overly [2] - 440:14, 446:18
  319:7                           occurred [2] - 307:25, 387:21      417:22, 422:14, 424:8,        own [9] - 293:9, 301:23,
numerous [4] - 294:16,            occurring [1] - 295:17             426:12, 428:8, 431:20,          378:17, 391:20, 400:4,
  298:11, 400:15, 420:20                                             431:25, 432:1, 432:13           402:23, 403:22, 412:11
                                  October [2] - 292:13, 362:13
nurturing [1] - 306:5                                              ones [5] - 244:6, 346:14,
                                  offend [1] - 268:19
nutured [1] - 315:16                                                 367:19, 367:20, 367:22
                                  offense [1] - 238:24
                                                                   online [4] - 254:23, 301:19,
                                                                                                                  P
                                  offenses [2] - 254:14, 301:14                                    Pacific [1] - 305:19
               O                                                     301:23, 302:2
                                  offer [6] - 238:25, 343:9,                                       page [40] - 243:15, 244:7,
                                                                   open [30] - 237:2, 240:4,
o'clock [3] - 252:24, 252:25,        379:2, 379:3, 379:24,                                           246:4, 247:23, 248:17,
                                                                     255:22, 255:23, 293:7,
   416:22                            406:11                                                          249:6, 250:5, 250:13,
                                                                     293:14, 293:22, 307:5,
O'Leary [39] - 238:11, 255:12,    offered [3] - 335:19, 364:10,                                      257:23, 258:18, 259:1,
                                                                     312:14, 335:12, 335:24,
   299:15, 299:18, 300:1,            364:13                                                          259:12, 259:15, 259:20,
                                                                     336:9, 364:22, 371:6,
   303:10, 305:3, 310:16,         offers [5] - 242:7, 248:24,                                        259:25, 266:7, 266:11,
                                                                     375:7, 377:8, 378:20,
   312:9, 314:12, 314:15,            304:17, 356:21, 361:21                                          288:5, 288:8, 291:6, 291:9,
                                                                     390:12, 390:20, 395:13,
   315:7, 316:22, 317:8,          office [5] - 254:3, 254:6,                                         291:17, 292:16, 295:20,
                                                                     395:18, 399:10, 399:14,
   320:8, 320:10, 320:20,            254:8, 279:14, 303:6                                            312:6, 352:16, 357:5,
                                                                     413:14, 414:19, 438:22,
   321:13, 322:17, 329:1,         Office [1] - 301:20                                                358:7, 358:14, 362:25,
                                                                     442:5, 443:16, 446:1, 446:9
   334:18, 336:13, 336:19,        officer [6] - 242:20, 247:15,                                      372:18, 372:19, 374:9,
                                                                   open-minded [2] - 399:10,
   337:3, 341:23, 344:20,            313:5, 357:25, 424:20,                                          374:16, 375:10, 375:22,
                                                                     399:14
   345:19, 347:23, 349:7,            424:24                                                          380:6, 412:18, 419:5, 448:7
                                                                   opened [5] - 441:21, 444:15,
   349:10, 352:2, 352:22,         officers [1] - 425:2                                             pain [1] - 241:6
                                                                     444:25, 445:14, 446:12
   359:16, 361:1, 362:6,          often [1] - 332:3                                                painted [1] - 348:4
                                                                   opening [2] - 356:9, 392:11
   365:24, 373:5, 373:17,         old [18] - 261:8, 306:12,                                        paragraph [2] - 417:25,
                                                                   openness [2] - 273:5, 413:25
   375:13                            307:5, 350:15, 355:11,                                          448:12
                                                                   operating [1] - 396:9
O'LEARY [1] - 299:19                 355:15, 356:1, 356:2,                                         parameters [1] - 434:4
                                                                   operator [1] - 396:3
oath [2] - 336:14, 447:9             362:17, 362:19, 407:9,                                        parent [3] - 405:14, 412:12,
                                                                   opining [2] - 434:7, 447:25
object [3] - 356:9, 442:2,           407:23, 407:25, 416:24,                                         423:2
                                                                   opinion [1] - 420:22
   444:3                             421:24, 433:3                                                 park [2] - 316:3, 333:19
                                                                   opportunity [4] - 365:15,
objected [3] - 374:25, 394:16,    old-fashioned [1] - 421:24                                       part [26] - 243:7, 248:25,
                                                                     396:4, 442:2, 444:2
   395:15                         Older [2] - 305:21, 434:23                                         251:12, 256:5, 294:13,
                                                                   oppose [1] - 443:20
objection [52] - 242:9,           older [12] - 306:21, 306:23,                                       302:17, 337:3, 355:6,
                                                                   opposed [4] - 335:21, 379:18,
   242:10, 243:9, 245:22,            309:12, 309:19, 342:17,                                         355:13, 356:8, 357:9,
                                                                     420:12, 443:10
   246:19, 246:23, 247:4,            359:21, 363:4, 369:6,                                           358:11, 369:9, 379:13,
                                                                   option [4] - 260:6, 405:23,
   249:2, 304:19, 320:4,             433:6, 433:11, 435:5, 435:7                                     384:25, 388:17, 395:4,
                                                                     406:7, 411:21
   353:9, 356:23, 356:24,         Olive [1] - 422:19                                                 395:5, 401:1, 403:16,
                                                                   oral [3] - 388:13, 433:17
   361:23, 361:24, 368:5,         omg [1] - 271:11                                                   417:25, 420:19, 421:18,
   368:19, 368:20, 369:17,                                         oral-anal [1] - 433:17
                                  OMG [1] - 271:13                                                   436:10, 438:18, 446:24
   370:23, 372:1, 372:21,                                          oral-genital [1] - 433:17
                                  once [6] - 260:23, 340:22,                                       participate [1] - 384:20
   392:4, 392:8, 393:11,                                           orange [5] - 333:18, 334:3,
                                     341:14, 385:20, 395:3,                                        particular [9] - 239:17,
   393:18, 394:7, 394:15,                                            358:24, 359:15, 360:1
                                     407:2                                                           251:14, 370:14, 372:5,
   394:17, 398:1, 398:3,                                           Orange [6] - 312:5, 312:10,
                                  one [74] - 240:19, 244:6,                                          375:1, 378:12, 389:7,
   405:5, 408:25, 409:22,                                            316:18, 317:23, 321:4,
                                     244:12, 248:5, 248:7,                                           441:10, 445:5
   415:3, 420:8, 420:11,                                             359:1
                                     248:9, 260:3, 261:3, 263:8,                                   particularly [2] - 446:6, 449:2
   425:6, 425:12, 425:20,            264:7, 275:11, 284:19,        Order [1] - 307:21
                                                                                                   parties [3] - 379:21, 380:7,
   425:21, 426:8, 427:9,             292:10, 296:20, 299:5,        order [6] - 307:22, 318:17,
                                                                                                     380:10
   434:1, 437:21, 440:1,             303:9, 315:21, 316:25,          362:25, 386:22, 420:24,
                                                                                                   parties' [1] - 354:13
   440:3, 440:4, 440:11,             317:13, 317:14, 317:25,         442:21
                                                                                                   party [1] - 284:18
   442:15, 444:7, 448:4              318:9, 323:2, 324:18,         orders [1] - 443:3
                                                                                                   pass [1] - 327:8
objection's [1] - 370:8              324:19, 325:3, 330:11,        ordinary [1] - 387:18
 2:18-cr-00012-cr               Document 201              Filed 01/25/21            Page 238 of 247                              22



passed [2] - 360:8, 376:2        personals [2] - 305:16, 436:5     pick [2] - 257:19, 264:7         PO [1] - 333:25
passes [1] - 308:14              persons [2] - 355:24, 356:5       picked [2] - 415:21, 418:24      point [45] - 238:4, 238:14,
passionate [1] - 273:22          perspective [9] - 237:17,         picks [1] - 329:5                  255:13, 290:5, 292:22,
passions [1] - 355:9               398:19, 400:2, 400:4,           pics [4] - 310:3, 312:24,          332:2, 335:4, 340:13,
past [5] - 306:13, 353:20,         410:6, 420:11, 426:24,            322:14, 351:4                    363:20, 364:4, 365:20,
  369:8, 398:7, 428:8              429:16, 447:1                   picture [13] - 239:2, 273:2,       370:24, 376:24, 380:24,
path [1] - 413:2                 perspectives [1] - 400:18           288:2, 291:5, 291:15,            381:19, 389:7, 396:22,
pattern [1] - 385:7              persuade [15] - 381:6,              292:15, 345:9, 404:7,            402:16, 402:18, 407:23,
pause [5] - 263:8, 314:12,         381:13, 382:16, 382:25,           404:8, 438:12, 438:15,           410:5, 411:14, 411:23,
  318:1, 322:4, 334:17             383:4, 383:8, 384:19,             438:24, 439:15                   412:13, 413:3, 418:9,
pay [2] - 260:5, 406:6             385:19, 386:7, 386:20,          pictures [5] - 312:19, 346:19,     418:15, 420:5, 420:13,
paying [2] - 396:12, 441:9         386:24, 387:8, 387:16,            439:5, 440:12, 444:18            420:15, 421:23, 422:4,
pedophile [14] - 311:22,           387:22, 389:10                  piece [2] - 369:10, 414:2          422:14, 423:25, 424:21,
  358:18, 360:4, 360:5,          persuaded [2] - 384:15, 387:1     pieces [1] - 395:22                427:2, 428:19, 429:12,
  371:21, 373:6, 373:7,          persuading [3] - 340:22,          pink [1] - 351:20                  432:23, 437:15, 439:8,
  373:12, 373:18, 374:2,           384:18, 385:8                   pins [1] - 274:16                  441:10, 441:17, 444:23,
  374:13, 375:16, 375:20,        pertain [1] - 364:13              pissed [1] - 347:6                 448:5
  376:9                          perv [3] - 306:3, 311:22,         pizza [1] - 422:19               pointed [2] - 426:19, 447:22
pee [2] - 276:22, 277:2            376:8                           place [9] - 260:3, 316:3,        pointing [1] - 364:1
peer [2] - 254:23                petite [1] - 309:12                 326:16, 395:24, 406:4,         police [6] - 313:5, 313:9,
peer-to-peer [1] - 254:23        petting [2] - 351:19, 389:6         408:19, 416:11, 416:14,          424:2, 424:20, 425:2
pending [2] - 432:11, 444:4      phone [58] - 242:6, 242:17,         444:13                         political [1] - 401:1
penis [7] - 356:6, 356:7,          242:25, 244:8, 244:10,          placed [2] - 255:7, 255:8        pony [1] - 346:20
  438:13, 438:15, 438:20           244:12, 245:9, 245:17,          places [2] - 277:14, 328:12      pool [1] - 264:7
people [23] - 276:22, 312:14,      247:18, 247:19, 249:13,         placing [1] - 255:5              poor [1] - 446:6
  326:22, 372:5, 373:17,           250:19, 251:2, 251:16,          plain [1] - 387:17               porn [4] - 439:19, 439:20,
  375:1, 398:17, 399:22,           252:11, 302:18, 302:21,         plan [5] - 264:21, 365:15,         439:21, 439:22
  399:23, 400:3, 400:5,            302:22, 302:24, 303:1,            373:6, 388:17, 448:15          pornography [13] - 385:11,
  400:8, 400:13, 400:16,           303:3, 303:5, 304:5, 308:6,     planning [2] - 364:3, 437:23       439:17, 441:1, 441:18,
  412:3, 422:2, 428:20,            317:15, 317:18, 318:23,         plans [1] - 264:24                 444:22, 445:6, 445:8,
  436:18, 436:21, 437:1,           319:13, 320:16, 320:21,         Plattsburgh [4] - 428:5,           445:23, 447:5, 447:23,
  437:19, 438:20, 439:4            320:22, 322:2, 323:21,            428:7, 428:16, 428:22            448:1, 448:2, 448:10
people's [1] - 417:7               332:17, 352:5, 352:8,           play [17] - 259:9, 259:21,       portion [2] - 298:20, 317:1
per [1] - 396:15                   353:3, 353:4, 354:11,             260:4, 260:23, 261:14,         portions [2] - 369:25, 431:4
perfect [3] - 328:19, 375:10,      358:12, 358:18, 358:22,           264:8, 280:24, 281:1,          position [10] - 255:13, 300:9,
  390:10                           359:14, 361:6, 361:11,            281:22, 289:12, 292:3,           300:12, 381:6, 382:5,
performing [1] - 388:13            376:2, 377:20, 378:13,            374:4, 405:10, 405:19,           382:11, 384:17, 397:13,
period [2] - 284:10, 428:18        440:2, 441:2, 441:9,              406:5, 407:2, 407:15             397:14
permissible [1] - 426:14           441:15, 441:19, 444:7,          playing [3] - 240:23, 263:1,     positions [1] - 397:9
persisted [1] - 440:25             444:18, 445:25, 448:10            283:10                         positive [2] - 241:3, 414:11
person [38] - 256:6, 256:13,     photo [2] - 310:22, 311:9         pleading [1] - 382:24            possession [2] - 302:18,
  256:18, 256:19, 257:4,         photograph [14] - 242:5,          PLEASE [1] - 282:20                445:8
  268:3, 308:14, 318:13,           257:25, 310:20, 311:12,         pleasing [1] - 257:17            possibly [1] - 369:6
  349:25, 355:5, 355:9,            313:15, 313:21, 313:24,         pleasure [1] - 257:16            post [10] - 298:5, 298:10,
  355:10, 355:14, 355:22,          317:19, 318:3, 323:13,                                             309:20, 366:20, 402:9,
                                                                   plenty [2] - 238:1, 261:18
  356:1, 361:3, 361:8,             323:15, 324:25, 325:18,                                            402:10, 403:5, 403:23,
                                                                   plexiglass [1] - 255:19
  365:19, 383:8, 386:21,           325:24                                                             428:8, 434:15
                                                                   plus [1] - 395:21
  387:11, 388:11, 400:6,         photographs [6] - 317:14,                                          postal [1] - 298:24
                                                                   pluses [1] - 400:6
  402:10, 402:12, 403:18,          324:15, 325:9, 326:7,                                            postdated [1] - 251:2
                                                                   PM [33] - 248:10, 258:11,
  410:7, 411:17, 415:21,           361:5, 361:9                                                     posted [20] - 273:2, 298:5,
                                                                     259:24, 284:23, 286:11,
  416:19, 425:11, 426:20,        photos [1] - 447:18                                                  350:15, 366:5, 367:14,
                                                                     287:25, 290:8, 291:3,
  427:18, 431:1, 431:5,          phrased [2] - 409:1, 448:3                                           398:7, 398:12, 398:22,
                                                                     294:10, 295:23, 296:4,
  433:21, 435:1, 435:2           physical [2] - 308:2, 427:25                                         398:25, 400:14, 401:23,
                                                                     296:8, 296:14, 305:18,
Person [1] - 389:4               physically [2] - 312:12,            308:21, 334:20, 334:23,          402:6, 402:21, 402:22,
person's [2] - 356:9, 385:20       312:13                            335:24, 336:10, 339:7,           404:7, 404:16, 426:4,
personal [4] - 395:3, 416:23,    pic [15] - 260:8, 265:8, 265:9,     339:20, 344:24, 350:4,           434:18, 439:14
  425:22, 435:20                   282:18, 307:8, 307:9,             358:17, 358:23, 375:15,        poster [3] - 297:24, 305:5,
personality [4] - 307:4,           311:25, 323:24, 339:24,           377:8, 378:20, 390:12,           305:6
  365:10, 399:12, 411:4            340:13, 376:11, 431:21,           390:21, 417:15, 443:16,        posting [21] - 298:6, 298:8,
personally [1] - 419:23            432:3, 432:22, 439:1              449:13                           298:25, 305:1, 305:7,
 2:18-cr-00012-cr                Document 201             Filed 01/25/21            Page 239 of 247                              23



  305:8, 305:19, 305:20,          producing [1] - 397:20             365:13, 365:14, 365:17,           271:3, 271:9, 272:6,
  305:21, 305:24, 306:1,          product [1] - 401:19               377:17, 378:1, 398:4              272:19, 273:10, 273:23,
  308:13, 371:14, 398:15,         profession [1] - 446:2           pursuant [3] - 353:25, 354:13,      276:18, 278:19, 279:4,
  400:8, 402:23, 415:1,           professional [1] - 369:4           381:4                             279:10, 279:25, 280:6,
  415:7, 415:20, 428:22,          proffer [1] - 372:25             pursued [1] - 425:18                280:11, 281:18, 282:24,
  435:15                          proffered [1] - 386:15           purview [1] - 300:16                285:4, 285:11, 285:18,
postings [3] - 368:9, 371:12,     Program [1] - 301:6              pushing [1] - 410:8                 285:24, 286:3, 286:8,
  400:15                          program [1] - 396:14             pussy [17] - 263:6, 265:8,          286:18, 286:21, 286:25,
posts [10] - 366:10, 366:11,      prohibits [1] - 435:20             273:8, 274:1, 274:13,             287:6, 287:11, 287:17,
  366:13, 366:16, 366:19,         prolong [1] - 410:15               277:20, 279:8, 279:22,            287:23, 288:12, 288:16,
  367:10, 368:2, 368:14,          promise [3] - 282:13, 342:21,      290:23, 327:15, 340:12,           288:21, 288:25, 289:6,
  401:21, 428:8                     443:4                            340:20, 388:14, 389:2,            289:14, 289:19, 289:24,
potential [4] - 300:14, 301:6,    promoted [1] - 397:13              432:3, 432:22, 439:1              290:5, 290:12, 290:16,
  302:16, 447:21                  propensity [1] - 365:11          pussys [1] - 276:5                  290:20, 290:25, 291:12,
pounds [2] - 257:11, 309:14                                        put [22] - 243:14, 246:4,           291:24, 292:5, 292:9,
                                  proportioned [1] - 369:6
power [1] - 443:2                                                    250:13, 303:18, 340:9,            292:21, 293:16, 293:25,
                                  propose [2] - 377:9, 448:17
precisely [1] - 446:14                                               343:4, 349:1, 366:10,             294:21, 295:10, 310:2,
                                  proposed [1] - 388:10
preentered [1] - 251:11                                              366:13, 367:4, 367:11,            310:6, 310:7, 312:4, 314:9,
                                  proposes [1] - 388:13
prefer [1] - 322:2                                                   369:14, 369:19, 379:15,           315:6, 319:11, 319:13,
                                  prosecution [2] - 239:5,
preferably [1] - 312:13                                              392:13, 397:7, 407:24,            336:1, 336:12, 350:5,
                                    302:16
preference [4] - 379:5, 379:8,                                       416:12, 421:13, 428:21,           350:17, 355:1, 357:13,
                                  prosecutor [1] - 370:20
  448:24                                                             438:17, 440:7                     376:15, 378:22, 390:14,
                                  prosecutors [1] - 353:20
preferred [1] - 306:15                                             puts [2] - 374:4, 448:22            390:23, 391:6, 391:9,
                                  protect [2] - 310:11, 443:5
pregnant [2] - 284:9, 436:22                                       putting [1] - 371:3                 391:17, 416:16, 417:2
                                  proud [1] - 438:17
prejudicial [2] - 440:15,                                                                           RANDY [1] - 391:10
                                  prove [5] - 386:22, 387:1,
                                                                                                    range [3] - 357:14, 403:1
  446:18                            387:3, 387:10, 387:20                         Q
premature [1] - 370:8                                                                               ranks [1] - 397:12
                                  proven [1] - 387:15              qualifies [1] - 338:12
preparation [1] - 365:15                                                                            rape [2] - 433:19, 433:23
                                  provide [2] - 353:16, 447:4      quarantine [1] - 241:10
preppy [1] - 346:13                                                                                 rather [7] - 238:2, 262:23,
                                  provided [5] - 242:25, 319:13,   questioned [1] - 354:5
presence [1] - 442:12                                                                                  316:25, 342:10, 358:15,
                                    320:16, 367:23, 368:15         questioning [2] - 441:21,
present [16] - 237:3, 237:8,                                                                           372:17, 408:8
                                  provider [3] - 243:18, 243:23,     447:24
  239:2, 240:5, 255:2,                                                                              rational [2] - 388:18, 389:8
                                    244:1                          questions [16] - 240:25,
  293:14, 293:23, 335:24,                                                                           Raymond [1] - 302:22
                                  provides [3] - 355:4, 355:21,      252:5, 307:9, 321:16,
  336:10, 378:20, 380:25,                                                                           Re [3] - 350:13, 351:1, 351:16
                                    356:4                            347:2, 362:23, 363:19,
  382:8, 390:12, 390:21,                                                                            reach [2] - 344:7, 447:25
                                  providing [1] - 374:6              370:2, 374:16, 376:16,
  410:2, 434:14                                                                                     reacting [2] - 347:13, 429:20
                                  public [1] - 416:13                377:17, 377:19, 395:13,
presented [3] - 396:4, 413:17,                                                                      reaction [6] - 426:5, 426:11,
                                  publish [11] - 249:5, 250:5,       434:8, 443:13, 447:3
  418:11                                                                                               426:12, 426:13, 426:15,
                                    297:21, 304:23, 311:5,         quite [4] - 309:21, 340:15,
pretrial [1] - 440:19                                                                                  426:16
                                    319:18, 321:10, 357:2,           418:16, 445:13
pretty [6] - 244:4, 301:10,                                                                         read [70] - 238:12, 238:24,
                                    362:2, 375:9, 434:14           quote [2] - 432:7, 432:21
  310:8, 385:22, 417:20,                                                                               240:15, 256:9, 256:12,
                                  published [3] - 242:13,
  420:7                                                                                                257:3, 257:25, 260:15,
                                    243:12, 364:11                                R
previous [5] - 313:21, 314:2,                                                                          263:16, 263:19, 263:20,
                                  puffing [1] - 385:1
  321:12, 402:12, 422:13                                           rain [1] - 257:14                   263:22, 266:12, 294:12,
                                  pull [20] - 243:3, 255:16,
previously [10] - 243:8,                                           raise [8] - 237:22, 240:20,         298:8, 306:1, 309:4, 309:6,
                                    257:23, 265:16, 296:23,
  246:25, 248:25, 304:12,                                             240:25, 253:14, 256:22,          309:10, 310:16, 310:25,
                                    307:13, 313:17, 316:10,
  319:16, 319:23, 319:25,                                             299:16, 375:5, 391:7             311:9, 314:2, 321:13,
                                    317:6, 323:9, 325:6,
  356:15, 361:14, 361:22                                           raised [4] - 241:3, 241:8,          321:14, 324:16, 325:1,
                                    325:21, 326:3, 333:18,
primarily [1] - 300:18                                                241:10, 241:12                   325:10, 325:12, 326:13,
                                    336:17, 349:8, 351:25,
primary [2] - 255:12, 419:2                                        raising [2] - 238:20, 363:25        330:24, 331:25, 350:1,
                                    353:18, 358:6, 372:16
                                                                   ran [2] - 395:8                     350:7, 350:8, 350:18,
private [1] - 326:16              pulled [1] - 334:4
                                                                   Randy [99] - 237:6, 240:8,          351:9, 353:7, 353:13,
privilege [1] - 389:16            pulling [1] - 420:21
                                                                      256:5, 257:21, 258:16,           353:15, 353:16, 353:17,
problems [1] - 347:16             pump [5] - 274:13, 274:17,
                                                                      258:24, 259:11, 259:14,          353:21, 353:23, 354:17,
proceed [4] - 241:15, 294:3,        279:22, 340:20, 340:23
                                                                      259:18, 260:9, 260:20,           354:20, 355:13, 358:14,
  336:15, 426:14                  punch [2] - 346:7, 346:8
                                                                      261:24, 262:16, 263:3,           363:3, 363:9, 368:24,
proceeding [1] - 367:7            puppies [2] - 310:13
                                                                      263:12, 264:11, 265:10,          368:25, 371:7, 375:13,
proceedings [2] - 443:6,          puppy [2] - 313:11, 314:7
                                                                      265:19, 266:6, 268:6,            376:5, 379:13, 379:19,
  449:18                          purport [1] - 296:15
                                                                      269:5, 269:11, 269:16,           380:24, 381:9, 393:5,
process [1] - 422:11              purpose [8] - 364:18, 365:4,
                                                                      270:4, 270:12, 270:19,           393:19, 393:24, 394:1,
processing [1] - 397:3
  2:18-cr-00012-cr                 Document 201              Filed 01/25/21           Page 240 of 247                              24



  402:13, 413:21, 421:9,               301:22, 301:25, 302:22,          419:4, 419:14, 421:24,          393:24
  426:23, 426:24, 429:15,              304:22, 309:5, 320:7,            423:4, 423:19, 424:10,        reports [4] - 302:12, 302:14,
  448:18                               357:1, 362:1, 368:22,            443:1                           366:2, 367:1
read-back [2] - 393:19,                403:22                        regarding [3] - 237:13,          representative [1] - 248:7
  393:24                            receiver [1] - 318:18               356:12, 379:7                 represented [1] - 354:17
readily [1] - 354:4                 recently [1] - 395:11            regretted [1] - 298:12           representing [3] - 237:6,
reading [24] - 246:21, 256:11,      receptive [2] - 411:17, 421:6    regularly [3] - 436:4, 436:17,     240:8, 240:10
  258:10, 309:8, 310:19,            recess [5] - 293:13, 335:23,        437:19                        repulsive [1] - 414:12
  312:9, 314:13, 321:20,               378:19, 390:11, 449:13        relate [2] - 245:7, 318:4        request [4] - 353:6, 354:14,
  322:21, 323:17, 329:7,            recipient [2] - 307:24, 349:16   related [5] - 240:18, 241:11,      385:10
  337:2, 337:3, 337:4, 339:8,       recognize [15] - 242:1,             245:8, 257:25, 301:9          requested [2] - 256:14,
  339:22, 342:5, 345:2,                242:22, 246:1, 246:14,        relating [1] - 301:23              429:22
  345:23, 348:1, 350:11,               248:20, 250:4, 250:7,         relation [1] - 308:12            requests [3] - 354:1, 442:20
  355:19, 370:17                       250:15, 298:3, 317:8,         relationship [22] - 306:6,       requires [2] - 237:16, 238:23
reads [5] - 314:16, 317:2,             320:13, 323:10, 352:1,           366:17, 371:9, 381:21,        reread [1] - 418:22
  350:14, 351:17, 380:7                358:8, 361:16                    382:16, 385:3, 385:9,         research [4] - 240:15, 379:16,
ready [5] - 327:8, 339:12,          recollection [4] - 246:24,          386:8, 399:2, 399:5,            379:22, 442:22
  346:7, 346:8, 386:2                  247:7, 247:11, 368:7             399:20, 404:24, 405:12,       reserved [1] - 440:22
real [7] - 261:24, 266:2, 307:3,    record [52] - 247:21, 248:23,       411:1, 411:6, 418:16,         Reservoir [3] - 316:18,
  342:15, 347:15, 409:7,               253:15, 293:15, 293:24,          420:4, 437:24, 438:24,          317:23, 321:4
  425:11                               298:22, 299:17, 303:10,          446:20, 446:23                reservoir [2] - 359:14, 360:1
reality [1] - 388:7                    305:5, 305:17, 317:7,         relatively [1] - 410:12          Resident [1] - 254:3
realized [1] - 418:22                  317:10, 317:11, 318:8,        relevance [5] - 392:4, 398:1,    resist [1] - 327:18
really [62] - 237:21, 239:9,           320:20, 335:25, 336:11,          398:2, 425:12, 437:21         resourced [1] - 397:7
  259:16, 261:14, 261:15,              350:8, 352:11, 352:19,        relevant [4] - 394:20, 440:15,   respect [7] - 307:6, 371:12,
  261:21, 262:11, 262:12,              352:21, 353:7, 353:14,           444:23, 445:18                  382:11, 383:5, 383:17,
  262:24, 264:8, 265:7,                353:21, 353:23, 354:18,       remain [4] - 306:15, 335:10,       384:15, 445:21
  268:13, 269:23, 273:4,               374:8, 378:21, 379:13,           377:6, 377:18                 respectfully [1] - 354:1
  273:17, 273:20, 278:15,              379:15, 379:20, 380:6,        remember [7] - 255:18,           respiratory [1] - 241:6
  279:21, 281:9, 281:11,               380:24, 390:13, 390:22,          303:16, 366:20, 393:17,       respond [5] - 352:10, 404:13,
  283:8, 286:24, 287:5,                391:8, 392:3, 392:20,            394:13, 423:23, 441:8           405:9, 415:10
  289:3, 290:14, 292:8,                393:1, 393:3, 393:5, 393:7,   reminds [1] - 263:25             responded [15] - 384:1,
  306:17, 306:23, 307:4,               393:10, 393:16, 394:1,        renewal [1] - 298:25               403:24, 404:1, 404:2,
  311:25, 312:11, 313:1,               394:3, 394:6, 394:12,         renewing [1] - 298:24              404:5, 415:12, 415:13,
  323:23, 327:8, 328:1,                394:21, 395:8, 449:18         rephrased [1] - 434:6              415:18, 415:21, 419:16,
  330:21, 332:8, 332:10,            records [11] - 242:25, 243:2,    replied [6] - 298:10, 400:15,      423:22, 426:4, 428:8,
  338:11, 340:10, 341:11,              243:18, 243:23, 245:7,           402:10, 415:1, 415:7, 432:6     436:5, 436:17
  347:5, 347:13, 351:21,               245:11, 245:18, 252:11,       replies [1] - 413:14             responding [2] - 350:15,
  351:22, 370:19, 376:11,              304:8, 353:4, 356:12          reply [18] - 269:2, 279:1,         413:16
  379:14, 382:17, 400:25,           recross [1] - 376:17                286:23, 287:3, 287:21,        responds [3] - 381:15,
  401:3, 407:5, 407:15,             red [1] - 370:21                    294:19, 295:8, 295:25,          381:19, 405:19
  407:16, 411:9, 419:12,            redirect [5] - 253:4, 372:14,       298:18, 307:8, 369:15,        response [13] - 373:10,
  419:18, 422:1, 439:19,               373:6, 443:23, 448:21            401:21, 402:1, 403:4,           383:11, 404:12, 405:4,
  440:15                            REDIRECT [1] - 375:11               404:10, 413:18, 414:11,         407:1, 407:13, 407:14,
reason [8] - 314:8, 327:18,         refer [5] - 252:13, 345:20,         428:22                          408:6, 410:4, 410:20,
  347:6, 382:2, 411:2,                 435:24, 437:7, 441:17         reply.craigslist.org [1] -         412:17, 429:7, 446:16
  422:10, 424:4, 444:12             reference [2] - 332:2, 368:3        350:10                        responses [1] - 436:13
reasonable [5] - 386:16,            referenced [1] - 367:10          replying [6] - 270:23, 309:20,   responsibilities [3] - 254:7,
  386:23, 387:10, 387:20,           references [1] - 418:20             310:14, 311:23, 346:25,         300:11, 302:10
  389:8                             referred [1] - 440:13               376:10                        responsibility [3] - 300:14,
reasonably [1] - 354:5              referring [4] - 256:13, 403:8,   report [20] - 304:4, 304:7,        412:8, 412:12
reasons [2] - 372:8, 375:4             412:15, 415:24                   305:19, 311:13, 318:12,       responsible [2] - 302:12,
rebuttal [2] - 441:13, 448:22       reflect [1] - 352:19                325:20, 326:2, 326:9,           302:13
recants [1] - 388:23                reflecting [1] - 447:13             356:19, 358:11, 367:3,        rest [2] - 348:2, 390:25
receive [7] - 300:25, 301:3,        reflects [1] - 352:21               367:6, 367:9, 367:22,         rested [1] - 337:25
  301:13, 301:17, 302:21,           refresh [2] - 246:24, 247:7         368:1, 368:2, 371:20,         restrictive [1] - 443:3
  309:16, 356:12                    refreshed [1] - 247:12              371:22, 374:19, 374:21        rests [2] - 376:23, 391:2
received [17] - 242:12,             refreshing [1] - 368:7           REPORTER [2] - 374:9, 401:5      result [2] - 367:13, 367:15
  243:11, 249:4, 254:13,            regard [12] - 387:24, 388:20,    reporter [6] - 256:14, 256:17,   resume [1] - 238:8
  254:18, 254:20, 301:19,              402:2, 415:18, 418:7,            374:8, 393:21, 393:23,        resworn [2] - 240:1, 241:14
  2:18-cr-00012-cr                Document 201              Filed 01/25/21            Page 241 of 247                              25



retained [1] - 243:18                375:23                            358:18, 358:22, 358:23,       seeking [1] - 305:14
retake [1] - 448:20                rows [13] - 322:5, 322:7,           358:24, 359:7, 359:13,        Seeking [2] - 305:21, 434:24
retrieved [1] - 255:7                324:2, 329:2, 336:20,             359:21, 359:25, 360:2,        seem [2] - 440:6, 444:24
return [6] - 304:15, 307:9,          339:17, 341:22, 342:1,            366:4, 366:6, 372:5, 372:7,   self [2] - 369:12, 389:16
   314:4, 326:11, 367:15,            344:21, 360:7, 360:14             373:17, 373:20, 374:1,        self-incrimination [1] -
   367:16                          Ruddy [2] - 257:8, 335:18           374:2, 374:11, 375:1,           389:16
returned [1] - 295:15              Rule [9] - 353:25, 377:10,          375:3, 376:2, 393:3, 401:9,   selling [2] - 400:2, 420:23
reverse [1] - 357:17                 378:3, 380:1, 381:2, 381:4,       401:16, 403:3                 semester [1] - 396:16
reverses [1] - 342:22                386:13, 389:12, 440:21          searched [4] - 371:21, 373:7,   send [16] - 265:9, 282:18,
review [6] - 304:4, 335:20,        rule [3] - 377:16, 414:18,          374:20, 375:19                  294:15, 312:24, 322:14,
   363:11, 363:15, 366:19,           448:14                          searches [5] - 251:23,            340:13, 348:14, 385:12,
   367:25                          ruled [5] - 440:20, 441:24,         358:12, 360:8, 371:19,          416:5, 431:21, 432:2,
reviewed [6] - 247:5, 247:7,         443:24, 444:14, 446:18            374:18                          432:22, 438:15, 438:24,
   247:9, 304:8, 361:5, 361:9      Rules [1] - 353:25                searching [3] - 277:6, 415:2,     439:1, 446:1
reviewing [1] - 247:1              rules [2] - 394:20, 444:10          415:7                         sender [4] - 307:23, 318:18,
revolted [1] - 441:21              ruling [5] - 386:13, 415:5,       seat [5] - 240:2, 253:13,         319:8, 349:15
revulsion [1] - 440:25               447:7, 448:5, 448:9               259:22, 405:20, 407:6         sending [1] - 428:13
Richford [1] - 332:9               rulings [2] - 440:19, 448:7       seats [1] - 257:3               sends [1] - 426:23
risking [1] - 316:11               running [1] - 302:11              sec [3] - 292:10, 314:12,       senior [1] - 434:11
River [1] - 402:11                 rw001@gmail.com [2] -               322:4                         sense [2] - 241:6, 307:4
RMR [1] - 449:21                     281:19, 297:25                  secluded [1] - 326:16           sensitive [1] - 351:21
road [6] - 316:8, 333:17,          Ryan [2] - 303:6, 303:11          second [18] - 263:9, 284:19,    sent [35] - 244:3, 256:11,
   334:4, 359:14, 360:1                                                318:1, 324:18, 325:18,          258:1, 258:10, 259:23,
Road [3] - 316:18, 317:23,                        S                    341:21, 350:18, 350:20,         281:17, 286:10, 295:14,
   321:4                                                               358:7, 372:18, 372:19,          296:5, 296:18, 296:20,
                                   sad [2] - 267:12, 288:14            375:10, 380:6, 390:5,
rock [1] - 274:25                                                                                      308:1, 309:6, 311:25,
                                   safe [1] - 287:3                    390:6, 398:13, 432:13,
rock-hard [1] - 274:25                                                                                 314:5, 317:14, 324:15,
                                   sample [1] - 248:7                  444:10
role [8] - 255:1, 255:3, 255:9,                                                                        325:10, 326:13, 334:19,
                                   Samsung [1] - 302:18              Second [1] - 444:21
   300:17, 302:4, 302:6,                                                                               334:20, 334:22, 334:23,
                                   sat [1] - 346:12                  secondly [1] - 386:5
   406:12                                                                                              339:4, 339:5, 339:6,
                                   satisfied [3] - 378:24, 378:25,   seconds [1] - 257:6
rolling [1] - 330:20                                                                                   349:14, 351:4, 361:5,
                                     384:14                          section [3] - 320:19, 355:10,
Rollins [8] - 321:2, 357:21,                                                                           375:24, 376:11, 426:18,
                                   satisfies [1] - 389:9               355:14
   358:25, 361:3, 361:8,                                                                               432:2, 432:18, 438:12
                                   satisfy [1] - 277:8               Section [3] - 355:3, 355:20,    sentence [2] - 363:3, 416:10
   362:11, 362:17, 363:6
                                   Saturday [8] - 257:13, 258:13,      356:3                         September [19] - 248:10,
Rollins' [4] - 359:17, 361:19,
                                     262:25, 289:4, 404:6,           Security [7] - 253:11, 254:2,     251:2, 251:10, 251:13,
   362:7, 363:11
                                     404:9, 404:10, 404:11             299:14, 300:4, 300:7,           251:21, 251:24, 252:18,
romantic [2] - 306:17, 399:5
                                   saved [1] - 308:6                   301:8, 301:13                   252:19, 291:3, 357:15,
room [12] - 260:3, 260:11,
                                   Savings [2] - 252:16, 252:19      see [62] - 237:11, 241:7,         357:18, 416:5, 417:16,
   261:3, 261:18, 262:15,
                                   saw [6] - 346:22, 371:12,           243:24, 244:6, 244:11,          417:24, 423:8, 423:9,
   269:8, 347:4, 380:17,
                                     398:20, 402:13, 413:17,           247:25, 251:1, 251:22,          423:10, 423:12, 430:15
   406:4, 406:10, 406:24,
                                     425:1                             255:4, 258:5, 258:22,         series [3] - 301:7, 307:16,
   408:16
                                   scan [1] - 247:25                   265:8, 266:1, 267:10,           330:22
root [1] - 401:3
                                   scattered [1] - 384:22              274:8, 276:2, 276:6,          serious [1] - 386:3
roughly [2] - 243:25, 335:1
                                   school [15] - 340:24, 341:5,        295:24, 298:18, 308:15,       seriously [1] - 257:20
Route [1] - 333:16
                                     341:14, 341:18, 342:8,            311:11, 322:15, 322:22,       server [3] - 263:18, 295:16,
routinely [1] - 378:10
                                     344:2, 344:3, 344:6, 345:8,       327:9, 327:25, 335:22,          296:6
row [44] - 308:8, 314:5,
                                     384:7, 384:8, 385:7,              337:14, 339:6, 339:24,        service [3] - 241:12, 321:5,
   314:24, 315:11, 315:12,
                                     395:21, 395:22, 396:5             340:12, 348:25, 352:10,         378:13
   316:23, 316:25, 319:6,
                                   science [3] - 300:22, 396:11,       352:16, 357:16, 362:9,        set [9] - 276:9, 282:5, 354:14,
   323:18, 326:12, 329:4,
                                     396:19                            366:5, 366:10, 367:14,          377:24, 390:5, 423:11,
   329:5, 334:18, 334:21,
                                   scoff [1] - 306:2                   374:17, 384:1, 385:21,          429:4, 445:21
   342:7, 350:1, 350:11,
                                   scope [4] - 372:23, 375:6,          386:8, 387:25, 393:3,         sets [4] - 363:25, 364:25,
   350:18, 351:8, 351:9,
                                     440:6, 440:18                     400:4, 404:19, 409:6,           365:1, 370:6
   358:13, 358:14, 358:20,
                                   screamed [1] - 340:17               409:7, 412:25, 416:8,         several [7] - 248:6, 388:5,
   358:21, 359:4, 359:5,
                                   screen [9] - 248:3, 250:1,          419:22, 425:1, 426:25,          399:21, 417:17, 428:16,
   359:6, 359:8, 359:9,
                                     256:1, 307:14, 314:13,            428:23, 429:16, 432:21,         428:19, 447:9
   359:18, 359:19, 359:23,
                                     352:9, 353:19, 409:24             438:25, 439:12, 439:14,       Sex [1] - 327:4
   359:24, 360:10, 360:16,
                                   sealed [1] - 448:7                  442:3, 447:14, 449:6          sex [49] - 260:11, 267:19,
   360:19, 360:20, 362:10,
                                   search [28] - 302:25, 358:17,     seeing [2] - 249:11, 341:13       267:20, 267:22, 273:5,
   363:7, 363:9, 375:13,
 2:18-cr-00012-cr                 Document 201              Filed 01/25/21            Page 242 of 247                              26



  300:19, 316:15, 327:6,           sharing [3] - 419:20, 421:7,      showing [9] - 307:11, 311:3,      small [1] - 351:19
  327:17, 327:18, 328:7,             438:18                             313:19, 319:16, 319:20,        smallish [1] - 273:8
  359:21, 368:9, 383:19,           sharing/participating [1] -          323:7, 325:5, 409:14, 441:4    smart [1] - 343:17
  383:20, 384:10, 387:6,             388:1                           shown [1] - 357:14                smarter [1] - 346:4
  387:7, 388:13, 388:24,           shaved [1] - 264:3                shows [9] - 249:13, 281:18,       smell [2] - 241:6, 346:2
  388:25, 389:3, 403:13,           sheet [1] - 335:18                   296:16, 357:11, 359:6,         smile [88] - 259:10, 259:17,
  406:24, 408:21, 412:16,          shel [2] - 281:18, 297:25            359:9, 359:19, 359:24,           260:7, 261:7, 264:18,
  414:7, 414:15, 422:5,            SHEL [2] - 281:18, 297:25            375:18                           267:14, 268:1, 268:3,
  422:7, 429:7, 429:12,            shelrw001@gmail.com [6] -         shy [3] - 326:22, 326:23,           269:15, 270:3, 270:8,
  434:11, 436:8, 436:18,             256:6, 263:13, 305:6,              351:4                            270:18, 270:23, 271:8,
  436:22, 437:2, 437:3,              350:5, 350:22, 351:13           siblings [1] - 310:12               272:3, 272:16, 273:6,
  437:10, 438:18, 438:19,          SHELTRA [1] - 391:10              sic [6] - 248:11, 286:16,           273:9, 274:5, 274:11,
  439:6, 439:8, 439:22,            Sheltra [72] - 237:6, 239:10,        408:4, 412:14, 428:25,           276:7, 277:13, 277:19,
  440:25, 444:17, 444:20,            240:8, 255:1, 256:12,              432:19                           277:20, 278:23, 279:9,
  446:15                             262:4, 293:16, 293:25,          sic] [3] - 248:10, 416:23,          279:15, 280:3, 281:4,
sexual [56] - 355:9, 355:22,         298:5, 302:4, 302:19,              437:25                           281:13, 282:14, 283:17,
  355:25, 356:2, 356:5,              304:3, 309:5, 309:6,            side [3] - 254:19, 302:12,          283:20, 284:15, 306:25,
  360:5, 366:17, 371:9,              319:12, 319:13, 321:15,            369:8                            307:2, 310:1, 310:5,
  374:13, 381:7, 381:14,             336:1, 336:12, 337:5,           sidebar [1] - 369:18                311:23, 312:25, 315:5,
  382:16, 383:1, 383:9,              355:1, 356:12, 357:13,          sight [1] - 307:2                   316:6, 324:9, 328:22,
  384:25, 385:3, 385:9,              357:20, 357:23, 359:2,          sign [2] - 318:16, 435:15           329:9, 329:25, 330:6,
  386:8, 386:12, 386:21,             364:2, 364:14, 365:3,           signed [1] - 380:10                 330:9, 331:3, 331:22,
  386:25, 387:4, 387:9,              366:5, 366:10, 367:11,          significance [3] - 245:16,          332:12, 333:1, 333:9,
  387:23, 399:1, 400:9,              371:8, 371:12, 371:19,             347:24, 401:17                   333:20, 334:14, 338:1,
  403:10, 404:15, 404:16,            373:7, 373:20, 374:16,          SILANSKY [1] - 240:22               338:17, 339:14, 340:3,
  404:24, 410:1, 411:1,              374:18, 378:15, 378:22,                                             340:11, 340:13, 340:16,
                                                                     similar [2] - 382:14, 415:18
  411:4, 411:6, 411:16,              381:6, 381:12, 381:19,                                              341:5, 341:9, 341:18,
                                                                     similarities [2] - 416:8,
  417:7, 419:9, 427:2,               381:21, 382:15, 382:18,                                             342:8, 342:18, 342:25,
                                                                        425:15
  427:15, 429:5, 433:15,             383:18, 387:25, 388:20,                                             343:3, 343:5, 343:10,
                                                                     similarly [2] - 431:6, 445:20
  433:22, 433:23, 433:24,            389:14, 390:14, 390:23,                                             343:12, 343:20, 343:25,
                                                                     simply [1] - 324:25
  435:24, 437:23, 438:19,            391:6, 391:9, 391:15,                                               344:10, 344:15, 344:17,
                                                                     single [2] - 384:11, 400:23
  438:24, 439:6, 440:24,             391:17, 392:1, 393:1,                                               345:8, 346:9, 346:18,
                                                                     sites [1] - 309:24
  441:3, 441:22, 446:13,             395:20, 396:20, 398:7,                                              347:18, 348:3, 348:13,
                                                                     sitter [2] - 406:11, 406:13
  446:20, 446:22, 447:13             402:5, 430:7, 432:5,                                                348:20, 348:23, 349:4,
                                                                     sitting [2] - 351:23, 389:6
sexuality [9] - 400:25, 403:12,      432:11, 434:7, 434:10,                                              349:5, 376:10
                                                                     situation [6] - 370:16, 408:12,
  411:3, 412:24, 413:25,             445:1, 448:20                                                     Smile [2] - 338:20, 339:14
                                                                        421:13, 427:22, 429:20,
  414:3, 416:23, 419:16,           Sheltra's [6] - 247:18, 294:13,                                     smiley [3] - 330:11, 331:1,
                                                                        442:25
  438:23                             304:5, 361:5, 378:8, 447:25                                         432:23
                                                                     six [5] - 255:11, 285:20,
sexually [14] - 273:17,            shit [3] - 310:24, 347:9,                                           smirk [2] - 343:18, 349:1
                                                                        301:4, 301:9, 360:23
  388:12, 389:11, 408:24,            347:10                                                            smoke [2] - 264:24, 324:10
                                                                     six-month [2] - 301:4, 301:9
  411:10, 412:2, 416:24,           shocked [1] - 330:22                                                smoker [2] - 257:11, 398:16
  418:8, 426:17, 429:19,                                             sixteen [1] - 435:12
                                   shoot [2] - 284:15, 342:10                                          smoking [4] - 264:20, 264:21,
  436:9, 440:2, 441:5, 444:6                                         sized [1] - 273:7
                                   short [1] - 396:18                                                    345:12, 346:5
sexy [15] - 257:18, 260:8,                                           skinny [1] - 264:13
                                   shorthand [1] - 347:25                                              smooth [1] - 264:3
  273:4, 279:6, 287:13,                                              sky's [1] - 400:16
                                   shortness [1] - 241:7                                               SMS [1] - 319:5
  287:19, 289:11, 289:21,                                            sleep [12] - 259:9, 260:3,
                                   shot [1] - 351:5                                                    sneaking [1] - 313:10
  292:1, 298:12, 330:19,                                                322:3, 322:6, 322:14,
                                   show [32] - 265:21, 303:17,                                         snobby [1] - 343:4
  330:21, 343:16, 351:4,                                                324:24, 327:23, 328:10,
                                     307:11, 311:3, 312:20,             405:10, 405:16, 406:4,         social [1] - 402:2
  385:6
                                     313:3, 317:22, 317:23,             407:25                         society [3] - 311:21, 346:14,
Sexy [5] - 271:5, 280:8, 285:6,      322:16, 323:7, 349:23,                                              376:7
  292:7, 294:14                                                      sleeping [1] - 347:1
                                     358:4, 359:5, 373:6,                                              soda [2] - 413:23, 416:3
shall [4] - 355:5, 355:10,                                           sleepy [1] - 330:13
                                     375:17, 381:13, 382:3,                                            solicitations [2] - 435:21,
  355:14, 355:22                                                     sleeve [1] - 426:21
                                     386:6, 404:18, 406:18,                                              435:23
shallow [1] - 276:5                                                  slept [1] - 338:2
                                     408:18, 409:6, 411:8,                                             solicited [1] - 441:5
shame [1] - 343:5                                                    slice [1] - 422:19
                                     411:24, 416:4, 417:10,                                            solve [1] - 346:10
shape [1] - 351:20                                                   slide [1] - 290:23
                                     419:22, 422:8, 424:23,                                            someone [25] - 283:11,
share [4] - 298:13, 369:9,                                           sliding [1] - 279:8
                                     428:24, 434:8, 445:7                                                312:11, 312:18, 313:13,
  416:19, 417:18                                                     slight [1] - 356:8
                                   showed [1] - 413:9                                                    314:20, 328:2, 337:10,
shared [2] - 429:14, 437:13                                          sloppy [5] - 274:13, 274:14,
                                   shower [4] - 316:6, 329:24,                                           347:4, 347:12, 347:14,
Sharing [1] - 416:9                                                     275:12, 276:7, 277:20
                                     331:1, 331:4                                                        369:12, 373:18, 374:2,
                                                                     slut [1] - 262:8
 2:18-cr-00012-cr                Document 201             Filed 01/25/21            Page 243 of 247                                 27



  375:19, 385:19, 401:20,           300:1, 303:10, 305:3,          statement [4] - 389:1, 392:12,   strange [1] - 323:23
  414:3, 414:4, 428:7,              310:16, 312:9, 314:12,            446:12                        stretch [1] - 419:3
  429:16, 434:23, 436:25,           314:15, 315:7, 316:22,         statements [1] - 388:21          stretched [1] - 340:19
  437:23, 445:7                     317:8, 320:8, 320:10,          States [13] - 237:5, 237:7,      strict [1] - 386:5
something's [1] - 367:3             320:20, 321:13, 322:17,           240:7, 240:9, 293:15,         strictly [1] - 388:1
sometime [3] - 314:18,              329:1, 334:18, 336:19,            293:24, 335:25, 336:11,       strike [3] - 304:1, 383:2,
  314:19, 398:12                    337:3, 341:23, 344:20,            354:24, 354:25, 378:21,          420:9
sometimes [3] - 321:16,             345:18, 347:22, 349:7,            390:13, 390:22                stroking [2] - 266:4, 409:10
  401:23, 423:3                     352:1, 352:22                  states [1] - 351:2               strongly [1] - 445:13
somewhat [1] - 256:19             special [12] - 254:10, 290:3,    stating [1] - 432:10             stuck [1] - 346:13
soon [14] - 258:14, 258:23,         300:10, 300:13, 300:20,        statute [6] - 387:5, 387:19,     stuff [10] - 267:23, 272:21,
  275:24, 288:20, 289:13,           300:25, 301:11, 301:12,           434:2, 434:4, 434:8              277:4, 303:24, 332:18,
  289:18, 309:11, 309:15,           306:6, 306:8, 306:23, 369:7    Statutes [3] - 355:3, 355:20,       384:23, 403:17, 414:1,
  327:25, 329:23, 363:4,          specific [5] - 242:18, 298:13,      356:3                            419:20, 445:16
  388:10, 410:12, 412:6             386:24, 387:7, 389:9           statutes [7] - 237:14, 237:18,   style' [1] - 274:25
soooo [7] - 257:18, 280:23,       specifically [9] - 301:8,           237:21, 239:12, 379:2,        subject [9] - 349:19, 350:13,
  285:9, 287:20, 288:10,            301:13, 314:24, 349:11,           379:8, 434:7                     351:1, 351:16, 369:14,
  290:19, 295:25                    354:10, 360:14, 360:20,        stay [10] - 253:13, 260:22,         376:22, 440:14, 440:15
sore [1] - 241:5                    368:10, 371:10                    262:15, 266:13, 284:19,       subjects [1] - 380:3
sorry [47] - 243:4, 245:23,       specify [2] - 354:10, 399:15        292:10, 337:19, 407:1,        submit [1] - 381:9
  248:2, 260:16, 265:15,          speculate [2] - 245:3, 246:21       412:25, 413:19                subparagraph [2] - 448:8
  281:15, 290:4, 295:18,          speculation [1] - 372:3          stayed [1] - 327:4               subpoena [4] - 304:15,
  297:19, 312:7, 314:7,           speed [1] - 422:11               STD [1] - 413:2                     366:11, 367:15, 367:17
  314:12, 314:14, 314:19,         spelled [1] - 310:17             STDs [4] - 412:4, 412:9,         subscriber [1] - 320:16
  314:22, 314:23, 317:25,         spelling [2] - 256:18, 303:11       436:12, 436:15                Subscriber [1] - 249:21
  318:2, 322:6, 322:11,           spend [2] - 267:9, 326:16        steer [4] - 408:11, 410:21,      subsequent [1] - 394:16
  324:1, 338:3, 339:14,           spending [1] - 409:15               410:24, 418:12                substance [1] - 373:19
  340:1, 343:22, 343:25,          spent [2] - 337:19, 340:2        steering [1] - 413:7             substantial [1] - 383:14
  346:25, 352:12, 355:13,         spot [1] - 316:9                 step [7] - 253:6, 299:11,        substitute [1] - 365:8
  355:18, 359:10, 359:13,         sprang [2] - 441:25, 443:25         349:22, 376:19, 412:11,       subtle [1] - 418:23
  360:13, 360:15, 360:17,         spread [1] - 278:8                  421:10                        successfully [1] - 340:6
  360:19, 361:15, 362:6,          Spreadsheet [1] - 319:4          still [26] - 280:19, 292:8,      suck [1] - 388:14
  372:18, 384:21, 415:5,          squirt [1] - 276:24                 294:18, 295:1, 316:2,         sucking [3] - 284:2, 327:15,
  435:6, 438:3, 438:5,            sson [1] - 309:16                   320:1, 324:5, 330:13,            389:2
  439:13, 448:8                   stab [1] - 283:15                   332:12, 332:16, 336:13,       suffering [1] - 429:17
sort [2] - 424:2, 438:19          stage [2] - 400:22, 429:4           340:12, 341:4, 343:4,         sufficient [8] - 380:25,
soul [1] - 306:16                 stalker [2] - 311:22, 376:8         346:1, 403:6, 407:5, 409:4,      381:11, 382:4, 383:17,
sound [2] - 261:6, 309:20         stand [9] - 241:14, 265:2,          412:21, 412:23, 413:7,           384:12, 385:13, 386:16,
sounding [1] - 401:6                271:13, 294:1, 336:13,            413:18, 418:6, 418:12,           388:19
sounds [6] - 266:17, 273:1,         336:21, 391:6, 446:19,            432:21, 439:21                suggest [2] - 381:12, 428:3
  393:8, 394:4, 394:14,             448:20                         stills [1] - 439:22              suggested [1] - 366:17
  394:18                          Standard [1] - 252:17            stimulate [1] - 421:15           suggestion [1] - 441:22
source [1] - 240:18               standard [1] - 383:13            sting [2] - 282:9, 424:2         summarize [2] - 254:16,
sources [1] - 354:4               standpoint [1] - 424:17          stipulate [3] - 239:1, 239:11,      301:16
South [3] - 382:2, 423:7          start [17] - 240:24, 280:3,         355:2                         summarizes [1] - 251:16
spank [1] - 338:9                   308:19, 321:5, 328:22,         stipulating [1] - 380:15         summary [1] - 448:7
speaker [1] - 246:17                340:24, 342:6, 345:7,          stipulation [18] - 237:13,       summons [1] - 367:16
speaking [2] - 282:5, 445:4         364:5, 372:17, 398:15,            237:16, 238:12, 238:22,
                                                                                                    Sunday [4] - 287:20, 289:4,
speaks [2] - 246:20, 405:5          404:15, 404:16, 411:9,            239:4, 239:6, 239:8, 239:9,
                                                                                                       404:11, 422:14
Special [58] - 253:11, 253:24,      426:23, 448:25                    354:15, 354:17, 378:8,
                                                                                                    sunglasses [1] - 332:13
  255:5, 255:11, 255:24,          started [8] - 274:21, 284:10,       379:2, 379:7, 379:17,
                                                                                                    superclear [1] - 297:12
  256:3, 257:24, 259:23,            312:14, 344:6, 396:3,             380:5, 380:8, 380:18,
                                                                                                    supervisory [1] - 397:9
  262:2, 263:10, 265:1,             396:14, 398:10, 404:14            380:19
                                                                                                    supper [2] - 344:14, 344:16
  266:12, 280:14, 281:14,         starting [7] - 241:13, 272:14,   stipulations [4] - 353:21,
                                                                                                    supply [1] - 245:25
  284:21, 286:9, 289:7,             345:4, 369:1, 410:1,              379:6, 379:19, 380:23
                                                                                                    support [3] - 383:15, 387:25,
  290:6, 291:1, 291:13,             410:17, 420:15                 stood [2] - 424:22, 424:25
                                                                                                       424:12
  292:11, 294:8, 294:23,          starts [2] - 341:5, 341:14       stop [3] - 267:6, 402:18,
                                                                                                    supportive [1] - 385:6
  295:3, 295:12, 295:21,          state [7] - 253:15, 299:17,         442:11
  296:3, 296:13, 297:7,                                                                             suppose [5] - 372:7, 372:10,
                                    344:7, 358:2, 387:2, 391:8,    stopped [2] - 396:18, 397:3
  297:24, 298:3, 299:15,                                                                               375:3, 438:22, 444:9
                                    391:15                         stopping [1] - 341:20
 2:18-cr-00012-cr                Document 201              Filed 01/25/21            Page 244 of 247                             28



surprised [3] - 274:2, 441:24,    tail [1] - 346:20                   324:25, 325:11, 325:14,          389:24, 389:25, 390:3,
  443:24                          talks [1] - 388:16                  325:19, 325:20, 325:24,          390:8, 390:13, 390:19,
surrounding [1] - 387:16          tans [1] - 271:21                   326:2, 326:6, 326:8,             390:22, 391:3, 391:9,
suspected [1] - 366:12            Task [3] - 254:21, 302:1,           328:10, 328:18, 329:1,           392:5, 392:13, 392:17,
sustain [4] - 246:23, 420:10,        302:23                           329:3, 335:2, 336:25,            392:19, 392:23, 393:12,
  425:21, 448:4                   taste [4] - 241:6, 260:24,          339:5, 339:6, 339:17,            393:18, 393:22, 394:8,
sustained [4] - 245:24, 372:2,       351:7, 389:4                     339:19, 342:2, 344:13,           394:14, 394:23, 395:1,
  372:4, 374:25                   teacher [1] - 347:2                 352:5, 353:2, 425:25,            395:12, 395:17, 398:2,
suv [1] - 315:24                  team [1] - 255:4                    431:6, 431:8, 431:15,            398:6, 401:4, 401:5, 401:6,
sweet [7] - 278:18, 279:24,       tear [1] - 306:17                   431:16, 432:1, 432:18            405:7, 409:1, 409:24,
  328:21, 337:24, 348:8,          Tech [1] - 396:11                 texting [3] - 312:12, 316:19,      415:4, 415:6, 420:10,
  348:15, 385:2                   technical [1] - 257:3               318:24                           425:7, 425:13, 425:21,
swimming [5] - 264:8,             technician [4] - 396:5, 396:8,    texts [5] - 242:19, 365:18,        426:10, 427:10, 427:14,
  334:15, 334:16, 337:11             397:12                           378:1, 431:17, 432:1             430:3, 434:4, 437:22,
switch [2] - 257:2, 380:2         techniques [1] - 301:20           thag [1] - 343:2                   440:4, 440:6, 440:9,
Switch [1] - 244:1                technology [1] - 396:13           that'll [1] - 274:10               440:17, 441:7, 441:16,
switching [1] - 372:18                                              THE [198] - 237:10, 238:17,        442:3, 442:6, 442:8,
                                  teens [3] - 369:6, 435:2, 435:9
sworn [4] - 241:17, 253:18,                                           238:19, 239:14, 239:16,          442:19, 443:18, 444:21,
                                  telephone [14] - 245:7,
  299:20, 391:11                                                      239:19, 239:20, 239:22,          445:9, 445:11, 446:9,
                                     245:12, 245:15, 245:16,
symbol [89] - 259:10, 259:17,                                         240:3, 240:12, 240:23,           446:16, 447:1, 448:14,
                                     246:6, 246:22, 250:11,
  260:7, 261:7, 264:19,                                               242:9, 242:11, 242:14,           449:4, 449:6, 449:9, 449:12
                                     319:7, 352:14, 352:22,
  267:15, 268:1, 268:3,                                               243:10, 243:13, 245:1,        themselves [4] - 256:13,
                                     354:8, 430:10, 432:18
  269:15, 270:3, 270:8,                                               245:6, 245:24, 246:12,           382:3, 426:9, 443:5
                                  temporarily [1] - 443:17
  270:18, 270:24, 271:8,                                              246:23, 247:6, 249:3,         there'll [1] - 342:24
                                  ten [4] - 378:3, 378:18, 408:2,
  272:3, 272:16, 273:6,                                               249:7, 252:3, 252:6, 253:4,   thereafter [1] - 371:4
                                     442:15
  273:9, 274:5, 274:11,                                               253:6, 253:8, 253:12,         thereof [1] - 355:7
                                  tend [2] - 276:5, 400:13
  276:7, 277:13, 277:19,                                              253:16, 253:21, 255:18,       thick [1] - 340:11
                                  term [8] - 366:9, 371:21,
  277:21, 278:23, 279:9,                                              256:16, 256:21, 257:1,        thin [1] - 369:5
                                     372:7, 373:8, 374:20,
  279:15, 280:4, 281:4,                                               257:5, 257:8, 286:20,         thinking [35] - 237:23, 238:2,
                                     375:3, 436:4
  281:13, 282:14, 283:17,                                             292:22, 292:25, 293:8,           238:6, 257:17, 266:4,
                                  terminating [1] - 249:18
  283:20, 284:15, 288:15,                                             293:12, 293:15, 293:21,          268:14, 269:7, 271:6,
                                  terminator [1] - 244:21
  310:1, 310:5, 311:24,                                               293:24, 296:25, 297:2,           272:5, 274:25, 277:25,
                                  terms [8] - 335:19, 358:18,
  312:25, 315:5, 316:7,                                               297:4, 299:6, 299:9,             278:22, 279:3, 279:7,
                                     372:5, 375:1, 378:8,
  324:9, 328:23, 329:9,                                               299:11, 299:13, 299:18,          280:5, 281:9, 282:23,
                                     387:16, 433:9, 435:16
  329:25, 330:7, 330:9,                                               299:23, 304:19, 304:21,          285:7, 287:9, 287:14,
                                  territorial [1] - 354:3
  331:3, 331:22, 332:12,                                              304:24, 312:7, 320:1,            292:8, 337:15, 339:13,
                                  tested [10] - 241:3, 275:20,
  333:1, 333:10, 333:20,                                              320:4, 320:6, 335:3, 335:6,      340:19, 341:5, 406:9,
                                     275:22, 275:23, 411:25,
  334:14, 338:1, 338:17,                                              335:13, 335:17, 335:25,          407:18, 407:21, 407:22,
                                     412:3, 412:11, 436:11,
  338:20, 339:14, 340:4,                                              336:6, 336:11, 352:21,           409:10, 409:12, 410:5,
                                     436:15
  340:11, 340:16, 341:5,                                              353:8, 353:11, 353:15,           418:1, 418:5, 441:12
                                  testified [8] - 241:18, 253:19,
  341:9, 341:19, 342:9,                                               353:22, 354:13, 354:19,       thinks [3] - 377:21, 383:15,
                                     299:21, 368:8, 391:12,
  342:19, 342:25, 343:3,                                              354:21, 356:23, 356:25,          418:2
                                     445:20, 445:23, 446:25
  343:5, 343:10, 343:12,                                              357:3, 361:23, 361:25,        third [3] - 325:24, 351:8,
                                  testify [8] - 377:12, 389:15,
  343:20, 344:1, 344:11,                                              362:3, 362:21, 363:20,           363:3
                                     389:20, 441:14, 444:16,
  344:15, 344:18, 345:8,                                              363:23, 364:12, 364:23,       THORNTON [1] - 241:16
                                     447:2
  346:6, 346:9, 346:18,                                               368:7, 368:19, 368:21,        Thornton [11] - 239:25,
                                  testifying [3] - 370:1, 389:13,
  347:18, 348:3, 348:13,                                              369:19, 369:22, 370:4,           241:14, 241:21, 243:16,
                                     446:19
  348:20, 348:23, 349:4,                                              370:12, 370:19, 371:2,           247:25, 250:3, 251:1,
                                  testimony [11] - 386:10,            372:2, 372:4, 372:14,
  349:5, 350:9, 376:10                                                                                 252:10, 303:7, 304:5,
                                     392:6, 393:5, 393:25,            372:23, 373:2, 373:10,
symptoms [1] - 241:4                                                                                   441:14
                                     394:1, 394:17, 441:14,           373:13, 373:24, 374:4,
system [1] - 244:9                                                                                  thoughts [4] - 237:22, 364:4,
                                     445:1, 445:15, 446:25,           374:9, 374:15, 376:17,
systematic [2] - 383:18,                                                                               380:13, 417:8
                                     447:17                           376:19, 376:21, 376:24,
  384:11                                                                                            thousand [1] - 401:16
                                  Texas [1] - 301:20                  377:9, 378:7, 378:15,         three [15] - 301:6, 301:8,
                                  text [51] - 244:23, 244:25,         378:16, 378:17, 378:21,
               T                                                                                       322:5, 323:2, 323:25,
                                     251:22, 261:23, 262:2,           379:5, 379:11, 379:16,           324:12, 326:19, 330:22,
table [1] - 429:4                    310:22, 318:12, 318:18,          380:4, 380:10, 380:13,           339:6, 349:24, 376:4,
taboo [9] - 298:13, 401:9,           318:22, 318:25, 319:3,           380:18, 380:22, 382:13,          388:1, 388:4, 407:22,
  403:7, 415:19, 415:25,             319:14, 322:1, 322:18,           383:7, 383:11, 385:17,           407:25
  417:17, 417:23, 421:5              322:19, 322:23, 322:25,          386:13, 389:22, 389:23,       three-month [1] - 301:8
tags [1] - 423:3                     323:14, 324:2, 324:14,
  2:18-cr-00012-cr                 Document 201              Filed 01/25/21             Page 245 of 247                              29



throat [1] - 241:5                     254:18, 254:20, 265:2,           246:1, 247:23, 248:14,            447:9
throughout [1] - 420:20                271:12, 301:1, 301:3,            250:12, 277:25, 278:14,         underage [3] - 426:18,
thrust [1] - 445:14                    301:9, 301:13, 301:16,           283:15, 316:14, 318:10,           428:20, 439:16
thumb [2] - 340:9, 340:21              301:17, 301:19, 301:22,          321:9, 321:25, 322:10,          undercover [42] - 242:20,
tickets [1] - 270:6                    302:1, 315:7, 345:19,            325:16, 333:17, 362:24,           245:21, 246:11, 247:15,
tie [1] - 267:2                        347:23, 360:3, 374:11            363:10, 363:16, 366:21,           254:24, 301:19, 301:24,
tight [2] - 277:17, 328:2           trainings [1] - 254:22              375:21, 429:6, 439:8              302:2, 357:24, 381:7,
timeline [3] - 251:19, 251:20,      trans [1] - 386:9                 turned [7] - 256:24, 303:7,         381:8, 381:11, 381:12,
    428:17                          transcript [2] - 393:4, 449:17      386:1, 399:20, 402:14,            381:18, 381:19, 382:1,
timing [1] - 237:24                 transferred [1] - 254:6             416:18, 424:12                    383:19, 384:3, 385:22,
Timothy [2] - 299:15, 299:18        transmitted [1] - 436:9           turning [2] - 254:25, 302:3         388:9, 414:23, 415:1,
TIMOTHY [1] - 299:19                transpired [1] - 341:25           turns [1] - 273:19                  415:7, 415:21, 416:6,
tired [5] - 238:3, 321:23,          transpires [1] - 344:22           twice [1] - 439:10                  416:19, 419:7, 420:14,
    322:1, 327:8, 347:21            transport [1] - 255:8             two [46] - 237:10, 244:14,          422:9, 423:17, 424:9,
title [8] - 298:2, 298:6, 305:1,    travel [1] - 382:2                  285:7, 295:7, 321:22,             424:17, 424:20, 425:14,
    305:20, 305:21, 306:2,          traveled [2] - 316:8, 378:13        324:2, 324:14, 324:24,            425:16, 431:3, 431:5,
    311:12, 325:10                  traveling [1] - 424:7               329:1, 329:3, 334:25,             431:9, 433:10, 445:22,
Title [3] - 355:3, 355:20, 356:3    treat [2] - 307:5, 315:25           335:1, 335:2, 336:21,             446:15
tits [4] - 261:8, 351:6, 351:20,    treated [1] - 306:8                 336:25, 339:18, 341:25,         undercover's [1] - 247:19
    407:9                           treating [1] - 306:6                344:7, 344:22, 360:8,           underlined [1] - 417:16
today [5] - 238:3, 331:4,           trial [19] - 237:9, 237:16,         360:17, 363:16, 363:25,         understood [4] - 405:14,
    337:19, 367:7, 425:24              237:19, 238:23, 239:5,           364:25, 379:6, 396:7,             406:16, 419:18, 446:17
Todd [1] - 336:8                       239:7, 240:11, 255:15,           396:15, 396:24, 397:16,         undertake [1] - 426:17
toddler [1] - 407:21                   335:21, 354:3, 364:2,            398:21, 401:16, 406:10,         unduly [1] - 447:6
                                       364:14, 365:3, 365:5,            416:14, 420:4, 429:21,          unhappy [2] - 338:6, 344:1
together [15] - 262:12,
                                       378:12, 389:16, 442:25,          437:10, 439:24, 441:1,          Unhappy [1] - 346:5
    270:16, 271:1, 273:20,
                                       448:13                           441:8, 441:15, 444:5,           uninhibited [1] - 411:4
    274:5, 275:18, 288:24,
                                    tried [7] - 340:5, 344:17,          444:18, 445:22                  unique [1] - 369:9
    298:12, 298:17, 322:7,
    324:6, 340:2, 341:4, 388:7,        382:15, 382:25, 386:7,         two-year [1] - 396:7              United [13] - 237:5, 237:7,
    388:8                              410:21                         Type [1] - 244:1                    240:7, 240:9, 293:15,
tolerable [1] - 344:7               trier [1] - 384:13                type [7] - 305:15, 319:4,           293:24, 335:25, 336:11,
tomorrow [5] - 264:5, 264:21,       trigger [2] - 414:8, 415:22         348:9, 371:14, 381:24,            354:24, 354:25, 378:21,
    264:24, 265:17, 270:10          triggered [1] - 423:25              398:22, 401:25                    390:13, 390:22
tonight [5] - 279:19, 312:18,       trouble [3] - 310:10, 424:11,     typical [1] - 398:22              Universal [1] - 252:12
    313:2, 313:13, 321:22              427:1                          typically [8] - 237:15, 238:22,   University [1] - 300:23
took [10] - 255:13, 302:24,         true [8] - 308:15, 341:16,          244:5, 244:20, 252:13,          unknown [1] - 349:25
    331:2, 331:4, 340:22,              342:20, 347:9, 368:3,            379:19, 399:4, 399:15           unless [2] - 373:11, 379:20
    383:25, 395:8, 404:13,             369:12, 382:20, 399:23                                           up [81] - 239:20, 240:2, 246:4,
    404:17, 408:19                  truncated [1] - 244:11                           U                    250:13, 255:6, 255:16,
top [14] - 243:19, 249:8,           trust [4] - 260:5, 342:15,        U.S [1] - 302:15                    256:1, 257:23, 262:12,
    263:12, 296:11, 297:23,            343:7, 406:6                   ugh [5] - 316:15, 338:3,            263:12, 264:17, 265:16,
    298:20, 305:1, 307:19,          trusted [1] - 383:22                 343:13, 344:17, 348:5            267:2, 276:9, 277:12,
    357:5, 406:23, 408:4,           truth [1] - 306:4                                                     279:8, 286:15, 294:5,
                                                                      ultimately [1] - 389:19
    412:18, 417:15, 419:5           try [4] - 292:3, 337:5, 379:22,                                       296:23, 306:17, 307:14,
                                                                      ummmmm [1] - 269:8
topic [1] - 380:5                      424:14                                                             310:11, 310:13, 312:14,
                                                                      ummmmmm [6] - 263:7,
total [2] - 307:6, 321:22           trying [29] - 347:17, 381:13,                                         312:18, 313:3, 313:17,
                                                                         275:1, 275:5, 279:8,
TOTALLY [1] - 273:19                   383:4, 385:19, 403:17,                                             317:1, 317:6, 317:20,
                                                                         279:23, 281:9
totally [2] - 264:17, 351:5            403:23, 408:11, 410:9,                                             320:11, 321:20, 323:9,
                                                                      Ummmmmm [1] - 274:6
touch [4] - 283:18, 327:12,            410:13, 410:14, 410:23,                                            325:6, 325:21, 326:3,
                                                                      ummmmmmm [4] - 272:17,
    352:9, 352:10                      411:14, 411:15, 413:3,                                             327:4, 327:19, 328:10,
                                                                         275:17, 276:12, 287:15
touched [2] - 428:1, 428:6             413:14, 416:18, 418:6,                                             329:5, 329:8, 330:15,
                                                                      unable [1] - 267:6
                                       418:12, 418:13, 419:13,                                            332:5, 334:4, 336:17,
toward [2] - 383:3, 386:1                                             unattached [3] - 369:2, 369:3,
                                       419:21, 420:5, 421:5,                                              341:4, 341:6, 341:11,
towards [4] - 413:7, 438:24,                                             369:7
                                       421:8, 422:5, 422:7, 423:5,                                        342:6, 342:16, 346:13,
    441:4, 446:1                                                      unaware [1] - 310:8
                                       428:15                                                             346:24, 349:8, 351:18,
town [2] - 391:18, 423:20                                             uncomfortable [1] - 406:2
                                    Tuesday [9] - 258:21, 265:18,                                         351:25, 353:18, 354:22,
trafficking [1] - 300:19                                              under [15] - 244:17, 300:16,
                                       266:3, 269:9, 305:18,                                              358:6, 370:6, 371:3,
train [1] - 420:16                                                       310:10, 336:14, 355:7,
                                       341:2, 404:11, 409:9, 411:8                                        372:16, 385:1, 389:5,
trained [1] - 367:1                                                      355:23, 362:10, 364:17,
                                    tuition [1] - 396:12                                                  396:17, 397:12, 405:13,
Training [1] - 301:5                                                     366:11, 369:6, 389:10,
                                    turn [23] - 241:25, 242:21,                                           406:11, 406:15, 415:21,
training [20] - 254:13, 254:16,                                          440:19, 444:24, 447:7,
  2:18-cr-00012-cr                Document 201              Filed 01/25/21           Page 246 of 247                                30



  418:24, 422:11, 423:11,          vs [9] - 237:6, 240:8, 293:16,    weigh [3] - 309:13, 443:19,     word [5] - 343:15, 387:19,
  424:23, 435:2, 437:17,              293:25, 336:1, 336:12,           448:16                          415:19, 419:15, 423:24
  438:11, 442:12, 443:21,             378:22, 390:14, 390:23         welcome [2] - 422:20, 422:25    words [4] - 368:10, 375:19,
  445:14, 446:4, 446:9             VT [1] - 323:22                   wet [7] - 268:13, 283:6,          387:17, 387:21
urges [1] - 369:8                  vt [5] - 358:24, 359:7, 359:15,     290:23, 326:25, 327:14,       wore [1] - 358:24
usage [1] - 387:17                    360:1                            327:20, 351:22                works [3] - 264:21, 341:8,
user [9] - 245:19, 247:2,          vulva [2] - 356:6, 356:8          whatsoever [3] - 240:17,          347:10
  247:12, 247:14, 251:13,                                              240:18, 347:13                wouldnt [1] - 271:11
  251:16, 251:21, 256:5,                          W                  WHERE [1] - 286:20              Wow [1] - 407:14
  321:3                                                              where'd [2] - 268:23, 269:18    wow [2] - 261:13, 332:10
                                   W-R-I-S-L-E-Y [1] - 303:14
User [1] - 320:18                                                    whichever [1] - 322:2           Wright [2] - 391:9, 391:17
                                   wa [1] - 283:3
username [2] - 366:12,                                               White [1] - 402:11              Wrisley [1] - 303:6
                                   wait [14] - 237:11, 265:21,
  367:21                                                             white [1] - 369:3               Wrisley's [1] - 303:11
                                     277:15, 278:15, 279:20,
uses [1] - 387:19                                                    whole [5] - 263:16, 265:24,     write [2] - 367:1, 367:3
                                     283:9, 284:15, 316:13,
usual [1] - 377:3                                                      350:7, 421:2, 438:18          writes [2] - 322:22, 363:10
                                     321:23, 333:7, 344:14,
UTC [3] - 252:11, 252:14,                                            wife [1] - 405:12               writing [2] - 302:14, 426:13
                                     388:15, 405:15, 412:21
  252:22                                                             wiggle [1] - 328:5              written [2] - 426:12, 431:4
                                   Wait [1] - 429:1
                                                                     wiggling [1] - 328:7            wrote [16] - 366:2, 367:9,
                                   waited [1] - 363:25
                V                  waiting [5] - 279:22, 290:19,
                                                                     wildest [1] - 416:13              367:22, 373:21, 423:21,
vaguely [1] - 407:11                                                 willfully [1] - 355:5             431:1, 431:4, 431:9,
                                     295:8, 307:9, 424:22
valid [1] - 405:23                                                   willing [6] - 267:22, 353:13,     431:11, 431:17, 432:21,
                                   waiver [2] - 237:16, 238:23
                                                                       384:20, 411:22, 419:4,          432:24, 434:15, 435:9,
value [2] - 347:13, 447:12         waiving [1] - 378:11
                                                                       428:18                          439:2, 448:12
varied [1] - 399:17                wake [1] - 328:10
                                                                     wine [1] - 274:15
varies [1] - 252:16                waking [1] - 330:15
                                                                     wink [5] - 271:8, 277:21,                      X
varying [1] - 400:17               walk [4] - 342:25, 411:18,
                                                                       281:4, 312:25, 343:1
vasectomy [5] - 257:11,              421:21, 429:24                                                  XOXO [1] - 328:14
                                                                     wipe [1] - 253:13
   315:5, 315:16, 436:19,          walked [3] - 255:6, 397:5
                                                                     wisely [1] - 445:25
   436:25                          walking [2] - 337:14, 412:9                                                      Y
vehicle [1] - 255:8                                                  wish [11] - 276:15, 277:8,
                                   Walmart [1] - 323:21
                                                                       290:1, 293:4, 328:15,         year [9] - 255:13, 306:12,
verdict [3] - 364:16, 383:15,      wanna [8] - 257:14, 261:23,
                                                                       335:9, 335:22, 337:18,          345:8, 350:15, 396:6,
   448:18                            275:24, 290:23, 291:23,
                                                                       343:6, 377:5, 443:8             396:7, 402:12, 407:23,
Verizon [1] - 243:2                  339:25, 343:13, 412:6
                                                                     wishing [3] - 289:12, 294:18,     407:25
Vermont [37] - 237:14,             wants [9] - 267:22, 273:1,
                                                                       339:24                        years [18] - 306:11, 306:13,
   237:18, 237:20, 239:12,           351:3, 369:4, 380:25,
                                                                     withdraw [3] - 395:16, 427:12     355:7, 355:11, 355:15,
   254:4, 254:21, 279:21,            382:9, 388:15, 418:10,
                                                                     witness [21] - 241:14, 245:1,     356:1, 356:2, 362:19,
   298:16, 299:3, 300:8,             427:23
                                                                       246:20, 253:7, 253:9,           395:24, 397:4, 397:14,
   300:15, 301:25, 302:1,          warm [3] - 260:24, 270:9,
                                                                       253:13, 294:1, 299:12,          407:11, 433:3, 433:6,
   302:23, 305:10, 305:12,           279:8
                                                                       299:13, 336:13, 352:19,         433:11, 434:11
   310:9, 316:18, 317:23,          warmly [1] - 292:20
                                                                       354:20, 368:8, 370:2,         yes-or-no [1] - 432:5
   321:4, 323:20, 355:3,           warn [1] - 444:25
                                                                       371:3, 373:12, 374:5,         yesterday [3] - 340:2, 340:5,
   355:20, 356:3, 358:3,           warrant [1] - 302:25
                                                                       376:20, 376:21, 443:17,         341:7
   359:1, 359:3, 362:16,           watch [4] - 260:6, 337:8,
                                                                       448:20                        YOU [1] - 286:20
   379:2, 391:19, 391:25,            406:7, 408:14
                                                                     WITNESS [7] - 240:3, 245:6,     young [9] - 275:24, 306:3,
   396:11, 430:12, 430:15,         watched [3] - 275:15, 276:14,
                                                                       253:8, 253:16, 299:18,          306:22, 309:21, 309:23,
   430:19, 430:23, 442:25            289:16
                                                                       312:7, 391:9                    402:11, 412:5, 412:7,
VERY [1] - 310:10                  watching [7] - 261:22,
                                                                     woke [1] - 329:8                  429:18
via [3] - 245:18, 322:23,            262:19, 278:4, 306:17,
                                                                     Woman [1] - 305:21              Young [1] - 359:21
   322:24                            313:2, 342:24, 408:5
                                                                     woman [18] - 276:14, 298:9,     younger [4] - 261:14, 306:22,
video [2] - 255:5, 276:14          water [1] - 315:3
                                                                       306:3, 306:6, 306:12,           350:16, 407:15
videos [3] - 359:22, 439:22,       ways [3] - 277:13, 334:4,
                                                                       307:1, 307:10, 328:11,        Younger [2] - 305:21, 434:24
   444:18                            446:4
                                                                       350:16, 369:7, 399:20,        yourself [2] - 309:24, 400:3
view [3] - 337:5, 383:14,          wear [2] - 255:19, 426:21
                                                                       401:24, 425:4, 428:5,         youthful [4] - 306:20, 399:10,
   385:14                          wearing [1] - 330:20
                                                                       428:7, 428:15, 428:22,          399:11, 399:12
violations [1] - 300:14            Wednesday [1] - 279:20
                                                                       445:3                         yrs [1] - 275:20
violence [2] - 346:10              week [5] - 257:13, 270:14,        women [5] - 305:14, 306:22,     ys [1] - 337:21
VISSER [1] - 442:7                   314:10, 314:16, 340:25            306:24, 306:25, 436:22        yup [10] - 262:8, 277:4,
voluntarily [4] - 239:6, 239:8,    weekend [5] - 258:20, 280:3,      wondered [1] - 435:7              280:21, 303:25, 322:22,
   378:11, 387:12                    286:15, 288:24, 289:12
                                                                     wonderful [1] - 385:2             350:12, 359:10, 359:20,
volunteered [1] - 421:6            weeks [1] - 428:16
                                                                     wondering [2] - 322:7, 379:3      401:11, 434:25
 2:18-cr-00012-cr            Document 201   Filed 01/25/21   Page 247 of 247   31



               Z
zero [2] - 244:6, 244:24
zones [1] - 273:18
zoom [22] - 294:7, 296:11,
  297:22, 304:25, 305:22,
  313:23, 314:5, 314:25,
  315:1, 317:7, 320:18,
  322:5, 322:7, 324:20,
  326:19, 327:1, 327:22,
  341:21, 375:10
Zulu [1] - 252:13
